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                THE UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

KINGSTON BOROUGH,                           )
PENNSYLVANIA,                               )
                               Plaintiff,   )
v.                                          )   CIVIL ACTION NO. ___________
                                            )
PURDUE PHARMA L.P.; PURDUE                  )
PHARMA, INC.; THE PURDUE                    )
FREDERICK COMPANY, INC.; TEVA               )
PHARMACEUTICAL INDUSTRIES,                  )
LTD.; TEVA PHARMACEUTICALS                  )
USA, INC.; CEPHALON, INC.;                  )
JOHNSON & JOHNSON; JANSSEN                  )           COMPLAINT
PHARMACEUTICALS, INC.; ORTHO-               )
MCNEIL-JANSSEN                              )
PHARMACEUTICALS, INC. n/k/a                 )
JANSSEN PHARMACEUTICALS,                    )
INC.; JANSSEN PHARMACEUTICA                 )
INC. n/k/a JANSSEN                          )
PHARMACEUTICALS, INC.;                      )
NORAMCO, INC.; ENDO HEALTH                  )
SOLUTIONS INC.; ENDO                        )
PHARMACEUTICALS, INC.;                      )
ALLERGAN PLC f/k/a ACTAVIS PLS;             )
WATSON PHARMACEUTICALS,                     )
INC. n/k/a ACTAVIS, INC.; WATSON            )
LABORATORIES, INC.; ACTAVIS                 )
LLC; ACTAVIS PHARMA, INC. f/k/a             )
WATSON PHARMA, INC.;                        )
MALLINCKRODT PLC;                           )
MALLINCKRODT LLC; INSYS                     )     JURY TRIAL DEMANDED
THERAPEUTICS, INC.;                         )
AMERISOURCEBERGEN DRUG                      )
CORPORATION; CARDINAL                       )
HEALTH, INC.; McKESSON                      )
CORPORATION; CVS HEALTH                     )
CORPORATION; RITE AID OF                    )
MARYLAND, INC. d/b/a/ RITE AID              )
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MID-ATLANTIC CUSTOMER                  )
SUPPORT CENTER, INC.;                  )
WALGREENS BOOTS ALLIANCE,              )
INC. a/k/a WALGREEN CO.; WAL-          )
MART, INC. f/k/a WAL-MART              )
STORES, INC.; VALUE DRUG               )
COMPANY; and GENERICS BIDCO I,         )
LLC.,                                  )
                                       )
                           Defendants. )




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      Plaintiff, KINGSTON BOROUGH, PENNSYLVANIA (“Plaintiff”), brings

this Complaint against Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The

Purdue Frederick Company, Inc.; Teva Pharmaceutical Industries, LTD.; Teva

Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.;

Allergan PLC f/k/a Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.;

Watson Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC; Insys Therapeutics, Inc.;

McKesson Corporation; Cardinal Health, Inc.; AmerisourceBergen Drug

Corporation; CVS Health Corporation; Rite Aid Of Maryland, Inc. d/b/a Rite Aid

Mid-Atlantic Customer Support Center, Inc.; Walgreen Boots Alliance, Inc. a/k/a

Walgreen Co.; Wal-Mart, Inc. f/k/a Wal-Mart Stores, Inc., Value Drug Company

and Generics Bidco I, LLC (collectively “Defendants”) and alleges as follows:

                              I. INTRODUCTION

      1.   Plaintiff brings this civil action to eliminate the hazard to public health

and safety caused by the opioid epidemic, to abate the nuisance caused thereby,

and to recoup monies that have been spent because of Defendants’ false, deceptive




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and unfair marketing and/or unlawful diversion of prescription opioids.1 Such

economic damages were foreseeable to Defendants and were sustained because of

Defendants’ intentional and/or unlawful actions and omissions.

      2.    Opioid analgesics are widely diverted and improperly used, and the

widespread abuse of opioids has resulted in a national epidemic of opioid overdose

deaths and addictions. 2

      3.    The opioid epidemic is “directly related to the increasingly widespread

misuse of powerful opioid pain medications.” 3

      4.    Plaintiff brings this suit against the manufacturers of prescription

opioids. The manufacturers aggressively pushed highly addictive, dangerous

opioids, falsely representing to doctors that patients would only rarely succumb to

drug addiction. These pharmaceutical companies aggressively advertised to and

persuaded doctors to prescribe highly addictive, dangerous opioids, turned patients

into drug addicts for their own corporate profit. Such actions were intentional

and/or unlawful.




1
  As used herein, the term “opioid” refers to the entire family of opiate drugs
including natural, synthetic and semi-synthetic opiates.
2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—
Misconceptions and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).
3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse,
374 N. Eng. J. Med. 1480 (2016).

                                         2
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      5.    Plaintiff also brings this suit against the wholesale distributors of these

highly addictive drugs. The distributors and manufacturers intentionally and/or

unlawfully breached their legal duties under federal and state law to monitor,

detect, investigate, refuse and report suspicious orders of prescription opiates.

                                   II. PARTIES

      A. PLAINTIFF.
      6.    Plaintiff, Kingston Borough, is a body corporate and politic within the

Commonwealth of Pennsylvania. 8 Pa.C.S.A. § 201. Plaintiff is authorized to bring

the causes of action brought herein. 8 Pa.C.S.A. § 1201. See also 53 Pa.C.S.A. §§

2961; 2964.

      7.    Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity

and mortality has created a serious public health and safety crisis, and is a public

nuisance, and that the diversion of legally produced controlled substances into the

illicit market causes or contributes to this public nuisance.

      8.    The distribution and diversion of opioids into Pennsylvania (“the

State”), and into Kingston Borough (“the Borough”) and surrounding areas

(collectively, “Plaintiff’s Community”), created the foreseeable opioid crisis and

opioid public nuisance for which Plaintiff here seeks relief.

      9.    Plaintiff directly and foreseeably sustained all economic damages

alleged herein. Defendants’ conduct has exacted a financial burden for which the


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Plaintiff seeks relief. Categories of past and continuing sustained damages include,

inter alia,: (1) costs for providing medical care, additional therapeutic, and

prescription drug purchases, and other treatments for patients suffering from

opioid-related addiction or disease, including overdoses and deaths; (2) costs for

providing treatment, counseling, and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs

associated with law enforcement and public safety relating to the opioid epidemic;

(5) and costs associated with providing care for children whose parents suffer from

opioid-related disability or incapacitation. These damages have been suffered, and

continue to be suffered, directly by the Plaintiff.

      10. Plaintiff also seeks the means to abate the epidemic created by

Defendants’ wrongful and/or unlawful conduct.

      11. Plaintiff has standing to recover damages incurred as a result of

Defendants’ actions and omissions. Plaintiff has standing to bring all claims pled

herein, including, inter alia, to bring claims under the federal RICO statute,

pursuant to 18 U.S.C. § 1961(3) (“persons” include entities which can hold legal

title to property) and 18 U.S.C. § 1964 (“persons” have standing).

      B. DEFENDANTS.
           1. Manufacturer Defendants.




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      12. The Manufacturer Defendants are defined below. At all relevant times,

the Manufacturer Defendants have packaged, distributed, supplied, sold, placed

into the stream of commerce, labeled, described, marketed, advertised, promoted

and purported to warn or purported to inform prescribers and users regarding the

benefits and risks associated with the use of the prescription opioid drugs. The

Manufacturer Defendants, at all times, have manufactured and sold prescription

opioids without fulfilling their legal duty prevent diversion and report suspicious

orders.

      13. PURDUE PHARMA L.P. is a limited partnership organized under the

laws of Delaware, PURDUE PHARMA INC. is a New York corporation with its

principal place of business in Stamford, Connecticut, and THE PURDUE

FREDERICK COMPANY is a Delaware corporation with its principal place of

business in Stamford, Connecticut (collectively, “Purdue”). PURDUE PHARMA

L.P. is licensed by the Pennsylvania Department of Health to operate as a drug

manufacturer and distributor. THE PURDUE FREDERICK COMPANY is

registered with the Pennsylvania Secretary of State to do business in Pennsylvania.

      14. Purdue manufactures, promotes, sells, and distributes opioids such as

OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and

Targiniq ER in the United States. OxyContin is Purdue’s best-selling opioid. Since

2009, Purdue’s annual nationwide sales of OxyContin have fluctuated between


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$2.47 billion and $2.99 billion, up four-fold from its 2006 sales of $800 million.

OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

      15. CEPHALON, INC. is a Delaware corporation with its principal place

of business in Frazer, Chester County, Pennsylvania, and is registered with the

Pennsylvania Secretary of State to do business in Pennsylvania. CEPHALON,

INC. is licensed by the Pennsylvania Department of Health to manufacture,

label/repackage, and/or distribute prescription drugs and controlled substances at

facilities in Chester County, Pennsylvania. TEVA PHARMACEUTICAL

INDUSTRIES, LTD. (“Teva Ltd.”) is an Israeli corporation with its principal place

of business in Petah Tikva, Israel. In 2011, Teva Ltd. acquired Cephalon, Inc.

TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Montgomery

County, Pennsylvania, and is registered with the Pennsylvania Secretary of State to

do business in Pennsylvania. Teva USA is licensed by the Pennsylvania

Department of Health to distribute prescription drugs and controlled substances at

its facilities in North Wales, Montgomery County, Pennsylvania, and Chalfont,

Bucks County, Pennsylvania. Teva USA is a wholly owned subsidiary of Teva Ltd.

Teva USA acquired Cephalon in October 2011.




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      16. Cephalon, Inc. manufactures, promotes, sells, and distributes opioids

such as Actiq and Fentora in the United States. Actiq has been approved by the

FDA only for the “management of breakthrough cancer pain in patients 16 years

and older with malignancies who are already receiving and who are tolerant to

around-the-clock opioid therapy for the underlying persistent cancer pain.”4

Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and

who are tolerant to around-the-clock opioid therapy for their underlying persistent

cancer pain.” 5 In 2008, Cephalon pled guilty to a criminal violation of the Federal

Food, Drug and Cosmetic Act for its misleading promotion of Actiq and two other

drugs, and agreed to pay $425 million. 6

      17. Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to

market and sell Cephalon products in the United States. Teva Ltd. conducts all

sales and marketing activities for Cephalon in the United States through Teva USA


4
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral
transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
5
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal
tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
6
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to
Pay $425 Million & Enter Plea to Resolve Allegations of Off-Label Marketing
(Sept. 29, 2008), https://www.justice.gov/archive/opa/pr/2008/September/08-civ-
860.html.

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and has done so since its October 2011 acquisition of Cephalon. Teva Ltd. and

Teva USA hold out Actiq and Fentora as Teva products to the public. Teva USA

sells all former Cephalon branded products through its “specialty medicines”

division. The FDA-approved prescribing information and medication guide, which

is distributed with Cephalon opioids, discloses that the guide was submitted by

Teva USA, and directs physicians to contact Teva USA to report adverse events.

      18. All of Cephalon’s promotional websites, including those for Actiq and

Fentora, display Teva Ltd.’s logo.7 Teva Ltd.’s financial reports list Cephalon’s

and Teva USA’s sales as its own, and its year-end report for 2012 – the year

immediately following the Cephalon acquisition – attributed a 22% increase in its

specialty medicine sales to “the inclusion of a full year of Cephalon’s specialty

sales,” including inter alia sales of Fentora®. 8 Through interrelated operations like

these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets,

representing 53% of its global revenue in 2015, and, were it not for the existence of

Teva USA and Cephalon, Inc., Teva Ltd. would conduct those companies’

business in the United States itself. Upon information and belief, Teva Ltd. directs

7
 E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited
Aug. 21, 2017).
8
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2
012.pdf.

                                          8
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the business practices of Cephalon and Teva USA, and their profits inure to the

benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries,

Ltd., Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as

“Cephalon.”

      19. JANSSEN        PHARMACEUTICALS,            INC.    is   a   Pennsylvania

corporation with its principal place of business in Titusville, New Jersey, and is a

wholly owned subsidiary of JOHNSON & JOHNSON (J&J), a New Jersey

corporation with its principal place of business in New Brunswick, New Jersey.

JANSSEN PHARMACEUTICALS, INC. is licensed by the Pennsylvania

Department of Health is licensed to distribute prescription drugs and controlled

substances by the Pennsylvania Department of Health at its facilities in

Montgomery County, Pennsylvania. NORAMCO, INC. (“Noramco”) is a

Delaware company headquartered in Wilmington, Delaware and was a wholly

owned subsidiary of J&J until July 2016. NORAMCO, Inc. is licensed by the

Pennsylvania Department of Health as a manufacturer or repackager/labeler of

prescription drugs and controlled substances. ORTHO-MCNEIL-JANSSEN

PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS,

INC., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as

JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its


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principal place of business in Titusville, New Jersey. J&J is the only company that

owns more than 10% of Janssen Pharmaceuticals’ stock, and corresponds with the

FDA regarding Janssen’s products. Upon information and belief, J&J controls the

sale and development of Janssen Pharmaceuticals’ drugs and Janssen’s profits

inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred

to as “Janssen.”

      20. Janssen manufactures, promotes, sells, and distributes drugs in the

United States, including the opioid Duragesic (fentanyl). Before 2009, Duragesic

accounted for at least $1 billion in annual sales. Until January 2015, Janssen

developed, marketed, and sold the opioids Nucynta (tapentadol) and Nucynta ER.

Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

      21. ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with

its principal place of business in Malvern, Chester County, Pennsylvania. ENDO

PHARMACEUTICALS INC. is a wholly owned subsidiary of Endo Health

Solutions Inc., is a Delaware corporation with its principal place of business in

Malvern, Chester County, Pennsylvania, and is registered with the Pennsylvania

Secretary of State to do business in Pennsylvania. ENDO PHARMACEUTICALS

INC. is licensed by the Pennsylvania Department of Health to distribute

prescription drugs and controlled substances at its facility in Malvern, Chester


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County, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals Inc.

are referred to as “Endo.”

      22. Endo develops, markets, and sells prescription drugs, including the

opioids Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States.

Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012. Opana ER yielded $1.15 billion in revenue from 2010 and 2013, and it

accounted for 10% of Endo’s total revenue in 2012. Endo also manufactures and

sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

hydrocodone products in the United States, by itself and through its subsidiary,

Qualitest Pharmaceuticals, Inc.

      23. ALLERGAN PLC is a public limited company incorporated in Ireland

with its principal place of business in Dublin, Ireland. ACTAVIS PLC acquired

ALLERGAN PLC in March 2015, and the combined company changed its name to

ALLERGAN         PLC         in   January        2013.   Before   that,   WATSON

PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada

corporation with its principal place of business in Corona, California, is registered

with the Pennsylvania Secretary of State to do business in Pennsylvania, and is a

wholly-owned subsidiary of ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson


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Pharmaceuticals, Inc.). ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a

Delaware corporation with its principal place of business in New Jersey, is

registered with the Pennsylvania Secretary of State to do business in Pennsylvania,

and was formerly known as WATSON PHARMA, INC. ACTAVIS PHARMA,

INC. is licensed by the Pennsylvania Department of Health as a distributor of

prescription drugs and controlled substances. ACTAVIS LLC is a Delaware

limited liability company with its principal place of business in Parsippany, New

Jersey, and is licensed by the Pennsylvania Department of Health as a

manufacturer, labeler, or repackager of prescription drugs and controlled

substances. Each of these defendants is owned by ALLERGAN PLC, which uses

them to market and sell its drugs in the United States. Upon information and belief,

ALLERGAN PLC exercises control over these marketing and sales efforts and

profits from the sale of Allergan/Actavis products ultimately inure to its benefit.

ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson

Laboratories, Inc. are referred to as “Actavis.”

      24. Actavis manufactures, promotes, sells, and distributes opioids,

including the branded drugs Kadian and Norco, a generic version of Kadian, and

generic versions of Duragesic and Opana, in the United States. Actavis acquired




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the rights to Kadian from King Pharmaceuticals, Inc. on December 30, 2008, and

began marketing Kadian in 2009.

      25. MALLINCKRODT, PLC is an Irish public limited company

headquartered in Staines-upon-Thames, United Kingdom, with its U.S.

headquarters in St. Louis, Missouri. MALLINCKRODT, LLC is a limited liability

company organized and existing under the laws of the State of Delaware, and is

registered with the Pennsylvania Secretary of State to do business in Pennsylvania.

Since 2013, Mallinckrodt, LLC has been a wholly owned subsidiary of

Mallinckrodt, plc. Prior to 2013, Mallinckrodt, LLC was a wholly-owned

subsidiary of the Irish public limited company Covidien pllc (formerly known as

Tyco Healthcare). Mallinckrodt, plc and Mallinckrodt, LLC are referred to as

“Mallinckrodt.”

      26. Mallinckrodt manufactures, markets, and sells drugs in the United

States including generic oxycodone, of which it is one of the largest manufacturers,

and opioids sold since at least June 2009 under the brand names Exalgo

(hydromorphone),     Xartemis      (oxycodone/acetaminophen)     and   Roxicodone

(oxycodone) (known by the street names “M,” “roxies/roxys” or “blues”). In July

2017 Mallinckrodt agreed to pay $35 million to settle allegations brought by the

Department of Justice that it failed to detect and notify the DEA of suspicious

orders of controlled substances.


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      27. INSYS THERAPEUTICS, INC. is a Delaware corporation with its

principal place of business in Chandler, Arizona. Insys’s principal product and

source of revenue is Subsys.

      28. Insys made thousands of payments to physicians nationwide, including

in the State, ostensibly for activities including participating on speakers’ bureaus,

providing consulting services, assisting in post-marketing safety surveillance and

other services, but in fact to deceptively promote and maximize the use of opioids.

      29. Subsys is a transmucosal immediate-release formulation (TIRF) of

fentanyl, contained in a single-dose spray device intended for oral, under the

tongue administration. Subsys was approved by the FDA solely for the treatment

of breakthrough cancer pain.

      30. In 2016, Insys made approximately $330 million in net revenue from

Subsys. Insys promotes, sells, and distributes Subsys throughout the United States,

the Borough, and Plaintiff’s Community.

      31. Insys’s founder and owner was recently arrested and charged, along

with other Insys executives, with multiple felonies in connection with an alleged

conspiracy to bribe practitioners to prescribe Subsys and defraud insurance

companies. Other Insys executives and managers were previously indicted.

           2. Distributor Defendants.




                                         14
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      32. The Distributor Defendants also are defined below. At all relevant

times, the Distributor Defendants have distributed, supplied, sold, and placed into

the stream of commerce the prescription opioids, without fulfilling the fundamental

duty of wholesale drug distributors to detect and warn of diversion of dangerous

drugs for non-medical purposes. The Distributor Distributors universally failed to

comply with federal and/or state law. The Distributor Defendants are engaged in

“wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Distributors is responsible for the volume

of prescription opioids plaguing Plaintiff’s Community.

      33. McKESSON          CORPORATION           (“McKesson”)       is   a   Delaware

corporation with its principal place of business located in San Francisco,

California, and is registered with the Pennsylvania Secretary of State to do

business in Pennsylvania. At all relevant times, McKesson operated as a

nationwide pharmacy wholesaler.        McKesson is licensed by the Pennsylvania

Department of Health to distribute prescription drugs and controlled substances at

its facility in New Castle, Lawrence County, Pennsylvania.

      34. CARDINAL HEALTH, INC. (“Cardinal”), is a Ohio corporation with

its principal office in Dublin, Ohio, that at all relevant times, operated as a licensed




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pharmacy wholesaler in Pennsylvania.9 Cardinal Health is licensed by the

Pennsylvania Department of Health to label, repackage, and distribute prescription

drugs and controlled substances from its facility in Sharon Hill, Delaware County,

Pennsylvania. Cardinal’s wholly-owned subsidiary Cardinal Health 200, LLC

operates a wholesale drug distribution center licensed by the Pennsylvania

Department of Health to operate as a distributor of prescription drugs and

controlled substances in Warrendale, Allegheny County, Pennsylvania.

      35. Defendant      AMERISOURCEBERGEN              DRUG      CORPORATION

(“AmerisourceBergen”) is a Delaware corporation with its principal place of

business is in Chesterbrook, Chester County, Pennsylvania, and is registered with

the Pennsylvania Secretary of State to do business in Pennsylvania. At all relevant

times, AmerisourceBergen operated as a nationwide pharmacy wholesaler.

AmerisourceBergen maintains a second corporate office in Conshohocken,

Montgomery County, Pennsylvania, and a wholesale drug distribution center

licensed by the Pennsylvania Department of Health to operate as a distributor of




9
  Cardinal has registered numerous of its subsidiaries for business in Pennsylvania,
including Cardinal Health 100, Inc., Cardinal Health 108, LLC, Cardinal Health
110, LLC, Cardinal Health 122, LLC, Cardinal Health 132, LLC, Cardinal Health
200, LLC, Cardinal Health 202, LLC, Cardinal Health 245, Cardinal Health 248,
Cardinal Health 301, Inc., Cardinal Health 401, Inc., Cardinal Health 405, Inc.,
Cardinal Health 406, LLC, Cardinal Health 408, Inc., Cardinal Health 414, LLC,
and Cardinal Health 5, LLC.

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prescription drugs and controlled substances in Bethlehem, Northampton County,

Pennsylvania.

      36. Defendant CVS HEALTH CORPORATION is a Delaware corporation

with its principal place of business in Rhode Island. CVS Health Corporation

conducts business as a licensed wholesale distributor under the following named

business entities: CVS Indiana, L.L.C.; CVS Orlando FL Distribution; CVS

Pharmacy, Inc.; CVS RX Services, Inc, d/b/a CVS Pharmacy Distribution Center;

CVS TN Distribution, LLC ; and CVS VERO FL Distribution, L.L.C (collectively

“CVS”). At all times relevant to this Complaint, CVS distributed prescription

opioids throughout the United States, including in the State and the Borough and

Plaintiff’s Community specifically. At all relevant times, this Defendant was

licensed by the Pennsylvania Department of Health to distribute prescription drugs

and controlled substances under the name CVS/specialty DBA Procare Pharmacy

Direct.

      37. Defendant RITE AID OF MARYLAND, INC., d/b/a Rite Aid Mid-

Atlantic Customer Support Center, Inc. is a Maryland corporation with its principal

office located in Camp Hill, Pennsylvania. At all times relevant to this Complaint,

Rite Aid distributed prescription opioids throughout the United States, including in

the State, the Borough and Plaintiff’s Community specifically.         Rite Aid of

Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc.


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(collectively “Rite Aid”) conducts business as a licensed wholesale distributor

under the name Rite Aid Mid-Atlantic Customer Support Center, Inc.

      38. Defendant WALGREENS BOOTS ALLIANCE, INC., also known as

Walgreen Co. (“Walgreens”) is a Delaware corporation with its principal place of

business in Illinois. Walgreens Boots Alliance Inc. conducts business as a licensed

wholesale distributor under the following named business entities: Walgreen Co.;

Walgreen Eastern Co., Inc.; Walgreen Arizona Drug Co. (collectively

“Walgreens”). At all times relevant to this Complaint, Walgreens distributed

prescription opioids throughout the United States, including in the State, the

Borough and Plaintiff’s Community specifically. At all relevant times, this

Defendant was licensed by the Pennsylvania Department of Health to distribute

prescription drugs and controlled substances.

      39. Defendant WAL-MART INC., formerly known as Wal-Mart Stores,

Inc. (“Wal-Mart”), is a Delaware corporation with its principal place of business in

Arkansas. At all times relevant to this Complaint, Wal-Mart distributed

prescription opioids throughout the United States, including in the State, the

Borough and Plaintiff’s Community. Wal-Mart Stores, Inc. conducts business as a

licensed wholesale distributor under the following named business entities: Wal-

Mart Warehouse #28; Wal-Mart Warehouse #6045 aka Wal-Mart Warehouse #45;




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Wal-Mart Warehouse # 6046 aka Wal-Mart Warehouse #46; and Wal-Mart

Pharmacy Warehouse #13 (“collectively “Wal-Mart”).

      40. Defendant VALUE DRUG COMPANY (“Value Drug”) is a

Pennsylvania corporation with its principal place of business in Pennsylvania. At

all times relevant to this Complaint, Value Drug distributed prescription opioids

throughout the United States, including in the State, the Borough and Plaintiff’s

Community. At all relevant times from at least December of 2012, this Defendant

was licensed by the Pennsylvania Department of Health to distribute prescription

drugs and controlled substances. Value Drug paid $4,000,000 in settlements claims

due to failure to report suspicious orders of Oxycodone to pharmacies in Maryland

and Pennsylvania in June 2014.

      41. Defendant GENERICS BIDCO I, LLC (“Generics Bidco”) is a

Delaware limited liability company with its principal place of business in

Pennsylvania. Generics Bidco is a subsidiary of Endo that also does business as

Par Pharmaceutical. At all times relevant to this Complaint, through its various

DEA registered subsidiaries and affiliated entities, Generics Bidco distributed

prescription opioids throughout the United States, including in the State, the

Borough and Plaintiff’s Community.

      42. Collectively, Defendants CVS, Rite Aid, Walgreens, and Wal-Mart are

referred   to   as   “National   Retail   Pharmacies.”    Cardinal,   McKesson,


                                          19
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AmerisourceBergen, Value Drug, Generics Bidco and the National Retail

Pharmacies are collectively referred to as the “Distributor Defendants.”

      43. Defendants include the above referenced entities as well as their

predecessors, successors, affiliates, subsidiaries, partnerships and divisions to the

extent that they are engaged in the manufacture, promotion, distribution sale and/or

dispensing of opioids.

                         III. JURISDICTION & VENUE

      44. This Complaint was filed as an original action in this District.

      45. This Court has subject matter jurisdiction under 28 U.S.C. § 1331

based upon the federal claims asserted under the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”). This Court has

supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. §

1367 because those claims are so related to Plaintiff’s federal claims that they form

part of the same case or controversy.

      46. This Court has personal jurisdiction over Defendants because they

conduct business in the State, purposefully direct or directed their actions toward

the State, some or all consented to be sued in the State by registering an agent for

service of process, they consensually submitted to the jurisdiction of the State

when obtaining a manufacturer or distributor license, and because they have the




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requisite minimum contacts with the State necessary to constitutionally permit the

Court to exercise jurisdiction.

      47. This Court also has personal jurisdiction over all of the defendants

under 18 U.S.C. 1965(b). This Court may exercise nation-wide jurisdiction over

the named Defendants where the “ends of justice” require national service and

Plaintiff demonstrates national contacts. Here, the interests of justice require that

Plaintiff be allowed to bring all members of the nationwide RICO enterprise before

the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National

Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988);

Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir.

1986).

      48. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18

U.S.C. §1965, because a substantial part of the events or omissions giving rise to

the claim occurred in this District and each Defendant transacted affairs and

conducted activity that gave rise to the claim of relief in this District. 28 U.S.C. §

1391(b); 18 U.S.C. §1965(a).

                        IV. FACTUAL BACKGROUND

      A. THE OPIOID EPIDEMIC.
           1. The National Opioid Epidemic.



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      49. The past two decades have been characterized by increasing abuse and

diversion of prescription drugs, including opioid medications, in the United

States.10

      50. Prescription opioids have become widely prescribed. By 2010, enough

prescription opioids were sold to medicate every adult in the United States with a

dose of 5 milligrams of hydrocodone every 4 hours for 1 month. 11

      51. By 2011, the U.S. Department of Health and Human Resources,

Centers for Disease Control and Prevention, declared prescription painkiller

overdoses at epidemic levels. The News Release noted:

                a. The death toll from overdoses of prescription
                   painkillers has more than tripled in the past
                   decade.

                b. More than 40 people die every day from overdoses
                   involving narcotic pain relievers like hydrocodone
                   (Vicodin), methadone, oxycodone (OxyContin),
                   and oxymorphone (Opana).

                c. Overdoses involving prescription painkillers are at
                   epidemic levels and now kill more Americans than
                   heroin and cocaine combined.

                d. The increased use of prescription painkillers for
                   nonmedical reasons, along with growing sales, has

10
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the
United States, 372 N. Eng. J. Med. 241 (2015).
11
  Katherine M. Keyes at al., Understanding the Rural-Urban Differences in
Nonmedical Prescription Opioid Use and Abuse in the United States, 104 Am. J.
Pub. Health e52 (2014).

                                        22
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                      contributed to a large number of overdoses and
                      deaths. In 2010, 1 in every 20 people in the United
                      States age 12 and older—a total of 12 million
                      people—reported using prescription painkillers
                      non-medically according to the National Survey on
                      Drug Use and Health. Based on the data from the
                      Drug Enforcement Administration, sales of these
                      drugs to pharmacies and health care providers have
                      increased by more than 300 percent since 1999.

                   e. Prescription drug abuse is a silent epidemic that is
                      stealing thousands of lives and tearing apart
                      communities and families across America.

                   f. Almost 5,500 people start to misuse prescription
                      painkillers every day. 12

         52. The number of annual opioid prescriptions written in the United States

is now roughly equal to the number of adults in the population.13

         53. Many Americans are now addicted to prescription opioids, and the

number of deaths due to prescription opioid overdose is unacceptable. In 2016,

drug overdoses killed roughly 64,000 people in the United States, an increase of

more than 22 percent over the 52,404 drug deaths recorded the previous year. 14


12
  See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of
Health and Human Servs., Prescription Painkiller Overdoses at Epidemic Levels
(Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
13
     See Califf, supra.
14
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human
Servs., Provisional Counts of Drug Overdose Deaths, (August 8, 2016),
https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.

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      54. Moreover, the CDC has identified addiction to prescription pain

medication as the strongest risk factor for heroin addiction. People who are

addicted to prescription opioid painkillers are forty times more likely to be

addicted to heroin. 15

      55. Heroin is pharmacologically similar to prescription opioids. The

majority of current heroin users report having used prescription opioids non-

medically before they initiated heroin use. Available data indicates that the

nonmedical use of prescription opioids is a strong risk factor for heroin use.16

      56. The CDC reports that drug overdose deaths involving heroin continued

to climb sharply, with heroin overdoses more than tripling in 4 years. This increase

mirrors large increases in heroin use across the country and has been shown to be

closely tied to opioid pain reliever misuse and dependence. Past misuse of

prescription opioids is the strongest risk factor for heroin initiation and use,

specifically among persons who report past-year dependence or abuse. The

increased availability of heroin, combined with its relatively low price (compared




15
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human
Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
16
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid
Use and Heroin, 374 N. Eng. J. Med. 154 (2016).

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with diverted prescription opioids) and high purity appear to be major drivers of

the upward trend in heroin use and overdose. 17

       57. The societal costs of prescription drug abuse are “huge.” 18

       58. Across the nation, local governments are struggling with a pernicious,

ever-expanding epidemic of opioid addiction and abuse. Every day, more than 90

Americans lose their lives after overdosing on opioids.19

       59. The National Institute on Drug Abuse identifies misuse and addiction

to opioids as “a serious national crisis that affects public health as well as social

and economic welfare.” 20 The economic burden of prescription opioid misuse




17
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—
United States, 2000–2014, 64 Morbidity & Mortality Wkly. Rep. 1378 (2016).
18
  See Amicus Curiae Brief of Healthcare Distribution Management Association in
Support of Appellant Cardinal Health, Inc., Cardinal Health, Inc. v. United States
Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL 1637016, at *10
[hereinafter Brief of HDMA].
19
  Opioid Crisis, NIH, National Institute on Drug Abuse (available at
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-crisis, last visited Sept. 19,
2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P, David F, Scholl L,
Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–
2015, MMWR MORB MORTAL WKLY REP. 2016;65,
doi:10.15585/mmwr.mm655051e1).
20
     Opioid Crisis, NIH.

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alone is $78.5 billion a year, including the costs of healthcare, lost productivity,

addiction treatment, and criminal justice expenditures.21

        60. The U.S. opioid epidemic is continuing, and drug overdose deaths

nearly tripled during 1999–2014. Among 47,055 drug overdose deaths that

occurred in 2014 in the United States, 28,647 (60.9%) involved an opioid.22

        61. The rate of death from opioid overdose has quadrupled during the past

15 years in the United States. Nonfatal opioid overdoses that require medical care

in a hospital or emergency department have increased by a factor of six in the past

15 years.23

        62. Every day brings a new revelation regarding the depth of the opioid

plague: just to name one example, the New York Times reported in September

2017 that the epidemic, which now claims 60,000 lives a year, is now killing

babies and toddlers because ubiquitous, deadly opioids are “everywhere” and

mistaken as candy. 24



21
    Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden
of Prescription Opioid Overdose, Abuse, and Dependence in the United States,
2013, MED CARE 2016;54(10):901-906, doi:10.1097/MLR.0000000000000625).
22
  See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose
Deaths—United States, 2010–2015, 65 Morbidity & Mortality Wkly. Rep. 1445
(2016).
23
     See Volkow & McLellan, supra.
24
 Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its
Youngest Victims, N.Y. Times, Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother
                                         26
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      63. In 2016, the President of the United States declared an opioid and

heroin epidemic. 25

      64. The epidemic of prescription pain medication and heroin deaths is

devastating families and communities across the country. 26 Meanwhile, the

manufacturers and distributors of prescription opioids extract billions of dollars of

revenue from the addicted American public while public entities experience tens of

millions of dollars of injury caused by the reasonably foreseeable consequences of

the prescription opioid addiction epidemic.

      65. The prescription opioid manufacturers and distributors, including the

Defendants, have continued their wrongful, intentional, and unlawful conduct,

despite their knowledge that such conduct is causing and/or continuing to the

national, state, and local opioid epidemic.

           2. Pennsylvania’s Opioid Epidemic.

      66. Pennsylvania has been especially ravaged by the national opioid crisis.

      67. Pennsylvania has consistently ranked as one of the top 10 states for

opioid overdose deaths, rising from ninth in 2013 to sixth in 2015, when

of dead one-year old], of the nation’s opioid problem, ‘with tendrils that are going
everywhere.’”).
25
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming
“Prescription Opioid and Heroin Epidemic Awareness Week”).
26
  See Presidential Memorandum – Addressing Prescription Drug Abuse and
Heroin Use, 2015 Daily Comp. Pres. Doc. 743 (Oct. 21, 2015),
https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.

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Pennsylvania recorded 3,264 opioid overdose deaths.27 Pennsylvania’s opioid

overdose death rate increased by 20 percent from 2014 to 2015, and another 37%

from 2015 to 2016, when Pennsylvania recorded 4,642 opioid overdose deaths. 28

      68. In 2015 more people in Pennsylvania died from drug overdoses than

from automobile accidents. 29

      69. Pennsylvania leads the nation in drug overdoses among men aged 12 to

25. Meanwhile, deaths of adults aged 55-64 increased seven-fold from 1999-2013

and deaths in women increased by 400 percent since 1999. 30 A 2013 survey of

Pennsylvania youth found that 6.8% of responding children in grades 6, 8, 10 and

12 had used prescription narcotics in their lifetimes without a doctor’s order. Over

12 percent of 12th graders had used prescription narcotics without a doctor’s order


27
   Commonwealth of Penn., Dept. of the Auditor Gen., Performance Audit Report:
Opioid Treatment Audits (July 2017),
http://www.paauditor.gov/Media/Default/Reports/speOpioidTreatmentAudits0713
17.pdf, at 103.
28
   Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf, at
29
   Amy Leap, “Pennsylvania opioid addition statistics are staggering,” Pocono
Record, September 23, 2106,
http://www.poconorecord.com/news/20160923/pennsylvania-opioid-addiction-
statistics-are-staggering.
30
   House Majority Policy Committee, Combatting Pennsylvania’s Opioid
Epidemic, October 2016,
http://www.pagoppolicy.com/Display/SiteFiles/112/OtherDocuments/Benninghoff
OpioidReport10-16.pdf.
                                        28
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and 14.1 percent said they believed there was little to no risk in using these drugs

not prescribed to them. Over 24 percent thought it would be “sort of easy” or “very

easy” to obtain such drugs. 31

       70. Pennsylvania’s drug related overdose death rate was 36.5 per 100,000

people in 2016, an increase from 26.7 per 100,000 in 2015. This is much higher

than the national drug-overdose death rate of 16.3 per 100,000 in 2015. The

presence of an opioid was identified in 85 percent of those drug-related overdose

deaths in Pennsylvania in 2016. 32

       71. Ten people die every day in Pennsylvania from drug-related causes.

Ages of the deceased range from under 2 months to 94 years old. According to the

Pennsylvania State Coroners Association, most deaths are caused by multiple

prescriptions drugs either alone with the addition of heroin or, to a lesser degree,

cocaine. 33



31
   Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf
32
   Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at 5.
33
   Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf at 8.
                                        29
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      72. Data maintained by the Agency for Healthcare Research and Quality

for 2008 through 2014 document a continual increase in the annual rate of hospital

inpatient stays per 100,000 population in Pennsylvania, which translates to just

under 200,000 opioid-related inpatient stays from 2008-2014:




      73. From 2002 to 2010, admissions for treatment of non-heroin opiate

abuse more than tripled at Pennsylvania’s publicly-funded substance abuse


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treatment centers.34 In 2011, Pennsylvania’s publicly-funded substance abuse

treatment centers documented 6,512 admissions for patients who reported non-

heroin opiates as their primary substance of abuse, more than twelve times the

number of such admissions in 1995 35—the year Purdue began marketing

OxyContin.

      74. The costs to Pennsylvania are staggering. According to the most recent

data, Pennsylvania ranked eighth in total state expenditures with $874 million

spent on health care costs for opioid abuse (while the United States average was

$490 million or 56 percent of what Pennsylvania spent).36 In the 2016-17 state

budget, over $20 million was specifically target to combat the effects of the opioid

epidemic. 37




34
   See Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 2002-2012, State
Admissions to Substance Abuse Treatment Services 75 (2014),
https://www.samhsa.gov/data/sites/default/files/2002-2012_TEDS
_State/2002_2012_Treatment_Episode_Data_Set_State.pdf.
35
   Id.; Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 1995-2005, State
Admissions to Substance Abuse Treatment Services 75 (2007),
https://wwwdasis.samhsa.gov/dasis2/teds_pubs/2005_teds_rpt.pdf.
36
   Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf at 20.
37
   https://www.pa.gov/guides/opioid-epidemic/.
                                        31
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            3. The Opioid Epidemic in Plaintiff’s Community.
      75. The opioid epidemic is particularly devastating in Kingston Borough.

      76. In Luzerne County, where Kingston is located, there were 283 drug

overdose deaths in 2017 - 2018. 38

      77. This is not a new problem. There were 140 overdose deaths in 2016,

the seventh highest number in the State. 39 This is an 89 percent increase from

2013. 40 There were 95 overdose deaths in 201541 and 73 in 2014, the ninth highest

number in Pennsylvania that year. 42 In 2015, 30 percent of the overdose deaths

involved prescription opioids. 43 Another 40 percent involved illegal drugs

including heroin and acetyl fentanyl. 44



38
   Open Data PA, Pennsylvania Opioid Data Dashboard
https://data.pa.gov/Opioid-Related/Estimated-PA-Drug-Overdose-Deaths-by-
County-2017-2/apm5-9wfy
39
   Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at p. 79, Appendix figure 45.
40
   United States Department of Agriculture, 2018 Pennsylvania Opioid Task Force,
Important Maps, Map #4: Number of Overdose Deaths by County for 2016 and
Percentage Increase of Overdose Deaths 2013-2016,
https://www.rd.usda.gov/files/PA_Opioids_Maps_Database_2018_Opt.pdf.
41
   Id. at Map #2, Number of Overdose Deaths by County for 2015 and Percentage
Increase of Overdose Deaths 2014-2015.
42
   Id. at Map #1, Number of Overdose Deaths by County for 2014 and Percentage
Increase of Overdose Deaths 2013-2014.
43
   Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
at 93,
                                           32
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      78. The drug overdose death rate in Luzerne County was 43.6 deaths per

100,000 people in 2016.45

      79. In 2016, there were 3,084 Luzerne County residents covered by

Medicaid who had been diagnosed with Substance Abuse Disorder.46

      80. In 2016, there were 64 infants covered by Medicaid who were born

with Neonatal Abstinence Syndrome in Luzerne County. 47

      81. From November 2014 through June 2018, police in Luzerne County

reported 156 successful naloxone reversals. 48

      82. From 2013 to March 2019, the Pennsylvania State Police had 712

seizures of opioids in Luzerne County. 49 During that same time, there were 549

opioid-related arrests in Luzerne County. 50



http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf
44
   Id.
45
   Analysis of Overdose Deaths in Pennsylvania 2016, supra, at 9.
46
   Open Data PA, Pennsylvania Opioid Data Dashboard,
https://data.pa.gov/stories/s/rhvk-9756.
47
   Open Data PA, Newborns born on Medical Assistance (MA) with Neonatal
Abstinence Syndrome (NAS), Year 2015-2016 Human Services,
https://data.pa.gov/Opioid-Related/Newborns-born-on-Medical-Assistance-MA-
with-Neonat/inm2-y7xa
48
   Id. at Successful Police Naloxone Reversals by County,
https://data.pa.gov/Opioid-Related/Successful-Naloxone-Reversals-by-Law-
Enforcement-Y/jeh5-c3pf
49
   Open Data PA, Opioids Incidents by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Incidents-by-County-PSP-/p8w5-pvje.
                                         33
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      83. The CDC has tracked prescription rates per county in the United States,

identifying the geographic “hotspots” for rates of opioid prescriptions.51 The CDC

has calculated the geographic distribution at county levels of opioid prescriptions

dispensed per 100 persons, 52 revealing that Luzerne County has been a consistent

hotspot over the past few years.

      84. The CDC’s statistics prove that the opioid prescription rates in Luzerne

County have exceeded any legitimate medical, scientific, or industrial purpose.

Unfortunately, in Luzerne County, Pennsylvania, the opioid prescribing rates, as

reported by the CDC, are consistently above the national averages – which are

themselves too high. In 2017, compared to the national average of 58.7 opioid

prescriptions dispensed per 100 persons, 53 the County rate was 70.8 opioid

prescriptions per 100 persons. 54




50
   Id. at Opioid Arrests by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Arrests-by-County-PSP-/tpie-wrnx.
51
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
52
   Id.
53
    Id.
54
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2017, (reporting for “Luzerne County, PAM” here and below) available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2017.html
                                        34
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      85. In 2016, compared to the national average of 66.5 opioid prescriptions

dispensed per 100 persons, 55 the County rate was 85.7 opioid prescriptions per 100

persons. 56 Compared to the national average of 70.6 opioid prescriptions per 100

persons in 2015,57 the County rate was even higher at 92.1.58

      86. This is not an aberration. In 2014, compared to the national average of

75.6 prescriptions per 100 persons,59 the County rate was 98.8. 60

      87. Compared to the national average of 78.1 prescriptions per 100 persons

in 2013,61 the Luzerne County rate was 101.5 opioid prescriptions per 100

persons. 62 In 2012, compared to the national average of 81.3 prescriptions per 100




55
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
56
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2016, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html
57
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
58
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2015, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html
59
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
60
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2014, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html
61
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
62
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2013, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html
                                         35
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persons, 63 the County rate was 102.6 prescriptions per 100 persons. 64 Compared to

the national average of 80.9 prescriptions per 100 persons in 2011, 65 the Luzerne

County rate was 98.7. 66 In 2010, compared to the national average of 81.2

prescriptions per 100 persons,67 the County rate was 100.3 prescriptions per 100

persons. 68 Compared to the national average of 79.5 prescriptions per 100 persons

in 2009, 69 the Luzerne County rate was 98.7.70

      88. The sheer volume of these dangerously addictive drugs was destined to

create the present crisis of addiction, abuse, and overdose deaths.

      B. THE MANUFACTURER DEFENDANTS’ FALSE AND
         DECEPTIVE MARKETING OF OPIOIDS.
      89. The opioid epidemic did not happen by accident.



63
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
64
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2012, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html
65
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
66
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2011, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html
67
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
68
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2010, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html
69
   U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
70
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2009, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html
                                         36
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      90. Before the 1990s, generally accepted standards of medical practice

dictated that opioids should only be used short-term for acute pain, pain relating to

recovery from surgery, or for cancer or palliative (end-of-life) care. Due to the lack

of evidence that opioids improved patients’ ability to overcome pain and function,

coupled with evidence of greater pain complaints as patients developed tolerance

to opioids over time and the serious risk of addiction and other side effects, the use

of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

      91. Each Manufacturer Defendant has conducted, and has continued to

conduct, a marketing scheme designed to persuade doctors and patients that

opioids can and should be used for chronic pain, resulting in opioid treatment for a

far broader group of patients who are much more likely to become addicted and

suffer other adverse effects from the long-term use of opioids. In connection with

this scheme, each Manufacturer Defendant spent, and continues to spend, millions

of dollars on promotional activities and materials that falsely deny or trivialize the

risks of opioids while overstating the benefits of using them for chronic pain.

      92. The Manufacturer Defendants have made false and misleading claims,

contrary to the language on their drugs’ labels, regarding the risks of using their

drugs that: (1) downplayed the serious risk of addiction; (2) created and promoted

the concept of “pseudoaddiction” when signs of actual addiction began appearing


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and advocated that the signs of addiction should be treated with more opioids; (3)

exaggerated the effectiveness of screening tools to prevent addiction; (4) claimed

that opioid dependence and withdrawal are easily managed; (5) denied the risks of

higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent”

opioid formulations to prevent abuse and addiction. The Manufacturer Defendants

have also falsely touted the benefits of long-term opioid use, including the

supposed ability of opioids to improve function and quality of life, even though

there was no scientifically reliable evidence to support the Manufacturer

Defendants’ claims.

      93. The Manufacturer Defendants have disseminated these common

messages to reverse the popular and medical understanding of opioids and risks of

opioid use. They disseminated these messages directly, through their sales

representatives, in speaker groups led by physicians the Manufacturer Defendants

recruited for their support of their marketing messages, and through unbranded

marketing and industry-funded front groups.

      94. Defendants’ efforts have been wildly successful. Opioids are now the

most prescribed class of drugs. Globally, opioid sales generated $11 billion in

revenue for drug companies in 2010 alone; sales in the United States have




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exceeded $8 billion in revenue annually since 2009.71 In an open letter to the

nation’s physicians in August 2016, the then-U.S. Surgeon General expressly

connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . .

[m]any of [whom] were even taught – incorrectly – that opioids are not addictive

when prescribed for legitimate pain.” 72 This epidemic has resulted in a flood of

prescription opioids available for illicit use or sale (the supply), and a population of

patients physically and psychologically dependent on them (the demand). And

when those patients can no longer afford or obtain opioids from licensed

dispensaries, they often turn to the street to buy prescription opioids or even non-

prescription opioids, like heroin.

      95. The Manufacturer Defendants intentionally continued their conduct, as

alleged herein, with knowledge that such conduct was creating the opioid nuisance

and causing the harms and damages alleged herein.

           1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
              False and Deceptive Statements about Opioids.

      96. The Manufacturer Defendants spread their false and deceptive

statements by marketing their branded opioids directly to doctors and patients in
71
  See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune,
Nov. 9, 2011, http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-
medicine/; David Crow, Drugmakers Hooked on $10bn Opioid Habit, Fin. Times,
Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
72
  Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016),
http://turnthetiderx.org/.

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and around the State, including in Plaintiff’s Community. Defendants also

deployed seemingly unbiased and independent third parties that they controlled to

spread their false and deceptive statements about the risks and benefits of opioids

for the treatment of chronic pain throughout the State and Plaintiff’s Community.

      97. The Manufacturer Defendants employed the same marketing plans and

strategies and deployed the same messages in and around the State, including in

Plaintiff’s Community, as they did nationwide. Across the pharmaceutical

industry, “core message” development is funded and overseen on a national basis

by corporate headquarters. This comprehensive approach ensures that the

Manufacturer Defendants’ messages are accurately and consistently delivered

across marketing channels – including detailing visits, speaker events, and

advertising – and in each sales territory. The Manufacturer Defendants consider

this high level of coordination and uniformity crucial to successfully marketing

their drugs.

      98. The     Manufacturer     Defendants     ensure    marketing    consistency

nationwide through national and regional sales representative training; national

training of local medical liaisons, the company employees who respond to

physician inquiries; centralized speaker training; single sets of visual aids, speaker

slide decks, and sales training materials; and nationally coordinated advertising.

The Manufacturer Defendants’ sales representatives and physician speakers were


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required to stick to prescribed talking points, sales messages, and slide decks, and

supervisors rode along with them periodically to both check on their performance

and compliance.

                   i.   Direct Marketing.
      99. The Manufacturer Defendants’ direct marketing of opioids generally

proceeded on two tracks. First, each Manufacturer Defendant conducted and

continues to conduct advertising campaigns touting the purported benefits of their

branded drugs. For example, upon information and belief, the Manufacturer

Defendants spent more than $14 million on medical journal advertising of opioids

in 2011, nearly triple what they spent in 2001.

      100. Many of the Manufacturer Defendants’ branded ads deceptively

portrayed the benefits of opioids for chronic pain. For example, Endo distributed

and made available on its website opana.com a pamphlet promoting Opana ER

with photographs depicting patients with physically demanding jobs like

construction worker, chef, and teacher, misleadingly implying that the drug would

provide long-term pain-relief and functional improvement. Upon information and

belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in

2012 in medical journals. These ads featured chronic pain patients and

recommended OxyContin for each. One ad described a “54-year-old writer with




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osteoarthritis of the hands” and implied that OxyContin would help the writer work

more effectively.

      101. Second, each Manufacturer Defendant promoted the use of opioids for

chronic pain through “detailers” – sales representatives who visited individual

doctors and medical staff in their offices – and small-group speaker programs. The

Manufacturer Defendants have not corrected this misinformation. Instead, each

Defendant devoted massive resources to direct sales contacts with doctors. Upon

information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

of $168 million on detailing branded opioids to doctors, more than twice what they

spent on detailing in 2000.

      102. The Manufacturer Defendants’ detailing to doctors is effective.

Numerous studies indicate that marketing impacts prescribing habits, with face-to-

face detailing having the greatest influence. Even without such studies, the

Manufacturer Defendants purchase, manipulate and analyze some of the most

sophisticated data available in any industry, data available from IMS Health

Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by

individual doctor, which in turn allows them to target, tailor, and monitor the

impact of their core messages. Thus, the Manufacturer Defendants know their

detailing to doctors is effective.




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      103. The Manufacturer Defendants’ detailers have been reprimanded for

their deceptive promotions. In March 2010, for example, the FDA found that

Actavis had been distributing promotional materials that “minimize[] the risks

associated with Kadian and misleadingly suggest[] that Kadian is safer than has

been demonstrated.”     Those materials in particular “fail to reveal warnings

regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”73

                   ii. Indirect Marketing.
      104. The Manufacturer Defendants’ indirectly marketed their opioids using

unbranded advertising, paid speakers and “key opinion leaders” (“KOLs”), and

industry-funded organizations posing as neutral and credible professional societies

and patient advocacy groups (referred to hereinafter as “Front Groups”).

      105. The Manufacturer Defendants deceptively marketed opioids in the

State and Plaintiff’s Community through unbranded advertising – e.g., advertising

that promotes opioid use generally but does not name a specific opioid. This

advertising was ostensibly created and disseminated by independent third parties.

But by funding, directing, reviewing, editing, and distributing this unbranded

advertising, the Manufacturer Defendants controlled the deceptive messages
73
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns,
U.S. Food & Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb.
18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as

Defendants controlled the distribution of their “core messages” via their own

detailers and speaker programs, the Manufacturer Defendants similarly controlled

the distribution of these messages in scientific publications, treatment guidelines,

Continuing Medical Education (“CME”) programs, and medical conferences and

seminars. To this end, the Manufacturer Defendants used third-party public

relations firms to help control those messages when they originated from third-

parties.

       106. The Manufacturer Defendants marketed through third-party, unbranded

advertising to avoid regulatory scrutiny because that advertising is not submitted to

and typically is not reviewed by the FDA. The Manufacturer Defendants also used

third-party, unbranded advertising to give the false appearance that the deceptive

messages came from an independent and objective source. Like the tobacco

companies, the Manufacturer Defendants used third parties that they funded,

directed, and controlled to carry out and conceal their scheme to deceive doctors

and patients about the risks and benefits of long term opioid use for chronic pain.

       107. Defendants also identified doctors to serve, for payment, on their

speakers’ bureaus and to attend programs with speakers and meals paid for by

Defendants. These speaker programs provided: (1) an incentive for doctors to


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prescribe a particular opioid (so they might be selected to promote the drug); (2)

recognition and compensation for the doctors selected as speakers; and (3) an

opportunity to promote the drug through the speaker to his or her peers. These

speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by

Defendants. On information and belief, these presentations conveyed misleading

information, omitted material information, and failed to correct Defendants’ prior

misrepresentations about the risks and benefits of opioids.

      108. Borrowing a page from Big Tobacco’s playbook, the Manufacturer

Defendants worked through third parties they controlled by: (a) funding, assisting,

encouraging, and directing doctors who served as KOLS, and (b) funding,

assisting, directing, and encouraging seemingly neutral and credible Front Groups.

The Manufacturer Defendants then worked together with those KOLs and Front

Groups to taint the sources that doctors and patients relied on for ostensibly

“neutral” guidance, such as treatment guidelines, CME programs, medical

conferences and seminars, and scientific articles. Thus, working individually and

collectively, and through these Front Groups and KOLs, the Manufacturer

Defendants persuaded doctors and patients that what they have long known – that

opioids are addictive drugs, unsafe in most circumstances for long-term use – was

untrue, and that the compassionate treatment of pain required opioids.


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      109. In 2007, multiple States sued Purdue for engaging in unfair and

deceptive practices in its marketing, promotion, and sale of OxyContin. Certain

states settled their claims in a series Consent Judgments that prohibited Purdue

from making misrepresentations in the promotion and marketing of OxyContin in

the future. By using indirect marketing strategies, however, Purdue intentionally

circumvented these restrictions. Such actions include contributing the creation of

misleading publications and prescribing guidelines which lack reliable scientific

basis and promote prescribing practices which have worsened the opioid crisis.

      110. Pro-opioid doctors are one of the most important avenues that the

Manufacturer Defendants use to spread their false and deceptive statements about

the risks and benefits of long-term opioid use. The Manufacturer Defendants know

that doctors rely heavily and less critically on their peers for guidance, and KOLs

provide the false appearance of unbiased and reliable support for chronic opioid

therapy. For example, the State of New York found in its settlement with Purdue

that the Purdue website “In the Face of Pain” failed to disclose that doctors who

provided testimonials on the site were paid by Purdue and concluded that Purdue’s

failure to disclose these financial connections potentially misled consumers

regarding the objectivity of the testimonials.

      111. Defendants utilized many KOLs, including many of the same ones.




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      112. Dr. Russell Portenoy, former Chairman of the Department of Pain

Medicine and Palliative Care at Beth Israel Medical Center in New York, is one

example of a KOL whom the Manufacturer Defendants identified and promoted to

further their marketing campaign. Dr. Portenoy received research support,

consulting fees, and honoraria from Cephalon, Endo, Janssen, Purdue and

Mallinckrodt (among others), and was a paid consultant to Cephalon and Purdue.

Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society (“APS”) / American

Academy of Pain Medicine (“AAPM”) Guidelines Committees, which endorsed

the use of opioids to treat chronic pain, first in 1996 and again in 2009. He was

also a member of the board of the American Pain Foundation (“APF”), an

advocacy organization almost entirely funded by the Manufacturer Defendants.

      113. Dr. Portenoy also made frequent media appearances promoting opioids

and spreading misrepresentations, such as his claim that “the likelihood that the

treatment of pain using an opioid drug which is prescribed by a doctor will lead to

addiction is extremely low.” He appeared on Good Morning America in 2010 to

discuss the use of opioids long-term to treat chronic pain. On this widely-watched

program, broadcast across the country, Dr. Portenoy claimed: “Addiction, when

treating pain, is distinctly uncommon. If a person does not have a history, a

personal history, of substance abuse, and does not have a history in the family of


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substance abuse, and does not have a very major psychiatric disorder, most doctors

can feel very assured that that person is not going to become addicted.”74

           114. Dr. Portenoy later admitted that he “gave innumerable lectures in the

late 1980s and ‘90s about addiction that weren’t true.” These lectures falsely

claimed that fewer than 1% of patients would become addicted to opioids.

According to Dr. Portenoy, because the primary goal was to “destigmatize”

opioids, he and other doctors promoting them overstated their benefits and glossed

over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”75 Portenoy candidly stated: “Did I teach about pain

management, specifically about opioid therapy, in a way that reflects

misinformation? Well, . . . I guess I did.” 76

           115. Another KOL, Dr. Lynn Webster, was the co-founder and Chief

Medical Director of Lifetree Clinical Research, an otherwise unknown pain clinic

in Salt Lake City, Utah. Dr. Webster was President of American Academy of Pain

Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr.


74
     Good Morning America (ABC television broadcast Aug. 30, 2010).
75
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts,
Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB1000142412788732447830457817334265704460
4.
76
     Id.

                                           48
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Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and

Purdue. At the same time, Dr. Webster was receiving significant funding from the

Manufacturer Defendants (including nearly $2 million from Cephalon).

      116. During a portion of his time as a KOL, Dr. Webster was under

investigation for overprescribing by the U.S. Department of Justice’s Drug

Enforcement Agency, which raided his clinic in 2010. Although the investigation

was closed without charges in 2014, more than 20 of Dr. Webster’s former patients

at the Lifetree Clinic have died of opioid overdoses.

      117. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a

five question, one-minute screening tool relying on patient self-reports that

purportedly allows doctors to manage the risk that their patients will become

addicted to or abuse opioids. The claimed ability to pre-sort patients likely to

become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear

on, or are linked to, websites run by Endo, Janssen, and Purdue. Unaware of the

flawed science and industry bias underlying this tool, certain states and public

entities have incorporated the Opioid Risk Tool into their own guidelines,

indicating, also, their reliance on the Manufacturer Defendants and those under

their influence and control.


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      118. In 2011, Dr. Webster presented, via webinar, a program sponsored by

Purdue entitled “Managing Patient’s Opioid Use: Balancing the Need and the

Risk.” Dr. Webster recommended use of risk screening tools, urine testing, and

patient agreements as a way to prevent “overuse of prescriptions” and “overdose

deaths.” This webinar was available to and was intended to reach doctors in the

State and doctors treating members of Plaintiff’s Community. 77

      119. Dr. Webster also was a leading proponent of the concept of

“pseudoaddiction,” the notion that addictive behaviors should be seen not as

warnings, but as indications of undertreated pain. In Dr. Webster’s description, the

only way to differentiate the two was to increase a patient’s dose of opioids. As he

and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse While

Managing Pain—a book that is still available online—when faced with signs of

aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s

first response.” 78 Upon information and belief, Endo distributed this book to

doctors. Years later, Dr. Webster reversed himself, acknowledging that




77
  See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the
Need and the Risk, http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=20
9 (last visited Aug. 22, 2017).
78
  Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain
(2007).

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“[pseudoaddiction] obviously became too much of an excuse to give patients more

medication.” 79

      120. The Manufacturer Defendants also entered into arrangements with

seemingly unbiased and independent patient and professional organizations to

promote opioids for the treatment of chronic pain. Under the direction and control

of the Manufacturer Defendants, these “Front Groups” generated treatment

guidelines, unbranded materials, and programs that favored chronic opioid therapy.

They also assisted the Manufacturer Defendants by responding to negative articles,

by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable

patient populations targeted by the Manufacturer Defendants.

      121. These Front Groups depended on the Manufacturer Defendants for

funding and, in some cases, for survival. The Manufacturer Defendants also

exercised control over programs and materials created by these groups by

collaborating on, editing, and approving their content, and by funding their

dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants

wanted to distribute. Despite this, the Front Groups held themselves out as
79
  John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J.
Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html.

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independent and serving the needs of their members – whether patients suffering

from pain or doctors treating those patients.

      122. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized

many Front Groups, including many of the same ones. Several of the most

prominent are described below, but there are many others, including the American

Pain Society (“APS”), American Geriatrics Society (“AGS”), the Federation of

State Medical Boards (“FSMB”), American Chronic Pain Association (“ACPA”),

the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”)

and Pain & Policy Studies Group (“PPSG”). 80

      123. The most prominent of the Manufacturer Defendants’ Front Groups

was the American Pain Foundation (“APF”), which, upon information and belief,

received more than $10 million in funding from opioid manufacturers from 2007

until it closed its doors in May 2012, primarily from Endo and Purdue. APF issued

education guides for patients, reporters, and policymakers that touted the benefits

of opioids for chronic pain and trivialized their risks, particularly the risk of

addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse

80
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to
Sec. Thomas E. Price, U.S. Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%2
0to%20Secretary%20Price%20re%20FDA%20Opioid%20Prescriber%20Working
%20Group.pdf.

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outcomes – including death – among returning soldiers. APF also engaged in a

significant multimedia campaign – through radio, television and the internet – to

educate patients about their “right” to pain treatment, namely opioids. All of the

programs and materials were available nationally and were intended to reach

citizens of the State and Plaintiff’s Community.

       124. In 2009 and 2010, more than 80% of APF’s operating budget came

from pharmaceutical industry sources. Including industry grants for specific

projects, APF received about $2.3 million from industry sources out of total

income of about $2.85 million in 2009; its budget for 2010 projected receipts of

roughly $2.9 million from drug companies, out of total income of about $3.5

million. By 2011, upon information and belief, APF was entirely dependent on

incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid

using its line of credit.

       125. APF held itself out as an independent patient advocacy organization. It

often engaged in grassroots lobbying against various legislative initiatives that

might limit opioid prescribing, and thus the profitability of its sponsors. Upon

information and belief, it was often called upon to provide “patient

representatives” for the Manufacturer Defendants’ promotional activities,

including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants,


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not patients. Indeed, upon information and belief, as early as 2001, Purdue told

APF that the basis of a grant was Purdue’s desire to “strategically align its

investments in nonprofit organizations that share [its] business interests.”

      126. Plaintiff is informed, and believes, that on several occasions,

representatives of the Manufacturer Defendants, often at informal meetings at

conferences, suggested activities and publications for APF to pursue. APF then

submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

      127. The U.S. Senate Finance Committee began looking into APF in May

2012 to determine the links, financial and otherwise, between the organization and

the manufacturers of opioid painkillers. The investigation caused considerable

damage to APF’s credibility as an objective and neutral third party, and the

Manufacturer Defendants stopped funding it. Within days of being targeted by

Senate investigation, APF’s board voted to dissolve the organization “due to

irreparable economic circumstances.” APF “cease[d] to exist, effective

immediately.” 81

81
  Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’
Ties to Pain Groups, Wash. Post, May 8, 2012,
https://www.washingtonpost.com/national/health-science/senate-panel-
investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html.

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      128. Another front group for the Manufacturer Defendants was the

American Academy of Pain Medicine (“AAPM”). With the assistance, prompting,

involvement, and funding of the Manufacturer Defendants, the AAPM issued

purported treatment guidelines and sponsored and hosted medical education

programs essential to the Manufacturer Defendants’ deceptive marketing of

chronic opioid therapy.

      129. AAPM received substantial funding from opioid manufacturers. For

example, AAPM maintained a corporate relations council, whose members paid

$25,000 per year (on top of other funding) to participate. The benefits included

allowing members to present educational programs at off-site dinner symposia in

connection with AAPM’s marquee event – its annual meeting held in Palm

Springs, California, or other resort locations. AAPM describes the annual event as

an “exclusive venue” for offering education programs to doctors. Membership in

the corporate relations council also allows drug company executives and marketing

staff to meet with AAPM executive committee members in small settings.

Defendants Endo, Purdue, and Cephalon—and Mallinckrodt’s then-parent,

Covidien pllc—were members of the council and presented deceptive programs to

doctors who attended this annual event.

      130. Upon information and belief, AAPM is viewed internally by Endo as

“industry friendly,” with Endo advisors and speakers among its active members.


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Endo attended AAPM conferences, funded its CMEs, and distributed its

publications. The conferences sponsored by AAPM heavily emphasized sessions

on opioids – 37 out of roughly 40 at one conference alone. AAPM’s presidents

have included top industry-supported KOLs Perry Fine and Lynn Webster. Dr.

Webster was even elected president of AAPM while under a DEA investigation.

      131. The Manufacturer Defendants were able to influence AAPM through

both their significant and regular funding and the leadership of pro-opioid KOLs

within the organization.

      132. In 1996, AAPM and APS jointly issued a consensus statement, “The

Use of Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat

chronic pain and claimed that the risk of a patients’ addiction to opioids was low.

Dr. Haddox, who co-authored the AAPM/APS statement, was a paid speaker for

Purdue at the time. Dr. Portenoy was the sole consultant. The consensus statement

remained on AAPM’s website until 2011, and, upon information and belief, was

taken down from AAPM’s website only after a doctor complained. 82

      133. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS

Guidelines”) and continued to recommend the use of opioids to treat chronic




82
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement
From the American Academy of Pain Medicine and the American Pain Society, 13
Clinical J. Pain 6 (1997).

                                        56
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pain.83 Treatment guidelines have been relied upon by doctors, especially the

general practitioners and family doctors targeted by the Manufacturer Defendants.

Treatment guidelines not only directly inform doctors’ prescribing practices, but

are cited throughout the scientific literature and referenced by third-party payors in

determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue

discussed treatment guidelines with doctors during individual sales visits.

           134. At least fourteen of the 21 panel members who drafted the AAPM/APS

Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the University of

Utah, received support from Janssen, Cephalon, Endo, and Purdue. The 2009

Guidelines promote opioids as “safe and effective” for treating chronic pain,

despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. 84 One panel member,

Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and

founder of the Michigan Headache & Neurological Institute, resigned from the

panel because of his concerns that the 2009 Guidelines were influenced by

contributions that drug companies, including Manufacturer Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS

83
 Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in
Chronic Non-Cancer Pain, 10 J. Pain 113 (2009).
84
     Id.

                                          57
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Guidelines have been a particularly effective channel of deception and have

influenced not only treating physicians, but also the body of scientific evidence on

opioids; the Guidelines have been cited hundreds of times in academic literature,

were disseminated in the State and/or Plaintiff’s Community during the relevant

time period, are still available online, and were reprinted in the Journal of Pain.

The Manufacturer Defendants widely referenced and promoted the 2009

Guidelines without disclosing the lack of evidence to support them or the

Manufacturer Defendants financial support to members of the panel.

      135. The Manufacturer Defendants worked together, through Front Groups,

to spread their deceptive messages about the risks and benefits of long-term opioid

therapy. For example, Defendants combined their efforts through the Pain Care

Forum (“PCF”), which began in 2004 as an APF project. PCF is comprised of

representatives from opioid manufacturers (including Cephalon, Endo, Janssen,

and Purdue) and various Front Groups, almost all of which received substantial

funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably

negative and did not require mandatory participation by prescribers, which the

Manufacturer Defendants determined would reduce prescribing.

           2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the
              Risks and Benefits of Opioids.




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                   i.   The Manufacturer Defendants embarked upon a
                        campaign of false and deceptive assurances grossly
                        understating and misstating the dangerous addiction
                        risks of the opioid drugs.
      136. To falsely assure physicians and patients that opioids are safe, the

Manufacturer Defendants deceptively trivialized and failed to disclose the risks of

long-term opioid use, particularly the risk of addiction, through a series of

misrepresentations that have been conclusively debunked by the FDA and CDC.

These misrepresentations – which are described below – reinforced each other and

created the dangerously misleading impression that: (1) starting patients on opioids

was low risk because most patients would not become addicted, and because those

at greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and, in any event, could

easily be weaned from the drugs; (3) the use of higher opioid doses, which many

patients need to sustain pain relief as they develop tolerance to the drugs, do not

pose special risks; and (4) abuse-deterrent opioids both prevent abuse and overdose

and are inherently less addictive. The Manufacturer Defendants have not only

failed to correct these misrepresentations, they continue to make them today.

      137. Opioid manufacturers, including Defendants Endo Pharmaceuticals,

Inc. and Purdue Pharma L.P., have entered into settlement agreements with public

entities that prohibit them from making many of the misrepresentations identified

in this Complaint. Yet even afterward, each Manufacturer Defendant continued to

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misrepresent the risks and benefits of long-term opioid use in the State and

Plaintiff’s Community and each continues to fail to correct its past

misrepresentations.

      138. Some illustrative examples of the Manufacturer Defendants’ false and

deceptive claims about the purportedly low risk of addiction include:

          a. Actavis’s predecessor caused a patient education brochure, Managing
             Chronic Back Pain, to be distributed beginning in 2003 that admitted
             that opioid addiction is possible, but falsely claimed that it is “less
             likely if you have never had an addiction problem.” Based on
             Actavis’s acquisition of its predecessor’s marketing materials along
             with the rights to Kadian, it appears that Actavis continued to use this
             brochure in 2009 and beyond.

          b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide
             for People Living with Pain (2007), which suggested that addiction is
             rare and limited to extreme cases of unauthorized dose escalations,
             obtaining duplicative opioid prescriptions from multiple sources, or
             theft. This publication is still available online.85

          c. Endo sponsored a website, “PainKnowledge,” which, upon
             information and belief, claimed in 2009 that “[p]eople who take
             opioids as prescribed usually do not become addicted.” Upon
             information and belief, another Endo website, PainAction.com, stated
             “Did you know? Most chronic pain patients do not become addicted
             to the opioid medications that are prescribed for them.” Endo also
             distributed an “Informed Consent” document on PainAction.com that
             misleadingly suggested that only people who “have problems with
             substance abuse and addiction” are likely to become addicted to
             opioid medications.


85
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007)
[hereinafter APF, Treatment Options],
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

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            d. Upon information and belief, Endo distributed a pamphlet with the
               Endo logo entitled Living with Someone with Chronic Pain, which
               stated that: “Most health care providers who treat people with pain
               agree that most people do not develop an addiction problem.”

            e. Janssen reviewed, edited, approved, and distributed a patient
               education guide entitled Finding Relief: Pain Management for Older
               Adults (2009), which described as “myth” the claim that opioids are
               addictive, and asserted as fact that “[m]any studies show that opioids
               are rarely addictive when used properly for the management of
               chronic pain.”

            f. Janssen currently runs a website, Prescriberesponsibly.com (last
               updated July 2, 2015), which claims that concerns about opioid
               addiction are “overestimated.”

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
               Pain & Its Management, which claims that less than 1% of children
               prescribed opioids will become addicted and that pain is undertreated
               due to “[m]isconceptions about opioid addiction.” 86
            h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and
               Acting Responsibly to Ensure Safety (C.A.R.E.S.), through which it
               published and promoted the book “Defeat Chronic Pain Now!” aimed
               at chronic pain patients. The book, which is still available for sale in
               New Mexico and elsewhere, and is promoted online at
               www.defeatchronicpainnow.com, advises laypeople who are
               considering taking opioid drugs that “[o]nly rarely does opioid
               medication cause a true addiction.”87 Further, the book advises that
               even the issue of tolerance is “overblown,” because “[o]nly a minority
               of chronic pain patients who are taking long-term opioids develop
               tolerance.” In response to a hypothetical question from a chronic back
               pain patient who expresses a fear of becoming addicted, the book
               advises that “[i]t is very uncommon for a person with chronic pain to


86
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its
Management 6 (2011) [hereinafter APF, Policymaker’s Guide],
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
87
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).
                                           61
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             become ‘addicted’ to narcotics IF (1) he doesn’t have a prior history
             of any addiction and (2) he only takes the medication to treat pain.”

          i. Consistent with the Manufacturer Defendants’ published marketing
             materials, upon information and belief, detailers for Purdue, Endo,
             Janssen, Cephalon, and Mallinckrodt in the State and Plaintiff’s
             Community minimized or omitted any discussion with doctors of the
             risk of addiction; misrepresented the potential for abuse of opioids
             with purportedly abuse-deterrent formulations; and routinely did not
             correct the misrepresentations noted above.

          j. Seeking to overturn the criminal conviction of a doctor for illegally
             prescribing opioids, the Manufacturer Defendants’ Front Groups APF
             and NFP argued in an amicus brief to the United States Fourth Circuit
             Court of Appeals that “patients rarely become addicted to prescribed
             opioids,” citing research by their KOL, Dr. Portenoy. 88


      139. These claims are contrary to longstanding scientific evidence. A 2016

opioid-prescription guideline issued by the CDC (the “2016 CDC Guideline”)

explains that there is “[e]xtensive evidence” of the “possible harms of opioids

(including opioid use disorder [an alternative term for opioid addiction], [and]

overdose . . .).” 89 The 2016 CDC Guideline further explains that “[o]pioid pain

medication use presents serious risks, including overdose and opioid use disorder”


88
   Brief of the American Pain Foundation, the National Pain Foundation, and the
National Foundation for the Treatment of Pain in Support of Appellant and
Reversal of the Conviction, United States v. Hurowitz, No. 05-4474 (4th Cir. Sept.
8, 2005) [hereinafter Brief of APF] at 9.
89
  Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic
Pain—United States, 2016, Morbidity & Mortality Wkly. Rep., Mar. 18, 2016, at
15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

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and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.” 90

         140. The FDA further exposed the falsity of Defendants’ claims about the

low risk of addiction when it announced changes to the labels for extended-release

and long-acting (“ER/LA”) opioids in 2013 and for immediate release (“IR”)

opioids in 2016. In its announcements, the FDA found that “most opioid drugs

have ‘high potential for abuse’” and that opioids “are associated with a substantial

risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

overdose, and death.” According to the FDA, because of the “known serious risks”

associated with long-term opioid use, including “risks of addiction, abuse, and

misuse, even at recommended doses, and because of the greater risks of overdose

and death,” opioids should be used only “in patients for whom alternative

treatment options” like non-opioid drugs have failed.91



90
     Id. at 2, 25.
91
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and
Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to
Andrew Koldny, M.D., President, Physicians for Responsible Opioid Prescribing
(Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-
2012-P-0818-0793&attachmentNumber=1&contentType=pdf.; Letter from Janet
Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and
Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers &
Jennifer A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.

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      141. The State of New York, in a 2016 settlement agreement with Endo,

found that opioid “use disorders appear to be highly prevalent in chronic pain

patients treated with opioids, with up to 40% of chronic pain patients treated in

specialty and primary care outpatient centers meeting the clinical criteria for an

opioid use disorder.” 92 Endo had claimed on its www.opana.com website that

“[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but the State of

New York found that Endo had no evidence for that statement. Consistent with

this, Endo agreed not to “make statements that . . . opioids generally are non-

addictive” or “that most patients who take opioids do not become addicted” in New

York. Endo remains free, however, to make those statements in this State.

      142. In addition to mischaracterizing the highly addictive nature of the drugs

they were pushing, the Manufacturer Defendants also fostered a fundamental

misunderstanding of the signs of addiction. Specifically, the Manufacturer

Defendants misrepresented, to doctors and patients, that warning signs and/or

symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose

for patients who were already in danger.

92
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo
Pharm. Inc. (Assurance No. 15-228), at 16,
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

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      143. To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term.

Examples of the false, misleading, deceptive, and unfair statements regarding

pseudoaddiction include:

          a. Cephalon and Purdue sponsored Responsible Opioid Prescribing
             (2007), which taught that behaviors such as “requesting drugs by
             name,” “demanding or manipulative behavior,” seeing more than one
             doctor to obtain opioids, and hoarding, are all signs of
             pseudoaddiction, rather than true addiction.93 The 2012 edition,
             which remains available for sale online, continues to teach that
             pseudoaddiction is real. 94

          b. Janssen sponsored, funded, and edited the Let’s Talk Pain website,
             which in 2009 stated: “pseudoaddiction . . . refers to patient behaviors
             that may occur when pain is under-treated . . . . Pseudoaddiction is
             different from true addiction because such behaviors can be resolved
             with effective pain management.”

          c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME
             program in 2009 entitled “Chronic Opioid Therapy: Understanding
             Risk While Maximizing Analgesia,” which, upon information and
             belief, promoted pseudoaddiction by teaching that a patient’s aberrant
             behavior was the result of untreated pain. Endo appears to have
             substantially controlled NIPC by funding NIPC projects; developing,
             specifying, and reviewing content; and distributing NIPC materials.

          d. Purdue published a pamphlet in 2011 entitled Providing Relief,
             Preventing Abuse, which, upon information and belief, described
             pseudoaddiction as a concept that “emerged in the literature” to


93
  Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide
(2007) at 62.
94
 See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s
Guide (2d ed. 2012).

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            describe the inaccurate interpretation of [drug-seeking behaviors] in
            patients who have pain that has not been effectively treated.”

         e. Upon information and belief, Purdue sponsored a CME program titled
            “Path of the Patient, Managing Chronic Pain in Younger Adults at
            Risk for Abuse”. In a role play, a chronic pain patient with a history of
            drug abuse tells his doctor that he is taking twice as many
            hydrocodone pills as directed. The narrator notes that because of
            pseudoaddiction, the doctor should not assume the patient is addicted
            even if he persistently asks for a specific drug, seems desperate,
            hoards medicine, or “overindulges in unapproved escalating doses.”
            The doctor treats this patient by prescribing a high-dose, long-acting
            opioid.
         f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and
            Acting Responsibly to Ensure Safety (C.A.R.E.S.), through which it
            published and promoted the book “Defeat Chronic Pain Now!” aimed
            at chronic pain patients. The book, which is still available for sale in
            New Mexico and elsewhere, and is promoted online at
            www.defeatchronicpainnow.com,          teaches      laypeople       that
            “pseudoaddiction” is “caused by their doctor not appropriately
            prescribing the opioid medication.” It teaches that “[p]seudoaddiction
            happens when a patient’s opioid medication is not being prescribed in
            doses strong enough to provide good pain relief, or if the drug is not
            being prescribed often enough throughout the day. . . When a
            pseudoaddicted patient is prescribed the proper amount of opioid
            medication, he or she doesn’t take any extra pills because his or her
            pain is relieved.”

      144. In the 2016 CDC Guideline, the CDC rejects the validity of the

pseudoaddiction fallacy invented by a Purdue employee as a reason to push more

opioid drugs onto already addicted patients.

      145. In addition to misstating the addiction risk and inventing the

pseudoaddiction falsehood, a third category of false and deceptive practice is the

Manufacturer Defendants’ false instructions that addiction risk screening tools,

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patient contracts, urine drug screens, and similar strategies allow them to reliably

identify and safely prescribe opioids to patients predisposed to addiction. These

misrepresentations were especially insidious because the Manufacturer Defendants

aimed them at general practitioners and family doctors who lack the time and

expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable

prescribing opioids to their patients, and patients more comfortable starting on

opioid therapy for chronic pain. Illustrative examples include:

         a. Endo paid for a 2007 supplement in the Journal of Family Practice
            written by a doctor who became a member of Endo’s speakers bureau
            in 2010. The supplement, entitled Pain Management Dilemmas in
            Primary Care: Use of Opioids, emphasized the effectiveness of
            screening tools, claiming that patients at high risk of addiction could
            safely receive chronic opioid therapy using a “maximally structured
            approach” involving toxicology screens and pill counts.

         b. Purdue, upon information and belief, sponsored a 2011 webinar,
            Managing Patient’s Opioid Use: Balancing the Need and Risk, which
            claimed that screening tools, urine tests, and patient agreements
            prevent “overuse of prescriptions” and “overdose deaths.”

         c. As recently as 2015, upon information and belief, Purdue has
            represented in scientific conferences that “bad apple” patients – and
            not opioids – are the source of the addiction crisis and that once those
            “bad apples” are identified, doctors can safely prescribe opioids
            without causing addiction.

      146. The 2016 CDC Guideline confirms the falsity of these claims. The

Guideline explains that there are no studies assessing the effectiveness of risk



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mitigation strategies “for improving outcomes related to overdose, addiction, abuse

or misuse.” 95

         147. A fourth category of deceptive messaging regarding dangerous opioids

is the Manufacturer Defendants’ false assurances regarding the alleged ease of

eliminating opioid dependence. The Manufacturer Defendants falsely claimed that

opioid dependence can easily be addressed by tapering and that opioid withdrawal

is not a problem, but they failed to disclose the increased difficulty of stopping

opioids after long-term use. In truth, the 2016 CDC Guideline explains that the

symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous

abortion and premature labor in pregnant women. 96

         148. The Manufacturer Defendants nonetheless downplayed the severity of

opioid detoxification. For example, upon information and belief, a CME sponsored

by Endo, entitled Persistent Pain in the Older Adult, claimed that withdrawal

symptoms can be avoided by tapering a patient’s opioid dose by 10%-20% for 10

days. And Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain

& Its Management, which claimed that “[s]ymptoms of physical dependence can

often be ameliorated by gradually decreasing the dose of medication during


95
     Id. at 11.
96
     Id. at 26.

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discontinuation” without mentioning any hardships that might occur.97 Similarly,

in the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,

potential opioid users are advised that tolerance to opioids is “easily remedied,”

and that “[a]ll patients can be safely taken off opioid medication if the dose is

slowly tapered down by their doctor.”

        149. A fifth category of false and deceptive statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased

indefinitely without added risk. The ability to escalate dosages was critical to

Defendants’ efforts to market opioids for long-term use to treat chronic pain

because, absent this misrepresentation, doctors would have abandoned treatment

when patients built up tolerance and lower dosages did not provide pain relief. The

Manufacturer Defendants’ deceptive claims include:

            a. Upon information and belief, Actavis’s predecessor created a patient
               brochure for Kadian in 2007 that stated, “Over time, your body may
               become tolerant of your current dose. You may require a dose
               adjustment to get the right amount of pain relief. This is not
               addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears
               to have continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide
               for People Living with Pain (2007), which claims that some patients
               “need” a larger dose of an opioid, regardless of the dose currently
               prescribed. The guide stated that opioids have “no ceiling dose” and


97
     APF, Policymaker’s Guide, supra, at 32.

                                         69
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               insinuated that they are therefore the most appropriate treatment for
               severe pain.98 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon
               information and belief, claimed in 2009 that opioid dosages may be
               increased until “you are on the right dose of medication for your
               pain.”

            d. Endo distributed a pamphlet edited by a KOL entitled Understanding
               Your Pain: Taking Oral Opioid Analgesics (2004 Endo
               Pharmaceuticals PM-0120). In Q&A format, it asked “If I take the
               opioid now, will it work later when I really need it?” The response is,
               “The dose can be increased. . . . You won’t ‘run out’ of pain relief.” 99

            e. Janssen sponsored a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009), which was distributed by
               its sales force. This guide listed dosage limitations as “disadvantages”
               of other pain medicines but omitted any discussion of risks of
               increased opioid dosages.

            f. Upon information and belief, Purdue’s In the Face of Pain website
               promoted the notion that if a patient’s doctor does not prescribe what,
               in the patient’s view, is a sufficient dosage of opioids, he or she
               should find another doctor who will.

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding
               Pain & Its Management, which taught that dosage escalations are
               “sometimes necessary,” and that “the need for higher doses of
               medication is not necessarily indicative of addiction,” but inaccurately
               downplayed the risks from high opioid dosages. 100

            h. In 2007, Purdue sponsored a CME entitled “Overview of Management
               Options” that was available for CME credit and available until at least


98
     APF, Treatment Options, supra, at 12.
99
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain:
Taking Oral Opioid Analgesics (Russell K Portenoy, M.D., ed., 2004).
100
      APF, Policymaker’s Guide, supra, at 32.

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               2012. The CME was edited by a KOL and taught that NSAIDs and
               other drugs, but not opioids, are unsafe at high dosages.

            i. Purdue presented a 2015 paper at the College on the Problems of Drug
               Dependence, “the oldest and largest organization in the US dedicated
               to advancing a scientific approach to substance use and addictive
               disorders,” challenging the correlation between opioid dosage and
               overdose. 101
            j. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic
               Pain Now!” potential opioid users are warned about of the risk of
               “[p]seudoaddiction [b]ecause of a [l]ow [d]ose,” and advised that this
               condition may be corrected through the prescription of a higher dose.
               Similarly, the book recommends that for chronic pain patients, the
               opioid dose should be “gradually increased to find the best daily dose,
               as is done with all the other oral drugs.” The book discusses the risks
               of NSAIDs and other drugs at higher doses, but not explain this risk
               for opioids.

            k. Seeking to overturn the criminal conviction of a doctor for illegally
               prescribing opioids, the Manufacturer Defendants’ Front Groups APF
               and NFP argued in an amicus brief to the United States Fourth Circuit
               Court of Appeals that “there is no ‘ceiling dose’” for opioids. 102

         150. Once again, the 2016 CDC Guideline reveals that the Manufacturer

Defendants’ representations regarding opioids were lacking in scientific evidence.

The 2016 CDC Guideline clarifies that the “[b]enefits of high-dose opioids for

chronic pain are not established” while the “risks for serious harms related to

opioid therapy increase at higher opioid dosage.”103 More specifically, the CDC


101
   The College on Problems of Drug Dependence, About the College,
http://cpdd.org (last visited Aug. 21, 2017).
102
      Brief of APF, supra, at 9.
103
      2016 CDC Guideline, supra, at 22–23.

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explains that “there is now an established body of scientific evidence showing that

overdose risk is increased at higher opioid dosages.” 104 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death

at higher dosages.” 105 That is why the CDC advises doctors to “avoid increasing

dosage” to above 90 morphine milligram equivalents per day. 106

         151. Defendants’ deceptive marketing of the so-called abuse-deterrent

properties of some of their opioids has created false impressions that these opioids

can cure addiction and abuse.

         152. The Manufacturer Defendants made misleading claims about the ability

of their so-called abuse-deterrent opioid formulations to deter abuse. For example,

Endo’s advertisements for the 2012 reformulation of Opana ER claimed that it was

designed to be crush resistant, in a way that suggested it was more difficult to

abuse. This claim was false. The FDA warned in a 2013 letter that Opana ER

Extended-Release Tablets’ “extended-release features can be compromised,

causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation

such as cutting, grinding, or chewing, followed by swallowing.”107 Also troubling,

104
      Id. at 23–24.
105
      Id. at 21.
106
      Id. at 16.
107
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and
Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to
Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10, 2013), at 5.
                                         72
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Opana ER can be prepared for snorting using commonly available methods and

“readily prepared for injection.” 108 The letter discussed “the troubling possibility

that a higher (and rising) percentage of [Opana ER Extended-Release Tablet] abuse

is occurring via injection.” 109 Endo’s own studies, which it failed to disclose,

showed that Opana ER could still be ground and chewed. In June 2017, the FDA

requested that Opana ER be removed from the market.

                       ii. The Manufacturer Defendants embarked upon a
                           campaign of false and deceptive assurances grossly
                           overstating the benefits of the opioid drugs.
         153. To convince doctors and patients that opioids should be used to treat

chronic pain, the Manufacturer Defendants also had to persuade them that there

was a significant upside to long-term opioid use. But as the CDC Guideline makes

clear, “[n]o evidence shows a long-term benefit of opioids in pain and function

versus no opioids for chronic pain with outcomes examined at least 1 year later

(with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that

other treatments were more or equally beneficial and less harmful than long-term

opioid use. 110 The FDA, too, has recognized the lack of evidence to support long-

term opioid use. Despite this, Defendants falsely and misleadingly touted the



108
      Id. at 6.
109
      Id. at 6 n.21.
110
      Id. at 15.

                                         73
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benefits of long-term opioid use and falsely and misleadingly suggested that these

benefits were supported by scientific evidence.

      154. Some illustrative examples of the Manufacturer Defendants’ false

claims are:

         a. Upon information and belief, Actavis distributed an advertisement
            claiming that the use of Kadian to treat chronic pain would allow
            patients to return to work, relieve “stress on your body and your
            mental health,” and help patients enjoy their lives.

         b. Endo distributed advertisements that claimed that the use of Opana
            ER for chronic pain would allow patients to perform demanding tasks
            like construction work or work as a chef and portrayed seemingly
            healthy, unimpaired subjects.

         c. Janssen sponsored and edited a patient education guide entitled
            Finding Relief: Pain Management for Older Adults (2009) – which
            states as “a fact” that “opioids may make it easier for people to live
            normally.” The guide lists expected functional improvements from
            opioid use, including sleeping through the night, returning to work,
            recreation, sex, walking, and climbing stairs.

         d. Janssen promoted Ultracet for everyday chronic pain and distributed
            posters, for display in doctors’ offices, of presumed patients in active
            professions; the caption read, “Pain doesn’t fit into their schedules.”

         e. Upon information and belief, Purdue ran a series of advertisements for
            OxyContin in 2012 in medical journals entitled “Pain vignettes,”
            which were case studies featuring patients with pain conditions
            persisting over several months and recommending OxyContin for
            them. The ads implied that OxyContin improves patients’ function.

         f. Responsible Opioid Prescribing (2007), sponsored and distributed by
            Cephalon, Endo and Purdue, taught that relief of pain by opioids, by
            itself, improved patients’ function.



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            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide
               for People Living with Pain (2007), which counseled patients that
               opioids “give [pain patients] a quality of life we deserve.”111 This
               publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon
               information and belief, that with opioids, “your level of function
               should improve; you may find you are now able to participate in
               activities of daily living, such as work and hobbies, that you were not
               able to enjoy when your pain was worse.” Elsewhere, the website
               touted improved quality of life (as well as “improved function”) as
               benefits of opioid therapy. The grant request that Endo approved for
               this project specifically indicated NIPC’s intent to make misleading
               claims about function, and Endo closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs
               entitled “Persistent Pain in the Older Patient.”112 Upon information
               and belief, a CME disseminated via webcast claimed that chronic
               opioid therapy has been “shown to reduce pain and improve
               depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education
               campaign called “Let’s Talk Pain.” One feature of the campaign was
               to complain that patients were under-treated. In 2009, upon
               information and belief, a Janssen-sponsored website, part of the “Let’s
               Talk Pain” campaign, featured an interview edited by Janssen
               claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A
               Policymaker’s Guide to Understanding Pain & Its Management,
               which claimed that “[m]ultiple clinical studies” have shown that
               opioids are effective in improving “[d]aily function,” “[p]sychological



111
      APF, Treatment Options, supra.
112
   E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20I
nvite.pdf.

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               health,” and “[o]verall health-related quality of life for chronic
               pain.”113 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives
               have conveyed and continue to convey the message that opioids will
               improve patient function.

         155. As the FDA and other agencies have made clear for years, these claims

have no support in the scientific literature.

         156. In 2010, the FDA warned Actavis, in response to its advertising of

Kadian described above, that “we are not aware of substantial evidence or

substantial clinical experience demonstrating that the magnitude of the effect of the

drug [Kadian] has in alleviating pain, taken together with any drug-related side

effects patients may experience . . . results in any overall positive impact on a

patient’s work, physical and mental functioning, daily activities, or enjoyment of

life.” 114 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making it clear “that [the claim that] patients who are

treated with the drug experience an improvement in their overall function, social

function, and ability to perform daily activities . . . has not been demonstrated by

substantial evidence or substantial clinical experience.”

         157. The   Manufacturer    Defendants   also   falsely   and   misleadingly

emphasized or exaggerated the risks of competing medications like NSAIDs, so

113
      APF, Policymaker’s Guide, supra, at 29.
114
      Letter from Thomas Abrams to Doug Boothe, supra.

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that doctors and patients would look to opioids first for the treatment of chronic

pain. Once again, these misrepresentations by the Manufacturer Defendants

contravene pronouncements by and guidance from the FDA and CDC based on the

scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013

and IR opioids in 2016 to state that opioids should only be used as a last resort “in

patients for which alternative treatment options” like non-opioid drugs “are

inadequate.” And the 2016 CDC Guideline states that NSAIDs, not opioids, should

be the first-line treatment for chronic pain, particularly arthritis and lower back

pain.115 Purdue misleadingly promoted OxyContin as being unique among opioids

in providing 12 continuous hours of pain relief with one dose. In fact, OxyContin

does not last for 12 hours – a fact that Purdue has known at all times relevant to

this action. Upon information and belief, Purdue’s own research shows that

OxyContin wears off in under six hours in one quarter of patients and in under 10

hours in more than half. This is because OxyContin tablets release approximately

40% of their active medicine immediately, after which release tapers. This triggers

a powerful initial response, but provides little or no pain relief at the end of the

dosing period, when less medicine is released. This phenomenon is known as “end

of dose” failure, and the FDA found in 2008 that a “substantial proportion” of

chronic pain patients taking OxyContin experience it. This not only renders

115
      2016 CDC Guideline, supra, at 12.

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Purdue’s promise of 12 hours of relief false and deceptive, it also makes

OxyContin more dangerous because the declining pain relief patients experience

toward the end of each dosing period drives them to take more OxyContin before

the next dosing period begins, quickly increasing the amount of drug they are

taking and spurring growing dependence.

      158. Purdue’s competitors were aware of this problem. For example, upon

information and belief, Endo ran advertisements for Opana ER referring to “real”

12-hour dosing. Nevertheless, Purdue falsely promoted OxyContin as if it were

effective for a full 12 hours. Upon information and belief, Purdue’s sales

representatives continue to tell doctors that OxyContin lasts a full 12 hours.

      159. Front    Groups    supported    by    Purdue    likewise   echoed     these

representations. For example, in an amicus brief submitted to the Supreme Court of

Ohio by the American Pain Foundation, the National Foundation for the Treatment

of Pain and the Ohio Pain Initiative in support of Purdue, those amici represented:

      OxyContin is particularly useful for sustained long-term pain because
      it comes in higher, compact pills with a slow release coating.
      OxyContin pills can work for 12 hours. This makes it easier for
      patients to comply with dosing requirements without experiencing a
      roller-coaster of pain relief followed quickly by pain renewal that can
      occur with shorter acting medications. It also helps the patient sleep
      through the night, which is often impossible with short-acting




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       medications. For many of those serviced by Pain Care Amici,
       OxyContin has been a miracle medication. 116

       160. Cephalon deceptively marketed its opioids Actiq and Fentora for

chronic pain even though the FDA has expressly limited their use to the treatment

of cancer pain in opioid tolerant individuals. Both Actiq and Fentora are extremely

powerful fentanyl-based IR opioids. Neither is approved for or has been shown to

be safe or effective for chronic pain. Indeed, the FDA expressly prohibited

Cephalon from marketing Actiq for anything but cancer pain, and refused to

approve Fentora for the treatment of chronic pain because of the potential harm,

including the high risk of “serious and life-threatening adverse events” and abuse –

which are greatest in non-cancer patients. The FDA also issued a Public Health

Advisory in 2007 emphasizing that Fentora should only be used for cancer patients

who are opioid-tolerant and should not be used for any other conditions, such as

migraines, post-operative pain, or pain due to injury. 117 Specifically, the FDA

advised that Fentora “is only approved for breakthrough cancer pain in patients



116
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National
Foundation for the Treatment of Pain and the Ohio Pain Initiative Supporting
Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio Apr. 13,
2004), 2004 WL 1637768, at *4 (footnote omitted).
117
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information
for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatie
ntsandProviders/ucm051273.htm.

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who are opioid-tolerant, meaning those patients who take a regular, daily, around-

the-clock narcotic pain medication.”118

            161. Despite this, Cephalon conducted and continues to conduct a well-

funded campaign to promote Actiq and Fentora for chronic pain and other non-

cancer conditions for which it was not approved, appropriate, and for which it is

not safe. As part of this campaign, Cephalon used CMEs, speaker programs,

KOLs, journal supplements, and detailing by its sales representatives to give

doctors the false impression that Actiq and Fentora are safe and effective for

treating non-cancer pain. For example:

            a. Cephalon paid to have a CME it sponsored, Opioid-Based Management
               of Persistent and Breakthrough Pain, published in a supplement of Pain
               Medicine News in 2009. The CME instructed doctors that “[c]linically,
               broad classification of pain syndromes as either cancer- or non-cancer-
               related has limited utility” and recommended Actiq and Fentora for
               patients with chronic pain.

            b. Upon information and belief, Cephalon’s sales representatives set up
               hundreds of speaker programs for doctors, including many non-
               oncologists, which promoted Actiq and Fentora for the treatment of non-
               cancer pain.

            c. In December 2011, Cephalon widely disseminated a journal supplement
               entitled “Special Report: An Integrated Risk Evaluation and Mitigation
               Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal
               Fentanyl Citrate (ACTIQ)” to Anesthesiology News, Clinical Oncology
               News, and Pain Medicine News – three publications that are sent to
               thousands of anesthesiologists and other medical professionals. The

118
      Id.

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         Special Report openly promotes Fentora for “multiple causes of pain” –
         and not just cancer pain.

      162. Cephalon’s deceptive marketing gave doctors and patients the false

impression that Actiq and Fentora were not only safe and effective for treating

chronic pain, but were also approved by the FDA for such uses.

      163. Purdue also unlawfully and unfairly failed to report or address illicit

and unlawful prescribing of its drugs, despite knowing about it for years. Purdue’s

sales representatives have maintained a database since 2002 of doctors suspected

of inappropriately prescribing its drugs. Rather than report these doctors to state

medical boards or law enforcement authorities (as Purdue is legally obligated to

do) or cease marketing to them, Purdue used the list to demonstrate the high rate of

diversion of OxyContin – the same OxyContin that Purdue had promoted as less

addictive – in order to persuade the FDA to bar the manufacture and sale of generic

copies of the drug because the drug was too likely to be abused. In an interview

with the Los Angeles Times, Purdue’s senior compliance officer acknowledged

that in five years of investigating suspicious pharmacies, Purdue failed to take

action – even where Purdue employees personally witnessed the diversion of its

drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than

1.1 million OxyContin tablets and that Purdue’s district manager described it

internally as “an organized drug ring” until years after law enforcement shut it
                                        81
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down. In doing so, Purdue protected its own profits at the expense of public health

and safety. 119

       164. Like Purdue, Endo has been cited for its failure to set up an effective

system for identifying and reporting suspicious prescribing. In its settlement

agreement with Endo, the State of New York found that Endo failed to require

sales representatives to report signs of abuse, diversion, and inappropriate

prescribing; paid bonuses to sales representatives for detailing prescribers who

were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct

had caused them to be placed on a no-call list.

            3. The Manufacturer Defendants Targeted Susceptible Prescribers and
               Vulnerable Patient Populations.

       165. As a part of their deceptive marketing scheme, the Manufacturer

Defendants identified and targeted susceptible prescribers and vulnerable patient

populations in the U.S., including this State and Plaintiff’s Community. For

example, the Manufacturer Defendants focused their deceptive marketing on

primary care doctors, who were more likely to treat chronic pain patients and

prescribe them drugs, but were less likely to be educated about treating pain and



119
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the
Hands of Criminals and Addicts. What the Drugmaker Knew, L.A. Times, July 10,
2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.

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the risks and benefits of opioids and therefore more likely to accept the

Manufacturer Defendants’ misrepresentations.

         166. The Manufacturer Defendants also targeted vulnerable patient

populations like the elderly and veterans, who tend to suffer from chronic pain.

The Manufacturer Defendants targeted these vulnerable patients even though the

risks of long-term opioid use were significantly greater for them. For example, the

2016 CDC Guideline observes that existing evidence confirms that elderly patients

taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe

dosages. 120 The 2016 CDC Guideline concludes that there must be “additional

caution and increased monitoring” to minimize the risks of opioid use in elderly

patients. Id. at 27. The same is true for veterans, who are more likely to use anti-

anxiety drugs (benzodiazepines) for post-traumatic stress disorder, which interact

dangerously with opioids.

             4. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
                Promote Subsys.

         167. Insys’s opioid, Subsys, was approved by the FDA in 2012 for

“management of breakthrough pain in adult cancer patients who are already

receiving and who are tolerant to around-the-clock opioid therapy for their

underlying persistent cancer pain.” Under FDA rules, Insys could only market

120
      2016 CDC Guideline, supra, at 13.

                                           83
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Subsys for this use. Subsys consists of the highly addictive narcotic, fentanyl,

administered via a sublingual (under the tongue) spray, which provides rapid-

onset pain relief. It is in the class of drugs described as Transmucosal Immediate-

Release Fentanyl (“TIRF”).

       168. To reduce the risk of abuse, misuse, and diversion, the FDA instituted

a Risk Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF

products, such as Cephalon’s Actiq and Fentora. The purpose of REMS was to

educate “prescribers, pharmacists, and patients on the potential for misuse, abuse,

addiction, and overdose” for this type of drug and to “ensure safe use and access

to these drugs for patients who need them.” 121 Prescribers must enroll in the TIRF

REMS before writing a prescription for Subsys.

       169. Since its launch, Subsys has been an extremely expensive medication,

and its price continues to rise each year. Depending on a patient’s dosage and

frequency of use, a month’s supply of Subsys could cost in the thousands of

dollars.

       170. Due to its high cost, in most instances prescribers must submit Subsys

prescriptions to insurance companies or health benefit payors for prior

authorization to determine whether they will pay for the drug prior to the patient

attempting to fill the prescription.   According to the U.S. Senate Homeland
121
  Press Release, FDA, FDA Approves Shared System REMS for TIRF Products,
Dec. 29, 2011.
                                        84
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Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient

had an active cancer diagnosis, was being treated by an opioid (and, thus, was

opioid tolerant), and was being prescribed Subsys to treat breakthrough pain that

the other opioid could not eliminate. If any one of these factors was not present,

the prior authorization would be denied . . . .” 122

       171. These prior authorization requirements proved to be daunting. Subsys

received reimbursement approval in only approximately 30% of submitted claims.

In order to increase approvals, Insys created a prior authorization unit, called the

Insys Reimbursement Center (“IRC”), to obtain approval for Subsys

reimbursements. This unit employed a number of fraudulent and misleading

tactics to secure reimbursements, including falsifying medical histories of

patients, falsely claiming that patients had cancer, and providing misleading

information to insurers and payors regarding patients’ diagnoses and medical

conditions.

       172. Subsys has proved to be extremely profitable for Insys. Insys made

approximately $330 million in net revenue from Subsys last year. Between 2013

and 2016, the value of Insys stock rose 296%.
122
   U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling
an Epidemic, Insys Therapeutics and the Systemic Manipulation of Prior
Authorization, https://www.documentcloud.org/documents/3987564-REPORT-
Fueling-an-Epidemic-Insys-Therapeutics.html.
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            173. Since its launch in 2012, Insys aggressively worked to grow its profits

through fraudulent, illegal, and misleading tactics, including its reimbursement-

related fraud. Through its sales representatives and other marketing efforts, Insys

deceptively promoted Subsys as safe and appropriate for uses such as neck and

back pain, without disclosing the lack of approval or evidence for such uses, and

misrepresented the appropriateness of Subsys for treatment those conditions. It

implemented a kickback scheme wherein it paid prescribers for fake speakers

programs in exchange for prescribing Subsys.              All of these fraudulent and

misleading schemes had the effect of pushing Insys’s dangerous opioid onto

patients who did not need it.

            174. Insys incentivized its sales force to engage in illegal and fraudulent

conduct. Many of the Insys sales representatives were new to the pharmaceutical

industry and their base salaries were low compared to industry standard. The

compensation structure was heavily weighted toward commissions and rewarded

reps more for selling higher (and more expensive) doses of Subsys, a “highly

unusual” practice because most companies consider dosing a patient-specific

decision that should be made by a doctor.123

            175. The Insys “speakers program” was perhaps its most widespread and

damaging scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam


123
      Id.
                                             86
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action that the sole purpose of the speakers program was “in the words of his then

supervisor Alec Burlakoff, ‘to get money in the doctor’s pocket.’” Furchak went

on to explain that “[t]he catch . . . was that doctors who increased the level of

Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program—and

the checks.”124 It was a pay-to-prescribe program.

       176. Insys’s sham speaker program and other fraudulent and illegal tactics

have been outlined in great detail in indictments and guilty pleas of Insys

executives, employees, and prescribers across the country, as well as in a number

of lawsuits against the company itself.

       177. In May of 2015, two Alabama pain specialists were arrested and

charged with illegal prescription drug distribution, among other charges. The

doctors were the top prescribers of Subsys, though neither were oncologists.

According to prosecutors, the doctors received illegal kickbacks from Insys for

prescribing Subsys. Both doctors had prescribed Subsys to treat neck, back, and

joint pain. In February of 2016, a former Insys sales manager pled guilty to

conspiracy to commit health care fraud, including engaging in a kickback scheme

in order to induce one of these doctors to prescribe Subsys. The plea agreement

states that nearly all of the Subsys prescriptions written by the doctor were off-
124
   Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern
Investigative Reporting Foundation, The Investigator, April 24, 2015.
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label to non-cancer patients. In May of 2017, one of the doctors was sentenced to

20 years in prison.

      178. In June of 2015, a nurse practitioner in Connecticut described as the

state’s highest Medicare prescriber of narcotics, pled guilty to receiving $83,000

in kickbacks from Insys for prescribing Subsys.        Most of her patients were

prescribed the drug for chronic pain. Insys paid the nurse as a speaker for more

than 70 dinner programs at approximately $1,000 per event; however, she did not

give any presentations.    In her guilty plea, the nurse admitted receiving the

speaker fees in exchange for writing prescriptions for Subsys.

      179. In August of 2015, Insys settled a complaint brought by the Oregon

Attorney General. In its complaint, the Oregon Department of Justice cited Insys

for, among other things, misrepresenting to doctors that Subsys could be used to

treat migraine, neck pain, back pain, and other uses for which Subsys is neither

safe nor effective, and using speaking fees as kickbacks to incentivize doctors to

prescribe Subsys.

      180. In August of 2016, the State of Illinois sued Insys for similar deceptive

and illegal practices. The Complaint alleged that Insys marketed Subsys to high-

volume prescribers of opioid drugs instead of to oncologists whose patients

experienced the breakthrough cancer pain for which the drug is indicated. The

Illinois Complaint also details how Insys used its speaker program to pay high


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volume prescribers to prescribe Subsys. The speaker events took place at upscale

restaurants in the Chicago area, and Illinois speakers received an “honorarium”

ranging from $700 to $5,100, and they were allowed to order as much food and

alcohol as they wanted. At most of the events, the “speaker” being paid by Insys

did not speak, and, on many occasions, the only attendees at the events were the

speaker and an Insys sales representative.

       181. In December of 2016, six Insys executives and managers were indicted

and then, in October 2017, Insys’s founder and owner was arrested and charged

with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies.        A U.S.

Department of Justice press release explained that, among other things: “Insys

executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA

requirements, thus putting patients at risk and contributing to the current opioid

crisis.”125 A Drug Enforcement Administration (“DEA”) Special Agent in Charge

further explained that: “Pharmaceutical companies whose products include

controlled medications that can lead to addiction and overdose have a special



125
   Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner
of Pharmaceutical Company Insys Arrested and Charged with Racketeering (Oct.
26, 2017), available at https://www.justice.gov/usao-ma/pr/founder-and-owner-
pharmaceutical-company-insys-arrested-and-charged-racketeering.
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obligation to operate in a trustworthy, transparent manner, because their

customers’ health and safety and, indeed, very lives depend on it.” 126

                5. The Manufacturer Defendants made Materially Deceptive Statements and
                   Concealed Materials Facts.

            182. As alleged herein, the Manufacturer Defendants made and/or

disseminated deceptive statements regarding material facts and further concealed

material facts, in the course of manufacturing, marketing, and selling prescription

opioids. The Manufacturer Defendants’ actions were intentional and/or unlawful.

Such statements include, but are not limited to, those set out below and alleged

throughout this Complaint.

            183. Defendant Purdue made and/or disseminated deceptive statements, and

concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

               a. Creating, sponsoring, and assisting in the distribution of patient
                  education materials distributed to consumers that contained deceptive
                  statements;

               b. Creating and disseminating advertisements that contained deceptive
                  statements concerning the ability of opioids to improve function long-
                  term and concerning the evidence supporting the efficacy of opioids
                  long-term for the treatment of chronic non-cancer pain;

               c. Disseminating misleading statements concealing the true risk of
                  addiction and promoting the deceptive concept of pseudoaddiction
                  through Purdue’s own unbranded publications and on internet sites
                  Purdue operated that were marketed to and accessible by consumers;
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      Id.
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     d. Distributing brochures to doctors, patients, and law enforcement
        officials that included deceptive statements concerning the indicators
        of possible opioid abuse;

     e. Sponsoring, directly distributing, and assisting in the distribution of
        publications that promoted the deceptive concept of pseudoaddiction,
        even for high-risk patients;

     f. Endorsing, directly distributing, and assisting in the distribution of
        publications that presented an unbalanced treatment of the long-term
        and dose-dependent risks of opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOL doctors
        who made deceptive statements concerning the use of opioids to treat
        chronic non-cancer pain;

     h. Providing needed financial support to pro-opioid pain organizations
        that made deceptive statements, including in patient education
        materials, concerning the use of opioids to treat chronic non-cancer
        pain;

     i. Assisting in the distribution of guidelines that contained deceptive
        statements concerning the use of opioids to treat chronic non-cancer
        pain and misrepresented the risks of opioid addiction;

     j. Endorsing and assisting in the distribution of CMEs containing
        deceptive statements concerning the use of opioids to treat chronic
        non-cancer pain;

     k. Developing and disseminating scientific studies that misleadingly
        concluded opioids are safe and effective for the long-term treatment of
        chronic non-cancer pain and that opioids improve quality of life,
        while concealing contrary data;

     l. Assisting in the dissemination of literature written by pro-opioid
        KOLs that contained deceptive statements concerning the use of
        opioids to treat chronic noncancer pain;



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          m. Creating, endorsing, and supporting the distribution of patient and
             prescriber education materials that misrepresented the data regarding
             the safety and efficacy of opioids for the long-term treatment of
             chronic non-cancer pain, including known rates of abuse and
             addiction and the lack of validation for long-term efficacy;

          n. Targeting veterans by sponsoring and disseminating patient education
             marketing materials that contained deceptive statements concerning
             the use of opioids to treat chronic non-cancer pain;

          o. Targeting the elderly by assisting in the distribution of guidelines that
             contained deceptive statements concerning the use of opioids to treat
             chronic non-cancer pain and misrepresented the risks of opioid
             addiction in this population;

          p. Exclusively disseminating misleading statements in education
             materials to hospital doctors and staff while purportedly educating
             them on new pain standards;

          q. Making deceptive statements concerning the use of opioids to treat
             chronic noncancer pain to prescribers through in-person detailing; and

          r. Withholding from law enforcement the names of prescribers Purdue
             believed to be facilitating the diversion of its opioid, while
             simultaneously marketing opioids to these doctors by disseminating
             patient and prescriber education materials and advertisements and
             CMEs they knew would reach these same prescribers.

      184. Defendant Endo made and/or disseminated deceptive statements, and

concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

          a. Creating, sponsoring, and assisting in the distribution of patient
             education materials that contained deceptive statements;

          b. Creating and disseminating advertisements that contained deceptive
             statements concerning the ability of opioids to improve function long-

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        term and concerning the evidence supporting the efficacy of opioids
        long-term for the treatment of chronic non-cancer pain;

     c. Creating and disseminating paid advertisement supplements in
        academic journals promoting chronic opioid therapy as safe and
        effective for long term use for high risk patients;

     d. Creating and disseminating advertisements that falsely and
        inaccurately conveyed the impression that Endo’s opioids would
        provide a reduction in oral, intranasal, or intravenous abuse;

     e. Disseminating misleading statements concealing the true risk of
        addiction and promoting the misleading concept of pseudoaddiction
        through Endo’s own unbranded publications and on internet sites
        Endo sponsored or operated;

     f. Endorsing, directly distributing, and assisting in the distribution of
        publications that presented an unbalanced treatment of the long-term
        and dose-dependent risks of opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOLs, who made
        deceptive statements concerning the use of opioids to treat chronic
        non-cancer pain;

     h. Providing needed financial support to pro-opioid pain organizations –
        including over $5 million to the organization responsible for many of
        the most egregious misrepresentations – that made deceptive
        statements, including in patient education materials, concerning the
        use of opioids to treat chronic non-cancer pain;

     i. Targeting the elderly by assisting in the distribution of guidelines that
        contained deceptive statements concerning the use of opioids to treat
        chronic non-cancer pain and misrepresented the risks of opioid
        addiction in this population;

     j. Endorsing and assisting in the distribution of CMEs containing
        deceptive statements concerning the use of opioids to treat chronic
        non-cancer pain;


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          k. Developing and disseminating scientific studies that deceptively
             concluded opioids are safe and effective for the long-term treatment of
             chronic non-cancer pain and that opioids improve quality of life,
             while concealing contrary data;

          l. Directly distributing and assisting in the dissemination of literature
             written by pro-opioid KOLs that contained deceptive statements
             concerning the use of opioids to treat chronic non-cancer pain,
             including the concept of pseudoaddiction;

          m. Creating, endorsing, and supporting the distribution of patient and
             prescriber education materials that misrepresented the data regarding
             the safety and efficacy of opioids for the long-term treatment of
             chronic non-cancer pain, including known rates of abuse and
             addiction and the lack of validation for long-term efficacy; and

          n. Making deceptive statements concerning the use of opioids to treat
             chronic non-cancer pain to prescribers through in-person detailing.

      185. Defendant Janssen made and/or disseminated deceptive statements, and

concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

          a. Creating, sponsoring, and assisting in the distribution of patient
             education materials that contained deceptive statements;

          b. Directly disseminating deceptive statements through internet sites
             over which Janssen exercised final editorial control and approval
             stating that opioids are safe and effective for the long-term treatment
             of chronic non-cancer pain and that opioids improve quality of life,
             while concealing contrary data;

          c. Disseminating deceptive statements concealing the true risk of
             addiction and promoting the deceptive concept of pseudoaddiction
             through internet sites over which Janssen exercised final editorial
             control and approval;


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      d. Promoting opioids for the treatment of conditions for which Janssen
         knew, due to the scientific studies it conducted, that opioids were not
         efficacious and concealing this information;

      e. Sponsoring, directly distributing, and assisting in the dissemination of
         patient education publications over which Janssen exercised final
         editorial control and approval, which presented an unbalanced
         treatment of the long-term and dose dependent risks of opioids versus
         NSAIDs;

      f. Providing significant financial support to pro-opioid KOLs, who made
         deceptive statements concerning the use of opioids to treat chronic
         non-cancer pain;

      g. Providing necessary financial support to pro-opioid pain organizations
         that made deceptive statements, including in patient education
         materials, concerning the use of opioids to treat chronic non-cancer
         pain;

      h. Targeting the elderly by assisting in the distribution of guidelines that
         contained deceptive statements concerning the use of opioids to treat
         chronic non-cancer pain and misrepresented the risks of opioid
         addiction in this population;

      i. Targeting the elderly by sponsoring, directly distributing, and
         assisting in the dissemination of patient education publications
         targeting this population that contained deceptive statements about the
         risks of addiction and the adverse effects of opioids, and made false
         statements that opioids are safe and effective for the long-term
         treatment of chronic non-cancer pain and improve quality of life,
         while concealing contrary data;

      j. Endorsing and assisting in the distribution of CMEs containing
         deceptive statements concerning the use of opioids to treat chronic
         non-cancer pain;

      k. Directly distributing and assisting in the dissemination of literature
         written by pro-opioid KOLs that contained deceptive statements

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             concerning the use of opioids to treat chronic non-cancer pain,
             including the concept of pseudoaddiction;

         l. Creating, endorsing, and supporting the distribution of patient and
            prescriber education materials that misrepresented the data regarding
            the safety and efficacy of opioids for the long-term treatment of
            chronic non-cancer pain, including known rates of abuse and
            addiction and the lack of validation for long-term efficacy;

         m. Targeting veterans by sponsoring and disseminating patient education
            marketing materials that contained deceptive statements concerning
            the use of opioids to treat chronic non-cancer pain; and

         n. Making deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain to prescribers through in-person detailing.

      186. Defendant Cephalon made and/or disseminated untrue, false and

deceptive statements, and concealed material facts in such a way to make their

statements deceptive, including, but not limited to, the following:

         a. Creating, sponsoring, and assisting in the distribution of patient
            education materials that contained deceptive statements;

         b. Sponsoring and assisting in the distribution of publications that
            promoted the deceptive concept of pseudoaddiction, even for high-
            risk patients;

         c. Providing significant financial support to pro-opioid KOL doctors
            who made deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain and breakthrough chronic non-cancer pain;

         d. Developing and disseminating scientific studies that deceptively
            concluded opioids are safe and effective for the long-term treatment of
            chronic non-cancer pain in conjunction with Cephalon’s potent rapid-
            onset opioids;



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          e. Providing needed financial support to pro-opioid pain organizations
             that made deceptive statements, including in patient education
             materials, concerning the use of opioids to treat chronic non-cancer
             pain;

          f. Endorsing and assisting in the distribution of CMEs containing
             deceptive statements concerning the use of opioids to treat chronic
             non-cancer pain;

          g. Endorsing and assisting in the distribution of CMEs containing
             deceptive statements concerning the use of Cephalon’s rapid-onset
             opioids;

          h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide
             range of doctors, including general practitioners, neurologists, sports
             medicine specialists, and workers’ compensation programs, serving
             chronic pain patients;

          i. Making deceptive statements concerning the use of Cephalon’s
             opioids to treat chronic non-cancer pain to prescribers through in-
             person detailing and speakers’ bureau events, when such uses are
             unapproved and unsafe; and

          j. Making deceptive statements concerning the use of opioids to treat
             chronic non-cancer pain to prescribers through in-person detailing and
             speakers’ bureau events.

      187. Defendant Actavis made and/or disseminated deceptive statements, and

concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

          a. Making deceptive statements concerning the use of opioids to treat
             chronic non-cancer pain to prescribers through in-person detailing;

          b. Creating and disseminating advertisements that contained deceptive
             statements that opioids are safe and effective for the long-term


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            treatment of chronic non-cancer pain and that opioids improve quality
            of life;

         c. Creating and disseminating advertisements that concealed the risk of
            addiction in the long-term treatment of chronic, non-cancer pain; and

         d. Developing and disseminating scientific studies that deceptively
            concluded opioids are safe and effective for the long-term treatment of
            chronic non-cancer pain and that opioids improve quality of life while
            concealing contrary data.

           6. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

      188. The Manufacturer Defendants, both individually and collectively,

made, promoted, and profited from their misrepresentations about the risks and

benefits of opioids for chronic pain even though they knew that their

misrepresentations were false and deceptive. The history of opioids, as well as

research and clinical experience establish that opioids are highly addictive and are

responsible for a long list of very serious adverse outcomes. The FDA warned

Defendants of this, and Defendants had access to scientific studies, detailed

prescription data, and reports of adverse events, including reports of addiction,

hospitalization, and death – all of which clearly described the harm from long-term

opioid use and that patients were suffering from addiction, overdose, and death in

alarming numbers. More recently, the FDA and CDC have issued pronouncements,

based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered agreements in New



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York prohibiting them from making some of the same misrepresentations

described in this Complaint.

      189. At all times relevant to this Complaint, the Manufacturer Defendants

took steps to avoid detection of and to fraudulently conceal their deceptive

marketing and unlawful, unfair, and fraudulent conduct. For example, the

Manufacturer Defendants disguised their role in the deceptive marketing of chronic

opioid therapy by funding and working through third parties like Front Groups and

KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for

the accuracy and integrity of the Manufacturer Defendants’ false and deceptive

statements about the risks and benefits of long-term opioid use for chronic pain.

Defendants also never disclosed their role in shaping, editing, and approving the

content of information and materials disseminated by these third parties. The

Manufacturer Defendants exerted considerable influence on these promotional and

“educational” materials in emails, correspondence, and meetings with KOLs, Front

Groups, and public relations companies that were not, and have not yet become,

public. For example, PainKnowledge.org, which is run by the NIPC, did not

disclose Endo’s involvement. Other Manufacturer Defendants, such as Purdue and

Janssen, ran similar websites that masked their own role.




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      190. Finally, the Manufacturer Defendants manipulated their promotional

materials and the scientific literature to make it appear that these documents were

accurate, truthful, and supported by objective evidence when they were not. The

Manufacturer Defendants distorted the meaning or import of studies they cited and

offered them as evidence for propositions the studies did not support. The

Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the

medical community with false and misleading information about ineffectual

strategies to avoid or control opioid addiction. The Manufacturer Defendants

recommended to the medical community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a

period of years on a misinformation campaign aimed at highlighting opioids’

alleged benefits, disguising the risks, and promoting sales. The lack of support for

the Manufacturer Defendants’ deceptive messages was not apparent to medical

professionals who relied upon them in making treatment decisions, nor could it

have been detected by the Plaintiff or Plaintiff’s Community. Thus, the

Manufacturer Defendants successfully concealed from the medical community,

patients, and health care payors facts sufficient to arouse suspicion of the claims

that the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the




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Manufacturer Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

      C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL
         DISTRIBUTION OF OPIOIDS.
      191. The Distributor Defendants owe a duty under both federal law (21

U.S.C. § 823, 21 CFR 1301.74) and Pennsylvania law (see e.g. 35 P.S. §§ 780-

104; 780-106; 780-113; 63 P.S. §§ 391.2; 391.4; 391.6; 391.9; 28 Pa. Code §§

25.33; 25.61; 25.72(c)) to monitor, detect, investigate, refuse to fill, and report

suspicious orders of prescription opioids originating from Plaintiff’s Community as

well as those orders which the Distributor Defendants knew or should have known

were likely to be diverted into Plaintiff’s Community.

      192. The foreseeable harm from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes.

      193. Each Distributor Defendant repeatedly and purposefully breached its

duties under state and federal law. Such breaches are a direct and proximate causes

of the widespread diversion of prescription opioids for nonmedical purposes into

Plaintiff’s Community.

      194. The unlawful diversion of prescription opioids is a direct and proximate

cause and/or substantial contributing factor to of the opioid epidemic, prescription

opioid abuse, addiction, morbidity and mortality in the State and in Plaintiff’s



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Community. This diversion and the epidemic are direct causes of harms for which

Plaintiff seeks to recover here.

      195. The opioid epidemic in the State, including inter alia in Plaintiff’s

Community, remains an immediate hazard to public health and safety.

      196. The opioid epidemic in Plaintiff’s Community is a temporary and

continuous public nuisance and remains unabated.

      197. The Distributor Defendants’ intentionally continued their conduct, as

alleged herein, with knowledge that such conduct was creating the opioid nuisance

and causing the harms and damages alleged herein.

           1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
              Guard Against, and Report, Unlawful Diversion and to Report and Prevent
              Suspicious Orders.

      198. Opioids are a Schedule II controlled substance under Pennsylvania

law. See 35 P.S. § 780-104. Opioids are categorized as “Schedule II” drugs

because they have a “high potential for abuse” and “abuse may lead to severe

psychic or physical dependence.” 35 P.S. § 780-104; 28 Pa. Code § 25.72(c); 21

U.S.C. § 812(b)(2)(A, C).

      199. As wholesale drug distributors, each Defendant was required under

Pennsylvania law to be licensed by the Pennsylvania Department of Health. 63 P.S.

§ 391.4. To receive and maintain this license, each of the Defendant Wholesale

Distributors assumed a duty to comply with “all applicable federal and state laws


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and regulations” and all applicable DEA, State and local regulations. 63 P.S. §

391.6(k) .

      200. The Pennsylvania Department of Health may revoke, suspend, limit or

refuse to issue a license to a distributor for “engaging in conduct which is harmful

to the public health, safety or welfare.” 63 P.S. § 391.9(b)(7).

      201. Each Defendant was also required to be registered with the

Pennsylvania Secretary of Health. 35 P.S. § 780-106; 28 Pa. Code § 25.113.

      202. Each Distributor Defendant was further required to register with the

DEA, pursuant to the federal Controlled Substance Act. See 21 U.S.C. § 823(b),

(e); 28 C.F.R. § 0.100. Each Distributor Defendant is a “registrant” as a wholesale

distributor in the chain of distribution of Schedule II controlled substances with a

duty to comply with all security requirements imposed under that statutory scheme.

      203. Each Distributor Defendant has an affirmative duty under federal and

Pennsylvania law to act as a gatekeeper guarding against the diversion of the

highly addictive, dangerous opioid drugs. Federal law requires that Distributors of

Schedule II drugs, including opioids, must maintain “effective control against

diversion of particular controlled substances into other than legitimate medical,

scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Pennsylvania law

requires that Distributors and others “maintaining stocks or having controlled

substances in production areas or on hand for distribution shall provide effective


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controls and procedures to guard against theft and diversion of the substances.” 28

Pa. Code § 25.61.

      204. Pennsylvania law also requires Distributors to ensure that prescription

drugs are distributed only for lawful purposes. Licensed distributors must follow

written policies and procedures “for the receipt, security, storage, inventory and

distribution of prescription drugs, including policies and procedures for

identifying, recording and reporting losses or thefts.” 63 P.S. § 391.6(h).

      205. The Pennsylvania Controlled Substance, Drug, Device and Cosmetic

Act prohibits “the manufacture, delivery, or possession with intent to manufacture

or deliver, a controlled substance by a person not registered under this act, or a

practitioner not registered or licensed by the appropriate State board.” 35 P.S. §

780.113(a)(30). Violation of this provision as to a Schedule II narcotic is a felony.

35 P.S. § 780.113(f)(1).

      206. The Act also prohibits the “dissemination or publication of any false or

materially misleading advertisement.” 35 P.S. § 780-113(a)(3). Pennsylvania

further prohibits “the furnishing of false or fraudulent material information in, or

omission of any material information from any application, report, or other

document required to be kept or filed under this act, or any record required to be

kept by this act.” 35 P.S. § 780.113(a)(28). Violations of these provisions are

misdemeanors. 35 P.S. § 780.113(b) & (e).


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      207. Pennsylvania       has   declared    that   “Pennsylvania   consumers   of

prescription drugs will be better assured of safe and effective prescription drug

products if the Commonwealth joins with other jurisdictions to require the

licensure of all persons who operate facilities from which they engage in the

wholesale distribution of prescription drugs.” 63 P.S. § 391.2(a)(2). Further, the

legislature has declared that “It is the further intent of the General Assembly to

promote the safety and effectiveness of prescription drug products by requiring all

persons who operate facilities within this Commonwealth from which they engage

in the wholesale distribution of prescription drugs to secure a license and meet

minimum quality assurance and operational standards as required by this act.” 63

Pa. Stat. Ann. § 391.2 (b).

      208. Federal regulations impose a non-delegable duty upon wholesale drug

distributors to “design and operate a system to disclose to the registrant suspicious

orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when

discovered by the registrant. Suspicious orders include orders of unusual size,

orders deviating substantially from a normal pattern, and orders of unusual

frequency.” 21 C.F.R. § 1301.74(b).

      209. “Suspicious orders” include orders of an unusual size, orders of unusual

frequency or orders deviating substantially from a normal pattern. See 21 CFR


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1301.74(b). These criteria are disjunctive and are not all inclusive. For example, if

an order deviates substantially from a normal pattern, the size of the order does not

matter and the order should be reported as suspicious. Likewise, a wholesale

distributor need not wait for a normal pattern to develop over time before

determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the

wholesale distributor’s responsibility to report the order as suspicious. The

determination of whether an order is suspicious depends not only on the ordering

patterns of the particular customer but also on the patterns of the entirety of the

wholesale distributor’s customer base and the patterns throughout the relevant

segment of the wholesale distributor industry.

      210. In addition to reporting all suspicious orders, distributors must also stop

shipment on any order which is flagged as suspicious and only ship orders which

were flagged as potentially suspicious if, after conducting due diligence, the

distributor can determine that the order is not likely to be diverted into illegal

channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t

Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

orders must be reported. Id.




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         211. These prescription drugs are regulated for the purpose of providing a

“closed” system intended to reduce the widespread diversion of these drugs out

of legitimate channels into the illicit market, while at the same time providing

the legitimate drug industry with a unified approach to narcotic and dangerous

drug control.127

         212. Different entities supervise the discrete links in the chain that separate a

consumer from a controlled substance. Statutes and regulations define each

participant’s role and responsibilities. 128

         213. As the DEA advised the Distributor Defendants in a letter to them

dated September 27, 2006, wholesale distributors are “one of the key components

of the distribution chain.        If the closed system is to function properly …

127
      See 1970 U.S.C.C.A.N. 4566, 4571-72.
128
    Brief for Healthcare Distribution Management Association and National
Association of Chain Drug Stores as Amici Curiae in Support of Neither Party,
Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4,
2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The
Healthcare Distribution Management Association (HDMA or HMA)—now known
as the Healthcare Distribution Alliance (HDA)—is a national, not-for-profit trade
association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug
Corporation, Cardinal Health, Inc., and McKesson Corporation. See generally
HDA, About, https://www.healthcaredistribution.org/about (last visited Aug. 21,
2017). The National Association of Chain Drug Stores (NACDS) is a national,
not-for-profit trade association that represents traditional drug stores and
supermarkets and mass merchants with pharmacies whose membership includes,
among others: Walgreen Company, CVS Health, Rite Aid Corporation and
Walmart. See generally NACDS, Mission, https://www.nacds.org/ about/mission/
(last visited Aug. 21, 2017).

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distributors must be vigilant in deciding whether a prospective customer can be

trusted to deliver controlled substances only for lawful purposes.                 This

responsibility is critical, as … the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the

American people.”129

         214. The Distributor Defendants have admitted that they are responsible for

reporting suspicious orders.130

         215. The DEA sent a letter to each of the Distributor Defendants on

September 27, 2006, warning that it would use its authority to revoke and suspend

registrations when appropriate. The letter expressly states that a distributor, in

addition to reporting suspicious orders, has a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other


129
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of
Diversion Control, Drug. Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health
(Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is being sent to every
commercial entity in the United States registered with the Drug Enforcement
Agency (DEA) to distribute controlled substances. The purpose of this letter is to
reiterate the responsibilities of controlled substance distributors in view of the
prescription drug abuse problem our nation currently faces.”), filed in Cardinal
Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No.
14-51.
130
   See Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *4
(“[R]egulations . . . in place for more than 40 years require distributors to report
suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large
orders).”).

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than legitimate medical, scientific, and industrial channels.”131 The letter also

instructs that “distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful

purposes.”132 The DEA warns that “even just one distributor that uses its DEA

registration to facilitate diversion can cause enormous harm.” 133

            216. The DEA sent a second letter to each of the Distributor Defendants on

December 27, 2007. 134 This letter reminds the Defendants of their statutory and

regulatory duties to “maintain effective controls against diversion” and “design and

operate a system to disclose to the registrant suspicious orders of controlled

substances.”135 The letter further explains:

            The regulation also requires that the registrant inform the local DEA
            Division Office of suspicious orders when discovered by the
            registrant. Filing a monthly report of completed transactions (e.g.,
            “excessive purchase report” or “high unity purchases”) does not meet
            the regulatory requirement to report suspicious orders. Registrants are
            reminded that their responsibility does not end merely with the filing
            of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine
            whether the controlled substances are likely to be diverted from

131
      Rannazzisi Letter, supra, at 2.
132
      Id. at 1.
133
      Id. at 2.
134
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of
Diversion Control, Drug. Enf’t Admin., U.S. Dep’t of Justice, to Cardinal Health
(Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW
(D.D.C. Feb. 10, 2012), ECF No. 14-8.
135
      Id.

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   legitimate channels. Reporting an order as suspicious will not absolve
   the registrant of responsibility if the registrant knew, or should have
   known, that the controlled substances were being diverted.
   The regulation specifically states that suspicious orders include orders
   of unusual size, orders deviating substantially from a normal pattern,
   and orders of an unusual frequency. These criteria are disjunctive and
   are not all inclusive. For example, if an order deviates substantially
   from a normal pattern, the size of the order does not matter and the
   order should be reported as suspicious. Likewise, a registrant need
   not wait for a “normal pattern” to develop over time before
   determining whether a particular order is suspicious. The size of an
   order alone, whether or not it deviates from a normal pattern, is
   enough to trigger the registrant’s responsibility to report the order as
   suspicious. The determination of whether an order is suspicious
   depends not only on the ordering patterns of the particular customer,
   but also on the patterns of the registrant’s customer base and the
   patterns throughout the segment of the regulated industry.

   Registrants that rely on rigid formulas to define whether an order is
   suspicious may be failing to detect suspicious orders. For example, a
   system that identifies orders as suspicious only if the total amount of a
   controlled substance ordered during one month exceeds the amount
   ordered the previous month by a certain percentage or more is
   insufficient. This system fails to identify orders placed by a pharmacy
   if the pharmacy placed unusually large orders from the beginning of
   its relationship with the distributor. Also, this system would not
   identify orders as suspicious if the order were solely for one highly
   abused controlled substance if the orders never grew substantially.
   Nevertheless, ordering one highly abused controlled substance and
   little or nothing else deviates from the normal pattern of what
   pharmacies generally order.

   When reporting an order as suspicious, registrants must be clear in
   their communication with DEA that the registrant is actually
   characterizing an order as suspicious. Daily, weekly, or monthly
   reports submitted by registrant indicating “excessive purchases” do
   not comply with the requirement to report suspicious orders, even if
   the registrant calls such reports “suspicious order reports.”


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            Lastly, registrants that routinely report suspicious orders, yet fill these
            orders without first determining that order is not being diverted into
            other than legitimate medical, scientific, and industrial channels, may
            be failing to maintain effective controls against diversion. Failure to
            maintain effective controls against diversion is inconsistent with the
            public interest as that term is used in 21 USC 823 and 824, and may
            result in the revocation of the registrant’s DEA Certificate of
            Registration. 136

Finally, the DEA letter references the Revocation of Registration issued in

Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which

discusses the obligation to report suspicious orders and “some criteria to use when

determining whether an order is suspicious.” 137

            217. The Distributor Defendants admit that they “have not only statutory

and regulatory responsibilities to detect and prevent diversion of controlled

prescription drugs, but undertake such efforts as responsible members of

society.” 138

            218. The Distributor Defendants knew they were required to monitor, detect,

and halt suspicious orders. Industry compliance guidelines established by the

Healthcare Distribution Management Association, the trade association of

pharmaceutical distributors, explain that distributors are “[a]t the center of a

sophisticated supply chain” and therefore “are uniquely situated to perform due


136
      Id.
137
      Id.
138
      See Brief of HDMA, supra, 2012 WL 1637016, at *2.

                                               111
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diligence in order to help support the security of the controlled substances they

deliver to their customers.” The guidelines set forth recommended steps in the

“due diligence” process, and note in particular: If an order meets or exceeds a

distributor’s threshold, as defined in the distributor’s monitoring system, or is

otherwise characterized by the distributor as an order of interest, the distributor

should not ship to the customer, in fulfillment of that order, any units of the

specific drug code product as to which the order met or exceeded a threshold or as

to which the order was otherwise characterized as an order of interest. 139

         219. Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to

retailers from which Defendants knew prescription opioids were likely to be

diverted to Plaintiff’s Community.

         220. Each Distributor Defendant owes a duty to monitor and detect

suspicious orders of prescription opioids.

         221. Each Distributor Defendant owes a duty under federal and state law to

investigate and refuse suspicious orders of prescription opioids.




139
   Healthcare Distribution Management Association (HDMA) Industry
Compliance Guidelines: Reporting Suspicious Orders and Preventing Diversion of
Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061 (D.C.
Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

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         222. Each Distributor Defendant owes a duty under federal and state law to

report suspicious orders of prescription opioids.

         223. Each Distributor Defendant owes a duty under federal and state law to

prevent the diversion of prescription opioids into illicit markets in the State and

Plaintiff’s Community.

         224. The foreseeable harm resulting from a breach of these duties is the

diversion of prescription opioids for nonmedical purposes and subsequent plague

of opioid addiction.

         225. The foreseeable harm resulting from the diversion of prescription

opioids for nonmedical purposes is abuse, addiction, morbidity and mortality in

Plaintiff’s Community and the damages caused thereby.

             2. The Distributor Defendants Breached their Duties.

         226. Because distributors handle such large volumes of controlled

substances, and are the first major line of defense in the movement of legal

pharmaceutical controlled substances from legitimate channels into the illicit

market, it is incumbent on distributors to maintain effective controls to prevent

diversion of controlled substances. Should a distributor deviate from these checks

and balances, the closed system collapses. 140



140
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-
cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-2.

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         227. The sheer volume of prescription opioids distributed to pharmacies in

the Plaintiff’s Community, and/or to pharmacies from which the Distributor

Defendants knew the opioids were likely to be diverted into Plaintiff’s

Community, is excessive for the medical need of the community and facially

suspicious. Some red flags are so obvious that no one who engages in the

legitimate distribution of controlled substances can reasonably claim ignorance of

them. 141

         228. The Distributor Defendants failed to report “suspicious orders”

originating from Plaintiff’s Community, or which the Distributor Defendants knew

were likely to be diverted to Plaintiff’s Community, to the federal and state

authorities, including the DEA and/or the state Board of Pharmacy.

         229. The Distributor Defendants unlawfully filled suspicious orders of

unusual size, orders deviating substantially from a normal pattern and/or orders of

unusual frequency in Plaintiff’s Community, and/or in areas from which the

Distributor Defendants knew opioids were likely to be diverted to Plaintiff’s

Community.

         230. The Distributor Defendants breached their duty to monitor, detect,

investigate, refuse and report suspicious orders of prescription opiates originating

141
    Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015)
(citing Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed.
Reg. 62,316, 62,322 (2012)).

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from Plaintiff’s Community, and/or in areas from which the Distributor Defendants

knew opioids were likely to be diverted to Plaintiff’s Community.

         231. The Distributor Defendants breached their duty to maintain effective

controls against diversion of prescription opiates into other than legitimate

medical, scientific, and industrial channels.

         232. The Distributor Defendants breached their duty to “design and operate

a system to disclose to the registrant suspicious orders of controlled substances”

and failed to inform the authorities including the DEA of suspicious orders when

discovered, in violation of their duties under federal and state law.

         233. The Distributor Defendants breached their duty to exercise due

diligence to avoid filling suspicious orders that might be diverted into channels

other than legitimate medical, scientific and industrial channels.142

         234. The federal and state laws at issue here are public safety laws.

         235. The Distributor Defendants supplied prescription opioids to obviously

suspicious physicians and pharmacies, enabled the illegal diversion of opioids,

aided criminal activity, and disseminated massive quantities of prescription opioids

into the black market.

         236. The unlawful conduct by the Distributor Defendants is purposeful and

intentional. The Distributor Defendants refuse to abide by the duties imposed by

142
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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federal and state law which are required to legally acquire and maintain a license to

distribute prescription opiates.

        237. The Distributor Defendants acted with actual malice in breaching their

duties, i.e., they have acted with a conscious disregard for the rights and safety of

other persons, and said actions have a great probability of causing substantial

harm.

        238. The Distributor Defendants’ repeated shipments of suspicious orders,

over an extended period of time, in violation of public safety statutes, and without

reporting the suspicious orders to the relevant authorities demonstrates wanton,

willful, or reckless conduct or criminal indifference to civil obligations affecting

the rights of others and justifies an award of punitive damages.

            3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
               their Compliance with their Legal Duties.

        239. The Distributor Defendants have repeatedly misrepresented their

compliance with their legal duties under state and federal law and have wrongfully

and repeatedly disavowed those duties in an effort to mislead regulators and the

public regarding the Distributor Defendants’ compliance with their legal duties.

        240. Distributor Defendants have refused to recognize any duty beyond

reporting suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade

association run the Distributor Defendants, and the NACDS submitted amicus

briefs regarding the legal duty of wholesale distributors. Inaccurately denying the

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legal duties that the wholesale drug industry has been tragically recalcitrant in

performing, they argued as follows:

                    a. The Associations complained that the “DEA has required
                       distributors not only to report suspicious orders, but to
                       investigate orders (e.g., by interrogating pharmacies and
                       physicians) and take action to halt suspicious orders
                       before they are filled.” 143

                    b. The Associations argued that, “DEA now appears to have
                       changed its position to require that distributors not only
                       report suspicious orders, but investigate and halt
                       suspicious orders. Such a change in agency position
                       must be accompanied by an acknowledgment of the
                       change and a reasoned explanation for it. In other words,
                       an agency must display awareness that it is changing
                       position and show that there are good reasons for the new
                       policy. This is especially important here, because
                       imposing intrusive obligation on distributors threatens to
                       disrupt patient access to needed prescription
                       medications.”144

                    c. The Associations alleged (inaccurately) that nothing
                       “requires distributors to investigate the legitimacy of
                       orders, or to halt shipment of any orders deemed to be
                       suspicious.”145

                    d. The Association complained that the purported “practical
                       infeasibility of requiring distributors to investigate and
                       halt suspicious orders (as well as report them)
                       underscores the importance of ensuring that DEA has
                       complied with the APA before attempting to impose such
                       duties.”146
143
      Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *4–5.
144
      Id. at *8 (citations and quotation marks omitted).
145
      Id. at *14.
146
      Id. at *22.
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                   e. The Associations alleged (inaccurately) that “DEA’s
                      regulations [] sensibly impose[] a duty on distributors
                      simply to report suspicious orders, but left it to DEA and
                      its agents to investigate and halt suspicious orders.”147

                   f. Also inaccurately, the Associations argued that,
                      “[i]mposing a duty on distributors – which lack the
                      patient information and the necessary medical expertise –
                      to investigate and halt orders may force distributors to
                      take a shot-in-the-dark approach to complying with
                      DEA’s demands.”148

         241. The positions taken by the trade groups is emblematic of the position

taken by the Distributor Defendants in a futile attempt to deny their legal

obligations to prevent diversion of the dangerous drugs. 149

         242. The Court of Appeals for the District of Columbia recently issued its

opinion affirming that a wholesale drug distributor does, in fact, have duties

beyond reporting. Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C.

Cir. 2017). The D.C. Circuit Court upheld the revocation of Master

Pharmaceutical’s license and determined that DEA regulations require that in

addition to reporting suspicious orders, distributors must “decline to ship the order,

or conduct some ‘due diligence’ and—if it is able to determine that the order is not

147
      Id. at *24–25.
148
      Id. at 26.
149
   See Brief of HDMA, supra, 2012 WL 1637016, at *3 (arguing the wholesale
distributor industry “does not know the rules of the road because” they claim
(inaccurately) that the “DEA has not adequately explained them”).

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likely to be diverted into illegal channels—ship the order.” Id. at 212. Master

Pharmaceutical was in violation of legal requirements because it failed to conduct

necessary investigations and filled suspicious orders. Id. at 218–19, 226. A

distributor’s investigation must dispel all the red flags giving rise to suspicious

circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court

also rejected the argument made by the HDMA and NACDS (quoted above), that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

         243. Wholesale Distributor McKesson has recently been forced to

specifically admit to breach of its duties to monitor, report, and prevent suspicious

orders. Pursuant to an Administrative Memorandum of Agreement (“2017

Agreement”) entered into between McKesson and the DEA in January 2017,

McKesson admitted that, at various times during the period from January 1, 2009

through the effective date of the Agreement (January 17, 2017) it “did not identify

or report to [the] DEA certain orders placed by certain pharmacies which should

have been detected by McKesson as suspicious based on the guidance contained in

the DEA Letters.”150       Further, the 2017 Agreement specifically finds that

McKesson “distributed controlled substances to pharmacies even though those

McKesson Distribution Centers should have known that the pharmacists practicing

150
   See Administrative Memorandum of Agreement between the U.S. Dep’t of
Justice, the Drug Enf’t Admin., and the McKesson Corp. (Jan. 17, 2017),
https://www.justice.gov/opa/press-release/file/928476/download.

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within those pharmacies had failed to fulfill their corresponding responsibility to

ensure that controlled substances were dispensed pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting in the usual course of their

professional practice, as required by 21 C.F.R § 1306.04(a).” 151 McKesson

admitted that, during this time period, it “failed to maintain effective controls

against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in

violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300

et seq., at the McKesson Distribution Centers” including the McKesson

Distribution Center located in “Washington Courthouse, Ohio.” 152 Due to these

violations, McKesson agreed that its authority to distribute controlled substances

from the Washington Courthouse, Ohio facility (among other facilities) would be

partially suspended.153

            244. The 2017 Memorandum of Agreement followed a 2008 Settlement

Agreement in which McKesson also admitted failure to report suspicious orders of

controlled substances to the DEA. 154          In the 2008 Settlement Agreement,

McKesson “recognized that it had a duty to monitor its sales of all controlled

151
      Id. at 4.
152
      Id.
153
      Id. at 6.
154
      Id. at 4.

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substances and report suspicious orders to DEA,” but had failed to do so.155 The

2017 Memorandum of Agreement documents that McKesson continued to breach

its admitted duties by “fail[ing] to properly monitor its sales of controlled

substances and/or report suspicious orders to DEA, in accordance with

McKesson’s obligations.”156 As a result of these violations, McKesson was fined

and required to pay to the United States $150,000,000. 157

            245. Even though McKesson had been sanctioned in 2008 for failure to

comply with its legal obligations regarding controlling diversion and reporting

suspicious orders, and even though McKesson had specifically agreed in 2008 that

it would no longer violate those obligations, McKesson continued to violate the

laws in contrast to its written agreement not to do so.

            246. Because of the Distributor Defendants’ refusal to abide by their legal

obligations, the DEA has repeatedly taken administrative action to attempt to force

compliance. For example, in May 2014, the United States Department of Justice,

Office of the Inspector General, Evaluation and Inspections Divisions, reported
155
      Id.
156
   Id.; see also Settlement Agreement and Release between the U.S. and
McKesson Corp., at 5 (Jan. 17, 2017) [hereinafter 2017 Settlement Agreement and
Release] (“McKesson acknowledges that, at various times during the Covered
Time Period [2009-2017], it did not identify or report to DEA certain orders placed
by certain pharmacies, which should have been detected by McKesson as
suspicious, in a manner fully consistent with the requirements set forth in the 2008
MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
157
      See 2017 Settlement Agreement and Release, supra, at 6.

                                            121
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that the DEA issued final decisions in 178 registrant actions between 2008 and

2012. 158 The Office of Administrative Law Judges issued a recommended decision

in a total of 117 registrant actions before the DEA issued its final decision,

including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders. 159 These actions include the following:

            a. On April 24, 2007, the DEA issued an Order to Show Cause
               and      Immediate      Suspension      Order      against   the
               AmerisourceBergen Orlando, Florida distribution center
               (“Orlando Facility”) alleging failure to maintain effective
               controls against diversion of controlled substances. On June 22,
               2007, AmerisourceBergen entered into a settlement that
               resulted in the suspension of its DEA registration;

            b. On November 28, 2007, the DEA issued an Order to Show
               Cause and Immediate Suspension Order against the Cardinal
               Health Auburn, Washington Distribution Center (“Auburn
               Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

            c. On December 5, 2007, the DEA issued an Order to Show Cause
               and Immediate Suspension Order against the Cardinal Health
               Lakeland, Florida Distribution Center (“Lakeland Facility”) for
               failure to maintain effective controls against diversion of
               hydrocodone;

            d. On December 7, 2007, the DEA issued an Order to Show Cause
               and Immediate Suspension Order against the Cardinal Health
158
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of
Justice, The Drug Enforcement Administration’s Adjudication of Registrant
Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
159
      Id.

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         Swedesboro, New Jersey Distribution Center (“Swedesboro
         Facility”) for failure to maintain effective controls against
         diversion of hydrocodone;

      e. On January 30, 2008, the DEA issued an Order to Show Cause
         and Immediate Suspension Order against the Cardinal Health
         Stafford, Texas Distribution Center (“Stafford Facility”) for
         failure to maintain effective controls against diversion of
         hydrocodone;

      f. On May 2, 2008, McKesson Corporation entered into an
         Administrative Memorandum of Agreement (“2008 MOA”)
         with the DEA which provided that McKesson would “maintain
         a compliance program designed to detect and prevent the
         diversion of controlled substances, inform DEA of suspicious
         orders required by 21 C.F.R. § 1301.74(b), and follow the
         procedures established by its Controlled Substance Monitoring
         Program”;

      g. On September 30, 2008, Cardinal Health entered into a
         Settlement and Release Agreement and Administrative
         Memorandum of Agreement with the DEA related to its Auburn
         Facility, Lakeland Facility, Swedesboro Facility and Stafford
         Facility. The document also referenced allegations by the DEA
         that Cardinal failed to maintain effective controls against the
         diversion of controlled substances at its distribution facilities
         located in McDonough, Georgia (“McDonough Facility”),
         Valencia, California (“Valencia Facility”) and Denver,
         Colorado (“Denver Facility”);

      h. On February 2, 2012, the DEA issued an Order to Show Cause
         and Immediate Suspension Order against the Cardinal Health
         Lakeland, Florida Distribution Center (“Lakeland Facility”) for
         failure to maintain effective controls against diversion of
         oxycodone;


                                    123
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             i. On December 23, 2016, Cardinal Health agreed to pay a $44
                million fine to the DEA to resolve the civil penalty portion of
                the administrative action taken against its Lakeland, Florida
                Distribution Center; and

             j. On January 5, 2017, McKesson Corporation entered into an
                Administrative Memorandum Agreement with the DEA wherein
                it agreed to pay a $150 million civil penalty for violation of the
                2008 MOA as well as failure to identify and report suspicious
                orders at its facilities in Aurora CO, Aurora IL, Delran NJ,
                LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,
                Livonia MI, Methuen MA, Sante Fe Springs CA, Washington
                Courthouse OH and West Sacramento CA.

         247. Rather than abide by their non-delegable duties under public safety

laws, the Distributor Defendants, individually and collectively through trade

groups in the industry, pressured the U.S. Department of Justice to “halt”

prosecutions and lobbied Congress to strip the DEA of its ability to immediately

suspend distributor registrations. The result was a “sharp drop in enforcement

actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a

distributor’s license from “imminent harm” to “immediate harm” and provided the

industry the right to “cure” any violations of law before a suspension order can be

issued.160


160
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed
Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post, Oct.
22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
                                           124
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         248. In addition to taking actions to limit regulatory prosecutions and

suspensions, the Distributor Defendants undertook to fraudulently convince the

public that they were complying with their legal obligations, including those

imposed by licensing regulations. Through such statements, the Distributor

Defendants attempted to assure the public they were working to curb the opioid

epidemic.

         249. For example, a Cardinal Health executive claimed that it uses

“advanced analytics” to monitor its supply chain, and represented that it was being

“as effective and efficient as possible in constantly monitoring, identifying, and

eliminating any outside criminal activity.” 161 Given the sales volumes and the

company’s history of violations, this executive was either not telling the truth, or,

if Cardinal Health had such a system, it ignored the results.


enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-
7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham,
Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No Leadership” in WV
Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-
in-wv-amid-flood-of-pain-pills-.
161
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the
Hands of Illegal Users: “No One Was Doing Their Job,” Wash. Post, Oct. 22,
2016, https://www.washingtonpost.com/investigations/how-drugs-intended-for-
patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-
job/2016/10/22/10e79396-30a7-11e6-8ff7-7b6c1998b7a0_story.html.
                                         125
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         250. Similarly, Defendant McKesson publicly stated that it has a “best-in-

class controlled substance monitoring program to help identify suspicious orders,”

and claimed it is “deeply passionate about curbing the opioid epidemic in our

country.” 162 Again, given McKesson’s historical conduct, this statement is either

false, or the company ignored outputs of the monitoring program.

         251. By misleading the public about the effectiveness of their controlled

substance monitoring programs, the Distributor Defendants successfully concealed

the facts sufficient to arouse suspicion of the claims that the Plaintiff now asserts.

The Plaintiff did not know of the existence or scope of Defendants’ industry-wide

fraud and could not have acquired such knowledge earlier through the exercise of

reasonable diligence.

         252. Meanwhile, the opioid epidemic rages unabated in the Nation, the

State, and in Plaintiff’s Community.

         253. The epidemic still rages because the fines and suspensions imposed by

the DEA do not change the conduct of the industry. The distributors, including the

Distributor Defendants, pay fines as a cost of doing business in an industry that

generates billions of dollars in annual revenue. They hold multiple DEA

162
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as
the Agency Tried to Curb Opioid Abuse, Wash. Post, Dec. 22, 2016,
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-
949c5893595e_story.html.

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registration numbers and when one facility is suspended, they simply ship from

another facility.

         254. The wrongful actions and omissions of the Distributor Defendants

which have caused the diversion of opioids and which have been a substantial

contributing factor to and/or proximate cause of the opioid crisis are alleged in

greater detail in Plaintiff’s racketeering allegations below.

         255. The Distributor Defendants have abandoned their duties imposed under

federal and state law, taken advantage of a lack of DEA law enforcement, and

abused the privilege of distributing controlled substances in the State and

Plaintiff’s Community.

             4. The National Retail Pharmacies Were on Notice of and Contributed to
                Illegal Diversion of Prescription Opioids.

         256. National retail pharmacy chains earned enormous profits by flooding

the country with prescription opioids.163 They were keenly aware of the oversupply

of prescription opioids through the extensive data and information they developed

and maintained as both distributors and dispensaries. Yet, instead of taking any

meaningful action to stem the flow of opioids into communities, they continued to

participate in the oversupply and profit from it.



163
    The allegations contained in this Complaint are based, in part, on discovery that
is in its infancy. Plaintiff reserves its right to further amend this complaint to add
supporting allegations, claims and parties.
                                           127
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      257. Each of the National Retail Pharmacies does substantial business

throughout the United States. This business includes the distribution and

dispensing of prescription opioids.

      258. On information and belief, the National Retail Pharmacies distributed

and dispensed substantial quantities of prescription opioids, including fentanyl,

hydrocodone, and oxycodone in Pennsylvania. In addition, they distributed and

dispensed substantial quantities of prescription opioids in other states, and these

drugs were diverted from these other states to Pennsylvania. The National Retail

Pharmacies failed to take meaningful action to stop this diversion despite their

knowledge of it, and contributed substantially to the diversion problem.

      259. The National Retail Pharmacies developed and maintained extensive

data on opioids they distributed and dispensed. Through this data, National Retail

Pharmacies had direct knowledge of patterns and instances of improper

distribution, prescribing, and use of prescription opioids in communities

throughout the country, and in Pennsylvania in particular. They used the data to

evaluate their own sales activities and workforce. On information and belief, the

National Retail Pharmacies also provided Defendants with data regarding, inter

alia, individual doctors in exchange for rebates or other forms of consideration.

The National Retail Pharmacies’ data is a valuable resource that they could have

used to help stop diversion, but failed to do so.


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         a. The National Retail Pharmacies Have a Duty to Prevent
            Diversion
      260. Each participant in the supply chain of opioid distribution, including

the National Retail Pharmacies, is responsible for preventing diversion of

prescription opioids into the illegal market by, among other things, monitoring and

reporting suspicious activity.

      261. The National Retail Pharmacies, like manufacturers and other

distributors, are registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA,

pharmacy registrants are required to “provide effective controls and procedures to

guard against theft and diversion of controlled substances.” See 21 C.F.R. §

1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states, “[t]he responsibility for the

proper prescribing and dispensing of controlled substances is upon the prescribing

practitioner, but a corresponding responsibility rests with the pharmacist who fills

the prescription.” Because pharmacies themselves are registrants under the CSA,

the duty to prevent diversion lies with the pharmacy entity, not the individual

pharmacist alone.

      262. The DEA, among others, has provided extensive guidance to

pharmacies concerning their duties to the public. The guidance advises pharmacies

how to identify suspicious orders and other evidence of diversion.

      263. Suspicious pharmacy orders include orders of unusually large size,

orders that are disproportionately large in comparison to the population of a

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community served by the pharmacy, orders that deviate from a normal pattern

and/or orders of unusual frequency and duration, among others.

      264. Additional types of suspicious orders include: (1) prescriptions written

by a doctor who writes significantly more prescriptions (or in larger quantities or

higher doses) for controlled substances compared to other practitioners in the area;

(2) prescriptions which should last for a month in legitimate use, but are being

refilled on a shorter basis; (3) prescriptions for antagonistic drugs, such as

depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with

quantities or doses that differ from usual medical usage; (6) prescriptions that do

not comply with standard abbreviations and/or contain no abbreviations; (7)

photocopied prescriptions; or (8) prescriptions containing different handwriting.

Most of the time, these attributes are not difficult to detect and should be easily

recognizable by pharmacies.

      265. Suspicious pharmacy orders are red flags for if not direct evidence of

diversion.

      266. Other signs of diversion can be observed through data gathered,

consolidated, and analyzed by the National Retail Pharmacies themselves. That

data allows them to observe patterns or instances of dispensing that are potentially




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suspicious, of oversupply in particular stores or geographic areas, or of prescribers

or facilities that seem to engage in improper prescribing.

      267. According to industry standards, if a pharmacy finds evidence of

prescription diversion, the local Board of Pharmacy and DEA must be contacted.

      268. Despite their legal obligations as registrants under the CSA, the

National Retail Pharmacies allowed widespread diversion to occur—and they did

so knowingly.

      269. Performance metrics and prescription quotas adopted by the National

Retail Pharmacies for their retail stores contributed to their failure. Under CVS’s

Metrics System, for example, pharmacists are directed to meet high goals that

make it difficult, if not impossible, to comply with applicable laws and regulations.

There is no measurement for pharmacy accuracy or customer safety. Moreover,

the bonuses for pharmacists are calculated, in part, on how many prescriptions that

pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into

communities throughout the country. The policies remained in place even as the

epidemic raged.

      270. Upon information and belief, this problem was compounded by the

Pharmacies’ failure to adequately train their pharmacists and pharmacy technicians

on how to properly and adequately handle prescriptions for opioid painkillers,


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including what constitutes a proper inquiry into whether a prescription is

legitimate, whether a prescription is likely for a condition for which the FDA has

approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when

suspicious circumstances are present, including when prescriptions are procured

and pills supplied for the purpose of illegal diversion and drug trafficking.

      271. Upon information and belief, the National Retail Pharmacies also failed

to adequately use data available to them to identify doctors who were writing

suspicious numbers of prescriptions and/or prescriptions of suspicious amounts of

opioids, or to adequately use data available to them to do statistical analysis to

prevent the filling of prescriptions that were illegally diverted or otherwise

contributed to the opioid crisis.

      272. Upon information and belief, the National Retail Pharmacies failed to

analyze: (a) the number of opioid prescriptions filled by individual pharmacies

relative to the population of the pharmacy's community; (b) the increase in opioid

sales relative to past years; (c) the number of opioid prescriptions filled relative to

other drugs; and (d) the increase in annual opioid sales relative to the increase in

annual sales of other drugs.

      273. Upon information and belief, the National Retail Pharmacies also failed

to conduct adequate internal or external audits of their opioid sales to identify


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patterns regarding prescriptions that should not have been filled and to create

policies accordingly, or if they conducted such audits, they failed to take any

meaningful action as a result.

      274. Upon information and belief, the National Retail Pharmacies also failed

to effectively respond to concerns raised by their own employees regarding

inadequate policies and procedures regarding the filling of opioid prescriptions.

      275. The National Retail Pharmacies were, or should have been, fully aware

that the quantity of opioids being distributed and dispensed by them was untenable,

and in many areas patently absurd; yet, they did not take meaningful action to

investigate or to ensure that they were complying with their duties and obligations

under the law with regard to controlled substances.

                b. Multiple Enforcement Actions against the National Retail
                   Pharmacies Confirm their Compliance Failures.

      276. The National Retail Pharmacies have long been on notice of their

failure to abide by state and federal law and regulations governing the distribution

and dispensing of prescription opioids. Indeed, several of the National Retail

Pharmacies have been repeatedly penalized for their illegal prescription opioid

practices. Upon information and belief, based upon the widespread nature of these

violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

                i. CVS
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         277. CVS is one of the largest companies in the world, with annual revenue

of more than $150 billion. According to news reports, it manages medications for

nearly 90 million customers at 9,700 retail locations. CVS could be a force for

good in connection with the opioid crisis, but like other Defendants, CVS sought

profits over people.

         278. CVS is a repeat offender and recidivist: the company has paid fines

totaling over $40 million as the result of a series of investigations by the DEA and

the United States Department of Justice (“DOJ”). It nonetheless treated these fines

as the cost of doing business and has allowed its pharmacies to continue

dispensing opioids in quantities significantly higher than any plausible medical

need would require, and to continue violating its recordkeeping and dispensing

obligations under the CSA.

         279. As recently as July 2017, CVS entered into a $5 million settlement

with the U.S. Attorney’s Office for the Eastern District of California regarding

allegations that its pharmacies failed to keep and maintain accurate records of

Schedule II, III, IV, and V controlled substances. 164

         280. This fine was preceded by numerous others throughout the country.



164
   Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays
$5M to Settle Alleged Violations of the Controlled Substance Act, U.S. Dep’t of
Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-
pays-5m-settle-alleged-violations-controlled-substance-act.
                                         134
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         281. In February 2016, CVS paid $8 million to settle allegations made by

the DEA and the DOJ that from 2008-2012, CVS stores and pharmacists in

Maryland violated their duties under the CSA and filled prescriptions with no

legitimate medical purpose.165

         282. In October 2016, CVS paid $600,000 to settle allegations by the DOJ

that stores in Connecticut failed to maintain proper records in accordance with the

CSA. 166

         283. In September 2016, CVS entered into a $795,000 settlement with the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to

access the state’s prescription monitoring program website and review a patient’s

prescription history before dispensing certain opioid drugs. 167

         284. In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve

allegations that 50 of its stores violated the CSA by filling forged prescriptions for

165
    Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8
Million Settlement Agreement with CVS for Unlawful Distribution of Controlled
Substances, U.S. Dep’t of Just. (Feb. 12, 2016), https://www.justice.gov/usao-
md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-
distribution-controlled.
166
    Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays
$600,000 to Settle Controlled Substances Act Allegations, U.S. Dep’t of Just. (Oct.
20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-pays-600000-settle-
controlled-substances-act-allegations.
167
    Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing
opioids in agreement with state, Boston.com (Sept. 1, 2016),
https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-795000-
strengthen-policies-around-dispensing-opioids-in-agreement-with-state.
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controlled substances—mostly addictive painkillers—more than 500 times

between 2011 and 2014.168

         285. In August 2015, CVS entered into a $450,000 settlement with the U.S.

Attorney’s Office for the District of Rhode Island to resolve allegations that

several of its Rhode Island stores violated the CSA by filling invalid prescriptions

and maintaining deficient records. The United States alleged that CVS retail

pharmacies in Rhode Island filled a number of forged prescriptions with invalid

DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not

legally permitted to prescribe that drug. Additionally, the government alleged that

CVS had recordkeeping deficiencies.169

         286. In May 2015, CVS agreed to pay a $22 million penalty following a

DEA investigation that found that employees at two pharmacies in Sanford,

Florida, had dispensed prescription opioids, “based on prescriptions that had not

been issued for legitimate medical purposes by a health care provider acting in the

usual course of professional practice. CVS also acknowledged that its retail
168
    Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million
to Resolve Allegations that Pharmacists Filled Fake Prescriptions, U.S. Dep’t of
Just. (June 30, 2016), https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-
resolve-allegations-pharmacists-filled-fake-prescriptions.
169
    Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims
Against CVS Health Corp. Resolved With $450,000 Civil Settlement, U.S. Dep’t
of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-diversion-claims-
against-cvs-health-corp-resolved-450000-civil-settlement.
                                         136
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pharmacies had a responsibility to dispense only those prescriptions that were

issued based on legitimate medical need.”170

         287. In September 2014, CVS agreed to pay $1.9 million in civil penalties

to resolve allegations it filled prescriptions written by a doctor whose controlled-

substance registration had expired.171

         288. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy

Board for improperly selling prescription narcotics in at least five locations in the

Oklahoma City metropolitan area. 172

         289. Dating back to 2006, CVS retail pharmacies in Oklahoma and

elsewhere intentionally violated the CSA by filling prescriptions signed by

prescribers with invalid DEA registration numbers. 173



170
    Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches
$22 Million Settlement Agreement With CVS For Unlawful Distribution of
Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-
agreement-cvs-unlawful-distribution.
171
    Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-
News (Sept. 5, 2014), http://www.expressnews.com/business/local/article/H-E-
BCVS-fined-over-prescriptions-5736554.php.
172
    Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines
at times, NewsOK (May 3, 2015), http://newsok.com/article/5415840.
173
    Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11
Million To Settle Civil Penalty Claims Involving Violations of Controlled
Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-
controlled.
                                         137
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                         ii. Walgreens
         290. Walgreens is the second-largest pharmacy store chain in the United

States behind CVS, with annual revenue of more than $118 billion. According to

its website, Walgreens operates more than 8,100 retail locations and filled 990

million prescriptions on a 30-day adjusted basis in fiscal 2017.

         291. Walgreens also has been penalized for serious and flagrant violations

of the CSA. Indeed, Walgreens agreed to the largest settlement in DEA history—

$80 million—to resolve allegations that it committed an unprecedented number of

recordkeeping and dispensing violations of the CSA, including negligently

allowing controlled substances such as oxycodone and other prescription

painkillers to be diverted for abuse and illegal black market sales. 174

         292. The settlement resolved investigations into and allegations of CSA

violations in Florida, New York, Michigan, and Colorado that resulted in the

diversion of millions of opioids into illicit channels.

         293. Walgreens’ Florida operations at issue in this settlement highlight its

egregious conduct regarding diversion of prescription opioids. Walgreens’ Florida




174
   Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay
A Record Settlement Of $80 Million For Civil Penalties Under The Controlled
Substances Act, U.S. Dep’t of Just. (June 11, 2013), https://www.justice.gov/usao-
sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
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pharmacies each allegedly ordered more than one million dosage units of

oxycodone in 2011—more than ten times the average amount. 175

         294. They increased their orders over time, in some cases as much as 600%

in the space of just two years, including, for example, supplying a town of 3,000

with 285,800 orders of oxycodone in a one-month period. Yet Walgreens

corporate officers turned a blind eye to these abuses. In fact, corporate attorneys

at Walgreens suggested, in reviewing the legitimacy of prescriptions coming from

pain clinics, that “if these are legitimate indicators of inappropriate prescriptions

perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA

or the health of communities.176

         295. Defendant Walgreens’ settlement with the DEA stemmed from the

DEA’s investigation into Walgreens’ distribution center in Jupiter, Florida, which

was responsible for significant opioid diversion in Florida. According to the Order

to Show Cause, Defendant Walgreens’ corporate headquarters pushed to increase

the number of oxycodone sales to Walgreens’ Florida pharmacies, and provided

bonuses for pharmacy employees based on number of prescriptions filled at the

pharmacy in an effort to increase oxycodone sales. In July 2010, Defendant

175
    Order to Show Cause and Immediate Suspension of Registration, In the Matter
of Walgreens Co. (Drug Enf’t Admin. Sept. 13, 2012).
176
    Id.
                                         139
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Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in

oxycodone sales sold almost 18 oxycodone prescriptions per day. All of these

prescriptions were filled by the Jupiter Center. 177

         296. Walgreens has also settled with a number of state attorneys general,

including West Virginia ($575,000) and Massachusetts ($200,000). 178

         297. The Massachusetts Attorney General’s Medicaid Fraud Division found

that, from 2010 through most of 2015, multiple Walgreens stores across the state

failed to monitor the opioid use of some Medicaid patients who were considered

high-risk.

         298. In January 2017, an investigation by the Massachusetts Attorney

General found that some Walgreens pharmacies failed to monitor patients’ drug

use patterns and did not use sound professional judgment when dispensing opioids

and other controlled substances—despite the context of soaring overdose deaths in

Massachusetts. Walgreens agreed to pay $200,000 and follow certain procedures

for dispensing opioids.179



177
    Id.
178
    Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25,
2017), https://www.pharmacist.com/article/walgreens-pay-200000-settlement-
lapses-opioids.
179
    Id.
                                          140
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                          iii. Rite Aid
         299. With approximately 4,600 stores in 31 states and the District of

Columbia, Rite Aid is the largest drugstore chain on the East Coast and the third-

largest in the United States, with annual revenue of more than $21 billion.

         300. In 2009, as a result of a multi-jurisdictional investigation by the DOJ,

Rite Aid and nine of its subsidiaries in eight states were fined $5 million in civil

penalties for its violations of the CSA. 180

         301. The investigation revealed that from 2004 onwards, Rite Aid

pharmacies across the country had a pattern of non-compliance with the

requirements of the CSA and federal regulations that led to the diversion of

prescription opioids in and around the communities of the Rite Aid pharmacies

investigated. Rite Aid also failed to notify the DEA of losses of controlled

substances in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).181

         302. Numerous state and federal drug diversion prosecutions have occurred

in which prescription opioid pills were procured from National Retail Pharmacies.

The allegations in this Complaint do not attempt to identify all these prosecutions,

and the information above is merely by way of example.
180
    Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to
Pay $5 Million in Civil Penalties to Resolve Violations in Eight States of the
Controlled Substances Act, U.S. Dep’t of Just. (Jan. 12, 2009),
https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-
million-civil-penalties-resolve-violations.
181
    Id.
                                          141
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      303. The litany of state and federal actions against the National Retail

Pharmacies demonstrate that they routinely, and as a matter of standard operating

procedure, violated their legal obligations under the CSA and other laws and

regulations that govern the distribution and dispensing of prescription opioids.

      304. Throughout the country and the State, the National Retail Pharmacies

were or should have been aware of numerous red flags of potential suspicious

activity and diversion.

      305. On information and belief, from the catbird seat of their retail

pharmacy operations, the National Retail Pharmacies knew or reasonably should

have known about the disproportionate flow of opioids into Pennsylvania and the

operation of “pill mills” that generated opioid prescriptions that, by their quantity

or nature, were red flags for if not direct evidence of illicit supply and diversion.

Additional information was provided by news reports, and state and federal

regulatory actions, including prosecutions of pill mills in the area.

      306. On information and belief, the National Retail Pharmacies knew or

reasonably should have known about the devastating consequences of the

oversupply and diversion of prescription opioids, including spiking opioid

overdose rates in the community.

      307. On information and belief, because of (among others sources of

information) regulatory and other actions taken against the National Retail


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Pharmacies directly, actions taken against others pertaining to prescription opioids

obtained from their retail stores, complaints and information from employees and

other agents, and the massive volume of opioid prescription drug sale data that

they developed and monitored, the National Retail Pharmacies were well aware

that their distribution and dispensing activities fell far short of legal requirements.

      308. The National Retail Pharmacies’ actions and omission in failing to

effectively prevent diversion and failing to monitor, report, and prevent suspicious

orders have contributed significantly to the opioid crisis by enabling, and failing to

prevent, the diversion of opioids.

      D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE
         TO PREVENT DIVERSION AND MONITOR, REPORT, AND
         PREVENT SUSPICIOUS ORDERS.
      309. The same legal duties to prevent diversion, and to monitor, report, and

prevent suspicious orders of prescription opioids that were incumbent upon the

Distributor Defendants were also legally required of the Manufacturer Defendants

under federal and Pennsylvania law.

      310. The Manufacturing Defendants were required to comply with the same

licensing and permitting requirements as the Distributor Defendants. See 63 P.S. §§

391.3 (including manufacturers in definition of wholesale distributors); 391.4

(requiring license); 35 P.S. § 780-106 (requiring manufacturers to register with the

Secretary of Health); 28 Pa. Code § 25.113 (requiring annual registration).


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      311. Like the Distributor Defendants, the Manufacturer Defendants were

required to register with the DEA to manufacture schedule II controlled

substances, like prescription opioids. See 21 U.S.C. § 823(a). A requirement of

such registration is the:

      maintenance of effective controls against diversion of particular
      controlled substances and any controlled substance in schedule I or
      II compounded therefrom into other than legitimate medical,
      scientific, research, or industrial channels, by limiting the
      importation and bulk manufacture of such controlled substances to a
      number of establishments which can produce an adequate and
      uninterrupted supply of these substances under adequately
      competitive conditions for legitimate medical, scientific, research,
      and industrial purposes . . . .

21 USCA § 823(a)(1) (emphasis added).

      312. Additionally, as “registrants” under Section 823, the Manufacturer

Defendants were also required to monitor, report, and prevent suspicious orders of

controlled substances:

      The registrant shall design and operate a system to disclose to the
      registrant suspicious orders of controlled substances. The registrant
      shall inform the Field Division Office of the Administration in his
      area of suspicious orders when discovered by the registrant.
      Suspicious orders include orders of unusual size, orders deviating
      substantially from a normal pattern, and orders of unusual frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part

shall have the definition set forth in section 102 of the Act (21 U.S.C. 802) or part

1300 of this chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person who is

registered pursuant to either section 303 or section 1008 of the Act (21 U.S.C. 823
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or 958).” Like the Distributor Defendants, the Manufacture Defendants breached

these duties.

      313. The Manufacturer Defendants had access to and possession of the

information necessary to monitor, report, and prevent suspicious orders and to

prevent diversion. The Manufacturer Defendants engaged in the practice of paying

“chargebacks” to opioid distributors. A chargeback is a payment made by a

manufacturer to a distributor after the distributor sells the manufacturer’s product

at a price below a specified rate. After a distributor sells a manufacturer’s product

to a pharmacy, for example, the distributor requests a chargeback from the

manufacturer and, in exchange for the payment, the distributor identifies to the

manufacturer the product, volume and the pharmacy to which it sold the product.

Thus, the Manufacturer Defendants knew – just as the Distributor Defendants

knew – the volume, frequency, and pattern of opioid orders being placed and filled.

The Manufacturer Defendants built receipt of this information into the payment

structure for the opioids provided to the opioid distributors.

      314. Federal statutes and regulations are clear: just like opioid distributors,

opioid manufacturers are required to “design and operate a system to disclose . . .

suspicious orders of controlled substances” and to maintain “effective controls

against diversion.” 21 C.F.R. § 1301.74; 21 USCA § 823(a)(1). Pennsylvania law

requires that Distributors and others “maintaining stocks or having controlled


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substances in production areas or on hand for distribution shall provide effective

controls and procedures to guard against theft and diversion of the substances.” 28

Pa. Code § 25.61.

            315. The Department of Justice has recently confirmed the suspicious order

obligations clearly imposed by federal law upon opioid manufacturers, fining

Mallinckrodt $35 million for failure to report suspicious orders of controlled

substances, including opioids, and for violating recordkeeping requirements. 182

            316. In the press release accompanying the settlement, the Department of

Justice stated: Mallinckrodt did not meet its obligations to detect and notify DEA

of suspicious orders of controlled substances such as oxycodone, the abuse of

which is part of the current opioid epidemic. These suspicious order monitoring

requirements exist to prevent excessive sales of controlled substances, like

oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain of

supply that resulted in millions of oxycodone pills being sold on the street. . . .

“Manufacturers and distributors have a crucial responsibility to ensure that

controlled substances do not get into the wrong hands. . . .” 183


182
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record
$35 Million Settlement for Failure to Report Suspicious Orders of Pharmaceutical
Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-
settlement-failure-report-suspicious-orders.
183
      Id.

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            317. Among the allegations resolved by the settlement, the government

alleged “Mallinckrodt failed to design and implement an effective system to detect

and report ‘suspicious orders’ for controlled substances – orders that are unusual in

their frequency, size, or other patterns . . . [and] Mallinckrodt supplied distributors,

and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these

suspicious orders.”184

            318. The Memorandum of Agreement entered into by Mallinckrodt (“2017

Mallinckrodt MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a

responsibility to maintain effective controls against diversion, including a

requirement that it review and monitor these sales and report suspicious orders to

DEA.” 185

            319. The 2017 Mallinckrodt MOA further details the DEA’s allegations

regarding Mallinckrodt’s failures to fulfill its legal duties as an opioid

manufacturer:

            With respect to its distribution of oxycodone and hydrocodone
            products, Mallinckrodt's alleged failure to distribute these controlled
            substances in a manner authorized by its registration and

184
      Id.
185
    Administrative Memorandum of Agreement between the United States
Department of Justice, the Drug Enforcement Agency, and Mallinckrodt, plc. and
its subsidiary Mallinckrodt, LLC (July 10, 2017), https://www.justice.gov/usao-
edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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   Mallinckrodt's alleged failure to operate an effective suspicious
   order monitoring system and to report suspicious orders to the DEA
   when discovered as required by and in violation of 21 C,F.R. §
   1301.74(b). The above includes, but is not limited to Mallinckrodt's
   alleged failure to:
            i. conduct adequate due diligence of its customers;
            ii. detect and report to the DEA orders of unusual size and
                frequency;
           iii. detect and report to the DEA orders deviating
                substantially from normal patterns including, but not
                limited to, those identified in letters from the DEA
                Deputy Assistant Administrator, Office of Diversion
                Control, to registrants dated September 27, 2006 and
                December 27, 2007:
                  1. orders that resulted in a disproportionate amount
                     of a substance which is most often abused going
                     to a particular geographic region where there was
                     known diversion,
                  2. orders that purchased a disproportionate amount
                     of a substance which is most often abused
                     compared to other products, and
                  3. orders from downstream customers to
                     distributors who were purchasing from multiple
                     different distributors, of which Mallinckrodt was
                     aware;
           iv. use “chargeback” information from its distributors to
               evaluate suspicious orders. Chargebacks include
               downstream purchasing information tied to certain
               discounts, providing Mallinckrodt with data on buying
               patterns for Mallinckrodt products; and
            v. take sufficient action to prevent recurrence of diversion
               by downstream customers after receiving concrete




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                     information of diversion of Mallinckrodt product by
                     those downstream customers. 186


         320. Mallinckrodt agreed that its “system to monitor and detect suspicious

orders did not meet the standards outlined in letters from the DEA Deputy

Administrator, Office of Diversion Control, to registrants dated September 27,

2006 and December 27, 2007.” Mallinckrodt further agreed that it “recognizes the

importance of the prevention of diversion of the controlled substances they

manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further,

Mallinckrodt agrees to notify DEA of any diversion and/or suspicious

circumstances involving any Mallinckrodt controlled substances that Mallinckrodt

discovers.”187

         321. Mallinckrodt acknowledged that “[a]s part of their business model

Mallinckrodt collects transaction information, referred to as chargeback data, from

their direct customers (distributors). The transaction information contains data

relating to the direct customer sales of controlled substances to "downstream"

registrants.” Mallinckrodt agreed that, from this data, it would “report to the DEA


186
      2017 Mallinckrodt MOA at p. 2-3.
187
      Id. at 3-4.

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when Mallinckrodt concludes that the chargeback data or other information

indicates that a downstream registrant poses a risk of diversion.” 188

         322. The same duties imposed by federal law on Mallinckrodt were imposed

upon all Manufacturer Defendants.

         323. The same business practices utilized by Mallinckrodt regarding “charge

backs” and receipt and review of data from opioid distributors regarding orders of

opioids were utilized industry-wide among opioid manufacturers and distributors,

including, upon information and belief, the other Manufacturer Defendants.

         324. Through, inter alia, the charge back data, the Manufacturer Defendants

could monitor suspicious orders of opioids.

         325. The Manufacturer Defendants failed to monitor, report, and halt

suspicious orders of opioids as required by federal law.

         326. The Manufacturer Defendants’ failures to monitor, report, and halt

suspicious orders of opioids were intentional and unlawful.

         327. The Manufacturer Defendants have misrepresented their compliance

with federal law.

         328. The Manufacturer Defendants enabled the supply of prescription

opioids to obviously suspicious physicians and pharmacies, enabled the illegal




188
      Id. at 5.

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diversion of opioids, aided criminal activity, and disseminated massive quantities

of prescription opioids into the black market.

      329. The wrongful actions and omissions of the Manufacturer Defendants

which have caused the diversion of opioids and which have been a substantial

contributing factor to and/or proximate cause of the opioid crisis are alleged in

greater detail in Plaintiff’s racketeering allegations below.

      330. The Manufacturer Defendants’ actions and omissions in failing to

effective prevent diversion and failing to monitor, report, and prevent suspicious

orders have enabled the unlawful diversion of opioids into Plaintiff’s Community.

      E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF
         LEGAL DUTIES CAUSED THE HARM ALLEGED HEREIN AND
         SUBSTANTIAL DAMAGES.
      331. As the Manufacturer Defendants’ efforts to expand the market for

opioids increased so have the rates of prescription and sale of their products — and

the rates of opioid-related substance abuse, hospitalization, and death among the

people of the State and the Plaintiff’s Community. The Distributor Defendants

have continued to unlawfully ship these massive quantities of opioids into

communities like the Plaintiff’s Community, fueling the epidemic.




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         332. There is a “parallel relationship between the availability of prescription

opioid analgesics through legitimate pharmacy channels and the diversion and

abuse of these drugs and associated adverse outcomes.” 189

         333. Opioid analgesics are widely diverted and improperly used, and the

widespread use of the drugs has resulted in a national epidemic of opioid overdose

deaths and addictions. 190

         334. The epidemic is “directly related to the increasingly widespread misuse

of powerful opioid pain medications.” 191

         335. The increased abuse of prescription painkillers along with growing

sales has contributed to a large number of overdoses and deaths. 192

         336. As shown above, the opioid epidemic has escalated in Plaintiff’s

Community with devastating effects. Substantial opiate-related substance abuse,

hospitalization and death that mirrors Defendants’ increased distribution of opiates.

         337. Because of the well-established relationship between the use of

prescription opiates and the use of non-prescription opioids, like heroin, the

massive distribution of opioids to Plaintiff’s Community and areas from which



189
    See Dart et al., supra.
190
    See Volkow & McLellan, supra.
191
    See Califf, supra.
192
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of
Health and Human Servs., supra.

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such opioids are being diverted into Plaintiff’s Community, has caused the

Defendant-caused opioid epidemic to include heroin addiction, abuse, and death.

      338. Prescription opioid abuse, addiction, morbidity, and mortality are

hazards to public health and safety in the State and in Plaintiff’s Community.

      339. Heroin abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

      340. Defendants repeatedly and purposefully breached their duties under

state and federal law, and such breaches are direct and proximate causes of, and/or

substantial factors leading to, the widespread diversion of prescription opioids for

nonmedical purposes into the Plaintiff’s Community.

      341. The unlawful diversion of prescription opioids is a direct and proximate

cause of, and/or substantial factor leading to, the opioid epidemic, prescription

opioid abuse, addiction, morbidity and mortality in the State and Plaintiff’s

Community. This diversion and the epidemic are direct causes of foreseeable

harms incurred by the Plaintiff and Plaintiff’s Community.

      342. Defendants intentional and/or unlawful conduct resulted in direct and

foreseeable, past and continuing, economic damages for which Plaintiff seeks

relief, as alleged herein. Plaintiff also seeks the means to abate the epidemic

created by Defendants’ wrongful and/or unlawful conduct.




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         343. Plaintiff   seeks   economic   damages     from   the   Defendants    as

reimbursement for the costs association with past efforts to eliminate the hazards to

public health and safety.

         344. Plaintiff seeks economic damages from the Defendants to pay for the

cost to permanently eliminate the hazards to public health and safety and abate the

temporary public nuisance.

         345. To eliminate the hazard to public health and safety, and abate the public

nuisance, a “multifaceted, collaborative public health and law enforcement

approach is urgently needed.” 193

         346. A comprehensive response to this crisis must focus on preventing new

cases of opioid addiction, identifying early opioid-addicted individuals, and

ensuring access to effective opioid addiction treatment while safely meeting the

needs of patients experiencing pain. 194




193
      See Rudd et al., supra, at 1445.
194
   See Johns Hopkins Bloomberg School of Public Health, The Prescription
Opioid Epidemic: An Evidence-Based Approach (G. Caleb Alexander et al. eds.,
2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-drug-safety-
and-effectiveness/research/prescription-
opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.

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         347. These community-based problems require community-based solutions

that have been limited by “budgetary constraints at the state and Federal levels.” 195

         348. Having profited enormously through the aggressive sale, misleading

promotion, and irresponsible distribution of opiates, Defendants should be required

to take responsibility for the financial burdens their conduct has inflicted upon the

Plaintiff and Plaintiff’s Community.

         F. STATUTES OF LIMITATIONS DO NOT BAR THE BOROUGH’S
            CLAIMS.
             1. Enforcement of a Public Right.

         349. No statute of limitation can be pleaded against the Plaintiff, which

seeks to enforce strictly public rights.

             2. Equitable Estoppel.

         350. To the extent any statute of limitations defense would apply,

Defendants are equitably estopped from relying upon such a defense because they

undertook efforts to purposefully conceal their unlawful conduct and fraudulently

assure the public, including the State, the Plaintiff, and Plaintiff’s Community, that

they were undertaking efforts to comply with their obligations under the state and

federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and to continue generating profits.

195
   See Office of Nat’l Drug Control Policy, Exec. Office of the President,
Epidemic: Responding to America’s Prescription Drug Abuse Crisis (2011),
https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

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Notwithstanding the allegations set forth above, the Defendants affirmatively

assured the public, including the State, the Plaintiff, and Plaintiff’s Community,

that they are working to curb the opioid epidemic.

         351. For example, a Cardinal Health executive claimed that it uses

“advanced analytics” to monitor its supply chain, and assured the public it was

being “as effective and efficient as possible in constantly monitoring, identifying,

and eliminating any outside criminal activity.” 196

         352. Similarly, McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and

claimed it is “deeply passionate about curbing the opioid epidemic in our

country.” 197

         353. Moreover, in furtherance of their effort to affirmatively conceal their

conduct and avoid detection, the Distributor Defendants, through their trade

associations, HDMA and NACDS, filed an amicus brief in Masters

Pharmaceuticals, which made the following statements: 198

            a. “HDMA and NACDS members not only have statutory and regulatory
               responsibilities to guard against diversion of controlled prescription
               drugs, but undertake such efforts as responsible members of society.”



196
      Bernstein et al., supra.
197
      Higham et al., supra.
198
      Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *3-4, *25.

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          b. “DEA regulations that have been in place for more than 40 years
             require distributors to report suspicious orders of controlled
             substances to DEA based on information readily available to them
             (e.g., a pharmacy’s placement of unusually frequent or large orders).”

          c. “Distributors take seriously their duty to report suspicious orders,
             utilizing both computer algorithms and human review to detect
             suspicious orders based on the generalized information that is
             available to them in the ordering process.”

          d. “A particular order or series of orders can raise red flags because of its
             unusual size, frequency, or departure from typical patterns with a
             given pharmacy.”

          e. “Distributors also monitor for and report abnormal behavior by
             pharmacies placing orders, such as refusing to provide business
             contact information or insisting on paying in cash.”

Through the above statements made on their behalf by their trade associations, and

other similar statements assuring their continued compliance with their legal

obligations, the Distributor Defendants not only acknowledged that they

understood their obligations under the law, but they further affirmed that their

conduct was in compliance with those obligations.

      354. The Distributor Defendants have also concealed and prevented

discovery of information, including data from the ARCOS database, that will

confirm their identities and the extent of their wrongful and illegal activities.

      355. The Manufacturer Defendants distorted the meaning or import of

studies they cited and offered them as evidence for propositions the studies did not

support. The Manufacturer Defendants invented “pseudoaddiction” and promoted


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it to an unsuspecting medical community. Manufacturer Defendants provided the

medical community with false and misleading information about ineffectual

strategies to avoid or control opioid addiction. Manufacturer Defendants

recommended to the medical community that dosages be increased, without

disclosing the risks. Manufacturer Defendants spent millions of dollars over a

period of years on a misinformation campaign aimed at highlighting opioids’

alleged benefits, disguising the risks, and promoting sales. The medical

community, consumers, the State, and Plaintiff’s Community were duped by the

Manufacturer Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s

Community.

      356. Defendants intended that their actions and omissions would be relied

upon, including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s

Community did not know, and did not have the means to know, the truth due to

Defendants’ actions and omissions.

      357. The Plaintiff and Plaintiff’s Community reasonably relied on

Defendants’ affirmative statements regarding their purported compliance with their

obligations under the law and consent orders.

           3. Fraudulent Concealment.




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      358. The Plaintiff’s claims are further subject to equitable tolling, stemming

from Defendants’ knowingly and fraudulently concealing the facts alleged herein.

As alleged herein, Defendants knew of the wrongful acts set forth above, and had

material information pertinent to their discovery, and concealed them from the

Plaintiff and Plaintiff’s Community. The Plaintiff did not know, or could not have

known through the exercise of reasonable diligence, of its cause of action, as a

result of Defendants’ conduct.

      359. The purposes of the statutes of limitations period are satisfied because

Defendants cannot claim prejudice due to a late filing where the Plaintiff filed suit

promptly upon discovering the facts essential to its claims, described herein, which

Defendants knowingly concealed.

      360. In light of their statements to the media, in legal filings, and

settlements, it is clear that Defendants had actual or constructive knowledge that

their conduct was deceptive, in that they consciously concealed the schemes set

forth herein.

      361. Defendants continually and secretly engaged in their scheme to avoid

compliance with their legal obligations. Only Defendants and their agents knew or

could have known about Defendants’ unlawful actions because Defendants made

deliberate efforts to conceal their conduct. As a result of the above, the Plaintiff




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was unable to obtain vital information bearing on its claims absent any fault or lack

of diligence on its part.

                        V. LEGAL CAUSES OF ACTION

                                    COUNT I
                               PUBLIC NUISANCE
                              (Against all Defendants)
      362. Plaintiff incorporates by reference all other paragraphs of this

Complaint as if fully set forth here, and further alleges as follows.

      363. Each Defendant is liable for public nuisance because its conduct at

issue has caused an unreasonable and substantial interference with a right common

to the general public, which is the proximate cause of, and/or substantial factor

leading to, Plaintiff’s injury. See Restatement Second, Torts § 821B.

      364. Pennsylvania     has    declared    that   “Pennsylvania     consumers   of

prescription drugs will be better assured of safe and effective prescription drug

products if the Commonwealth joins with other jurisdictions to require the

licensure of all persons who operate facilities from which they engage in the

wholesale distribution of prescription drugs.” 63 P.S. § 391.2(a)(2). Further, the

legislature has declared that “It is the further intent of the General Assembly to

promote the safety and effectiveness of prescription drug products by requiring all

persons who operate facilities within this Commonwealth from which they engage

in the wholesale distribution of prescription drugs to secure a license and meet


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minimum quality assurance and operational standards as required by this act.” 63

Pa. Stat. Ann. § 391.2 (b).

      365. By causing dangerously addictive drugs to flood the community, and to

be diverted for illicit purposes, in contravention of federal and State law, each

Defendant has injuriously affected rights common to the general public,

specifically including the rights of the people of the Plaintiff’s Community to

public health, public safety, public peace, public comfort, and public convenience.

The public nuisance caused by Defendants’ diversion of dangerous drugs has

caused substantial annoyance, inconvenience, and injury to the public.

      366. By selling dangerously addictive opioid drugs diverted from a

legitimate medical, scientific, or industrial purpose, Defendants have committed a

continuing course of conduct that injuriously affects the safety, health, and morals

of the people of the Plaintiff’s Community.

      367. By failing to maintain a closed system that guards against diversion of

dangerously addictive drugs for illicit purposes, Defendants injuriously affected

public rights, including the right to public health, public safety, public peace, and

public comfort of the people of the Plaintiff’s Community.

      368. Plaintiff alleges that Defendants wrongful and illegal actions have

created a public nuisance. Each Defendant is liable for public nuisance because its




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conduct at issue has caused an unreasonable interference with a right common to

the general public.

      369. The Defendants have intentionally and/or unlawfully created an

absolute nuisance.

      370. The residents of Plaintiff’s Community have a common right to be free

from conduct that creates an unreasonable jeopardy to the public health, welfare

and safety, and to be free from conduct that creates a disturbance and reasonable

apprehension of danger to person and property.

      371. Defendants intentionally, unlawfully, and recklessly manufacture,

market, distribute, and sell prescription opioids that Defendants know, or

reasonably should know, will be diverted, causing widespread distribution of

prescription opioids in and/or to Plaintiff’s Community, resulting in addiction and

abuse, an elevated level of crime, death and injuries to the residents of Plaintiff’s

Community, a higher level of fear, discomfort and inconvenience to the residents

of Plaintiff’s Community, and direct costs to Plaintiff’s Community.

      372. Defendants have unlawfully and/or intentionally caused and permitted

dangerous drugs under their control to be diverted such as to injure the Plaintiff’s

Community and its residents.

      373. Defendants have unlawfully and/or intentionally distributed opioids or

caused opioids to be distributed without maintaining effective controls against


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diversion. Such conduct was illegal. Defendants’ failures to maintain effective

controls against diversion include Defendants’ failure to effectively monitor for

suspicious orders, report suspicious orders, and/or stop shipment of suspicious

orders.

      374. Defendants have caused a significant and unreasonable interference

with the public health, safety, welfare, peace, comfort and convenience, and ability

to be free from disturbance and reasonable apprehension of danger to person or

property.

      375. Defendants’ conduct in illegally distributing and selling prescription

opioids, or causing such opioids to be distributed and sold, where Defendants

know, or reasonably should know, such opioids will be diverted and possessed

and/or used illegally Plaintiff’s Community is of a continuing nature.

      376. Defendants’ actions have been of a persistent and continuing nature and

have produced a significant effect upon the public’s rights, including the public’s

right to health and safety.

      377. A violation of any rule or law controlling the distribution of a drug of

abuse in Plaintiff’s Community and the State is a public nuisance.

      378. Defendants’ distribution of opioids while failing to maintain effective

controls against diversion was proscribed by statute and regulation.




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      379. Defendants’ ongoing and repeated course of conduct produces an

ongoing nuisance, as the prescription opioids that they allow and/or cause to be

illegally distributed and possessed in Plaintiff’s Community will be diverted,

leading to abuse, addiction, crime, and public health costs.

      380. Because of the continued use and addiction caused by these illegally

distributed opioids, the public will continue to fear for its health, safety and

welfare, and will be subjected to conduct that creates a disturbance and reasonable

apprehension of danger to person and property.

      381. Defendants know, or reasonably should know, that their conduct will

have an ongoing detrimental effect upon the public health, safety and welfare, and

the public’s ability to be free from disturbance and reasonable apprehension of

danger to person and property.

      382. Defendants know, or reasonably should know, that their conduct causes

an unreasonable invasion of the public right to health, safety and welfare and the

public’s ability to be free from disturbance and reasonable apprehension of danger

to person and property.

      383. Defendants are aware, and at a bare minimum certainly should be

aware, of the unreasonable interference that their conduct has caused in Plaintiff’s

Community. Defendants are in the business of manufacturing, marketing, selling,

and distributing prescription drugs, including opioids, which are specifically


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known to Defendants to be dangerous under federal law. See, e.g., 21 U.S.C. § 812

(b)(2).

      384. Defendants’ conduct in marketing, distributing, and selling prescription

opioids which the defendants know, or reasonably should know, will likely be

diverted for non-legitimate, non-medical use, creates a strong likelihood that these

illegal distributions of opioids will cause death and injuries to residents in

Plaintiff’s Community and otherwise significantly and unreasonably interfere with

public health, safety and welfare, and with the public’s right to be free from

disturbance and reasonable apprehension of danger to person and property.

      385. It is, or should be, reasonably foreseeable to defendants that their

conduct will cause deaths and injuries to residents in Plaintiff’s Community, and

will otherwise significantly and unreasonably interfere with public health, safety

and welfare, and with the public’s right to be free from disturbance and reasonable

apprehension of danger to person and property.

      386. The prevalence and availability of diverted prescription opioids in the

hands of irresponsible persons and persons with criminal purposes in Plaintiff’s

Community not only causes deaths and injuries, but also creates a palpable climate

of fear among residents in Plaintiff’s Community where opioid diversion, abuse,

addiction are prevalent and where diverted opioids tend to be used frequently.




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       387. Defendants’ conduct makes it easier for persons to divert prescription

opioids, constituting a dangerous threat to the public.

       388. Defendants’ actions were, at the least, a substantial factor in opioids

becoming widely available and widely used for non-medical purposes. Because of

Defendants’ special positions within the closed system of opioid distribution,

without Defendants’ actions, opioid use would not have become so widespread,

and the enormous public health hazard of prescription opioid and heroin overuse,

abuse, and addiction that now exists would have been averted.

       389. The presence of diverted prescription opioids in Plaintiff’s Community,

and the consequence of prescription opioids having been diverted in Plaintiff’s

Community, proximately results in and/or substantially contributing to the creation

of significant costs to the Plaintiff and to Plaintiff’s Community in order to enforce

the law, equip its police force and treat the victims of opioid abuse and addiction.

       390. Stemming the flow of illegally distributed prescription opioids, and

abating the nuisance caused by the illegal flow of opioids, will help to alleviate this

problem, save lives, prevent injuries and make Plaintiff’s Community a safer place

to live.

       391. Defendants’ conduct is a direct and proximate cause of and/or a

substantial contributing factor to opioid addiction and abuse in Plaintiff’s

Community, costs borne by Plaintiff’s Community and the Plaintiff, and a


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significant and unreasonable interference with public health, safety and welfare,

and with the public’s right to be free from disturbance and reasonable

apprehension of danger to person and property.

      392. Defendants’ conduct constitutes a public nuisance and, if unabated, will

continue to threaten the health, safety and welfare of the residents of Plaintiff’s

Community, creating an atmosphere of fear and addiction that tears at the

residents’ sense of well-being and security. Plaintiff has a clearly ascertainable

right to abate conduct that perpetuates this nuisance.

      393. Defendants created an absolute nuisance. Defendants’ actions created

and expanded the abuse of opioids, which are dangerously addictive, and the

ensuing associated plague of prescription opioid and heroin addiction. Defendants

knew the dangers to public health and safety that diversion of opioids would create

in Plaintiff’s Community, however, Defendants intentionally and/or unlawfully

failed to maintain effective controls against diversion through proper monitoring,

reporting and refusal to fill suspicious orders of opioids. Defendants intentionally

and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain

effective controls against diversion. Defendants intentionally and/or unlawfully

continued to ship and failed to halt suspicious orders of opioids, or caused such

orders to be shipped. Defendants intentionally and/or unlawfully marketed opioids


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in manners they knew to be false and misleading. Such actions were inherently

dangerous.

      394. Defendants knew the prescription opioids have a high likelihood of

being diverted. It was foreseeable to Defendants that where Defendants distributed

prescription opioids or caused such opioids to be distributed without maintaining

effective controls against diversion, including monitoring, reporting, and refusing

shipment of suspicious orders, that the opioids would be diverted, and create an

opioid abuse nuisance in Plaintiff’s Community.

      395. Defendants’ actions also created a qualified nuisance. Defendants acted

recklessly, negligently and/or carelessly, in breach of their duties to maintain

effective controls against diversion, thereby creating an unreasonable risk of harm.

      396. Defendants acted with actual malice because Defendants acted with a

conscious disregard for the rights and safety of other persons, and said actions have

a great probability of causing substantial harm.

      397. The damages available to the Plaintiff include, inter alia, recoupment

of governmental costs, flowing from an ongoing and persistent public nuisance

which the government seeks to abate.          Defendants’ conduct is ongoing and

persistent, and the Plaintiff seeks all damages flowing from Defendants’ conduct.

Plaintiff further seeks to abate the nuisance and harm created by Defendants’

conduct.


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      398. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s

Community have suffered actual ongoing injury and damages including, but not

limited to, significant expenses for police, emergency, health, prosecution,

corrections and other services. The Plaintiff here seeks recovery for its own harm.

      399. The Plaintiff and Plaintiff’s Community have sustained specific and

special injuries because their damages include, inter alia, health services, law

enforcement expenditures, and costs related to opioid addiction treatment and

overdose prevention.

      400. The Plaintiff further seeks to abate the nuisance created by the

Defendants’ unreasonable, unlawful, intentional, ongoing, continuing, and

persistent actions and omissions and interference with a right common to the

public.

      401. Plaintiff seeks all legal and equitable relief as allowed by law,

including inter alia abatement, compensatory damages, and punitive damages from

the Defendants for the creation of a public nuisance, attorney fees and costs, and

pre- and post-judgment interest.

      402. Defendants’ intentional and unlawful actions and omissions and

unreasonable interference with a right common to the public are of a continuing

nature.




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      403. Defendants are aware, and at a bare minimum certainly should be

aware, of the unreasonable interference that their conduct has caused in the

Plaintiff’s community. Defendants are in the business of manufacturing or

distributing prescription drugs, including opioids, which are specifically known to

Defendants to be dangerous because inter alia these drugs are defined under

federal and state law as substances posing a high potential for abuse and severe

addiction. Defendants created an absolute nuisance. Defendants’ actions created

and expanded the abuse of opioids, drugs specifically codified as constituting

severely harmful substances.

      404. The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the

community, and the harm inflicted outweighs any offsetting benefit. The

staggering rates of opioid and heroin use resulting from the Defendants’ abdication

of their gate-keeping and diversion prevention duties, and the Manufacturer

Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

      a. The high rates of use leading to unnecessary opioid abuse, addiction,
         overdose, injuries, and deaths.

      b. Even children have fallen victim to the opioid epidemic. Easy access to
         prescription opioids made opioids a recreational drug of choice among
         teenagers. Even infants have been born addicted to opioids due to


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      prenatal exposure, causing severe withdrawal symptoms and lasting
      developmental impacts.

   c. Even those residents of Plaintiff’s Community who have never taken
      opioids have suffered from the public nuisance arising from Defendants’
      abdication of their gate-keeper duties and fraudulent promotions. Many
      residents have endured both the emotional and financial costs of caring
      for loved ones addicted to or injured by opioids, and the loss of
      companionship, wages, or other support from family members who have
      used, abused, become addicted to, overdosed on, or been killed by
      opioids.

   d. The opioid epidemic has increased health care costs.

   e. Employers have lost the value of productive and healthy employees.

   f. Defendants’ conduct created an abundance of drugs available for criminal
      use and fueled a new wave of addiction, abuse, and injury.

   g. Defendants’ dereliction of duties and/or fraudulent misinformation
      campaign pushing dangerous drugs resulted in a diverted supply of
      narcotics to sell, and the ensuing demand of addicts to buy them. More
      prescription opioids sold by Defendants led to more addiction, with many
      addicts turning from prescription opioids to heroin. People addicted to
      opioids frequently require increasing levels of opioids, and many turned
      to heroin as a foreseeable result.

   h. The diversion of opioids into the secondary, criminal market and the
      increased number of individuals who abuse or are addicted to opioids
      increased the demands on health care services and law enforcement.

   i. The significant and unreasonable interference with the public rights
      caused by Defendants’ conduct taxed the human, medical, public health,
      law enforcement, and financial resources of the Plaintiff’s Community.

   j. Defendants’ interference with the comfortable enjoyment of life in the
      Plaintiff’s Community is unreasonable because there is little social utility
      to opioid diversion and abuse, and any potential value is outweighed by
      the gravity of the harm inflicted by Defendants’ actions.
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      405. The Plaintiff and Plaintiff’s Community have sustained specific and

special injuries because its damages include inter alia health services and law

enforcement expenditures, as described in this Complaint.

      406. Plaintiff seeks economic losses (direct, incidental, or consequential

pecuniary losses) resulting from Defendants’ fraudulent activity and fraudulent

misrepresentations. Plaintiff does not seek damages for physical personal injury or

any physical damage to property caused by Defendants’ actions.

      407. Plaintiff seeks all legal and equitable relief as allowed by law, other

than such damages disavowed herein, including inter alia injunctive relief,

restitution, disgorgement of profits, compensatory and punitive damages, and all

damages allowed by law to be paid by the Defendants, attorney fees and costs, and

pre- and post-judgment interest.

                            COUNT II
 RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                      18 U.S.C. 1961, et seq.
     (Against Defendants Purdue, Cephalon, Janssen, and Endo)
               (The “Opioid Marketing Enterprise”)
      408. Plaintiff incorporates by reference all other paragraphs of this

Complaint as if fully set forth herein, and further alleges as follows.

      409. Plaintiff brings this Count on behalf of itself against the following

Defendants, as defined above: Purdue, Cephalon, Janssen, and Endo (referred to

collectively for this Claim as the “RICO Marketing Defendants”).


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      410. At all relevant times, the RICO Marketing Defendants were and are

“persons” under 18 U.S.C. § 1961(3) because they are entities capable of holding,

and do hold, “a legal or beneficial interest in property.”

      411. Section 1962(c) of RICO makes it unlawful “for any person employed

by or associated with any enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, to conduct or participate, directly or indirectly, in

the conduct of such enterprise’s affairs through a pattern of racketeering activity.”

18 U.S.C. § 1962(c).

      412. The term “enterprise” is defined as including “any individual,

partnership, corporation, association, or other legal entity, and any union or group

of individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(4).

The definition of “enterprise” in Section 1961(4) includes legitimate and

illegitimate enterprises within its scope. Specifically, the section “describes two

separate categories of associations that come within the purview of an ‘enterprise’

-- the first encompassing organizations such as corporations, partnerships, and

other ‘legal entities,’ and the second covering ‘any union or group of individuals

associated in fact although not a legal entity.’” United State v. Turkette, 452 U.S.

576, 577 (1981).

      413. Beginning in the early 1990s, the RICO Marketing Defendants

aggressively sought to bolster their revenue, increase profit, and grow their share


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of the prescription painkiller market by unlawfully increasing the volume of

opioids they sold. The RICO Marketing Defendants knew that they could not

increase their profits without misrepresenting that opioids were non-addictive and

safe for the long-term treatment of chronic pain.

      414. The generally accepted standards of medical practice prior to the 1990s

dictated that opioids should only be used in short durations to treat acute pain, pain

relating to recovery from surgery, or for cancer or palliative (end-of-life) care.

Due to the evidence of addiction and lack of evidence indicating that opioids

improved patients’ ability to overcome pain and function, the use of opioids for

chronic pain was discouraged or prohibited. As a result, doctors generally did not

prescribe opioids for chronic pain.

      415. Knowing that their products were highly addictive, ineffective and

unsafe for the treatment of long-term chronic pain, non-acute and non-cancer pain,

the RICO Marketing Defendants formed an association-in-fact enterprise and

engaged in a scheme to unlawfully increase their profits and sales, and grow their

share of the prescription painkiller market, through repeated and systematic

misrepresentations about the safety and efficacy of opioids for treating long-term

chronic pain.

      416. The RICO Marketing Defendants formed an association-in-fact

enterprise consisting of “advocacy groups and professional societies” (“Front


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Groups”) and paid “physicians affiliated with these groups” (“KOLs”) in order to

unlawfully increase the demand for opioids. Through their personal relationships,

the RICO Marketing Defendants and members of the Opioid Marketing Enterprise

had the opportunity to form and take actions in furtherance of the Opioid

Marketing Enterprise’s common purpose.         The RICO Marketing Defendants’

substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic. 199

         417. The RICO Marketing Defendants, through the Opioid Marketing

Enterprise, made misleading statements and misrepresentations about opioids that

downplayed the risk of addiction and exaggerated the benefits of opioid use,

including: (1) downplaying the serious risk of addiction; (2) creating and

promoting the concept of “pseudoaddiction” when signs of actual addiction began

appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction;

(4) claiming that opioid dependence and withdrawal are easily managed; (5)

denying the risks of higher opioid dosages; and (6) exaggerating the effectiveness

of “abuse-deterrent” opioid formulations to prevent abuse and addiction.



199
  Fueling an Epidemic: Exposing the Financial Ties Between Opioid
Manufacturers and Third Party Advocacy Groups, U.S. Senate Homeland Security
& Governmental Affairs Committee, Ranking Members’ Office, February 12,
2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
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         418. The RICO Marketing Defendants also falsely touted the benefits of

long-term opioid use, including the supposed ability of opioids to improve function

and quality of life, even though there was no scientifically reliable evidence to

support the RICO Marketing Defendants’ claims.

         419. The RICO Marketing Defendants’ scheme, and the common purpose of

the Opioid Marketing Enterprise, has been wildly successful. Opioids are now the

most prescribed class of drugs. Globally, opioid sales generated $11 billion in

revenue for drug companies in 2010 alone; sales in the United States have

exceeded $8 billion in revenue annually since 2009.200 In an open letter to the

nation’s physicians in August 2016, the then-U.S. Surgeon General expressly

connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . .

[m]any of [whom] were even taught – incorrectly – that opioids are not addictive

when prescribed for legitimate pain.”201

         420. The scheme devised and implemented by the RICO Marketing

Defendants amounted to a common course of conduct designed to ensure that the

RICO Marketing Defendants unlawfully increased their sales and profits through

200
    See Katherine Eban, OxyContin: Purdue Pharma’s Painful Medicine, Fortune,
Nov. 9, 2011, http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-
medicine/; David Crow, Drugmakers Hooked on $10bn Opioid Habit, Fin. Times,
Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
201
    Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016),
http://turnthetiderx.org/; Fueling An Epidemic, supra, at 1.
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misrepresentations about the addictive nature and effective use of the RICO

Marketing Defendants’ drugs. As Senator McCaskill aptly recognized:

         The opioid epidemic is the direct result of a calculated marketing and
         sales strategy developed in the 90’s, which delivered three simple
         messages to physicians. First, that chronic pain was severely
         undertreated in the United States. Second, that opioids were the best
         tool to address that pain. And third, that opioids could treat pain
         without risk of serious addiction. As it turns out, these messages were
         exaggerations at best and outright lies at worst.202

                  A. THE OPIOID MARKETING ENTERPRISE
         421. The Opioid Marketing Enterprise consists of the RICO Marketing

Defendants, the Front Groups, and the KOLs – each of whom is identified below:

      • The RICO Defendants

            o   Purdue
            o   Cephalon
            o   Janssen
            o   Endo

      • The Front Groups

            o   American Pain Foundation (“APF”)
            o   American Academy of Pain Medicine (“AAPM”)
            o   American Pain Society (“APS”)
            o   Federation of State Medical Boards (“FSMB”)
            o   U.S. Pain Foundation (“USPF”)
            o   American Geriatrics Society (“AGS”)

      • The KOLs

202
   See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable,
September 12, 2017, at 31:03-31:37,
https://www.youtube.com/watch?v=k9mrQa8_vAo (last accessed on March 1,
2018).
                                          177
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         o   Dr. Russell Portenoy (“Dr. Portenoy”)
         o   Dr. Lynn Webster (“Dr. Webster”)
         o   Dr. Perry Fine (“Dr. Fine”)
         o   Dr. Scott M. Fishman (“Dr. Fishman”)

      422. The Opioid Marketing Enterprise is an ongoing and continuing

business organization that created and maintained systematic links, interpersonal

relationships and engaged in a pattern of predicate acts (i.e. racketeering activity)

in order to further the common purpose of the enterprise: unlawfully increasing

profits and revenues from the continued prescription and use of opioids for long-

term chronic pain. Each of the individuals and entities who formed the Opioid

Marketing Enterprise is an entity or person within the meaning of 18 U.S.C. §

1961(3) and acted to enable the common purpose and fraudulent scheme of the

Opioid Marketing Enterprise.

      423. In order to accomplish the common purpose, members of the Opioid

Marketing Enterprise repeatedly and systematically misrepresented – affirmatively,

and through half-truths and omissions – that opioids are non-addictive and safe for

the effective treatment of long-term, chronic, non-acute and non-cancer pain, and

for other off-label uses not approved by the FDA.           The Opioid Marketing

Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits of using opioids for long-term chronic pain. By making

these misrepresentations, the Opioid Marketing Enterprise ensured that a large

number of opioid prescriptions would be written and filled for chronic pain.
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      424. At all relevant times, the Opioid Marketing Enterprise: (a) had an

existence separate and distinct from each RICO Marketing Defendant and its

members; (b) was separate and distinct from the pattern of racketeering in which

the RICO Defendants engaged; (c) was an ongoing and continuing organization

consisting of individuals, persons, and legal entities, including each of the RICO

Marketing Defendants; (d) was characterized by interpersonal relationships

between and among each member of the Opioid Marketing Enterprise, including

between the RICO Marketing Defendants and each of the Front Groups and KOLs;

(e) had sufficient longevity for the enterprise to pursue its purpose; and (f)

functioned as a continuing unit.

      425. The persons and entities engaged in the Opioid Marketing Enterprise

are systematically linked through contractual relationships, financial ties, personal

relationships, and continuing coordination of activities, as spearheaded by the

RICO Marketing Defendants.

      426. Each of the RICO Marketing Defendants, and each member of the

Opioid Marketing Enterprise had systematic links to and personal relationships

with each other through joint participation in lobbying groups, trade industry

organizations, contractual relationships and continuing coordination of activities.

Each of the RICO Marketing Defendants coordinated their marketing efforts

through the same KOLs and Front Groups, based on their agreement and


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understanding that the Front Groups and KOLs were industry friendly and would

work together with the RICO Marketing Defendants to advance the common

purpose of the Opioid Marketing Enterprise.

1. The RICO Defendants
      427. In addition to their systematic links to and personal relationships with

the Front Groups and KOLS, described below, the RICO Marketing Defendants

had systematic links to and personal relationships with each other through their

participation in lobbying groups, trade industry organizations, contractual

relationships and continuing coordination of activities, including but not limited to,

the Pain Care Forum (“PCF”) and the Healthcare Distribution Alliance (“HDA”).

      428. The PCF has been described as a coalition of drug makers, trade groups

and dozens of non-profit organizations supported by industry funding. Plaintiff is

informed and believes that the PCF was created with the stated goal of offering a

“setting where multiple organizations can share information” and “promote and

support taking collaborative action regarding federal pain policy issues.” Plaintiff

is informed and believes that past APF President Will Rowe described the PCF as

“a deliberate effort to positively merge the capacities of industry, professional

associations, and patient organizations.”

      429. The PCF recently became a national news story when it was discovered

that lobbyists for members of the PCF, including the RICO Marketing Defendants,


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quietly shaped federal and state policies regarding the use of prescription opioids

for more than a decade.

         430. The Center for Public Integrity and The Associated Press obtained

“internal documents shed[ding] new light on how drug makers and their allies

shaped the national response to the ongoing wave of prescription opioid abuse.”203

Specifically, PCF members spent over $740 million lobbying in the nation’s

capital and in all 50 statehouses on an array of issues, including opioid-related

measures. 204

         431. Not surprisingly, each of the RICO Marketing Defendants who stood to

profit from lobbying in favor of prescription opioid use is a member of and/or

participant in the PCF. 205 In 2012, membership and participating organizations in

the PCF included the HDA (of which all the RICO Defendants are members),

Endo, Purdue, Johnson & Johnson (the parent company for Janssen

Pharmaceuticals), and Teva (the parent company of Cephalon). 206 Each of the


203
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug
epidemic, The Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic (emphasis added).
204
    Id.
205
    PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-
Meetings-Schedule-amp.pdf (last visited March 8, 2018).
206
    Id. Upon information and belief, Mallinckrodt became an active member of the
PCF sometime after 2012.
                                         181
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RICO Marketing Defendants worked together through the PCF to advance the

interests of the Opioid Marketing Enterprise.          But, the RICO Marketing

Defendants were not alone, many of the RICO Marketing Defendants’ Front

Groups were also members of the PCF, including the American Academy of Pain

Management, the American Pain Foundation, and the American Pain Society.

Upon information and belief, the RICO Marketing Defendants’ KOLs were also

members of and participated in the PCF.

         432. Through the Pain Care Forum, the RICO Marketing Defendants met

regularly and in person to form and take action to further the common purpose of

the Opioid Marketing Enterprise and shape the national response to the ongoing

prescription opioid epidemic.

         433. Through the HDA – or Healthcare Distribution Alliance – the RICO

Marketing Defendants “strengthen[ed] . . . alliances” 207 and took actions to further

the common purpose of the Opioid Marketing Enterprise.

         434. Beyond strengthening alliances, the benefits of HDA membership

included the ability to, among other things, “network one on one with

manufacturer executives at HDA’s members-only Business and Leadership

Conference,” “participate on HDA committees, task forces and working groups
207
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last
accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-
membership-benefits.ashx?la=en (emphasis added).
                                         182
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with peers and trading partners,” and “make connections.”208 Clearly, membership

in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the RICO Marketing Defendants.

         435. The closed meetings of the HDA’s councils, committees, task forces

and working groups provided the RICO Marketing Defendants with the

opportunity to work closely together, confidentially, to develop and further the

common purpose and interests of the Opioid Marketing Enterprise.

         436. The HDA also offered multiple conferences, including annual business

and leadership conferences through which the RICO Marketing Defendants had an

opportunity to “bring together high-level executives, thought leaders and

influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”209 The HDA and its conferences were significant opportunities

for the RICO Marketing Defendants to interact at the executive level and form and

take actions in furtherance of the common purpose of the Opioid Marketing




208
   Id.
209
   Business and Leadership Conference – Information for Manufacturers,
Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-
leadership-conference/blc-for-manufacturers (last accessed on September 14,
2017).
                                         183
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Enterprise.     It is clear that the RICO Marketing Defendants embraced this

opportunity by attending and sponsoring these events. 210

         437. The systematic contacts and personal relationships developed by the

RICO Marketing Defendants through the PCF and the HDA furthered the common

purpose of the Opioid Marketing Enterprise because it allowed the RICO

Marketing Defendants to coordinate the conduct of the Opioid Marketing

Enterprise by, including but not limited to, coordinating their interaction and

development of relationships with the Front Groups and KOLs.

2. The Front Groups
         438. Each of the RICO Marketing Defendants had systematic links to and

personal relationships with Front Groups that operated as part of the Opioid

Marketing Enterprise to further the common purpose of unlawfully increasing sales

by misrepresenting the non-addictive and effective use of opioids for the treatment

of long-term chronic pain. As recently reported by the U.S. Senate in “Fueling an

Epidemic”:

         The fact that these same manufacturers provided millions of dollars to
         the groups described below suggests, at the very least, a direct link
         between corporate donations and the advancement of opioids-friendly
         messaging. By aligning medical culture with industry goals in this
         way, many of the groups described in this report may have played a


210
   2015 Distribution Management Conference and Expo, Healthcare Distribution
Alliance, https://www.healthcaredistribution.org/events/2015-distribution-
management-conference (last accessed on September 14, 2017).
                                          184
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         significant role in creating the necessary conditions for the U.S.
         opioids epidemic. 211

         439. “Patient advocacy organizations and professional societies like the

Front Groups 'play a significant role in shaping health policy debates, setting

national guidelines for patient treatment, raising disease awareness, and educating

the public.”212     “Even small organizations— with ‘their large numbers and

credibility with policymakers and the public’—have ‘extensive influence in

specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry

sponsors.’” 213 Indeed, as reflected below, the U.S. Senate’s report found that the

RICO Marketing Defendants made nearly $9 million worth of contributions to

various Front Groups, including members of the Opioid Marketing Enterprise. 214




211
    Fueling an Epidemic, at p. 1.
212
    Id. at p. 2
213
    Id.
214
    Id. at p. 3.
                                         185
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      440. The Front Groups included in the Opioid Marketing Enterprise “have

promoted messages and policies favorable to opioid use while receiving millions of

dollars in payments from opioid manufacturers. Through criticism of government

prescribing guidelines, minimization of opioid addiction risk, and other efforts,

ostensibly neutral advocacy organizations have often supported industry interests




                                       186
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at the expense of their own constituencies.” 215 And, as reflected below, many of

the RICO Marketing Defendants’ Front Groups received the largest contributions:




         441. But, the RICO Marketing Defendants connection with and control over

the Front Groups did not end with financial contributions. Rather, the RICO

Marketing Defendants made substantial contributions to physicians affiliated with

the Front Groups totaling more than $1.6 million.216         Moreover, the RICO

Marketing Defendants “made substantial payments to individual group executives,

staff members, board members, and advisory board members” affiliated with the

Front Groups subject to the Senate Committee’s study. 217




215
    Id. at p. 3.
216
    Id. at p. 3.
217
    Id. at p. 10.
                                         187
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         442. As described in more detail below218, the RICO Marketing Defendants

“amplified or issued messages that reinforce industry efforts to promote opioid

prescription and use, including guidelines and policies minimizing the risk of

addiction and promoting opioids for chronic pain.”219       They also “lobbied to

change laws directed at curbing opioid use, strongly criticized landmark CDC




218
    The activities that the Front Groups engaged in, and the misrepresentations that
they made, in furtherance of the common purpose of the Opioid Marketing
Enterprise are alleged more fully below, under the heading “Conduct of the Opioid
Marketing Enterprise.”
219
    Id. at 12-15.
                                         188
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guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for overprescription and misbranding.”220

         443. The systematic contacts and interpersonal relationships of the RICO

Marketing Defendants, and the Front Groups are further described below:

         444. The American Pain Foundation (“APF”) - The American Pain

Foundation was the most prominent member of the RICO Defendants’ Front

Groups and was funded almost exclusively by the RICO Marketing Defendants.

Plaintiff is informed and believes that APF received more than $10 million in

funding from the RICO Marketing Defendants between 2007 and the close of its

business in May 2012. The APF had multiple contacts and personal relationships

with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants. Plaintiff is

further informed and believes that between 2009 and 2010, APF received more

than eighty percent (80%) of it operating budget from pharmaceutical industry

sources. By 2011, upon information and belief, APF was entirely dependent on

incoming grants from Defendants Purdue, Cephalon, Endo, and others.

         445. On information and belief, APF was often called upon to provide

“patient representatives” for the RICO Marketing Defendants’ promotional

activities, including for Purdue’s “Partners Against Pain” and Janssen’s “Let’s


220
      Id. at 12.
                                         189
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Talk Pain.” APF functioned largely as an advocate for the interests of the RICO

Marketing Defendants, not patients. Indeed, upon information and belief, as early

as 2001, Purdue told APF that the basis of a grant was Purdue’s desire to

“strategically align its investments in nonprofit organizations that share [its]

business interests.”

      446. APF is also credited with creating the PCF in 2004.          Plaintiff is

informed and believes that the PCF was created with the stated goal of offering a

“setting where multiple organizations can share information” and “promote and

support taking collaborative action regarding federal pain policy issues.” Plaintiff

is informed and believes that past APF President Will Rowe described the PCF as

“a deliberate effort to positively merge the capacities of industry, professional

associations, and patient organizations.”

      447. Upon information and belief, representatives of the RICO Marketing

Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to

fund these activities and publications, knowing that drug companies would support

projects conceived as a result of these communications.

      448. Furthermore, APF’s Board of Directors was largely comprised of

doctors who were on Defendants’ payrolls, either as consultants or speakers at




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medical events. 221 As described below, many of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the APF.

         449. In December 2011, a ProPublica investigation found that in 2010,

nearly 90% of APF’s funding came from the drug and medical device community,

including RICO Marketing Defendants.222          More specifically, APF received

approximately $2.3 million from industry sources out of total income of $2.85

million in 2009. Its budget for 2010 projected receipt of approximately $2.9

million from drug companies, out of total income of approximately $3.5 million.

In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the

manufacturers of opioid painkillers. Within days of being targeted by the Senate

investigation, APF’s Board voted to dissolve the organization “due to irreparable

economic circumstances.” APF “cease[d] to exist, effective immediately.” 223


221
    Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica
(Dec. 23, 2011), https://www.propublica.org/article/the-champion-of-painkillers.
222
    Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of
painkiller drugs, probe finds, Wash. Post (Dec. 23, 2011),
https://www.washingtonpost.com/national/healthscience/patient-advocacy-group-
funded-by-success-of-painkiller-drugs-probefinds/2011/12/20/gIQAgvczDP_story.
html?utm_term=. 22049984c606.
223
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’
Ties to Pain Groups, Wash. Post, May 8, 2012,
https://www.washingtonpost.com/national/health-science/senate-panel-
investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html.
                                         191
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         450. The American Academy of Pain Medicine (“AAPM”) – The AAPM

was another Front Group that had systematic ties and personal relationships with

the RICO Defendants. AAPM received over $2.2 million in funding since 2009

from opioid manufacturers.       AAPM maintained a corporate relations council,

whose members paid $25,000 per year (on top of other funding) to participate.

The benefits included allowing members to present educational programs at off-

site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations.        AAPM

describes the annual event as an “exclusive venue” for offering education programs

to doctors.     Membership in the corporate relations council also allowed drug

company executives and marketing staff to meet with AAPM executive committee

members in small settings. The RICO Marketing Defendants were all members of

the council and presented deceptive programs to doctors who attended this annual

event.224

         451. The RICO Marketing Defendants internally viewed AAPM as

“industry friendly,” with RICO Defendants’ advisors and speakers among its active

members. The RICO Marketing Defendants attended AAPM conferences, funded

its CMEs and satellite symposia, and distributed its publications.          AAPM


224
   The American Academy of Pain Medicine, Pain Medicine DC The Governing
Voices of Pain: Medicine, Science, and Government, March 24-27, 2011,
http://www.painmed.org/files/2011-annual-meeting-program-book.pdf.
                                         192
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conferences heavily emphasized sessions on opioids.       AAPM presidents have

included top industry-supported KOLs like Perry Fine and Lynn Webster.

      452. Upon information and belief, representatives of the RICO Marketing

Defendants, often at informal meetings at conferences, suggested activities and

publications for AAPM to pursue. AAPM then submitted grant proposals seeking

to fund these activities and publications, knowing that drug companies would

support projects conceived as a result of these communications.

      453. Plaintiff is informed and believes that members of AAPM’s Board of

Directors were doctors who were on the RICO Marketing Defendants’ payrolls,

either as consultants or speakers at medical events. As described below, many of

the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the AAPM.

      454. The American Pain Society (“APS”) – The APS was another Front

Group with systematic connections and interpersonal relationships with the RICO

Marketing Defendants. APS was one of the Front Groups investigated by Senators

Grassley and Baucus, as evidenced by their May 8, 2012 letter arising out of their

investigation of “extensive ties between companies that manufacture and market




                                       193
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opioids and non-profit organizations” that “helped created a body of dubious

information favoring opioids.”225

         455. Upon information and belief, representatives of the RICO Marketing

Defendants, often at informal meetings at conferences, suggested activities and

publications for APS to pursue. APS then submitted grant proposals seeking to

fund these activities and publications, knowing that drug companies would support

projects conceived as a result of these communications.

         456. Plaintiff is informed and believes that members of APS’s Board of

Directors were doctors who were on the RICO Marketing Defendants’ payrolls,

either as consultants or speakers at medical events. As described below, many of

the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the APS.

         457. The Federation of State Medical Boards (“FSMB”) – FSMB was

another Front Group with systematic connections and interpersonal relationships

with the RICO Marketing Defendants. In addition to the contributions reported in

Fueling an Epidemic, a June 8, 2012 letter submitted by FSMB to the Senate

Finance Committee disclosed substantial payments from the RICO Marketing


225
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine
Underwood, Executive Director (May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley
% 20Opioid%20Investigation%20Letter%20to%20American
%20Pain%20Society.pdf.
                                         194
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Defendants beginning in 1997 and continuing through 2012.226 Not surprisingly,

the FSMB was another one of the Front Groups investigated by Senators Grassley

and Baucus, as evidenced by their May 8, 2012 letter arising out of their

investigation of “extensive ties between companies that manufacture and market

opioids and non-profit organizations” that “helped created a body of dubious

information favoring opioids.”227

         458. The U.S. Pain Foundation (“USPF”) – The USPF was another Front

Group with systematic connections and interpersonal relationships with the RICO

Marketing Defendants.        The USPF was one of the largest recipients of

contributions from the RICO Marketing Defendants, collecting nearly $3 million in

payments between 2012 and 2015 alone. 228          The USPF was also a critical

component of the Opioid Marketing Enterprise’s lobbying efforts to reduce the

limits on over-prescription. The U.S. Pain Foundation advertises its ties to the

RICO Marketing Defendants, listing opioid manufacturers like Pfizer, Teva,

Depomed, Endo, Purdue, McNeil (i.e., Janssen), and Mallinckrodt as “Platinum,”


226
    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators
Max Baucus and Charles Grassley.
227
    Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine
Underwood, Executive Director (May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley
% 20Opioid%20Investigation%20Letter%20to%20American
%20Pain%20Society.pdf.
228
    Fueling an Epidemic, at p. 4.
                                         195
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“Gold,” and “Basic” corporate members. 229        Industry Front Groups like the

American Academy of Pain Management, the American Academy of Pain

Medicine, the American Pain Society, and PhRMA are also members of varying

levels in the USPF.

         459. American Geriatrics Society (“AGS”) – The AGS was another Front

Group with systematic connections and interpersonal relationships with the RICO

Defendants. The AGS was a large recipient of contributions from the RICO

Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with

the RICO Marketing Defendants to disseminate guidelines regarding the use of

opioids for chronic pain in 2002 (The Management of Persistent Pain in Older

Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological

Management of Persistent Pain in Older Persons, 230 hereinafter “2009 AGS

Guidelines”). According to news reports, AGS has received at least $344,000 in

funding from opioid manufacturers since 2009.231         AGS’s complicity in the

common purpose of the Opioid Marketing Enterprise is evidenced by the fact that


229
    Id. at 12; Transparency, U.S. Pain Foundation,
https://uspainfoundation.org/transparency/ (last accessed on March 9, 2018).
230
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am.
Geriatrics Soc’y 1331, 1339, 1342 (2009),
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-
PainGuidelines2009.pdf (last accessed on March 9, 2018).
231
    John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly,
Milwaukee J. Sentinel, May 30, 2012.
                                         196
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AGS internal discussions in August 2009 reveal that it did not want to receive-up

front funding from drug companies, which would suggest drug company influence,

but would instead accept commercial support to disseminate pro-opioid

publications.

      460. Upon information and belief, representatives of the RICO Marketing

Defendants, often at informal meetings at conferences, suggested activities,

lobbying efforts and publications for AGS to pursue. AGS then submitted grant

proposals seeking to fund these activities and publications, knowing that drug

companies would support projects conceived as a result of these communications.

      461. Plaintiff is informed and believes that members of AGS Board of

Directors were doctors who were on the RICO Marketing Defendants’ payrolls,

either as consultants or speakers at medical events. As described below, many of

the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the AGS.

      462. There was regular communication between each of the RICO

Marketing Defendants, Front Groups and KOLs, in which information was shared,

misrepresentations were coordinated, and payments were exchanged. Typically,

the coordination, communication and payment occurred, and continues to occur,

through the use of the wires and mail in which the RICO Markets Defendants,

Front Groups, and KOLs share information necessary to overcome objections and


                                      197
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resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise’s scheme and common purpose,

and each agreed to take actions to hide the scheme and continue its existence.

      463. At all relevant times, the Front Groups were aware of the RICO

Marketing Defendants’ conduct, were knowing and willing participants in that

conduct, and reaped benefits from that conduct. Each Front Group also knew, but

did not disclose, that the other Front Groups were engaged in the same scheme, to

the detriment of consumers, prescribers, and Plaintiff.       But for the Opioid

Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive

to disclose the deceit by the RICO Marketing Defendants and the Opioid

Marketing Enterprise to their members and constituents. By failing to disclose this

information, Front Groups perpetuated the Opioid Marketing Enterprise’s scheme

and common purpose, and reaped substantial benefits.

3. The KOLs
      464. Similarly, each of the RICO Marketing Defendants financed,

supported, utilized and relied on the same KOLs by paying, financing, supporting,

managing, directing, or overseeing, and/or relying on their work. On Information

and belief, the RICO Marketing Defendants cultivated this small circle of doctors

solely because they favored the aggressive treatment of chronic pain with opioids.


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      465. The RICO Marketing Defendants and the Opioid Marketing Enterprise

relied on their KOLs to serve as part of their speakers bureaus and to attend

programs with speakers bureaus. The RICO Marketing Defendants graded their

KOLs on performance, post-program sales, and product usage. Furthermore, the

RICO Marketing Defendants expected their KOLs to stay “on message,” and

obtained agreements from them, in writing, that “all slides must be presented in

their entirety and without alterations . . . and in sequence.”

      466. The RICO Marketing Defendants’ KOLs have been at the center of the

Opioid Marketing Enterprise’s marketing efforts, presenting the false appearance

of unbiased and reliable medical research supporting the broad use of opioid

therapy for chronic pain. As described in more detail below, the KOLs have

written, consulted, edited, and lent their names to books and articles, and given

speeches, and CMEs supporting chronic opioid therapy. They have served on

committees that developed treatment guidelines that strongly encourage the use of

opioids to treat chronic pain (even while acknowledging the lack of evidence in

support of that position) and on the boards of the pro-opioid Front Groups

identified above.

      467. The RICO Marketing Defendants and KOLS all had systematic

connections and interpersonal relationships, as described below, through the KOLs

receipt of payments from the RICO Marketing Defendants and Front Groups, the


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KOLs’ authoring, publishing, speaking, and educating on behalf of the RICO

Marketing Defendants, and their leadership roles and participation in the activities

of the Front Groups, which were in turn financed by the RICO Marketing

Defendants.

         468. The systematic contacts and interpersonal relationships of the KOLs

with the RICO Marketing Defendants and Front Groups are described below:

         469. Dr. Russell Portenoy – Dr. Portenoy was one of the main KOLs that the

RICO Marketing Defendants identified and promoted to further the common

purpose of the Opioid Marketing Enterprise.        Dr. Portenoy received research

support, consulting fees, and honoraria from the RICO Defendants, and was a paid

consultant to various RICO Marketing Defendants. Dr. Portenoy was instrumental

in opening the door for the regular use of opioids to treat chronic pain. Dr.

Portenoy had financial relationships with at least a dozen pharmaceutical

companies, most of which produced prescription opioids.232

         470. In exchange for the payments he received from the RICO Marketing

Defendants, Dr. Portenoy is credited as one of the authors on a primary pillar of the

RICO Marketing Defendants’ misrepresentation regarding the risks and benefits of



232
   Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got
Hooked, and Why It’s So Hard to Stop, (Johns Hopkins University Press 2016), at
59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and
Death (St. Martin’s Press, 1st Ed 2003).
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opioids.233 Dr. Portenoy, published, spoke, consulted, appeared in advertisements

and on television broadcasts, and traveled the country to travel the country to

promote more liberal prescribing for many types of pain and conduct continuing

medical education (“CME”) seminars sponsored by the RICO Marketing

Defendants and Front Groups.

         471. Dr. Portenoy was also a critical component of the RICO Marketing

Defendants’ control over their Front Groups, and the Front Groups support of the

Opioid Marketing Enterprise’s common purpose. Specifically, Dr. Portenoy sat as

a Director on the board of the APF. He was also the President of the APS.

         472. In a 2011 interview released by Physicians for Responsible Opioid

Prescribing, Dr. Portenoy admitted that his earlier work relied on evidence that was



233
   In 1986, the medical journal Pain, which would eventually become the official
journal of the American Pain Society (“APS”), published an article by Portenoy
and Foley summarizing the results of a “study” of 38 chronic non-cancer pain
patients who had been treated with opioid painkillers. Portenoy and Foley
concluded that, for non-cancer pain, opioids “can be safely and effectively
prescribed to selected patients with relatively little risk of producing the
maladaptive behaviors which define opioid abuse.” However, their study was
neither scientific nor did it meet the rigorous standards commonly used to evaluate
the validity and strength of such studies in the medical community. For instance,
there was no placebo control group, and the results were retroactive (asking
patients to describe prior experiences with opioid treatment rather than less biased,
in-the-moment reports). The authors themselves advised caution, stating that the
drugs should be used as an “alternative therapy” and recognizing that longer term
studies of patients on opioids would have to be performed. None were. See Russell
K. Portenoy & Kathleen M. Foley, Chronic use of opioid analgesics in non-
malignant pain: report of 38 cases, 25(2) Pain 171-86 (May 1986).
                                         201
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not “real” and left real evidence behind, all in furtherance of the Opioid Marketing

Enterprise’s common purpose:

         I gave so many lectures to primary care audiences in which the Porter
         and Jick article was just one piece of data that I would then cite, and I
         would cite six, seven, maybe ten different avenues of thought or
         avenues of evidence, none of which represented real evidence, and yet
         what I was trying to do was to create a narrative so that the primary
         care audience would look at this information in [total] and feel more
         comfortable about opioids in a way they hadn’t before. In essence this
         was education to destigmatize [opioids], and because the primary goal
         was to destigmatize, we often left evidence behind.234

         473. Dr. Lynn Webster – Dr. Webster was a critical component of the

Opioid Marketing Enterprise, including advocating the RICO Marketing

Defendants’ fraudulent messages regarding prescription opioids and had

systematic contacts and personal relationships with the RICO Marketing

Defendants and the Front Groups.

         474. Dr. Webster was the co-founder and Chief Medical Director of an

otherwise unknown pain clinic in Salt Lake City, Utah (Lifetree Clinical

Research), who went on to become one of the RICO Marketing Defendants’ main

KOLs. Dr. Webster was the President of American Academy of Pain Medicine

(“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same journal that

published Endo special advertising supplements touting Opana ER. Dr. Webster


234
   Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube
(Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
                                           202
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was the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At

the same time, Dr. Webster was receiving significant funding from the RICO

Marketing Defendants (including nearly $2 million from Cephalon alone).

      475. During a portion of his time as a KOL, Dr. Webster was under

investigation for overprescribing by the U.S. Department of Justice’s Drug

Enforcement Agency, which raided his clinic in 2010. Although the investigation

was closed without charges in 2014, more than twenty (20) of Dr. Webster’s

former patients at the Lifetree Clinic have died of opioid overdoses.

      476. Dr. Webster created and promoted the Opioid Risk Tool, a five

question, one-minute screening tool relying on patient self-reports that purportedly

allows doctors to manage the risk that their patients will become addicted to or

abuse opioids. The claimed ability to pre-sort patients likely to become addicted is

an important tool in giving doctors confidence to prescribe opioids long-term, and,

for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to,

websites run by Endo, Janssen, and Purdue.

      477. Dr. Webster is also credited as one of the leading proponents of

“pseudoaddiction” that the RICO Marketing Defendants, Front Groups and KOLs

disseminated as part of the common purpose of the Opioid Marketing Enterprise.




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         478. Plaintiff is informed and believes that in exchange for the payments he

received from the RICO Marketing Defendants, Dr. Webster published, spoke,

consulted, appeared in advertisements and on television broadcasts, and traveled

the country to promote more liberal prescribing of opioids for many types of pain

and conduct CME seminars sponsored by the RICO Marketing Defendants and

Front Groups.

         479. Like Dr. Portenoy, Dr. Webster later reversed his opinion and

disavowed his previous work on and opinions regarding pseudoaddiction.

Specifically, Dr. Webster acknowledged that “[pseudoaddiction] obviously became

too much of an excuse to give patients more medication.” 235

         480. Dr. Perry Fine – Dr. Webster was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants’

fraudulent messages regarding prescription opioids and had systematic contacts

and personal relationships with the RICO Marketing Defendants and the Front

Groups.

         481. Dr. Fine was originally a doctor practicing in Utah, who received

support from the RICO Marketing Defendants, including Janssen, Cephalon, Endo,

and Purdue. Dr. Fine’s ties to the RICO Marketing Defendants have been well
235
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J.
Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html.
                                         204
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documented. 236 He has authored articles and testified in court cases and before

state and federal committees, and he served as president of the AAPM, and argued

against legislation restricting high-dose opioid prescription for non-cancer patients.

Multiple videos featured Fine delivering educational talks about prescription

opioids. He even testified in a trial that the 1,500 pills a month prescribed to

celebrity Anna Nicole Smith for pain did not make her an addict before her

death.237 He has also acknowledged having failed to disclose numerous conflicts of

interest.

         482. Dr. Fine was also a critical component of the RICO Marketing

Defendants’ control over their Front Groups, and the Front Groups support of the

Opioid Marketing Enterprise’s common purpose. Specifically, Dr. Fine served on

the Board of Directors of APF and served as the President of the AAPM in 2011.

         483. Plaintiff is informed and believes that in exchange for the payments he

received from the RICO Marketing Defendants, Dr. Fine published, spoke,

consulted, appeared in advertisements and on television broadcasts, and traveled

the country to promote more liberal prescribing of opioids for many types of pain

236
    Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long
Ties to Drug Industry, PROPUBLICA (Dec. 23, 2011 9:14 AM),
https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-
to-drug-industry.
237
    Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, SEATTLE
TIMES https://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-
smith-was-addicted/ (last updated Sept. 22, 2010).
                                         205
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and conduct CME seminars sponsored by the RICO Marketing Defendants and

Front Groups.

         484. Dr. Scott M. Fishman – Dr. Fishman was a critical component of the

Opioid Marketing Enterprise, including advocating the RICO Marketing

Defendants’ fraudulent messages regarding prescription opioids and had

systematic contacts and personal relationships with the RICO Marketing

Defendants and the Front Groups.

         485. Dr. Fishman’s ties to the opioid drug industry are legion.238

         486. As Dr. Fishman’s personal biography indicates, he is a critical

component of the RICO Marketing Defendants’ control over their Front Groups,

and the Front Groups support of the Opioid Marketing Enterprise’s common

purpose. Specifically, Dr. Fishman is an “internationally recognized expert on

pain and pain management” who has served in “numerous leadership roles with the

goal to alleviate pain.” 239 Dr. Fishman’s roles in the pain industry include “past

president of the American Academy of Pain Medicine [AAPM], past chairman of

the board of directors of the American Pain Foundation [APF], and past board




238
    Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing
Pain Relief,
https://www.ucdmc.ucdavis.edu/advancingpainrelief/our_team/Scott_Fishman.htm
l (last accessed on February 28, 2018).
239
    Id.
                                           206
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member of the American Pain Society [APS].” 240              Dr. Fishman is also “the

immediate past chair and current member of the Pain Care Coalition of the

American Society of Anesthesiologists, American Pain Society, and Academy of

Pain Medicine.”241 Dr. Fishman’s leadership positions within the central core of

the RICO Marketing Defendants’ Front Groups was a direct result of his

participation in the Opioid Marketing Enterprise and agreement to cooperate with

the RICO Marketing Defendants’ pattern of racketeering activity.

            487. Plaintiff is informed and believes that in exchange for the payments he

received from the RICO Marketing Defendants, Dr. Fishman published, spoke,

consulted, appeared in advertisements and on television broadcasts, and traveled

the country to promote more liberal prescribing of opioids for many types of pain

and conduct CME seminars sponsored by the RICO Marketing Defendants and

Front Groups.

            488. There was regular communication between each of the RICO

Marketing Defendants, Front Groups and KOLs, in which information was shared,

misrepresentations are coordinated, and payments were exchanged. Typically, the

coordination, communication and payment occurred, and continues to occur,

through the use of the wires and mail in which the RICO Marketing Defendants,

Front Groups, and KOLs share information regarding overcoming objections and
240
      Id.
241
      Id.
                                            207
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resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of

implementing the Opioid Marketing Enterprise’s scheme and common purpose,

and each agreed to take actions to hide the scheme and continue its existence.

      489. At all relevant times, the KOLs were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in that conduct, and

reaped benefits from that conduct. The RICO Marketing Defendants selected

KOLs solely because they favored the aggressive treatment of chronic pain with

opioids. The RICO Marketing Defendants’ support helped the KOLs become

respected industry experts. And, as they rose to prominence, the KOLs falsely

touted the benefits of using opioids to treat chronic pain, repaying the RICO

Marketing Defendants by advancing their marketing goals. The KOLs also knew,

but did not disclose, that the other KOLS and Front Groups were engaged in the

same scheme, to the detriment of consumers, prescribers, and Plaintiff. But for the

Opioid Marketing Enterprise’s unlawful conduct, the KOLs would have had

incentive to disclose the deceit by the RICO Marketing Defendants and the Opioid

Marketing Enterprise, and to protect their patients and the patients of other

physicians. By failing to disclose this information, KOLs furthered the Opioid

Marketing Enterprise’s scheme and common purpose, and reaped substantial

benefits.


                                        208
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      490. As public scrutiny and media coverage focused on how opioids ravaged

communities in Pennsylvania and throughout the United States, the Front Groups

and KOLS did not challenge the RICO Marketing Defendants’ misrepresentations,

seek to correct their previous misrepresentations, terminate their role in the Opioid

Marketing Enterprise, nor disclose publicly that the risks of using opioids for

chronic pain outweighed their benefits and were not supported by medically

acceptable evidence.

      491. The RICO Marketing Defendants, Front Groups and KOLs engaged in

certain discrete categories of activities in furtherance of the common purpose of

the Opioid Marketing Enterprise. As reported in Fueling an Epidemic, the Opioid

Marketing Enterprise’s conduct in furtherance of the common purpose of the

Opioid Marketing Enterprise involved: (1) misrepresentations regarding the risk of

addiction and safe use of prescription opioids for long-term chronic pain; (2)

lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize or

undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following

section.

      492. Efforts to Minimize the Risk of Addiction and Promote Opioid Use As

Safe for Long-Term Treatment of Chronic Pain – Members of the Opioid

Marketing Enterprise furthered the common purpose of the enterprise by


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publishing and disseminating statements that minimized the risk of addiction and

misrepresented the safety of using prescription opioids for long-term treatment of

chronic, non-acute, and non-cancer pain. The categories of misrepresentations

made by the Opioid Marketing Enterprise and the RICO Marketing Defendants

included the following:242

      • The Use of Opioids for the Treatment of Chronic Pain: A Consensus
        Statement From the American Academy of Pain Medicine and the American
        Pain Society, 13 Clinical J. Pain 6 (1997). The “landmark consensus” was
        published by the AAPM and APS. Dr. Portenoy was the sole consultant. A
        member of Purdue’s speaker bureau authored the consensus.

      • Model Guidelines for the Use of Controlled Substances for the Treatment of
        Pain (1998, 2004, 2007).243 These guidelines, originally published by the
        FSMB in collaboration with RICO Marketing Defendants, advocated that
        opioids were “essential” and that “misunderstanding of addiction”
        contributed to undertreated pain.

      • Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on
        Health, Education, Labor and Pensions, Testimony by John D. Giglio,
        M.A., J.D., Executive Director of the APF (2002.)244




242
    As noted below, the earliest misrepresentations disseminated by the RICO
Marketing Defendants and the Opioid Marketing Enterprise began in 1997 and has
continued unabated since that time. Therefore, this list is alleged as fully and
completely as possible.
243
    Model Policy for the Use of Controlled Substances for the Treatment of Pain,
Federation of State Medical Boards of the United States, May 2004,
https://www.ihs.gov/painmanagement/includes/themes/newihstheme/display_objec
ts/documents/modelpolicytreatmentpain.pdf (last accessed on March 9, 2018).
244
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health,
Education, Labor and Pensions, Testimony by John D. Giglio, M.A., J.D.,
Executive Director of the APF (2002.)
                                         210
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      • The Management of Persistent Pain in Older Persons (2002). These
        guidelines were published by AGS with substantial funding from Endo,
        Purdue and Janssen.

      • Overview of Management Options (2003, 2007, 2010, and 2013).245 This
        CME was edited by Dr. Portenoy, sponsored by Purdue, and published by
        the American Medical Association. It taught that opioids, unlike non-
        prescription pain medication are safe at high doses.

      • Understanding Your Pain: Taking Oral Opioid Analgesics (2004).246 This
        article, published by Endo Pharmaceuticals, advocated that withdrawal and
        needing to take higher dosages are not signs of addiction.

      • Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr.
        Fishman advocated that “the risks of addiction are . . . small and can be
        managed.”247

      • Open-label study of fentanyl effervescent buccal tablets in patients with
        chronic pain and breakthrough pain: interim safety and tolerability results
        (2006).248 Dr. Webster gave this CME, sponsored by Cephalon, that
        misrepresented that opioids were safe for the treatment of non-cancer pain.


245
    Portenoy, et al., Overview of Management Options, https://cme.ama-
assn.org/activity/1296783/detail.aspx. On information and belief, this CME was
published by the American Medical Association in 2003, 2007, 2010, and 2013.
246
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral
Opioid Analgesics, Endo Pharmaceuticals (2004),
https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-
taking-oral-opioid-analgesics (last accessed March 8, 2018).
247
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of
Anesthesiology and Pain Medicine, Chief of the Division of Pain Medicine, Univ.
of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.
248
    Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl
effervescent buccal tablets in patients with chronic pain and breakthrough pain:
interim safety and tolerability results. Program and abstracts of the annual
meeting of the American Academy of Pain Medicine; February 22-25, 2006; San
Diego, California. Abstract 120. Published with permission of Lynn R. Webster,
MD, https://www.medscape.org/viewarticle/524538_2 (last accessed on March 6,
2018).
                                         211
      Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 218 of 384. PageID #: 218




      • Treatment Options: A Guide for People Living With Pain (2007). This
        document was published by the APF and sponsored by Cephalon and
        Purdue.249

      • Responsible Opioid Prescribing: A Physician’s Guide (2007).250 This book,
        authored by Dr. Fishman was financed by the FSMB with funding from
        Cephalon, Endo and Purdue.

      • Avoiding Opioid Abuse While Managing Pain (2007).251 This book, co-
        authored by Dr. Webster, misrepresented that for prescribers facing signs of
        aberrant behavior, increasing the dose in “most cases . . . should be a
        clinician’s first response.”

      • Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version
        1.0-SF (2008).252 This screening tool was published by the National
        Institutes of Health with support from Endo through an educational grant,
        and advocated that most patients are able to successfully remain on long-
        term opioid therapy without significant problems.

      • Case Challenges in Pain Management: Opioid Therapy for Chronic Pain
        (2007).253 This article, sponsored by Endo, misrepresented that opioids are a
        highly effective class of analgesic drugs.



249
    Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007)
[hereinafter APF, Treatment Options],
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
accessed on March 8, 2018).
250
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
251
    Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain
(2007).
252
    Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-
SF, PainEdu.org, 2008, https://www.nhms.org/sites/default/files/Pdfs/SOAPP-
5.pdf (last accessed on March 8, 2018).
253
    Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for
Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited
on March 8, 2018).
                                          212
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      • Opioid-Based Management of Persistent and Breakthrough Pain (2008).254
        This document was written by Dr. Fine and sponsored by an educational
        grant from Cephalon. Dr. Fine advocated for the prescription of rapid onset
        opioids “in patients with non-cancer pain.”

      • Optimizing Opioid Treatment for Breakthrough Pain (2008).255 Dr. Webster
        presented an online seminar (webinar) sponsored by Cephalon, that
        misrepresented that non-opioid analgesics and combination opioids
        containing non-opioids are less effective because of dose limitations.

      • Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-
        Cancer Pain (2009).256 These guidelines were published by AAPM and
        APS. Fourteen of the twenty-one panel members, including Dr. Portenoy
        and Dr. Fine, received support from the RICO Marketing Defendants.

      • Pharmacological Management of Persistent Pain in Older Persons
        (2009).257 These guidelines were published by AGS, with substantial
        funding from Endo, Purdue, and Janssen, updated the 2002 guidelines and
        misrepresented that the risks of addiction are exceedingly low.

      • Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit
        Wounds: A Survival Guide to Pain Management for Returning Veterans and
        Their Families, 258 American Pain Foundation, 2009. This article was
        published in 2009 and sponsored by Purdue.


254
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and
Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-
of-persistent-and-breakthrough-pain (last accessed on February 27, 2018).
255
    Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
256
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy
in Chronic Non-Cancer Pain, 10 J. Pain 113 (2009).
257
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am.
Geriatrics Soc’y 1331, 1339, 1342 ( 2009),
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-
PainGuidelines2009.pdf (last accessed on March 9, 2018).
258
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit
Wounds: A Survival Guide to Pain Management for Returning Veterans and Their
                                         213
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   • Finding Relief: Pain Management for Older Adults, (2009). 259 This article
     was a collaboration between the American Geriatrics Society, AAPM and
     Janssen.

   • Good Morning America (2010). Dr. Portenoy appeared on Good Morning
     America and stated that “Addiction, when treating pain, is distinctly
     uncommon.” 260

   • A Policymaker’s Guide to Understanding Pain & Its Management,
     American Pain Foundation (2011). 261 APF published this document, that
     was sponsored by Purdue, which argued that the notion of strong pain
     leading to addiction is a common misconception.

   • Managing Patient’s Opioid Use: Balancing the Need and the Risk (2011).262
     Dr. Webster presented a webinar, sponsored by Purdue, that misrepresented
     the ability to use risk screen tools, urine samples and patient agreements to
     prevent overuse and overdose death.

   • Safe and Effective Opioid Rotation (2012). 263 This CME, delivered by Dr.
     Fine, that is also available online, advocated for the safe and non-addictive



Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/200
9/10/iraq-war-veteran-amputee-pain-advocate-and-new-author-releases-exit-
wounds-a-survival-guide-to-pain-management-for-returning-veterans-and-their-
families (last visited March 1, 2018)
259
    Finding Relief, Pain Management for Older Adults, (2009).
260
    Good Morning America (ABC television broadcast Aug. 30, 2010).
261
    A Policymaker’s Guide to Understanding Pain & Its Management, American
Pain Foundation (2011) at 5, http://s3.documentcloud.org/documents/277603/apf-
policymakers-guide.pdf (last visited March 6, 2018).
262
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
Emerging Solutions in Pain http://www.emergingsolutionsinpain.com/ce-
education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=20
9 (last visited Aug. 22, 2017).
263
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
                                       214
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         use of opioids to treat cancer and non-cancer patients over a person’s
         “lifetime.”

      • Pain: Opioid Facts (2012).264 This document was published online on
        Endo’s website painknowledge.org and advocated for the use of opioids and
        downplayed the risk of addiction, even for people with a history of addiction
        and opioid use, and supported the concept of pseudoaddiction.

         493. Efforts to Criticize or Undermine CDC Guidelines – Members of the

Opioid Marketing Enterprise criticized or undermined the CDC Guidelines which

represented “an important step – and perhaps the first major step from the federal

government – toward limiting opioid prescriptions for chronic pain.” 265            The

following are examples of the actions taken by Opioid Marketing Enterprise

members to prevent restriction on over-prescription:

      • Several Front Groups, including the U.S. Pain Foundation, and the AAPM
        criticized the draft guidelines in 2015, arguing that the “CDC slides
        presented on Wednesday were not transparent relative to process and failed
        to disclose the names, affiliation, and conflicts of interest of the individuals
        who participated in the construction of these guidelines.” 266

      • The AAPM criticized the prescribing guidelines in 2016, through its
        immediate past president, stating “that the CDC guideline makes




264
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patie
nted/pdf/Patient%20Education%20b380_b385%20%20pf%20opiod.pdf (last
visited March 6, 2018).
265
    Fueling an Epidemic, supra, at p. 13.
266
    Pat Anson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News
Networks, https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-
groups-blast-cdc-for-opioid-guidelines (last accessed on March 8, 2018).
                                           215
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         disproportionately strong recommendations based upon a narrowly selected
         portion of the available clinical evidence.” 267

         494. In each of the actions performed by members of the Opioid Marketing

Enterprise, described above, the members of the Opioid Marketing Enterprise

made branded and unbranded marketing claims about prescription opioids that

misrepresented prescription opioids as non-addictive and safe for use as identified

in following section.

4. Members of the Opioid Marketing Enterprise Furthered the Common
   Purpose by Making Misrepresentations.
         495. The RICO Marketing Defendants, Front Groups and KOLs participated

in the conduct of the Opioid Marketing Enterprise and shared in the common

purpose of marketing opioids for chronic pain through a pattern of racketeering

activity (including multiple instances of mail and wire fraud) by knowingly making

material misrepresentations or omissions to Pennsylvania prescribers, consumers,

the general public, regulators and Plaintiff. All of the misrepresentations made by

members of the Opioid Marketing Enterprise furthered the common purpose of the

Enterprise.




267
   Practical Pain Management, Responses and Criticisms Over New CDC Opioid
Prescribing Guidelines
(https://www.practicalpainmanagement.com/resources/news-and-
research/responses-criticisms-over-new-cdc-opioid-prescribing-guidelines) (last
accessed Sept. 28, 2017).
                                         216
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         496. Members of the Opioid Marketing Enterprise, including the RICO

Marketing Defendants, Front Groups and KOLs made multiple unbranded

marketing misrepresentations about the benefits and risks of opioid use, in

furtherance of the Opioid Marketing Enterprise’s common purpose, as follows:

         497. Members of the Opioid Marketing Enterprise minimized the risks of

addiction and/or construed opioids as non-addictive:

      • AAMP and APS endorsed the use of opioids to treat chronic pain and
        claimed that the risk of a patients’ addiction to opioids was low.268

      • “[O]pioids are safe and effective, and only in rare cases lead to addiction.”269

      • “[T]he risks of addiction are . . . small and can be managed.” 270




268
    The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement
From the American Academy of Pain Medicine and the American Pain Society, 13
Clinical J. Pain 6 (1997).
269
    Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health,
Education, Labor and Pensions, 107th Cong. 2 (Feb. 12, 2002) (testimony of John
D. Giglio, M.A., J.D., Executive Director, American Pain Foundation),
https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
270
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of
Anesthesiology and Pain Medicine, Chief of the Division of Pain Medicine, Univ.
of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.
                                           217
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      • Represented that calling opioids “‘narcotics’ reinforces myths and
        misunderstandings as it places emphasis on their potential abuse rather than
        on the importance of their use as pain medicines.” 271




      • “Addiction, when treating pain, is distinctly uncommon. If a person does not
        have a history, a personal history, of substance abuse, and does not have a
        history in the family of substance abuse, and does not have a very major
        psychiatric disorder, most doctors can feel very assured that that person is
        not going to become addicted.”272

      • The risk of addiction is manageable for patients regardless of past abuse
        histories. 273

      • “[T]he likelihood that the treatment of pain using an opioid drug which is
        prescribed by a doctor will lead to addiction is extremely low.” 274

      • Patients might experience withdrawal symptoms associated with physical
        dependence as they decrease their dose, “[b]ut unlike actual addicts, such




271
    APF, Treatment Options,
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
accessed on March 8, 2018).
272
    Good Morning America (ABC television broadcast Aug. 30, 2010).
273
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy
in Chronic Non-Cancer Pain, 10 J. Pain 113 (2009).
274
    Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts,
The Wall Street Journal (Dec. 17, 2012),
https://www.wsj.com/articles/SB1000142412788732447830457817334265704460
4.
                                         218
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         individuals, if they resume their opioid use, will only take enough
         medication to alleviate their pain.”275

      • The notion that “strong pain medication leads to addiction” is a “common
        misconception.” 276




      • “Addiction to an opioid would mean that your pain has gone away but you
        still take the medicine regularly when you don’t need it for pain, maybe just
        to escape your problems.” 277




275
    Brief Amici Curiae of American Pain Foundation, National Foundation for the
Treatment of Pain, and The Ohio Pain Initiative, in Support of
Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA
2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002),
https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
howland-apf-amicus.pdf.
276
    A Policymaker’s Guide to Understanding Pain & Its Management, American
Pain Foundation (2011) at 5, http://s3.documentcloud.org/documents/277603/apf-
policymakers-guide.pdf (last visited March 6, 2018).
277
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral
Opioid Analgesics, Endo Pharmaceuticals (2004),
https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-
taking-oral-opioid-analgesics (last accessed March 8, 2018).
                                          219
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      • Even for patients assessed to have a risk of abuse, “it does not mean that
        opioid use will become problematic or that opioids are contraindicated.” 278

      • [P]eople who have no history of drug abuse, including tobacco, and use their
        opioid medication as directed will probably not become addicted.” 279




278
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
279
    Pain: Opioid Facts, http://web.archive.org/web/20120112051109/http:
//www.painknowledge.org/patiented/pdf/Patient%20Education%20b380_b385%20
%20pf%20opiod.pdf (last visited March 6, 2018).
                                         220
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      • “A history of addiction would not rule out the use of opioid pain
        relievers.”280




      • APF published Exit Wounds, wherein it represented that “[l]ong experience
        with opioids shows that people who are not predisposed to addiction are
        very unlikely to become addicted to opioid pain medications.”281


280
   Id.
281
   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit
Wounds: A Survival Guide to Pain Management for Returning Veterans and Their
Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/200
9/10/iraq-war-veteran-amputee-pain-advocate-and-new-author-releases-exit-
wounds-a-survival-guide-to-pain-management-for-returning-veterans-and-their-
families (last visited March 1, 2018).
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      • Patients rarely become addicted to prescribed opioids.282

      • Concern about patients becoming addicted reflects widespread failure to
        appreciate the distinction between “(1) tolerance – the body’s tendency to
        become accustomed to a substance so that, over time, a larger amount is
        needed to produce the same physical effect (pain relief) and physical
        dependence – the state defined by the experience of adverse symptoms if a
        drug is abruptly withdrawn . . . each of which is common with pain patients”
        . . . “and, on the other hand, (2) the psychological and behavioral patterns –
        an unhealthy craving for, compulsive use of, and unhealthy fixation – that
        characterize addiction.” 283

      • Evidence establishes that the risk of drug addiction (historically the principal
        medical justification for withholding or limiting opioids) is far less
        substantial than long and widely assumed. 284

      • The “risks [of addiction] are exceedingly low in older patients with no
        current or past history of substance abuse.” 285

282
    Brief of Amici the American Pain Foundation, the National Pain Foundation ,
and the National Foundation for the Treatment of Pain, 2005 WL 2405247, *9
(citing Portenoy, Russell, et al., Acute and Chronic Pain, in COMPREHENSIVE
TEXTBOOK OF SUBSTANCE ABUSE, 863-903 (Lowinson et al. eds., 4th ed.
2005), United States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et. al,
Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 Cases,
PAIN, Vol. 25, 171-186, (1986)).
283
    Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v.
Hurwitz, 459 F.3d 463 (2006) (emphasis in original).
284
    Id. and sources cited at note 9.
                                           222
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         498. Members of the Opioid Marketing Enterprise advocated that opioids

were safe and effective for long-term treatment of chronic, non-acute and non-

cancer pain:

      • “Opioids are an essential option for treating moderate to severe pain
        associated with surgery or trauma. They may also be an important part of
        the management of persistent pain unrelated to cancer.”286




      • Opioids were a safe and effective treatment for of pain as part of a
        physicians’ treatment guidelines.287

      • The “small risk of abuse does not justify the withholding of these highly
        effective analgesics from chronic pain patients.”288


285
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am.
Geriatrics Soc’y 1331, 1339, 1342 ( 2009),
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-
PainGuidelines2009.pdf (last accessed on March 9, 2018).
286
    APF, Treatment Options,
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
287
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy
in Chronic Non-Cancer Pain, 10 J. Pain 113 (2009).
288
    Brief Amici Curiae of American Pain Foundation, National Foundation for the
Treatment of Pain, and The Ohio Pain Initiative, in Support of
Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA
2002 09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002),
https://ia801005.us.archive.org/23/items/279014-howland-apf-amicus/279014-
howland-apf-amicus.pdf.
                                         223
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      • Opioids, unlike some non-prescription pain medications, are safe at high
        doses. 289

      • Falsely representing “recent findings suggesting that most patients are able
        to successfully remain on long-term opioid therapy without significant
        problems.” 290

      • Opioid therapy is an appropriate treatment for chronic, non-cancer pain and
        integral to good medical practice. 291

      • Even for patients assessed to have a risk of abuse, “it does not mean that
        opioid use will become problematic or that opioids are contraindicated.”292

      • Opioid therapy is an appropriate treatment for chronic, non-cancer pain and
        integral to good medical practice. 293

      • Broadly classifying pain syndromes as “either cancer- or non-cancer-related
        has limited utility,” and recommended dispensing rapid onset opioids “in
        patients with non-cancer pain.” 294

      • Opioids are safe and well-tolerated in patients with chronic pain and break
        through pain.295



289
    Portenoy, et al., Overview of Management Options, https://cme.ama-
assn.org/activity/1296783/detail.aspx. On information and belief, this CME was
published in 2003, 2007, 2010, and 2013.
290
    Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-
SF, PainEdu.org, 2008, https://www.nhms.org/sites/default/files/Pdfs/SOAPP-
5.pdf (last accessed on March 8, 2018).
291
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
292
    Id.
293
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
294
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and
Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-
of-persistent-and-breakthrough-pain (last accessed on February 27, 2018).
                                         224
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      • Non-opioid analgesics and combination opioids containing non-opioids such
        as aspirin and acetaminophen are less effective than opioids because of dose
        limitations on non-opioids.296




      • Opioids can safely alleviate chronic pain unresponsive to other
        medication. 297

      • Medical organization and government-sponsored clinical guidelines support
        and encourage opioid treatment for chronic pain.298



295
    Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl
effervescent buccal tablets in patients with chronic pain and breakthrough pain:
interim safety and tolerability results. Program and abstracts of the annual
meeting of the American Academy of Pain Medicine; February 22-25, 2006; San
Diego, California. Abstract 120. Published with permission of Lynn R. Webster,
MD, https://www.medscape.org/viewarticle/524538_2 (last accessed on March 6,
2018).
296
    Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
297
    Brief for American Pain Foundation, et al. as Amici, United States v. Hurowitz,
459 F.3d 463 (4th Cir. 2006) (No. 05-4474) 2005 WL 2405247, *8 (citing
Portenoy et al., Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report
of 38 Cases, 25 PAIN 171-186, (1986)).
298
    Id. at *8, and sources cited in note 11.
                                         225
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      • Respiratory depression, even at extremely high levels, does not occur in the
        context of appropriate clinical treatment.299

      • There is no “ceiling dose” for opioids. 300

      • Opioid analgesics are the most effective way to treat pain of moderate to
        severe intensity and often the only treatment that provides significant
        relief. 301

      • “Opioid rotations” (switching from one opioid to another) not only for
        cancer patients, but also for non-cancer patients, may need to occur four or
        five times over a person’s “lifetime” to manage pain. 302

      • Opioids represent a highly effective . . . class of analgesic medications for
        controlling both chronic and acute pain. The phenomenon of tolerance to
        opioids – the gradual waning of relief at a given dose – and fears of abuse,
        diversion, and misuse of these medications by patients have led many
        clinicians to be wary of prescribing these drugs, and/or to restrict dosages to
        levels that may be insufficient to provide meaningful relief.303




299
    Id.
300
    Id.
301
     Brief for Portenoy, et al. as Amici, United States v. Hurowitz, 459 F.3d 463
(4th Cir. 2006) (No. 05-4474), 2005 WL 2405249.
302
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
303
    Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for
Chronic Pain, Pain Med. News, 2007,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited
on March 8, 2018).
                                           226
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         499. Members of the Opioid Marketing Enterprise created and championed

the concept of “pseudoaddiction,” advocating that signs of addiction were actually

pseudoaddiction that required prescribing additional opioids:

      • Patients might experience withdrawal symptoms associated with physical
        dependence as they decrease their dose, “[b]ut unlike actual addicts, such
        individuals, if they resume their opioid use, will only take enough
        medication to alleviate their pain.”304

      • “Addiction IS NOT when a person develops ‘withdrawal’ (such as
        abdominal cramping or sweating) after the medicine is stopped or the dose is
        reduced by a large amount. . . . Addiction also IS NOT what happens when
        some people taking opioids need to take a higher dose after a period of time
        in order for it to continue to relieve their pain. This normal ‘tolerance’ to
        opioid medications doesn’t affect everyone who takes them and does not, by
        itself, imply addiction.” 305




304
    Brief for American Pain Foundation, et al. as Amici, Howland v. Purdue
Pharma L.P., in support of Appellants, Appeal No. CA 2002-09-0220 Butler Co.,
12th Court of Appeals, 2002).
305
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral
Opioid Analgesics, Endo Pharmaceuticals (2004),
http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf
(emphasis in original) (last accessed on March 9, 2018).
                                          227
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      • “Addiction to an opioid would mean that your pain has gone away but you
        still take the medicine regularly when you don’t need it for pain, maybe just
        to escape your problems.” 306




306
      Id.
                                          228
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      • Behaviors such as “[r]equesting [drugs] by name,” “[d]emanding or
        manipulative behavior,” “[o]btaining drugs from more than one physician,”
        and “[h]oarding opioids,” are all really signs of pseudoaddiction, rather than
        genuine addiction.” 307

      • “Sometimes people behave as if they are addicted, when they are really in
        need of more medication.”308




      • For prescribers facing signs of aberrant behavior, increasing the does “in
        most cases . . . should be the clinician’s first response.”309
         500. Members of the Opioid Marketing Enterprise advocated that long-term

use of prescription opioids would improve function, including but not limited to,

psychological health, and health-related quality of life:

307
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
308
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patie
nted/pdf/Patient%20Education%20b380_b385%20%20pf%20opiod.pdf (last
visited March 6, 2018).
309
    Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain
(2007).
                                          229
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      • When opioids are managed, properly prescribed and taken as directed, they
        are effective in improving daily function, psychological health and health-
        related quality of life. 310




      • Opioid therapy to relieve pain and improve function is a legitimate medical
        practice for acute and chronic pain of both cancer and non-cancer origins. 311

      • “[Y]our level of function should improve, you may find you are now able to
        participate in activities of daily living, such as work and hobbies, that you
        were not able to enjoy when your pain was worse.”312

      • “The goal of opioid therapy is to . . . improve your function.” 313




310
   A Policymaker’s Guide to Understanding Pain & Its Management, American
Pain Foundation (2011) at 5, http://s3.documentcloud.org/documents/277603/apf-
policymakers-guide.pdf (last visited March 6, 2018).
311
   Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007);
Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11 (2d ed. 2012).
312
    Plaintiff is informed and believes that this misrepresentation was made on the
website painknowledge.org.
313
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patie
nted/pdf/Patient%20Education%20b380_b385%20%20pf%20opiod.pdf (last
visited March 6, 2018).
                                                     230
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      • The “goal” for chronic pain patients is to “improve effectiveness which is
        different from efficacy and safety.” 314




         501. Members of the Opioid Marketing Enterprise represented that

screening questions and professional guidelines would help curb addiction and

potential abuse:

      • Screening questions and professional guidelines will “easily and efficiently”
        allow physicians to manage risk and “minimize the potential for abuse.”315

      • Risk screening tools, urine testing, and patient agreements are a way to
        prevent “overuse of prescriptions” and “overdose deaths.”316




314
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
315
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
316
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
Emerging Solutions in Pain http://www.emergingsolutionsinpain.com/ce-
education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=20
9 (last visited Aug. 22, 2017).
                                          231
      Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 238 of 384. PageID #: 238




      • The risks of addiction and abuse can be managed by doctors and evaluated
        with “tools.” 317

         502. In addition to the unbranded marketing misrepresentations made by

members of the Opioid Marketing Enterprise, the RICO Marketing Defendants

made misrepresentations in their branded marketing activities.          The RICO

Marketing Defendants’ branded marketing misrepresentations furthered the

common purpose of the Opioid Marketing Enterprise because they advanced the

common messages of the Opioid Marketing Enterprise. For example:

         503. The RICO Marketing Defendants misrepresented that opioids were

non-addictive or posed less risk of addiction or abuse:

      • Purdue:

            o “Fear of addiction is exaggerated.”318



317
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
318
    Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour
Problem, L.A. Times (May 5, 2016), http://documents.latimes.com/oxycontin-
press-release-1996/ (hereinafter “Ryan, Description of Hell”).
                                         232
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            o “[W]e’ve discovered that the simplicity and convenience of twice-
              daily dosing also enhances patient compliance with their doctor’s
              instructions.” 319




            o Long-acting, extended release formulations are safe and “less prone”
              to abuse by patients and addiction.320

            o OxyContin is safe and non-addictive when using extended release
              formulations, and appropriate for use in non-cancer patients.321

319
    Id.
320
     Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y.
Times (May 10, 2007), http://www.nytimes.com/2007/05/10/business/11drug-
web.html (hereinafter “Meier, Guilty Plea”).
321
     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as
Senators Launch Investigation of Prescription Narcotics, ProPublica (May 8,
2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senato
                                         233
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         o Consistently minimizing the risk of addiction in the use of opioids for
           the treatment of chronic non-cancer-related pain. 322

         o OxyContin is virtually non-addicting.323

         o “Assur[ing] doctors – repeatedly and without evidence – that ‘fewer
           than one percent’ of patients who took OxyContin became
           addicted.”324




         o OxyContin was addiction resistant and had “abuse-deterrent
           properties.” 325


rs_launch_investigation_of_prescription_narcotis/ (hereinafter “Ornstein,
American Pain Foundation”).
322
    Art Van Zee, The Promotion and Marketing of OxyContin: Commercial
Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009)
(hereinafter, “Van Zee, Promotion and Marketing”).
323
    Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30,
2017), https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-
empire-of-pain
324
    Id.; see also “I got my life back,” OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last accessed on March 8,
2018).
325
    Id.
                                      234
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            o Misrepresented the risk of addiction using misleading and inaccurate
              promotions of OxyContin that were unsupported by science. 326

            o It was more difficult to extract the oxycodone from an OxyContin
              tablet for intravenous abuse.327

            o OxyContin created fewer chances for addiction than immediate-
              release opioids.328
            o OxyContin had fewer “peak and trough” effects than immediate-
              release opioids resulting in less euphoria and less potential for abuse
              than short-acting opioids. 329

            o Patients could abruptly stop opioid therapy without experiencing
              withdrawal symptoms, and patients who took OxyContin would not
              develop tolerance.330

            o OxyContin did not cause a “buzz,” caused less euphoria, had less
              addiction potential, had less abuse potential, was less likely to be
              diverted than immediate-release opioids, and could be used to “weed
              out” addicts and drug seekers.331

            o Purdue published a prescriber and law enforcement education
              pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which
              under the heading, “Indications of Possible Drug Abuse,” shows
              pictures of the stigmata of injecting or snorting opioids—skin
              popping, track marks, and perforated nasal septa. In fact, opioid
              addicts who resort to these extremes are uncommon; the far more
              typical reality is patients who become dependent and addicted through
              oral use. Thus, these misrepresentations wrongly reassured doctors

326
    Press Release, U.S. Attorney for the Western District of Virginia, Statement of
United States Attorney John Brownlee on the Guilty Plea of the Purdue Frederick
Company and Its Executives for Illegally Misbranding OxyContin (May 10, 2007),
https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
327
    Id.
328
    Id.
329
    Id.
330
    Id.
331
    Id.
                                         235
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               that as long as they do not observe those signs, they need not worry
               that their patients are abusing or addicted to opioids.

            o Purdue sponsored APF’s A Policymaker’s Guide to Understanding
              Pain & Its Management, which inaccurately claimed that less than 1%
              of children prescribed opioids will become addicted. This publication
              is still available online. This publication also asserted that pain is
              undertreated due to “misconceptions about opioid addiction.”
            o Purdue sponsored APF’s Treatment Options: A Guide for People
              Living with Pain (2007), which asserted that addiction is rare and
              limited to extreme cases of unauthorized dose escalations, obtaining
              opioids from multiple sources, or theft.
            o A Purdue-funded study with a Purdue co-author claimed that
              “evidence that the risk of psychological dependence or addiction is
              low in the absence of a history of substance abuse.” 332 The study
              relied only on the 1980 Porter-Jick letter to the editor concerning a
              chart review of hospitalized patients, not patients taking Purdue’s
              long-acting, take-home opioid. Although the term “low” is not
              defined, the overall presentation suggests the risk is so low as not to
              be a worry.
            o Purdue contracted with AGS to produce a CME promoting the 2009
              guidelines for the Pharmacological Management of Persistent Pain in
              Older Persons. These guidelines falsely claim that “the risks [of
              addiction] are exceedingly low in older patients with no current or
              past history of substance abuse.” None of the references in the
              guidelines corroborates the claim that elderly patients are less likely to
              become addicted to opioids and the claim is, in fact, untrue. Purdue
              was aware of the AGS guidelines’ content when it agreed to provide
              this funding, and AGS drafted the guidelines with the expectation it
              would seek drug company funding to promote them after their
              completion.
            o Purdue sponsored APF’s Exit Wounds (2009), which counseled
              veterans that “[l]ong experience with opioids shows that people who

332
   C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic
pain: a randomized controlled trial I painful diabetic neuropathy, 105 Pain 71
(2003).
                                           236
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               are not predisposed to addiction are very unlikely to become addicted
               to opioid pain medications.” Although the term “very unlikely” is not
               defined, the overall presentation suggests it is so low as not to be a
               worry.

            o Purdue sales representatives told prescribers that its drugs were
              “steady state,” the implication of which was that they did not produce
              a rush or euphoric effect, and therefore were less addictive and less
              likely to be abused.
            o Purdue sales representatives told prescribers that Butrans has a lower
              abuse potential than other drugs because it was essentially
              tamperproof and, after a certain point, patients no longer experience a
              “buzz” from increased dosage.
            o Advertisements that Purdue sent to prescribers stated that OxyContin
              ER was less likely to be favored by addicts, and, therefore, less likely
              to be abused or diverted, or result in addiction.

            o In discussions with prescribers, Purdue sales representatives omitted
              discussion of addiction risks related to Purdue’s drugs.

      • Janssen:
            o Myth: Opioid medications are always addictive.
              Fact: Many studies show that opioids are rarely addictive when used
              properly for the management of chronic pain. 333

            o Myth: Opioid doses have to get bigger over time because the body
              gets used to them.
              Fact: Unless the underlying cause of your pain gets worse (such as
              with cancer or arthritis), you will probably remain on the same dose or
              need only small increases over time. 334

            o “[Q]uestions of addiction,” “are often overestimated” because,
              “[a]ccording to clinical opinion polls, true addiction occurs only in a

333
    Finding Relief, Pain Management for Older Adults, (2009) (emphasis in
original).
334
    Finding Relief, Pain Management for Older Adults, (2009) (emphasis in
original).
                                          237
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               small percentage of patients with chronic pain who receive chronic
               opioid analgesics.”335




            o Janssen sponsored a patient education guide titled Finding Relief:
              Pain Management for Older Adults (2009), which its personnel
              reviewed and approved and which its sales force distributed. This
              guide described a “myth” that opioids are addictive, and asserts as fact
              that “[m]any studies show that opioids are rarely addictive when used
              properly for the management of chronic pain.” Although the term
              “rarely” is not defined, the overall presentation suggests the risk is so
              low as not to be a worry. The language also implies that as long as a
              prescription is given, opioid use is not a problem.
            o Janssen contracted with AGS to produce a CME promoting the 2009
              guidelines for the Pharmacological Management of Persistent Pain in
              Older Persons. These guidelines falsely claim that “the risks [of
              addiction] are exceedingly low in older patients with no current or
              past history of substance abuse.” The study supporting this assertion
              does not analyze addiction rates by age and, as already noted,
              addiction remains a significant risk for elderly patients. Janssen was
              aware of the AGS guidelines’ content when it agreed to provide this
              funding, and AGS drafted the guidelines with the expectation it would
              seek drug company funding to promote them after their completion.



335
   Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last
visited Dec. 11, 2017).
                                          238
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      o Janssen provided grants to APF to distribute Exit Wounds (2009) to
        veterans, which taught that [l]ong experience with opioids shows that
        people who are not predisposed to addiction are very unlikely to
        become addicted to opioid pain medications.” Although the term
        “very unlikely” is not defined, the overall presentation suggests the
        risk is so low as not to be a worry.

      o Janssen currently runs a website, Prescriberesponsibly.com (last
        modified July 2, 2015), which claims that concerns about opioid
        addiction are “overstated.”

      o A June 2009 Nucynta Training module warns Janssen’s sales force
        that physicians are reluctant to prescribe controlled substances like
        Nucynta, but this reluctance is unfounded because “the risks . . . are
        much smaller than commonly believed.”
      o Janssen sales representatives told prescribers that its drugs were
        “steady state,” the implication of which was that they did not produce
        a rush or euphoric effect, and therefore were less addictive and less
        likely to be abused.

      o Janssen sales representatives told prescribers that Nucynta and
        Nucynta ER were “not opioids,” implying that the risks of addiction
        and other adverse outcomes associated with opioids were not
        applicable to Janssen’s drugs. In truth, however, as set out in
        Nucynta’s FDA-mandated label, Nucynta “contains tapentadol, an
        opioid agonist and Schedule II substance with abuse liability similar
        to other opioid agonists, legal or illicit.”
      o Janssen’s sales representatives told prescribers that Nucynta’s unique
        properties eliminated the risk of addiction associated with the drug.

      o In discussions with prescribers, Janssen sales representatives omitted
        discussion of addiction risks related to Janssen’s drugs.

• Cephalon:
      o Cephalon sponsored and facilitated the development of a guidebook,
        Opioid Medications and REMS: A Patient’s Guide, which claims,
        among other things, that “patients without a history of abuse or a
        family history of abuse do not commonly become addicted to
        opioids.”
                                   239
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            o Cephalon sponsored APF’s Treatment Options: A Guide for People
              Living with Pain (2007), which taught that addiction is rare and
              limited to extreme cases of unauthorized dose escalations, obtaining
              opioids from multiple sources, or theft.

            o In discussions with prescribers, Cephalon sales representatives
              omitted any discussion of addiction risks related to Cephalon’s drugs.

      • Endo:
            o Opana ER was designed to be crush resistant

            o Opana ER was crush and abuse resistant and not addictive.336

            o “[T]he Reformulated Opana ER as ‘designed to be’ crush resistant.”337

            o “[P]atients treated with prolonged opioid medicines usually do not
              become addicted.”338
            o Endo trained its sales force in 2012 that use of long-acting opioids
              resulted in increased patient compliance, without any supporting
              evidence.

            o Endo’s advertisements for the 2012 reformulation of Opana ER
              claimed it was designed to be crush resistant, in a way that conveyed
              that it was less likely to be abused. This claim was false; the FDA
              warned in a May 10, 2013 letter that there was no evidence Endo’s
              design “would provide a reduction in oral, intranasal or intravenous
              abuse” and Endo’s “post-marketing data submitted are insufficient to
              support any conclusion about the overall or route-specific rates of
              abuse.” Further, Endo instructed its sales representatives to repeat this

336
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc.,
Assurance No. 15-228, Assurance of Discontinuance Under Executive Law
Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
337
    Id. at 6.
338
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc.,
Assurance No. 15-228, Assurance of Discontinuance Under Executive Law
Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
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         claim about “design,” with the intention of conveying Opana ER was
         less subject to abuse.

      o Endo sponsored a website, painknowledge.com, through APF and
        NIPC, which claimed in 2009 that: “[p]eople who take opioids as
        prescribed usually do not become addicted.” Although the term
        “usually” is not defined, the overall presentation suggests the risk is so
        low as not to be a worry. The language also implies that as long as a
        prescription is given, opioid use will not become problematic. Endo
        continued to provide funding for this website through 2012, and
        closely tracked unique visitors to it.

      o Endo sponsored a website, PainAction.com, which stated “Did you
        know? Most chronic pain patients do not become addicted to the
        opioid medications that are prescribed for them.”
      o Endo sponsored CMEs published by APF’s NIPC, of which Endo was
        the sole funder, titled Persistent Pain in the Older Adult and
        Persistent Pain in the Older Patient. These CMEs claimed that
        opioids used by elderly patients present “possibly less potential for
        abuse than in younger patients[,]” which lacks evidentiary support and
        deceptively minimizes the risk of addiction for elderly patients.

      o Endo distributed an education pamphlet with the Endo logo titled
        Living with Someone with Chronic Pain, which inaccurately
        minimized the risk of addiction: “Most health care providers who treat
        people with pain agree that most people do not develop an addiction
        problem.”
      o Endo distributed a patient education pamphlet edited by key opinion
        leader Dr. Russell Portenoy titled Understanding Your Pain: Taking
        Oral Opioid Analgesics. It claimed that “[a]ddicts take opioids for
        other reasons [than pain relief], such as unbearable emotional
        problems.” This implies that pain patients prescribed opioids will not
        become addicted, which is unsupported and untrue.

      o Endo contracted with AGS to produce a CME promoting the 2009
        guidelines for the Pharmacological Management of Persistent Pain in
        Older Persons. These guidelines falsely claim that “the risks [of
        addiction] are exceedingly low in older patients with no current or
        past history of substance abuse.” None of the references in the

                                     241
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               guidelines corroborates the claim that elderly patients are less likely to
               become addicted to opioids, and there is no such evidence. Endo was
               aware of the AGS guidelines’ content when it agreed to provide this
               funding, and AGS drafted the guidelines with the expectation it would
               seek drug company funding to promote them after their completion.
            o Endo sales representatives told prescribers that its drugs were “steady
              state,” the implication of which was that they did not produce a rush
              or euphoric effect, and therefore were less addictive and less likely to
              be abused.

            o Endo provided grants to APF to distribute Exit Wounds (2009) to
              veterans, which taught that “[l]ong experience with opioids shows that
              people who are not predisposed to addiction are very unlikely to
              become addicted to opioid pain medications.” Although the term
              “very unlikely” is not defined, the overall presentation suggests that
              the risk is so low as not to be a worry.
            o In discussions with prescribers, Endo sales representatives omitted
              discussion of addiction risks related to Endo’s drugs.

         504. The RICO Marketing Defendants misrepresented that opioids improved

function and quality of life:

      • Purdue:

            o “[W]e’ve discovered that the simplicity and convenience of twice-
              daily dosing also enhances patient compliance with their doctor’s
              instructions.” 339




339
  Harriet Ryan ET AL., ‘You Want a Description of Hell?’,Oxycontin’s 12-Hour
Problem, (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/.
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      o Purdue ran a series of advertisements for OxyContin in 2012 in
        medical journals titled “Pain vignettes,” which were case studies
        featuring patients, each with pain conditions persisting over several
        months, recommending OxyContin for each. One such patient, “Paul,”
        is described to be a “54-year-old writer with osteoarthritis of the
        hands,” and the vignettes imply that an OxyContin prescription will
        help him work more effectively.
      o Purdue sponsored APF’s A Policymaker’s Guide to Understanding
        Pain & Its Management, which inaccurately claimed that “multiple
        clinical studies” have shown that opioids are effective in improving
        daily function, psychological health, and health-related quality of life
        for chronic pain patients.” The sole reference for the functional
        improvement claim noted the absence of long-term studies and
        actually stated: “For functional outcomes, the other analgesics were
        significantly more effective than were opioids.” The Policymaker’s
        Guide is still available online.
      o Purdue sponsored APF’s Treatment Options: A Guide for People
        Living with Pain (2007), which counseled patients that opioids, when
        used properly, “give [pain patients] a quality of life we deserve.” APF
        distributed 17,200 copies in one year alone, according to its 2007
        annual report, and the guide currently is available online.

      o Purdue sponsored APF’s Exit Wounds (2009), which taught veterans
        that opioid medications “increase your level of functioning.” Exit
        Wounds also omits warnings of the risk of interactions between
        opioids and benzodiazepines, which would increase fatality risk.
        Benzodiazepines are frequently prescribed to veterans diagnosed with
        post-traumatic stress disorder.


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            o Purdue sponsored the FSMB’s Responsible Opioid Prescribing
              (2007), which taught that relief of pain itself improved patients’
              function. Responsible Opioid Prescribing explicitly describes
              functional improvement as the goal of a “long-term therapeutic
              treatment course.” Purdue also spent over $100,000 to support
              distribution of the book.

      • Janssen:
            o Misrepresented that patients experienced “[s]ignificantly reduced
              nighttime awakenings.” 340

            o Misrepresented “[s]ignificant improvement in disability scores as
              measured by the Oswestry Disability Questionnaire and Pain
              Disability Index.”341

            o Misrepresented “[s]ignificant improvement in social functioning.”

            o Misrepresented outcome claims that were misleading because they
              lacked substantial support, evidence or clinical experience and
              “impl[ied] that patients will experience improved social or physical
              functioning or improved work productivity when using Duragesic,”
              including: “1,360 loaves . . . and counting, [w]ork, uninterrupted,
              [l]ife, uninterrupted, [g]ame, uninterrupted, [c]hronic pain relief that
              supports functionality, [h]elps patients think less about their pain, and
              [i]mprove[s] . . . physical and social functioning.”342

            o Misrepresented that “[o]pioid analgesics, for example, have no true
              ‘ceiling dose’ for analgesia and do not cause direct organ damage.”343




340
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to
Cynthia Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
341
    Id.
342
    Id. at 3 (internal quotations omitted).
343
    Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last
visited Dec. 11, 2017).
                                          244
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            o Myth: Opioids make it harder to function normally.
              Fact: When used correctly for appropriate conditions, opioids may
              make it easier for people to live normally. 344

            o Janssen sponsored a patient education guide titled Finding
              Relief: Pain Management for Older Adults (2009), which its
              personnel reviewed and approved and its sales force distributed.
              This guide features a man playing golf on the cover and lists
              examples of expected functional improvement from opioids,
              like sleeping through the night, returning to work, recreation,
              sex, walking, and climbing stairs. The guide states as a “fact”
              that “opioids may make it easier for people to live normally”
              (emphasis in the original). The myth/fact structure implies
              authoritative backing for the claim that does not exist. The
              targeting of older adults also ignored heightened opioid risks in
              this population.
            o Janssen sponsored, developed, and approved content of a
              website, Let’s Talk Pain in 2009, acting in conjunction with the
              APF and AAPM whose participation in Let’s Talk Pain Janssen
              financed and orchestrated. This website featured an interview,
              which was edited by Janssen personnel, claiming that opioids
              were what allowed a patient to “continue to function,”
              inaccurately implying her experience would be representative.
              This video is still available today on youtube.com.
            o Janssen provided grants to APF to distribute Exit Wounds to
              veterans, which taught that opioid medications “increase your

344
   Finding Relief, Pain Management for Older Adults, (2009) (emphasis in
original).
                                          245
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         level of functioning” (emphasis in the original). Exit Wounds
         also omits warnings of the risk of interactions between opioids
         and benzodiazepines, which would increase fatality risk.
         Benzodiazepines are frequently prescribed to veterans
         diagnosed with post-traumatic stress disorder.

• Cephalon:
      o Cephalon sponsored the FSMB’s Responsible Opioid
        Prescribing (2007), which taught that relief of pain itself
        improved patients’ function. Responsible Opioid Prescribing
        explicitly describes functional improvement as the goal of a
        “long-term therapeutic treatment course.” Cephalon also spent
        $150,000 to purchase copies of the book in bulk and distributed
        the book through its pain sales force to 10,000 prescribers and
        5,000 pharmacists.

      o Cephalon sponsored the American Pain Foundation’s
        Treatment Options: A Guide for People Living with Pain
        (2007), which taught patients that opioids when used properly
        “give [pain patients] a quality of life we deserve.” The
        Treatment Options guide notes that non-steroidal anti-
        inflammatory drugs have greater risks with prolonged duration
        of use, but there was no similar warning for opioids. APF
        distributed 17,200 copies in one year alone, according to its
        2007 annual report, and the publication is currently available
        online.
      o Cephalon sponsored a CME written by Dr. Webster, titled
        Optimizing Opioid Treatment for Breakthrough Pain, which
        was offered online by Medscape, LLC from September 28,
        2007, through December 15, 2008. The CME taught that
        Cephalon’s Actiq and Fentora improve patients’ quality of life
        and allow for more activities when taken in conjunction with
        long-acting opioids.




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      • Endo:
            o Opana ER “will benefit patients, physicians and payers.” 345




            o “Endo distributed a pamphlet in New York and posted on its public
              website, www.opana.com, photographs of purported Opana ER
              patients that implied that patients can achieve higher function with
              Opana ER.”346

            o Endo sponsored a website, painknowledge.com, through APF and
              NIPC, which claimed in 2009 that with opioids, “your level of
              function should improve; you may find you are now able to
              participate in activities of daily living, such as work and hobbies, that
              you were not able to enjoy when your pain was worse.” Endo
              continued to provide funding for this website through 2012, and
              closely tracked unique visitors to it.
            o A CME sponsored by Endo, titled Persistent Pain in the Older
              Patient, taught that chronic opioid therapy has been “shown to reduce
              pain and improve depressive symptoms and cognitive functioning.”

            o Endo distributed handouts to prescribers that claimed that use of
              Opana ER to treat chronic pain would allow patients to perform work
              as a chef. This flyer also emphasized Opana ER’s indication without
              including equally prominent disclosure of the “moderate to severe
              pain” qualification.

            o Endo’s sales force distributed FSMB’s Responsible Opioid
              Prescribing (2007). This book taught that relief of pain itself

345
    FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, December
12, 2011, https://www.biospace.com/article/releases/fda-approves-endo-
pharmaceuticals-crush-resistant-opana-er-/.
346
    Id. at 8.
                                          247
      Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 254 of 384. PageID #: 254




               improved patients’ function. Responsible Opioid Prescribing
               explicitly describes functional improvement as the goal of a “long-
               term therapeutic treatment course.”
            o Endo provided grants to APF to distribute Exit Wounds to veterans,
              which taught that opioid medications “increase your level of
              functioning” (emphasis in the original). Exit Wounds also omits
              warnings of the risk of interactions between opioids and
              benzodiazepines, which would increase fatality risk. Benzodiazepines
              are frequently prescribed to veterans diagnosed with post-traumatic
              stress disorder.

         505. The RICO Marketing Defendants misrepresented that addiction risks

can be avoided or managed through screening tools and prescription guidelines:

      • Purdue:

            o Purdue’s     unbranded    website,    In    the    Face     of   Pain
              (inthefaceofpain.com) states that policies that “restrict[] access to
              patients with pain who also have a history of substance abuse” and
              “requiring special government-issued prescription forms for the only
              medications that are capable of relieving pain that is severe” are “at
              odds with” best medical practices.347

            o Purdue sponsored a 2012 CME program taught by a KOL titled
              Chronic Pain Management and Opioid Use: Easing Fears, Managing
              Risks, and Improving Outcomes. This presentation recommended that
              use of screening tools, more frequent refills, and switching opioids
              could treat a high-risk patient showing signs of potentially addictive
              behavior.

            o Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled
              Managing Patient’s Opioid Use: Balancing the Need and Risk. This
              publication taught prescribers that screening tools, urine tests, and


347
   See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment,
Purdue Pharma L.P. (Resources verified Mar. 2012),
www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pd
f.
                                         248
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               patient agreements have the effect of preventing “overuse of
               prescriptions” and “overdose deaths.”

            o Purdue sales representatives told prescribers that screening tools can
              be used to select patients appropriate for opioid therapy and to
              manage the risks of addiction.

      • Cephalon:
            o Cephalon sponsored APF’s Treatment Options: A Guide for People
              Living with Pain (2007), which taught patients that “opioid
              agreements” between doctors and patients can “ensure that you take
              the opioid as prescribed.”

      • Endo:

            o Endo paid for a 2007 supplement 348 available for continuing education
              credit in the Journal of Family Practice and written by a doctor who
              later became a member of Endo’s speakers bureau. This publication,
              titled Pain Management Dilemmas in Primary Care: Use of Opioids,
              recommended screening patients using tools like the Opioid Risk Tool
              or the Screener and Opioid Assessment for Patients with Pain, and
              advised that patients at high risk of addiction could safely (e.g.,
              without becoming addicted) receive chronic opioid therapy using a
              “maximally structured approach” involving toxicology screens and
              pill counts.
         506. The RICO Marketing Defendants misrepresented that signs of opioid

addiction were not addiction, withdrawal could be simply managed, and promoted

the concept of pseudoaddiction:

      • Purdue:

            o Purdue published a prescriber and law enforcement education
              pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which
              described pseudoaddiction as a concept that “emerged in the literature

348
   The medical journal, the Lancet found that all of the supplement papers it
received failed peer-review. 375 LANCET No. 9712, 347 (2010).
                                         249
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         to describe the inaccurate interpretation of [drug-seeking behaviors] in
         patients who have pain that has not been effectively treated.”

      o Purdue distributed to physicians, at least as of November 2006 and
        posted on its unbranded website, Partners Against Pain, a pamphlet
        copyrighted 2005 and titled Clinical Issues in Opioid Prescribing.
        This pamphlet included a list of conduct including “illicit drug use
        and deception” it defined as indicative of pseudoaddiction or
        untreated pain. It also states: “Pseudoaddiction is a term which has
        been used to describe patient behaviors that may occur when pain is
        undertreated. . . . Even such behaviors as illicit drug use and deception
        can occur in the patient’s efforts to obtain relief. Pseudoaddiction can
        be distinguished from true addiction in that the behaviors resolve
        when the pain is effectively treated.”
      o Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007),
        which taught that behaviors such as requesting drugs by name,
        “demanding or manipulative behavior,” seeing more than one doctor
        to obtain opioids, and hoarding, are all signs of pseudoaddiction.
        Purdue also spent over $100,000 to support distribution of the book.
      o Purdue sponsored APF’s A Policymaker’s Guide to Understanding
        Pain & Its Management, which states: “Pseudo-addiction describes
        patient behaviors that may occur when pain is undertreated. . . .
        Pseudo-addiction can be distinguished from true addiction in that this
        behavior ceases when pain is effectively treated.”

      o A Policymaker’s Guide to Understanding Pain & Its Management
        also taught that “Symptoms of physical dependence can often be
        ameliorated by gradually decreasing the dose of medication during
        discontinuation,” but did not disclose the significant hardships that
        often accompany cessation of use.
      o Purdue sales representatives told prescribers that the effects of
        withdrawal from opioid use can be successfully managed.

      o Purdue sales representatives told prescribers that the potential for
        withdrawal on Butrans was low due to Butrans’ low potency and its
        extended release mechanism.



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• Janssen:

      o Janssen’s website, Let’s Talk Pain, stated from 2009 through 2011
        that “pseudoaddiction . . . refers to patient behaviors that may occur
        when pain is under-treated” and “[p]seudoaddiction is different from
        true addiction because such behaviors can be resolved with effective
        pain management.”
      o A Janssen PowerPoint presentation used for training its sales
        representatives titled “Selling Nucynta ER” indicates that the “low
        incidence of withdrawal symptoms” is a “core message” for its sales
        force. This message is repeated in numerous Janssen training
        materials between 2009 and 2011. The studies supporting this claim
        did not describe withdrawal symptoms in patients taking Nucynta ER
        beyond 90 days or at high doses and would therefore not be
        representative of withdrawal symptoms in the chronic pain
        population. Patients on opioid therapy long-term and at high doses
        will have a harder time discontinuing the drugs and are more likely to
        experience withdrawal symptoms. In addition, in claiming a low rate
        of withdrawal symptoms, Janssen relied upon a study that only began
        tracking withdrawal symptoms in patients two to four days after
        discontinuing opioid use, when Janssen knew or should have known
        that these symptoms peak earlier than that for most patients. Relying
        on data after that initial window painted a misleading picture of the
        likelihood and severity of withdrawal associated with chronic opioid
        therapy. Janssen also knew or should have known that the patients
        involved in the study were not on the drug long enough to develop
        rates of withdrawal symptoms comparable to rates of withdrawal
        suffered by patients who use opioids for chronic pain—the use for
        which Janssen promoted Nucynta ER.

      o Janssen sales representatives told prescribers that patients on
        Janssen’s drugs were less susceptible to withdrawal than those on
        other opioids.

• Cephalon:

      o Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007),
        which taught that behaviors such as “requesting drugs by name,”
        “demanding or manipulative behavior,” seeing more than one doctor

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               to obtain opioids, and hoarding are all signs of pseudoaddiction.
               Cephalon also spent $150,000 to purchase copies of the book in bulk
               and distributed it through its pain sales force to 10,000 prescribers and
               5,000 pharmacists.

      • Endo:

            o Endo distributed copies of a book by KOL Dr. Lynn Webster entitled
              Avoiding Opioid Abuse While Managing Pain (2007). Endo’s internal
              planning documents describe the purpose of distributing this book as
              to “[i]ncrease the breadth and depth of the Opana ER prescriber base.”
              The book claims that when faced with signs of aberrant behavior, the
              doctor should regard it as pseudoaddiction and thus, “increasing the
              dose in most cases . . . should be the clinician’s first response.”

            o Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid
              Prescribing (2007), which was distributed by Endo’s sales force. This
              book asserted that behaviors such as “requesting drugs by name,”
              “demanding or manipulative behavior,” seeing more than one doctor
              to obtain opioids, and hoarding, are all signs of “pseudoaddiction.”
            o A CME sponsored by Endo, titled Persistent Pain in the Older Adult,
              taught that withdrawal symptoms can be avoided entirely by tapering
              the dose by 10-20% per day for ten days.

            o Endo misrepresented that “symptoms of withdrawal do not indicate
              addiction.”349

            o “Endo also trained its sales representatives to distinguish addiction
              from ‘pseudoaddiction.’” 350

         507. The RICO Marketing Defendants misrepresented that opioids were safe

for the long-term treatment of chronic, non-acute, and non-cancer pain:


349
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc.,
Assurance No. 15-228, Assurance of Discontinuance Under Executive Law
Section 63, Subdivision 15, at 7 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
350
    Id.
                                          252
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      • Purdue:

            o “[W]e do not want to niche OxyContin just for cancer pain.”351




            o OxyContin was safe and non-addictive when using extended release
              formulations, and appropriate for use in non-cancer patients.352

            o OxyContin should be prescribed not merely for severe short-term pain
              associated with surgery or cancer, but also for less acute, longer-
              lasting pain like arthritis, back pain, sports injuries, fibromyalgia with
              almost limitless treatment potential.353

      • Janssen:
            o Duragesic was “more useful in a broader range of conditions or
              patients than has been demonstrated by substantial evidence.”354

            o Duragesic was “not just for end stage cancer anymore” when the FDA
              only approved Duragesic for “the management of chronic pain in




351
    Ryan, Description of Hell, http://documents.latimes.com/oxycontin-launch-
1995/ (emphasis in the L.A. Times document).
352
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as
Senators Launch Investigation of Prescription Narcotics, ProPublica (May 8,
2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senato
rs_launch_investigation_of_prescription_narcotis/ (hereinafter “Ornstein,
American Pain Foundation”).
353
    Patrick Keefe, The Family That Built an Empire of Pain, NEW YORKER (Oct.
30, 2012), https://www.newyorker.com/magazine/2017/10/30/the-family-that-
built-an-empire-of-pain.
354
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to
Cynthia Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
                                           253
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               patients who require continuous opioid analgesia for pain that cannot
               be managed by lesser means.”355

            o Misrepresented that “Duragesic can be used for any type of pain
              management” despite the fact that the FDA approved warning stated
              that    “BECAUSE         SERIOUS        OR      LIFE-THREATENING
              HYPOVENTILATION             COULD         OCCUR,         DURAGESIC®
              (FENTANYL              TRANSDERMAL                 SYSTEM)         IS
              CONTRAINDICATED: In the management of acute or post-
              operative pain, including use in outpatient surgeries . . . .” 356

            o Misrepresented “numerous claims for the efficacy and safety of
              Duragesic,” but failed to “present[] any risk information concerning
              the boxed warnings, contraindications, warnings, or side effects
              associated with Duragesic’s use . . . [and] . . . fail[ed] to address
              important risks and restrictions associated with Duragesic therapy.” 357

            o Misrepresented “[d]emonstrated effectiveness in chronic back pain
              with additional patient benefits, . . . 86% of patients experienced
              overall benefit in a clinical study based on: pain control, disability in
              ADLs, quality of sleep.” 358

      • Cephalon:
            o “[P]romoting [Actiq] for non-cancer patients to use for such maladies
              as migraines, sickle-cell pain crises, injuries, and in anticipation of
              changing wound dressings or radiation therapy.” 359

            o “[P]romot[ing] Actiq for use in patients who were not yet opioid
              tolerant, and for whom it could have life-threatening results.”360


355
    Id.
356
    Id.
357
    Id.
358
    Id. at 2-3.
359
    Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon
To Pay $425 Million For Off-Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
360
    Id.
                                          254
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         o In 2011, Cephalon wrote an article titled “2011 Special Report: An
           Integrated Risk Evaluation and Risk Mitigation Strategy for Fentanyl
           Buccal Tablet (FENTORA®) AND Oral Transmucosal Fentanyl
           Citrate (Actiq®), published in Pain Medicine News. Plaintiff is
           informed and believes that Cephalon misrepresented that its drugs
           were “shown to be effective in treatment of [break through pain]
           associated with multiple causes of pain,” not just cancer.

      508. The RICO Marketing Defendants also misrepresented that opioids were

safer that non-opioid analgesics because there is no ceiling dose for opioid

treatment.

   • Purdue:

         o Purdue’s In the Face of Pain website, along with initiatives of APF,
           promoted the notion that if a patient’s doctor does not prescribe them
           what—in their view—is a sufficient dose of opioids, they should find
           another doctor who will. In so doing, Purdue exerted undue, unfair,
           and improper influence over prescribers who face pressure to accede
           to the resulting demands.

         o Purdue sponsored APF’s A Policymaker’s Guide to Understanding
           Pain & Its Management, which taught that dose escalations are
           “sometimes necessary,” even indefinitely high ones, which suggested
           that high dose opioids are safe and appropriate and did not disclose
           the risks from high dose opioids. This publication is still available
           online.

         o Purdue sponsored APF’s Treatment Options: A Guide for People
           Living with Pain (2007), which taught patients that opioids have “no
           ceiling dose” and are therefore the most appropriate treatment for
           severe pain. The guide also claimed that some patients “need” a larger
           dose of the drug, regardless of the dose currently prescribed. This
           language fails to disclose heightened risks at elevated doses.

         o Treatment Options, also taught that opioids differ from NSAIDs in
           that they have “no ceiling dose” and are therefore the most
           appropriate treatment for severe pain. Treatment Options continued,
           warning that risks of NSAIDs increase if “taken for more than a
                                      255
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         period of months,” with no corresponding warning about opioids. The
         publication attributed 10,000 to 20,000 deaths annually to NSAID
         overdose.
      o Purdue sponsored a CME issued by the American Medical
        Association in 2003, 2007, 2010, and 2013. The CME, Overview of
        Management Options, was edited by KOL Dr. Russell Portenoy,
        among others, and taught that other drugs, but not opioids, are unsafe
        at high doses. The 2013 version is still available for CME credit.
      o Overview of Management Options also taught NSAIDs and other
        drugs, but not opioids, are unsafe at high doses.

      o Purdue sponsored APF’s Exit Wounds (2009), which omits warnings
        of the risk of interactions between opioids and benzodiazepines,
        which would increase fatality risk.
      o Purdue sales representatives told prescribers that opioids were just as
        effective for treating patients long-term and omitted any discussion
        that increased tolerance would require increasing, and increasingly
        dangerous, doses.

      o Purdue sales representatives told prescribers that NSAIDs were more
        toxic than opioids.

• Janssen:

      o Janssen sponsored a patient education guide entitled Finding Relief:
        Pain Management for Older Adults (2009), which its personnel
        reviewed and approved and its sales force distributed. This guide
        listed dose limitations as “disadvantages” of other pain medicines but
        omitted any discussion of risks of increased doses from opioids. The
        publication also falsely claimed that it is a “myth” that “opioid doses
        have to be bigger over time.”
      o Finding Relief: Pain Management for Older Adults also described the
        advantages and disadvantages of NSAIDs on one page, and the
        “myths/facts” of opioids on the facing page. The disadvantages of
        NSAIDs are described as involving “stomach upset or bleeding,”
        “kidney or liver damage if taken at high doses or for a long time,”
        “adverse reactions in people with asthma,” and “can increase the risk

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         of heart attack and stroke.” The only adverse effects of opioids listed
         are “upset stomach or sleepiness,” which the brochure claims will go
         away, and constipation.
      o Janssen sponsored APF’s Exit Wounds (2009), which omits warnings
        of the risk of interactions between opioids and benzodiazepines.
        Janssen’s label for Duragesic, however, states that use with
        benzodiazepines “may cause respiratory depression, [low blood
        pressure], and profound sedation or potentially result in coma. Exit
        Wounds also contained a lengthy discussion of the dangers of using
        alcohol to treat chronic pain but did not disclose dangers of mixing
        alcohol and opioids.

      o Janssen sales representatives told prescribers that Nucynta was not an
        opioid, making it a good choice for chronic pain patients who
        previously were unable to continue opioid therapy due to excessive
        side effects. This statement was misleading because Nucynta is an
        opioid and has the same effects as other opioids.

• Cephalon:

      o Cephalon sponsored APF’s Treatment Options: A Guide for People
        Living with Pain (2007), which claims that some patients “need” a
        larger dose of their opioid, regardless of the dose currently prescribed.

      o Treatment Options, also taught patients that opioids differ from
        NSAIDs in that they have “no ceiling dose” and are therefore the most
        appropriate treatment for severe pain. Treatment Options continued,
        warning that risks of NSAIDs increase if “taken more than a period of
        months,” but it included no corresponding warning about opioids.
        The publication attributed 10,000 to 20,000 deaths annually to NSAID
        overdose.

      o Cephalon sponsored a CME written by KOL Dr. Lynn Webster,
        Optimizing Opioid Treatment for Breakthrough Pain, which was
        offered online by Medscape, LLC from September 28, 2007 through
        December 15, 2008. The CME taught that non-opioid analgesics and
        combination opioids that include aspirin and acetaminophen are less
        effective to treat breakthrough pain because of dose limitations.



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            o Cephalon sales representatives assured prescribers that opioids were
              safe, even at high doses.

            o Cephalon sales representatives told prescribers that NSAIDs were
              more toxic than opioids.

            o “[P]romot[ing] Actiq for use in patients who were not yet opioid
              tolerant, and for whom it could have life-threatening results.”361

      • Endo:

            o Endo sponsored a website, painknowledge.com, through APF and
              NIPC, which claimed in 2009 that opioids may be increased until
              “you are on the right dose of medication for your pain,” and once that
              occurs, further dose increases would not occur. Endo funded the site,
              which was a part of Endo’s marketing plan, and tracked visitors to it.

            o Through painknowledge.com Endo distributed a flyer called “Pain:
              Opioid Therapy.” This publication included a list of adverse effects
              from opioids that omitted significant adverse effects like hyperalgesia,
              immune and hormone dysfunction, cognitive impairment, tolerance,
              dependence, addiction, and death. Endo continued to provide funding
              for this website through 2012, and closely tracked unique visitors to it.
            o Endo provided grants to APF to distribute Exit Wounds (2009), which
              omitted warnings of the risk of interactions between opioids and
              benzodiazepines, which would increase fatality risk. Exit Wounds also
              contained a lengthy discussion of the dangers of using alcohol to treat
              chronic pain but did not disclose dangers of mixing alcohol and
              opioids.
            o Endo sales representatives told prescribers that NSAIDs were more
              toxic than opioids.

            o Endo distributed a patient education pamphlet edited by KOL Dr.
              Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid
              Analgesics. In Q&A format, it asked: “If I take the opioid now, will it
              work later when I really need it?” The response was: “The dose can be
              increased . . .. You won’t ‘run out’ of pain relief.”

361
      Id.
                                          258
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         o Endo distributed a “case study” to prescribers titled Case Challenges
           in Pain Management: Opioid Therapy for Chronic Pain. The study
           cites an example, meant to be representative, of a patient “with a
           massive upper gastrointestinal bleed believed to be related to his
           protracted use of NSAIDs” (over eight years), and recommends
           treating with opioids instead.

      509. These misrepresentations, and the legion of other representations made

by the RICO Marketing Defendants and members of Opioid Marketing Enterprise

all furthered the common purpose and fraudulent scheme of the Opioid Marketing

Enterprise. But they were demonstrably false, as confirmed by investigations and

enforcement actions against the RICO Marketing Defendants.

      510. In May 2007, Purdue and three of its executives pled guilty to federal

charges of misbranding OxyContin in what the company acknowledged was an

attempt to mislead doctors about the risk of addiction. Purdue was ordered to pay

$600 million in fines and fees. In its plea, Purdue admitted that its promotion of

OxyContin was misleading and inaccurate, misrepresented the risk of addiction

and was unsupported by science. The Order adopting the guilty pleas provides:




                                       259
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         511. Additionally,   Michael   Friedman    (“Friedman”),    the   company’s

president, pled guilty to a misbranding charge and agreed to pay $19 million in

fines; Howard R. Udell (“Udell”), Purdue’s top lawyer, also pled guilty and agreed

to pay $8 million in fines; and Paul D. Goldenheim (“Goldenheim”), its former

medical director, pled guilty as well and agreed to pay $7.5 million in fines.362

         512. In a statement announcing the guilty plea, John Brownlee

(“Brownlee”), the U.S. Attorney for the Western District of Virginia, stated:


362
   Barry Meier, “Narcotic Maker Guilty of Deceit Over Marketing, New York
Times (May 11, 2007),
https://www.nytimes.com/2007/05/11/business/11drug.html.
                                         260
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         Purdue claimed it had created the miracle drug – a low risk drug that
         could provide long acting pain relief but was less addictive and less
         subject to abuse. Purdue’s marketing campaign worked, and sales for
         OxyContin skyrocketed – making billions for Purdue and millions for
         its top executives.
         But OxyContin offered no miracles to those suffering in pain.
         Purdue’s claims that OxyContin was less addictive and less subject to
         abuse and diversion were false – and Purdue knew its claims were
         false. The result of their misrepresentations and crimes sparked one of
         our nation’s greatest prescription drug failures. . .. OxyContin was the
         child of marketers and bottom line financial decision making. 363

         513. Brownlee characterized Purdue’s criminal activity as follows:

              First, Purdue trained its sales representatives to falsely inform
         health care providers that it was more difficult to extract the
         oxycodone from an OxyContin tablet for the purpose of intravenous
         abuse. Purdue ordered this training even though its own study showed
         that a drug abuser could extract approximately 68% of the oxycodone
         from a single 10 mg OxyContin tablet by simply crushing the tablet,
         stirring it in water, and drawing the solution through cotton into a
         syringe.
             Second, Purdue falsely instructed its sales representatives to
         inform health care providers that OxyContin could create fewer
         chances for addiction than immediate-release opioids.
             Third, Purdue sponsored training that falsely taught Purdue sales
         supervisors that OxyContin had fewer “peak and trough” blood level
         effects than immediate-release opioids resulting in less euphoria and
         less potential for abuse than short-acting opioids.

             Fourth, Purdue falsely told certain health care providers that
         patients could stop therapy abruptly without experiencing withdrawal


363
   Press Release, U.S. Attorney for the Western District of Virginia, Statement of
United States Attorney John Brownlee on the Guilty Plea of the Purdue Frederick
Company and Its Executives for Illegally Misbranding OxyContin (May 10, 2007),
https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
                                           261
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         symptoms and that patients who took OxyContin would not develop
         tolerance to the drug.

            And fifth, Purdue falsely told health care providers that
         OxyContin did not cause a “buzz” or euphoria, caused less euphoria,
         had less addiction potential, had less abuse potential, was less likely to
         be diverted than immediate-release opioids, and could be used to
         “weed out” addicts and drug seekers. 364

         514. Purdue pled guilty to illegally misbranding OxyContin in an effort to

mislead and defraud physicians and consumers, while Friedman, Udell and

Goldenheim pled guilty to the misdemeanor charge of misbranding OxyContin for

introducing misbranded drugs into interstate commerce in violation of 21 U.S.C.

§§ 331(a), 333(a)(1)-(2) and 352(a).

         515. Similarly, Endo’s marketing of Opana ER was criticized and punished

by the FDA and New York Attorney General.

         516. On February 18, 2017, the State of New York announced a settlement

with Endo requiring it “to cease all misrepresentations regarding the properties of

Opana ER [and] to describe accurately the risk of addiction to Opana ER.”365 In

the Assurance of Discontinuance that effectuated the settlement, the State of New

York stated that Endo knew about the risks arising from the reformulated Opana


364
   Id.
365
   Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman
Announces Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals
Inc. Over Marketing Of Prescription Opioid Drugs (Mar. 3, 2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-
health-solutions-inc-endo-pharmaceuticals (last accessed on March 9, 2018).
                                            262
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ER even before it received FDA approval. Among other things, the investigation

concluded that:

      • Endo improperly marketed Opana ER as designed to be crush resistant,
        when Endo’s own studies dating from 2009 and 2010 showed that the pill
        could be crushed and ground;

      • Endo improperly instructed its sales representatives to diminish and distort
        the risks associated with Opana ER, including the serious danger of
        addiction; and

      • Endo made unsupported claims comparing Opana ER to other opioids and
        failed to disclose accurate information regarding studies addressing the
        negative effects of Opana ER. 366

         517. The 2017 settlement also identified and discussed a February 2013

communication from a consultant hired by Endo to the company, in which the

consultant concluded that “‘[t]he initial data presented do not necessarily establish

that the reformulated Opana ER is tamper resistant.’” The same consultant also

reported that the distribution of the reformulated Opana ER had already led to

higher levels of abuse of the drug via injection. 367

         518. The Office of the Attorney General of New York also revealed that the

“managed care dossier” Endo provided to formulary committees of healthcare

plans and pharmacy benefit managers misrepresented the studies that had been

conducted         on   Opana   ER.   According    to    Endo’s   vice   president   for

pharmacovigilance and risk management, the dossier was presented as a complete

366
      Id.
367
      Id. at 6.
                                          263
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compendium of all research on the drug. However, it omitted certain studies: Study

108 (completed in 2009) and Study 109 (completed in 2010), which showed that

reformulated Opana ER could be ground and chewed.

         519. The      settlement   also   detailed   Endo’s   false   and   misleading

representations about the non-addictiveness of opioids and Opana. For example,

until April 2012, Endo’s website for the drug, www.opana.com, contained the

following representation: “‘Most healthcare providers who treat patients with pain

agree that patients treated with prolonged opioid medicines usually do not become

addicted.’” 368        However, Endo neither conducted nor possessed a survey

demonstrating that most healthcare providers who treat patients with pain agree

with that representation.

         520. The Office of the Attorney General of New York also disclosed the

following facts that it determined to violate Opana’s obligations to truthfully

market its products:

                  a.    Training materials provided by Endo to sales representatives
                        stated: “‘Symptoms of withdrawal do not indicate
                        addiction.’” 369 This representation is inconsistent with the
                        diagnosis of opioid-use disorder as provided in the Diagnostic
                        and Statistical Manual of Mental Disorders by the American
                        Psychiatric Association (Fifth Edition).
                  b.    Endo trained its sales representatives to falsely distinguish
                        addiction from “pseudoaddiction,” which it defined as a
368
      Id.
369
      Id. at 7.
                                            264
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                     condition in which patients exhibit drug-seeking behavior that
                     resembles but is not the same as addiction. Endo’s vice
                     president for pharmacovigilance and risk management testified
                     that he was not aware of any research validating the concept of
                     pseudoaddiction.
         521. On June 9, 2017, the FDA asked Endo to voluntarily cease sales of

Opana ER after determining that the risks associated with its abuse outweighed the

benefits. According to Dr. Janet Woodcock, director of the FDA’s Center for Drug

Evaluation and Research, the risks include “several serious problems,” including

“outbreaks of HIV and Hepatitis C from sharing the drug after it was extracted by

abusers” and “a serious disease outbreak.” 370 If Endo did not comply, the FDA

stated that it “intends to take steps to formally require its removal by withdrawing

approval.”371

         522. Like Purdue and Endo, Janssen was the subject of an FDA enforcement

action that identified its marketing statements as misrepresentations. For example:

         523. On February 15, 2000, the FDA sent Janssen a letter concerning the

alleged dissemination of “homemade” promotional pieces that promoted Duragesic

in violation of the Federal Food, Drug, and Cosmetic Act. In a subsequent letter,

dated March 30, 2000, the FDA explained that the “homemade” promotional

pieces were “false or misleading because they contain misrepresentations of safety
370
    FDA requests removal of Opana ER for risks related to abuse, June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.ht
m.
371
    Id.
                                         265
      Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 272 of 384. PageID #: 272




information, broaden Duragesic’s indication, contain unsubstantiated claims, and

lack fair balance.”372

         524. The March 30, 2000 letter identified specific violations, including

misrepresentations that Duragesic had a low potential for abuse:

      • You present the claim, “Low abuse potential!” This claim suggests that
        Duragesic has less potential for abuse than other currently available opioids.
        However, this claim has not been demonstrated by substantial evidence.
        Furthermore, this claim is contradictory to information in the approved
        product labeling (PI) that states, “Fentanyl is a Schedule II controlled
        substance and can produce drug dependence similar to that produced by
        morphine.” Therefore, this claim is false or misleading. 373

         525. The March 30, 2000 letter also stated that the promotional materials

represented that Duragesic was “more useful in a broader range of conditions or

patients than has been demonstrated by substantial evidence.”374 Specifically, the

FDA stated that Janssen was marketing Duragesic for indications other than the

treatment of chronic pain that cannot otherwise be managed, for which it was

approved:

      • You present the claim, “It’s not just for end stage cancer anymore!” This
        claim suggests that Duragesic can be used for any type of pain management.
        However, the PI for Duragesic states, “Duragesic (fentanyl transdermal
        system) is indicated in the management of chronic pain in patients who
        require continuous opioid analgesia for pain that cannot be managed by
        lesser means . . ..” Therefore, the suggestion that Duragesic can be used for

372
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to
Cynthia Chianese, Janssen Pharmaceutica (Mar. 30, 2000) at 2.
373
    Id.
374
    Id.
                                          266
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         any type of pain management promotes Duragesic[] for a much broader use
         than is recommended in the PI, and thus, is misleading. In addition, the
         suggestion that Duragesic can be used to treat any kind of pain is
         contradictory to the boxed warning in the PI. Specifically, the PI states,

                     BECAUSE SERIOUS OR LIFE-
                     THREATENING HYPOVENTILATION
                     COULD OCCUR, DURAGESIC®
                     (FENTANYL TRANSDERMAL SYSTEM)
                     IS CONTRAINDICATED:

      • In the management of acute or post-operative pain, including use in
        outpatient surgeries . . .. 375

         526. The March 30, 2000 letter also stated Janssen failed to adequately

present “contraindications, warnings, precautions, and side effects with a

prominence and readability reasonably comparable to the presentation of

information relating to the effectiveness of the product.” 376

         Although this piece contains numerous claims for the efficacy and
         safety of Duragesic, you have not presented any risk information
         concerning the boxed warnings, contraindications, warnings,
         precautions, or side effects associated with Duragesic’s use . . ..
         Therefore, this promotional piece is lacking in fair balance, or
         otherwise misleading, because it fails to address important risks and
         restrictions associated with Duragesic therapy. 377

         527. On September 2, 2004, the U.S. Department of Health and Human

Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to “false

or misleading claims about the abuse potential and other risks of the drug, and . . .


375
    Id. at 2-3.
376
    Id. at 3.
377
    Id.
                                         267
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unsubstantiated effectiveness claims for Duragesic,” including, specifically,

“suggesting that Duragesic has a lower potential for abuse compared to other

opioid products.”

      528. The September 2, 2004 letter warned Janssen regarding its claims that

Duragesic had a low reported rate of mentions in the Drug Abuse Warning

Network (“DAWN”) as compared to other opioids. The letter stated that the claim

was false or misleading because the claim was not based on substantial data and

because the lower rate of mentions was likely attributable to Duragesic’s lower

frequency of use compared to other opioids listed in DAWN:

            The file card presents the prominent claim, “Low reported rate
      of mentions in DAWN data,” along with Drug Abuse Warning
      Network (DAWN) data comparing the number of mentions for
      Fentanyl/combinations (710 mentions) to other listed opioid products,
      including      Hydrocodone/combinations       (21,567     mentions),
      Oxycodone/combinations (18,409 mentions), and Methadone (10,725
      mentions). The file card thus suggests that Duragesic is less abused
      than other opioid drugs.
            This is false or misleading for two reasons. First, we are not
      aware of substantial evidence or substantial clinical experience to
      support this comparative claim. The DAWN data cannot provide the
      basis for a valid comparison among these products. As you know,
      DAWN is not a clinical trial database. Instead, it is a national public
      health surveillance system that monitors drug-related emergency
      department visits and deaths. If you have other data demonstrating
      that Duragesic is less abused, please submit them.

            Second, Duragesic is not as widely prescribed as other opioid
      products. As a result, the relatively lower number of mentions could



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         be attributed to the lower frequency of use, and not to a lower
         incidence of abuse. The file card fails to disclose this information. 378

         529. The September 2, 2004 letter also detailed a series of unsubstantiated

false or misleading claims regarding Duragesic’s effectiveness. The letter

concluded that various claims made by Janssen were insufficiently supported,

including:

      • “‘Demonstrated effectiveness in chronic back pain with additional patient
        benefits, . . . 86% of patients experienced overall benefit in a clinical study
        based on: pain control, disability in ADLs, quality of sleep.’”

      • “‘All patients who experienced overall benefit from DURAGESIC would
        recommend it to others with chronic low back pain.’”

      • “‘Significantly reduced nighttime awakenings.’”

      • “‘Significant improvement in disability scores as measured by the Oswestry
        Disability Questionnaire and Pain Disability Index.’”

      • “‘Significant improvement in physical functioning summary score.’”

      • “‘Significant improvement in social functioning.’” 379

         530. In addition, the September 2, 2004 letter identified “outcome claims

[that] are misleading because they imply that patients will experience improved

social or physical functioning or improved work productivity when using

Duragesic.” The claims include “‘1,360 loaves . . . and counting,’ ‘[w]ork,


378
    Warning Letter from Thomas W. Abrams, U.S. Department of Health and
Human Services, to Ajit Shetty, Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/The%20
Pink%20Sheet/66/038/00660380018/040920_ duragesic_letter.pdf at 2.
379
    Id. at 2-3.
                                           269
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uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’ ‘[c]hronic pain

relief that supports functionality,’ ‘[h]elps patients think less about their pain,’ and

‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter

stated: “Janssen has not provided references to support these outcome claims. We

are not aware of substantial evidence or substantial clinical experience to support

these claims.” 380

         531. On July 15, 2005, the FDA issued a public health advisory warning

doctors of deaths resulting from the use of Duragesic and its generic competitor,

manufactured by Mylan N.V. Plaintiff is informed and believes that the advisory

noted that the FDA had been “‘examining the circumstances of product use to

determine if the reported adverse events may be related to inappropriate use of the

patch’” and noted the possibility “that patients and physicians might be unaware of

the risks” of using the fentanyl transdermal patch, which is a potent opioid

analgesic meant to treat chronic pain that does not respond to other painkillers.381

         532. Finally, Cephalon has been the subject of investigations and

enforcement actions for is misrepresentations concerning Actiq. For example:

         533. In October 2000, Cephalon acquired the worldwide product rights to

Actiq and began marketing and selling Actiq in the United States. The FDA
380
   Id. at 3.
381
   New Fentanyl Warnings: More Needed to Protect Patients, Institute for Safe
Medication Practices, August 11, 2005,
https://www.ismp.org/newsletters/acutecare/articles/20050811.asp.
                                          270
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explicitly stated that Actiq “must not be used in opioid non-tolerant patients,” was

contraindicated for the management of acute or postoperative pain, could be deadly

to children, and was “intended to be used only in the care of opioid-tolerant cancer

patients and only by oncologists and pain specialists who are knowledgeable of

and skilled in the use of Schedule II opioids to treat cancer pain.” 382 The FDA also

required that Actiq be provided only in compliance with a strict risk management

program that explicitly limited the drug’s direct marketing to the approved target

audiences, defined as oncologists, pain specialists, their nurses and office staff. 383

         534. Cephalon purchased the rights to Fentora, an even faster-acting tablet

formulation of fentanyl, from Cima Labs, and submitted a new drug application to

the FDA in August 2005. In September 2006, Cephalon received FDA approval to

sell this faster-acting version of Actiq; but once again, concerned about the power

and risks inherent to fentanyl, the FDA limited Fentora’s approval to the treatment

of BTP in cancer patients who were already tolerant to around-the-clock opioid

therapy for their underlying persistent cancer pain. Cephalon began marketing and

selling Fentora in October 2006.

         535. Due to the FDA’s restrictions, Actiq’s consumer base was limited, as

was its potential for growing revenue. In order to increase its revenue and market
382
   Id.
383
   See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA
Curbs, Wall St. J. (Nov. 3, 2006),
https://www.wsj.com/articles/SB116252463810112292.
                                          271
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share, Cephalon needed to find a broader audience and thus began marketing its

lollipop to treat headaches, back pain, sports injuries and other chronic non-cancer

pain, targeting non-oncology practices, including, but not limited to, pain doctors,

general practitioners, migraine clinics, anesthesiologists and sports clinics. It did so

in violation of applicable regulations prohibiting the marketing of medications for

off-label use and in direct contravention of the FDA’s strict instructions that Actiq

be prescribed only to terminal cancer patients and by oncologists and pain

management doctors experienced in treating cancer pain.

      536. Beginning in or about 2003, former Cephalon employees filed four

whistleblower lawsuits claiming the company had wrongfully marketed Actiq for

unapproved off-label uses. On September 29, 2008, Cephalon finalized and entered

into a corporate integrity agreement with the Office of the Inspector General of

HHS and agreed to pay $425 million in civil and criminal penalties for its off-label

marketing of Actiq and two other drugs (Gabitril and Provigil).

      537. According to a DOJ press release, Cephalon trained sales

representatives to disregard restrictions of the FDA-approved label, employed sales

representatives and healthcare professionals to speak to physicians about off-label

uses of the three drugs and funded CME to promote off-label uses. Specifically, the

DOJ stated:

      From 2001 through at least 2006, Cephalon was allegedly promoting
      [Actiq] for non-cancer patients to use for such maladies as migraines,
                                          272
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         sickle-cell pain crises, injuries, and in anticipation of changing wound
         dressings or radiation therapy. Cephalon also promoted Actiq for use
         in patients who were not yet opioid-tolerant, and for whom it could
         have life-threatening results.384

         538. Then-acting U.S. Attorney Laurie Magid commented on the dangers of

Cephalon’s unlawful practices:

         “This company subverted the very process put in place to protect the
         public from harm, and put patients’ health at risk for nothing more
         than boosting its bottom line. People have an absolute right to their
         doctors’ best medical judgment. They need to know the
         recommendations a doctor makes are not influenced by sales tactics
         designed to convince the doctor that the drug being prescribed is safe
         for uses beyond what the FDA has approved.”385

         539. Upon    information    and   belief,   documents    uncovered    in   the

government’s investigations confirm that Cephalon directly targeted non-oncology

practices and pushed its sales representatives to market Actiq for off-label use. For

instance, the government’s investigations confirmed:

          a. Cephalon instructed its sales representatives to ask non-cancer doctors
             whether they have the potential to treat cancer pain. Even if the doctor
             answered “no,” a decision tree provided by Cephalon instructed the
             sales representatives to give these physicians free Actiq coupons;

          b. Cephalon targeted neurologists in order to encourage them to prescribe
             Actiq to patients with migraine headaches;

          c. Cephalon sales representatives utilized the assistance of outside pain
             management specialists when visiting non-cancer physicians to pitch
             Actiq. The pain management specialist would falsely inform the
384
    Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon
To Pay $425 Million For Off-Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
385
    Id.
                                           273
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              physician that Actiq does not cause patients to experience a “high” and
              carries a low risk of diversion toward recreational use;

          d. Cephalon set sales quotas for its sales and marketing representatives
             that could not possibly have been met solely by promoting Actiq for its
             FDA-approved indication;
          e. Cephalon promoted the use of higher doses of Actiq than patients
             required by encouraging prescriptions of the drug to include larger-
             than-necessary numbers of lozenges with unnecessarily high doses of
             fentanyl; and

          f. Cephalon promoted Actiq for off-label use by funding and controlling
             CME seminars that promoted and misrepresented the efficacy of the
             drug for off-label uses such as treating migraine headaches and for
             patients not already opioid-tolerant.386

         540. The FDA’s letters and safety alerts, the DOJ and state investigations,

and the massive settlement seemed to have had little impact on Cephalon as it

continued its deceptive marketing strategy for both Actiq and Fentora.

         541. On September 27, 2007, the FDA issued a public health advisory to

address numerous reports that patients who did not have cancer or were not opioid-

tolerant had been prescribed Fentora, and death or life-threatening side effects had

resulted. The FDA warned: “Fentora should not be used to treat any type of short-

term pain.”387



386
    John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds,
Wall St. J., Nov. 21, 2006, at B1 (hereinafter “Carreyrou, Cephalon Used Improper
Tactics”).
387
    Press Release, U.S. Food & Drug Administration, Public Health Advisory:
Important Information for the Safe Use of Fentora (fentanyl buccal tablets) (Sept.
26, 2007),
                                         274
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      542. Nevertheless, in 2008, Cephalon pushed forward to expand the target

base for Fentora and filed a supplemental drug application requesting FDA

approval of Fentora for the treatment of non-cancer BTP. In the application and

supporting presentations to the FDA, Cephalon admitted both that it knew the drug

was heavily prescribed for off-label use and that the drug’s safety for such use had

never been clinically evaluated.388 An FDA advisory committee noted that

Fentora’s existing risk management program was ineffective and stated that

Cephalon would have to institute a risk evaluation and mitigation strategy for the

drug before the FDA would consider broader label indications. In response,

Cephalon revised Fentora’s label and medication guide to add strengthened

warnings.

      543. But in 2009, the FDA once again informed Cephalon that the risk

management program was not sufficient to ensure the safe use of Fentora for

already approved indications.

      544. On March 26, 2009, the FDA warned Cephalon against its misleading

advertising of Fentora (“Warning Letter”). The Warning Letter described a Fentora

Internet advertisement as misleading because it purported to broaden “the

https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatie
ntsandProviders/ucm051273.htm.
388
    FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life
Support Drugs andDrug Safety and Risk Management Advisory Committee, U.S.
Food & Drug Administration (May 6,2008), https://www.fda.gov/ohrms/dockets/
ac/08/slides/2008-4356s2-03-Cephalon.pdf.
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indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the

case.”389 Rather, Fentora was only indicated for those who were already opioid

tolerant. It further criticized Cephalon’s other direct Fentora advertisements

because they did not disclose the risks associated with the drug.

         545. Flagrantly disregarding the FDA’s refusal to approve Fentora for non-

cancer BTP and its warning against marketing the drug for the same, Cephalon

continued to use the same sales tactics to push Fentora as it did with Actiq.

         546. The misrepresentations disseminated by members of the Opioid

Marketing Enterprise, and the RICO Marketing Defendants, caused Plaintiff and

Pennsylvania consumers to pay for excessive opioid prescriptions, suffer injuries

and losses, and to incur costs associated with the opioid epidemic caused by the

Opioid Marketing Enterprise.

         547. The RICO Marketing Defendants alone could not have accomplished

the purpose of the Opioid Marketing Enterprise without the assistance of the Front

Groups and KOLs, who were perceived as “neutral” and more “scientific” than the

RICO Defendants themselves.         Without these misrepresentations, the Opioid

Marketing Enterprise could not have achieved its common purpose.


389
   Letter from Michael Sauers, Regulatory Review Officer, Division of Drug
Marketing, Advertising and Communications, to Carole S. Marchione, Senior
Director and Group Leader, Regulatory Affairs (March 26, 2009).
                                         276
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      548. The impact of the Opioid Marketing Enterprise’s scheme is still in

place – i.e., the opioids continue to be prescribed and used for chronic pain

throughout the State of Pennsylvania, and the epidemic continues to injure

Plaintiff, and consume the resources of Plaintiff’s and Pennsylvania’s health care

and law enforcement systems.

      549. The foregoing evidences that the RICO Marketing Defendants, the

Front Groups, and the KOLs were each willing participants in the Opioid

Marketing Enterprise, had a common purpose and interest in the object of the

scheme, and functioned within a structure designed to effectuate the Enterprise’s

purpose.

      B. CONDUCT OF THE OPIOID MARKETING ENTERPRISE.
      550. During time period described in this Complaint, from approximately

the late 1990s to the present, the RICO Marketing Defendants exerted control over

the Opioid Marketing Enterprise and participated in the operation or management

of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the

following ways:

      a. Creating a body of deceptive, misleading and unsupported medical and
         popular literature about opioids that (a) understated the risks and
         overstated the benefits of long-term use; (b) appeared to be the result of
         independent, objective research; and (c) was thus more likely to be relied
         upon by physicians, patients, and payors;

      b. Creating a body of deceptive, misleading and unsupported electronic and
         print advertisements about opioids that (a) understated the risks and

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        overstated the benefits of long-term use; (b) appeared to be the result of
        independent, objective research; and (c) was thus more likely to be relied
        upon by physicians, patients, and payors;

   c. Creating a body of deceptive, misleading and unsupported sales and
      promotional training materials about opioids that (a) understated the
      risks and overstated the benefits of long-term use; (b) appeared to be the
      result of independent, objective research; and (c) was thus more likely to
      be relied upon by physicians, patients, and payors;
   d. Creating a body of deceptive, misleading and unsupported CMEs and
      speaker presentations about opioids that (a) understated the risks and
      overstated the benefits of long-term use; (b) appeared to be the result of
      independent, objective research; and (c) was thus more likely to be relied
      upon by physicians, patients, and payors;
   e. Selecting, cultivating, promoting and paying KOLs based solely on their
      willingness to communicate and distribute the RICO Marketing
      Defendants’ messages about the use of opioids for chronic pain;

   f. Providing substantial opportunities for KOLs to participate in research
      studies on topics the RICO Marketing Defendants suggested or chose,
      with the predictable effect of ensuring that many favorable studies
      appeared in the academic literature;
   g. Paying KOLs to serve as consultants or on the RICO Marketing
      Defendants’ advisory boards, on the advisory boards and in leadership
      positions on Front Groups, and to give talks or present CMEs, typically
      over meals or at conferences;

   h. Selecting, cultivating, promoting, creating and paying Front Groups
      based solely on their willingness to communicate and distribute the
      RICO Marketing Defendants’ messages about the use of opioids for
      chronic pain;

   i.   Providing substantial opportunities for Front Groups to participate in
        and/or publish research studies on topics the RICO Marketing
        Defendants suggested or chose (and paid for), with the predictable effect
        of ensuring that many favorable studies appeared in the academic
        literature;


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      j.   Paying significant amounts of money to the leaders and individuals
           associated with Front Groups;

      k. Donating to Front Groups to support talks or CMEs, that were typically
         presented over meals or at conferences;

      l.   Disseminating many of their false, misleading, imbalanced, and
           unsupported statements through unbranded materials that appeared to be
           independent publications from Front Groups;
      m. Sponsoring CME programs put on by Front Groups that focused
         exclusively on the use of opioids for chronic pain;
      n. Developing and disseminating pro-opioid treatment guidelines with the
         help of the KOLs as authors and promoters, and the help of the Front
         Groups as publishers, and supporters;

      o. Encouraging Front Groups to disseminate their pro-opioid messages to
         groups targeted by the RICO Marketing Defendants, such as veterans
         and the elderly, and then funded that distribution;
      p. Concealing their relationship to and control of Front Groups and KOLs
         from the Plaintiff and the public at large; and

      q. Intending that Front Groups and KOLs would distribute through the U.S.
         mail and interstate wire facilities, promotional and other materials that
         claimed opioids could be safely used for chronic pain.
      551. The Front Groups also participated in the conduct of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

      a. The Front Groups promised to, and did, make representations regarding
         opioids and the RICO Marketing Defendants’ drugs that were consistent
         with the RICO Marketing Defendants’ messages;
      b. The Front Groups distributed, through the U.S. Mail and interstate wire
         facilities, promotional and other materials which claimed that opioids
         could be safely used for chronic pain without addiction, and
         misrepresented the benefits of using opioids for chronic pain outweighed
         the risks;


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         c. The Front Groups echoed and amplified messages favorable to increased
            opioid use—and ultimately, the financial interests of the RICO
            Marketing Defendants;
         d. The Front Groups issued guidelines and policies minimizing the risk of
            opioid addiction and promoting opioids for chronic pain;
         e. The Front Groups strongly criticized the 2016 guidelines from the
            Center for Disease Control and Prevention (CDC) that recommended
            limits on opioid prescriptions for chronic pain; and

         f. The Front Groups concealed their connections to the KOLs and the
            RICO Marketing Defendants.

         552. The RICO Marketing Defendants’ Front Groups, “with their large

numbers and credibility with policymakers and the public—have ‘extensive

influence in specific disease areas.’” The RICO Marketing Defendants’ larger

Front Groups “likely have a substantial effect on policies relevant to their industry

sponsors.” 390 “By aligning medical culture with industry goals in this way, many

of the groups described in this report may have played a significant role in creating

the necessary conditions for the U.S. opioid epidemic.” 391

         553. The KOLs also participated, on information and belief, in the conduct

of the affairs of the Opioid Marketing Enterprise, directly or indirectly, in the

following ways:



390
    Fueling an Epidemic: Exposing the Financial Ties Between Opioid
Manufacturers and Third Party Advocacy Groups, U.S. Senate Homeland Security
& Governmental Affairs Committee, Ranking Members’ Office, February 12,
2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
391
    Id. at 2.
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      a. The KOLs promised to, and did, make representations regarding opioids
         and the RICO Marketing Defendants’ drugs that were consistent with the
         RICO Marketing Defendants’ messages themselves;
      b. The KOLs distributed, through the U.S. Mail and interstate wire
         facilities, promotional and other materials which claimed that opioids
         could be safely used for chronic pain without addiction, and
         misrepresented the benefits of using opioids for chronic pain outweighed
         the risks;
      c. The KOLs echoed and amplified messages favorable to increased opioid
         use—and ultimately, the financial interests of the RICO Marketing
         Defendants;
      d. The KOLs issued guidelines and policies minimizing the risk of opioid
         addiction and promoting opioids for chronic pain;
      e. The KOLs strongly criticized the 2016 guidelines from the Center for
         Disease Control and Prevention (CDC) that recommended limits on
         opioid prescriptions for chronic pain; and
      f. The KOLs concealed their connections to the Front Groups and the
         RICO Marketing Defendants, and their sponsorship by the RICO
         Marketing Defendants.
      554. The scheme devised and implemented by the RICO Marketing

Defendants and members of the Opioid Marketing Enterprise, amounted to a

common course of conduct intended to increase the RICO Marketing Defendants’

sales from prescription opioids by encouraging the prescribing and use of opioids

for long-term chronic pain. The scheme was a continuing course of conduct, and

many aspects of it continue through to the present.

              C. PATTERN OF RACKETEERING ACTIVITY
      555. The RICO Marketing Defendants conducted and participated in the

conduct of the Opioid Marketing Enterprise through a pattern of racketeering
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activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail

and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire

fraud).

      556. The RICO Marketing Defendants committed, conspired to commit,

and/or aided and abetted in the commission of at least two predicate acts of

racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343) within the

past ten years. The multiple acts of racketeering activity that the RICO Marketing

Defendants committed, or aided and abetted in the commission of, were related to

each other, posed a threat of continued racketeering activity, and therefore

constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Marketing Enterprise, the U.S.

Mail and interstate wire facilities. The RICO Marketing Defendants participated in

the scheme to defraud by using mail, telephones and the Internet to transmit

mailings and wires in interstate or foreign commerce.

      557. The pattern of racketeering activity described herein used by the RICO

Marketing Defendants and the Opioid Marketing Enterprise likely involved

thousands of separate instances of the use of the U.S. Mail or interstate wire

facilities in furtherance of the unlawful Opioid Marketing Enterprise, including

virtually uniform misrepresentations, concealments and material omissions


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regarding the beneficial uses and non-addictive qualities for the long-term

treatment of chronic, non-acute and non-cancer pain, with the goal of profiting

from increased sales of the RICO Marketing Defendants’ drugs induced by

consumers, prescribers, regulators and Plaintiff’s reliance on the RICO Marketing

Defendants’ misrepresentations.

      558. Each of these fraudulent mailings and interstate wire transmissions

constitutes racketeering activity and collectively, these violations constitute a

pattern of racketeering activity, through which the RICO Marketing Defendants,

the Front Groups and the KOLs defrauded and intended to defraud Pennsylvania

consumers, the State, and other intended victims.

      559. In devising and executing the illegal scheme, the RICO Marketing

Defendants devised and knowingly carried out a material scheme and/or artifice to

defraud by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts regarding the safe, non-addictive and

effective use of opioids for long-term chronic, non-acute and non-cancer pain. The

RICO Marketing Defendants and members of the Opioid Marketing Enterprise

knew that these representations violated the FDA approved uses for these drugs,

and were not supported by actual evidence. For the purpose of executing the

illegal scheme, the RICO Marketing Defendants intended that that their common

purpose and scheme to defraud would, and did, use the U.S. Mail and interstate


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wire facilities, intentionally and knowingly with the specific intent to advance their

illegal scheme.

      560. The RICO Marketing Defendants’ predicate acts of racketeering (18

U.S.C. § 1961(1)) include, but are not limited to:

      a. Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341
         by sending or receiving, or by causing to be sent and/or received,
         materials via U.S. mail or commercial interstate carriers for the purpose
         of executing the unlawful scheme to design, manufacture, market, and
         sell the prescription opioids by means of false pretenses,
         misrepresentations, promises, and omissions.

      b. Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343
         by transmitting and/or receiving, or by causing to be transmitted and/or
         received, materials by wire for the purpose of executing the unlawful
         scheme to design, manufacture, market, and sell the prescription opioids
         by means of false pretenses, misrepresentations, promises, and
         omissions.

      561. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, including

Pennsylvania consumers, prescribers, regulators and Plaintiff.           The RICO

Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to

ensure their own profits remained high.        In designing and implementing the

scheme, the RICO Marketing Defendants understood and intended that those in the

distribution chain rely on the integrity of the pharmaceutical companies and


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ostensibly neutral third parties to provide objective and scientific evidence

regarding the RICO Marketing Defendants’ products.

      562. By intentionally misrepresenting the risks and benefits of using opioids

for chronic pain, and then subsequently failing to disclose such practices to

Pennsylvania consumers, prescribers, regulators and Plaintiff, the RICO Marketing

Defendants, the Front Groups and the KOLs engaged in a fraudulent and unlawful

course of conduct constituting a pattern of racketeering activity.

      563. The racketeering activities conducted by the RICO Marketing

Defendants, Front Groups and KOLs amounted to a common course of conduct,

with a similar pattern and purpose, intended to deceive Pennsylvania consumers,

prescribers, regulators and Plaintiff. Each separate use of the U.S. Mail and/or

interstate wire facilities employed by the RICO Marketing Defendants was related,

had similar intended purposes, involved similar participants and methods of

execution, and had the same results affecting the same victims, including

Pennsylvania consumers, prescribers, regulators and Plaintiff.         The RICO

Marketing Defendants have engaged in the pattern of racketeering activity for the

purpose of conducting the ongoing business affairs of the Opioid Marketing

Enterprise.

      564. The RICO Marketing Defendants’ pattern of racketeering activity

alleged herein and the Opioid Marketing Enterprise are separate and distinct from


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each other.    Likewise, the RICO Marketing Defendants are distinct from the

Opioid Marketing Enterprise.

      565. The pattern of racketeering activity alleged herein is continuing as of

the date of this complaint, and, upon information and belief, will continue into the

future unless enjoined by this Court.

      566. Many of the precise dates of the Opioid Marketing Enterprise’s uses of

the U.S. Mail and interstate wire facilities (and corresponding predicate acts of

mail and wire fraud) have been hidden and cannot be alleged without access to the

books and records maintained by the RICO Marketing Defendants, Front Groups,

and KOLs. Indeed, an essential part of the successful operation of the Opioid

Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiff

has described the occasions on which the RICO Marketing Defendants, Front

Groups, and KOLs disseminated misrepresentations and false statements to

Pennsylvania consumers, prescribers, regulators and Plaintiff, and how those acts

were in furtherance of the scheme, and do so further below.

      567. The RICO Marketing Defendants’ use of the U.S. Mail and interstate

wire facilities to perpetrate the opioids marketing scheme involved thousands of

communications,      publications,      representations,   statements,    electronic

transmissions, payments, including, inter alia:

              a.   Marketing materials about opioids, and their risks and benefits,
                   which the RICO Marketing Defendants sent to health care
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               providers, transmitted through the internet and television,
               published, and transmitted to Front Groups and KOLs located
               across the country and the State;
         b.    Written representations and telephone calls between the RICO
               Marketing Defendants and Front Groups regarding the
               misrepresentations, marketing statements and claims about
               opioids, including the non-addictive, safe use for chronic long-
               term pain generally;
         c.    Written representations and telephone calls between the RICO
               Marketing      Defendants    and     KOLs       regarding    the
               misrepresentations, marketing statements and claims about
               opioids, including the non-addictive, safe use for chronic long-
               term pain generally;
         d.    E-mails, telephone and written communications between the
               RICO Marketing Defendants and the Front Groups agreeing to
               or implementing the opioids marketing scheme;
         e.    E-mails, telephone and written communications between the
               RICO Marketing Defendants and the KOLs agreeing to or
               implementing the opioids marketing scheme;
         f.    Communications between the RICO Marketing Defendants,
               Front Groups and the media regarding publication, drafting of
               treatment guidelines, and the dissemination of the same as part
               of the Opioid Marketing Enterprise;

         g.    Communications between the RICO Marketing Defendants,
               KOLs and the media regarding publication, drafting of
               treatment guidelines, and the dissemination of the same as part
               of the Opioid Marketing Enterprise;

         h.    Written and oral communications directed to State agencies,
               federal and state courts, and private insurers throughout the
               State that fraudulently misrepresented the risks and benefits of
               using opioids for chronic pain; and
         i.    Receipts of increased profits sent through the U.S. Mail and
               interstate wire facilities – the wrongful proceeds of the scheme.


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      568. In addition to the above-referenced predicate acts, it was foreseeable to

the RICO Marketing Defendants that the Front Groups and the KOLs would

distribute publications through the U.S. Mail and by interstate wire facilities, and,

in those publications, claim that the benefits of using opioids for chronic pain

outweighed the risks of doing so.

      569. The RICO Marketing Defendants aided and abetted others in the

violations of the above laws, thereby rendering them indictable as principals in the

18 U.S.C. §§ 1341 and 1343 offenses.

      570. To achieve the common goal and purpose of the Opioid Marketing

Enterprise, the RICO Marketing Defendants and members of the Opioid Marketing

Enterprise hid from the consumers, prescribers, regulators and Plaintiff: (1) the

fraudulent nature of the RICO Marketing Defendants’ marketing scheme; (2) the

fraudulent nature of statements made by the RICO Marketing Defendants and by

their KOLs, Front Groups and other third parties regarding the safety and efficacy

of prescription opioids; and (3) the true nature of the relationship between the

members of the Opioid Marketing Enterprise.

      571. The RICO Marketing Defendants, and each member of the Opioid

Marketing Enterprise agreed, with knowledge and intent, to the overall objective of

the RICO Marketing Defendants’ fraudulent scheme and participated in the




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common course of conduct to commit acts of fraud and indecency in marketing

prescription opioids.

      572. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to

work, each of the RICO Marketing Defendants had to agree to implement similar

tactics regarding fraudulent marketing of prescription opioids. This conclusion is

supported by the fact that the RICO Marketing Defendants each financed,

supported, and worked through the same KOLs and Front Groups, and often

collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

      573. As described herein, the RICO Marketing Defendants engaged in a

pattern of related and continuous predicate acts for years. The predicate acts

constituted a variety of unlawful activities, each conducted with the common

purpose of obtaining significant money and revenue from the marketing and sale of

their highly addictive and dangerous drugs. The predicate acts also had the same or

similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

      574. The RICO Marketing Defendants’ predicate acts all had the purpose of

creating the opioid epidemic that substantially injured Plaintiff’s business and

property, while simultaneously generating billion-dollar revenue and profits for the

RICO Marketing Defendants. The predicate acts were committed or caused to be


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committed by the RICO Marketing Defendants through their participation in the

Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.

      575. The RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity were a substantial and foreseeable cause of Plaintiff’s injury

and the relationship between the RICO Marketing Defendants’ conduct and

Plaintiff’s injury is logical and not speculative. It was foreseeable to the RICO

Marketing Defendants that when they fraudulently marketed highly-addictive and

dangerous drugs, that were approved for very limited and specific uses by the

FDA, as non-addictive and safe for off-label uses such as moderate pain, non-

cancer pain, and long-term chronic pain, that the RICO Marketing Defendants

would create an opioid-addiction epidemic that logically, substantially and

foreseeably harmed Plaintiff.

      576. The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court. The last racketeering incident occurred

within five years of the commission of a prior incident of racketeering.

   D. DAMAGES.

      1.       Impact of the Opioid Marketing Enterprise.
      577. Pennsylvania has been especially ravaged by the national opioid crisis.




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         578. Pennsylvania has consistently ranked as one of the top 10 states for

opioid overdose deaths, rising from ninth in 2013 to sixth in 2015, when

Pennsylvania recorded 3,264 opioid overdose deaths.392 Pennsylvania’s opioid

overdose death rate increased by 20 percent from 2014 to 2015, and another 37%

from 2015 to 2016, when Pennsylvania recorded 4,642 opioid overdose deaths. 393

         579. In 2015 more people in Pennsylvania died from drug overdoses than

from automobile accidents. 394

         580. Pennsylvania leads the nation in drug overdoses among men aged 12 to

25. Meanwhile, deaths of adults aged 55-64 increased seven-fold from 1999-2013

and deaths in women increased by 400 percent since 1999. 395 A 2013 survey of

Pennsylvania youth found that 6.8% of responding children in grades 6, 8, 10 and


392
    Commonwealth of Penn., Dept. of the Auditor Gen., Performance Audit Report:
Opioid Treatment Audits (July 2017),
http://www.paauditor.gov/Media/Default/Reports/speOpioidTreatmentAudits0713
17.pdf, at 103.
393
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf, at
394
    Amy Leap, “Pennsylvania opioid addition statistics are staggering,” Pocono
Record, September 23, 2106,
http://www.poconorecord.com/news/20160923/pennsylvania-opioid-addiction-
statistics-are-staggering.
395
    House Majority Policy Committee, Combatting Pennsylvania’s Opioid
Epidemic, October 2016,
http://www.pagoppolicy.com/Display/SiteFiles/112/OtherDocuments/Benninghoff
OpioidReport10-16.pdf.
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12 had used prescription narcotics in their lifetimes without a doctor’s order. Over

12 percent of 12th graders had used prescription narcotics without a doctor’s order

and 14.1 percent said they believed there was little to no risk in using these drugs

not prescribed to them. Over 24 percent thought it would be “sort of easy” or “very

easy” to obtain such drugs. 396

         581. Pennsylvania’s drug related overdose death rate was 36.5 per 100,000

people in 2016, an increase from 26.7 per 100,000 in 2015. This is much higher

than the national drug-overdose death rate of 16.3 per 100,000 in 2015. The

presence of an opioid was identified in 85 percent of those drug-related overdose

deaths in Pennsylvania in 2016. 397

         582. Ten people die every day in Pennsylvania from drug-related causes.

Ages of the deceased range from under 2 months to 94 years old. According to the

Pennsylvania State Coroners Association, most deaths are caused by multiple




396
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf
397
    Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at 5.
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prescriptions drugs either alone with the addition of heroin or, to a lesser degree,

cocaine. 398

         583. Data maintained by the Agency for Healthcare Research and Quality

for 2008 through 2014 document a continual increase in the annual rate of hospital




398
   Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf at 8.
                                         293
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inpatient stays per 100,000 population in Pennsylvania, which translates to just

under 200,000 opioid-related inpatient stays from 2008-2014:

         584. From 2002 to 2010, admissions for treatment of non-heroin opiate

abuse more than tripled at Pennsylvania’s publicly-funded substance abuse

treatment centers.399 In 2011, Pennsylvania’s publicly-funded substance abuse

treatment centers documented 6,512 admissions for patients who reported non-

heroin opiates as their primary substance of abuse, more than twelve times the

number of such admissions in 1995 400—the year Purdue began marketing

OxyContin.

         585. The costs to Pennsylvania are staggering. According to the most recent

data, Pennsylvania ranked eighth in total state expenditures with $874 million

spent on health care costs for opioid abuse (while the United States average was

$490 million or 56 percent of what Pennsylvania spent). 401 In the 2016-17 state

399
    See Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 2002-2012, State
Admissions to Substance Abuse Treatment Services 75 (2014),
https://www.samhsa.gov/data/sites/default/files/2002-2012_TEDS
_State/2002_2012_Treatment_Episode_Data_Set_State.pdf.
400
    Id.; Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 1995-2005, State
Admissions to Substance Abuse Treatment Services 75 (2007),
https://wwwdasis.samhsa.gov/dasis2/teds_pubs/2005_teds_rpt.pdf.
401
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf at 20.
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budget, over $20 million was specifically target to combat the effects of the opioid

epidemic. 402

         586. The opioid epidemic is particularly devastating in Kingston Borough.

         587. In Luzerne County, where Kingston is located, there were 283 drug

overdose deaths in 2017 - 2018.403

         588. This is not a new problem. There were 140 overdose deaths in 2016,

the seventh highest number in the State.404 This is an 89 percent increase from

2013. 405 There were 95 overdose deaths in 2015 406 and 73 in 2014, the ninth

highest number in Pennsylvania that year. 407 In 2015, 30 percent of the overdose




402
    https://www.pa.gov/guides/opioid-epidemic/.
403
    Open Data PA, Pennsylvania Opioid Data Dashboard
https://data.pa.gov/Opioid-Related/Estimated-PA-Drug-Overdose-Deaths-by-
County-2017-2/apm5-9wfy
404
    Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at p. 79, Appendix figure 45.
405
    United States Department of Agriculture, 2018 Pennsylvania Opioid Task
Force, Important Maps, Map #4: Number of Overdose Deaths by County for 2016
and Percentage Increase of Overdose Deaths 2013-2016,
https://www.rd.usda.gov/files/PA_Opioids_Maps_Database_2018_Opt.pdf.
406
    Id. at Map #2, Number of Overdose Deaths by County for 2015 and Percentage
Increase of Overdose Deaths 2014-2015.
407
    Id. at Map #1, Number of Overdose Deaths by County for 2014 and Percentage
Increase of Overdose Deaths 2013-2014.
                                         295
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deaths involved prescription opioids.408 Another 40 percent involved illegal drugs

including heroin and acetyl fentanyl. 409

         589. The drug overdose death rate in Luzerne County was 43.6 deaths per

100,000 people in 2016.410

         590. In 2016, there were 3,084 Luzerne County residents covered by

Medicaid who had been diagnosed with Substance Abuse Disorder.411

         591. In 2016, there were 64 infants covered by Medicaid who were born

with Neonatal Abstinence Syndrome in Luzerne County. 412

         592. From November 2014 through June 2018, police in Luzerne County

reported 156 successful naloxone reversals. 413




408
    Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
at 93,
http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf
409
    Id.
410
    Analysis of Overdose Deaths in Pennsylvania 2016, supra, at 9.
411
    Open Data PA, Pennsylvania Opioid Data Dashboard,
https://data.pa.gov/stories/s/rhvk-9756.
412
    Open Data PA, Newborns born on Medical Assistance (MA) with Neonatal
Abstinence Syndrome (NAS), Year 2015-2016 Human Services,
https://data.pa.gov/Opioid-Related/Newborns-born-on-Medical-Assistance-MA-
with-Neonat/inm2-y7xa
413
    Id. at Successful Police Naloxone Reversals by County,
https://data.pa.gov/Opioid-Related/Successful-Naloxone-Reversals-by-Law-
Enforcement-Y/jeh5-c3pf
                                            296
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         593. From 2013 to March 2019, the Pennsylvania State Police had 712

seizures of opioids in Luzerne County. 414 During that same time, there were 549

opioid-related arrests in Luzerne County. 415

         594. The CDC has tracked prescription rates per county in the United States,

identifying the geographic “hotspots” for rates of opioid prescriptions. 416 The CDC

has calculated the geographic distribution at county levels of opioid prescriptions

dispensed per 100 persons, 417 revealing that Luzerne County has been a consistent

hotspot over the past few years.

         595. The CDC’s statistics prove that the opioid prescription rates in Luzerne

County have exceeded any legitimate medical, scientific, or industrial purpose.

Unfortunately, in Luzerne County, Pennsylvania, the opioid prescribing rates, as

reported by the CDC, are consistently above the national averages – which are

themselves too high. In 2017, compared to the national average of 58.7 opioid




414
    Open Data PA, Opioids Incidents by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Incidents-by-County-PSP-/p8w5-pvje.
415
    Id. at Opioid Arrests by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Arrests-by-County-PSP-/tpie-wrnx.
416
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
417
    Id.
                                          297
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prescriptions dispensed per 100 persons, 418 the County rate was 70.8 opioid

prescriptions per 100 persons. 419

         596. In 2016, compared to the national average of 66.5 opioid prescriptions

dispensed per 100 persons,420 the County rate was 85.7 opioid prescriptions per

100 persons. 421 Compared to the national average of 70.6 opioid prescriptions per

100 persons in 2015, 422 the County rate was even higher at 92.1. 423

         597. This is not an aberration. In 2014, compared to the national average of

75.6 prescriptions per 100 persons,424 the County rate was 98.8. 425

         598. Compared to the national average of 78.1 prescriptions per 100 persons

in 2013, 426 the Luzerne County rate was 101.5 opioid prescriptions per 100



418
    Id.
419
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2017, (reporting for “Luzerne County, PAM” here and below) available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2017.html
420
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
421
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2016, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html
422
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
423
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2015, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html
424
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
425
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2014, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html
                                         298
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persons. 427 In 2012, compared to the national average of 81.3 prescriptions per 100

persons, 428 the County rate was 102.6 prescriptions per 100 persons.429 Compared

to the national average of 80.9 prescriptions per 100 persons in 2011,430 the

Luzerne County rate was 98.7. 431 In 2010, compared to the national average of

81.2 prescriptions per 100 persons,432 the County rate was 100.3 prescriptions per

100 persons. 433 Compared to the national average of 79.5 prescriptions per 100

persons in 2009,434 the Luzerne County rate was 98.7.435

         599. The sheer volume of these dangerously addictive drugs was destined to

create the present crisis of addiction, abuse, and overdose deaths.

426
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
427
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2013, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html
428
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
429
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2012, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html
430
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
431
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2011, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html
432
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
433
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2010, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html
434
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
435
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2009, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html
                                         299
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         2.   Relief Sought.
         600. The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business

and property. The RICO Marketing Defendants’ pattern of racketeering activity

logically, substantially and foreseeably caused an opioid epidemic. Plaintiff’s

injuries, as described below, were not unexpected, unforeseen or independent.436

Rather, as Plaintiff alleges, the RICO Marketing Defendants knew that the opioids

were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain,

or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse.437 Nevertheless, the RICO Marketing Defendants

engaged in a scheme of deception, that utilized the mail and wires as part of their

fraud, in order to increase sales of their opioid products.

         601. It was foreseeable and expected that a massive marketing campaign

utilized by the RICO Marketing Defendants that misrepresented the non-addictive

and effective use of prescription opioids for purposes for which they are not suited

and not approved by the FDA would lead to a nationwide opioid epidemic. 438 It

was also foreseeable and expected that the RICO Marketing Defendants’



436
    Traveler's Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1042,
225 Cal. Rptr. 3d 5 (Ct. App. 2017).
437
    Id.
438
    Id.
                                          300
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marketing campaign would lead to increased opioid addiction and overdose.439

Plaintiff’s injuries were logically, foreseeable, and substantially caused by the

opioid epidemic that the RICO Marketing Defendants created.

            602. Specifically, the RICO Marketing Defendants’ predicate acts and

pattern of racketeering activity caused the opioid epidemic which has injured

Plaintiff in the form of substantial losses of money and property that logically,

directly and foreseeably arise from the opioid-addiction epidemic.            Plaintiff’s

injuries, as alleged throughout this complaint, and expressly incorporated herein by

reference, include:

                 a.    Losses caused by purchasing and/or paying reimbursements for
                       the RICO Marketing Defendants’ prescription opioids, that
                       Plaintiff would not have paid for or purchased but for the RICO
                       Marketing Defendants’ conduct;
                 b.    Losses caused by the decrease in funding available for
                       Plaintiff’s public services for which funding was lost because it
                       was diverted to other public services designed to address the
                       opioid epidemic;
                 c.    Costs for providing healthcare and medical care, additional
                       therapeutic, and prescription drug purchases, and other
                       treatments for patients suffering from opioid-related addiction
                       or disease, including overdoses and deaths;
                 d.    Costs of training emergency and/or first responders in the
                       proper treatment of drug overdoses;

                 e.    Costs associated with providing police officers, firefighters, and
                       emergency and/or first responders with Naloxone – an opioid


439
      Id.
                                            301
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               antagonist used to block the deadly effects of opioids in the
               context of overdose;

         f.    Costs associated with emergency responses by police officers,
               firefighters, and emergency and/or first responders to opioid
               overdoses;
         g.    Costs for providing mental-health services, treatment,
               counseling, rehabilitation services, and social services to
               victims of the opioid epidemic and their families;

         h.    Costs for providing services to infants born with opioid-related
               medical conditions, or born addicted to opioids due to drug use
               by mother during pregnancy;
         i.    Costs associated with law enforcement and public safety
               relating to the opioid epidemic, including but not limited to
               attempts to stop the flow of opioids into local communities, to
               arrest and prosecute street-level dealers, to prevent the current
               opioid epidemic from spreading and worsening, and to deal
               with the increased levels of crimes that have directly resulted
               from the increased homeless and drug-addicted population;

         j.    Costs associated with increased burden on Plaintiff’s judicial
               system, including increased security, increased staff, and the
               increased cost of adjudicating criminal matters due to the
               increase in crime directly resulting from opioid addiction;

         k.    Costs associated with providing care for children whose parents
               suffer from opioid-related disability or incapacitation;

         l.    Loss of tax revenue due to the decreased efficiency and size of
               the working population in Plaintiff’s Community;

         m.    Losses caused by diminished property values in neighborhoods
               where the opioid epidemic has taken root; and

         n.    Losses caused by diminished property values in the form of
               decreased business investment and tax revenue.




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      603. Plaintiff’s injuries were proximately caused by the RICO Marketing

Defendants’ racketeering activities because they were the logical, substantial and

foreseeable cause of Plaintiff’s injuries. But for the opioid-addiction epidemic

created by the RICO Marketing Defendants’ conduct, Plaintiff would not have lost

money or property.

      604. Plaintiff’s injuries were directly caused by the RICO Marketing

Defendants’ pattern of racketeering activities.

      605. Plaintiff is the most directly harmed entity and there is no other

Plaintiff better suited to seek a remedy for the economic harms at issue here.

      606. Plaintiff seeks all legal and equitable relief as allowed by law,

including, inter alia, actual damages, treble damages, equitable relief, forfeiture as

deemed proper by the Court, attorney’s fees and all costs and expenses of suit and

pre- and post-judgment interest.

                              COUNT III
 RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                         18 U.S.C. 1961, et seq.
   (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
             McKesson, Cardinal, and AmerisourceBergen)
                  (The “Opioid Diversion Enterprise”)
      607. Plaintiff hereby incorporates by reference all other paragraphs of this

Complaint as if fully set forth herein, and further alleges as follows.

      608. Plaintiff brings this Claim against the following Defendants, as defined

above: Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the “Manufacturer

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Defendants”), McKesson, Cardinal, and AmerisourceBergen (the “Distributor

Defendants”) (collectively, for purposes of this Claim, the “RICO Diversion

Defendants”).

         609. The RICO Diversion Defendants conducted and continue to conduct

their business through legitimate and illegitimate means in the form of an

association-in-fact enterprise and/or a legal entity enterprise as defined in 18

U.S.C. § 1961(4). Alternatively, the RICO Diversion Defendants were members

of a legal entity enterprise within the meaning of 18 U.S.C. § 1961(4).

Specifically, each of the RICO Diversion Defendants was a member of the

Healthcare Distribution Alliance (the “HDA”) 440 which is a distinct legal entity

that satisfies the definition of a RICO enterprise because it is a non-profit

corporation and, therefore, and “enterprise” within the definition set out in 18

U.S.C. § 1961(4).       On information and belief, each of the RICO Diversion

Defendants is a member, participant, and/or sponsor of the HDA and utilized the

HDA to conduct the Opioid Diversion Enterprise and to engage in the pattern of

racketeering activity that gives rise to this cause of action.       The legal and

association-in-fact enterprises alleged in the previous and subsequent paragraphs




440
   Health Distribution Alliance, History, Health Distribution Alliance, (last
accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.
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are pleaded in the alternative and are collectively referred to as the “Opioid

Diversion Enterprise.”

      610. For over a decade, the RICO Diversion Defendants aggressively sought

to bolster their revenue, increase profit, and grow their share of the prescription

painkiller market by unlawfully and surreptitiously increasing the volume of

opioids they sold. However, the RICO Diversion Defendants are not permitted to

engage in a limitless expansion of their sales through the unlawful sales of

regulated painkillers. As “registrants” under the Controlled Substances Act, 21

U.S.C. § 821, et seq. (the “CSA”), the RICO Diversion Defendants operated and

continue to operate within a “closed-system.”       The CSA restricts the RICO

Diversion Defendants’ ability to manufacture or distribute Schedule II substances

like opioids by: (1) requiring them to make sales within a limited quota set by the

DEA for the overall production of Schedule II substances like opioids; (2) register

to manufacture or distribute opioids; (3) maintain effective controls against

diversion of the controlled substances that they manufacturer or distribute; and (4)

design and operate a system to identify suspicious orders of controlled substances,

halt such unlawful sales, and report them to the DEA.

      611. The closed-system created by the CSA, and the establishment of

quotas, was specifically intended to reduce or eliminate the diversion of Schedule

II substances like opioids from “legitimate channels of trade” to the illicit market


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by controlling the “quantities of the basic ingredients needed for the manufacture

of [controlled substances].” 441

         612. Finding it impossible to legally achieve their ever-increasing sales

ambitions, members of the Opioid Diversion Enterprise (defined below) engaged

in the common purpose of fraudulently increasing the quotas that governed the

manufacture and distribution of their prescription opioids. The RICO Diversion

Defendants formed and pursued their common purpose through the many personal

interactions that they had, confidentially, in organizations like the Pain Care Forum

and the Healthcare Distribution Alliance.

         613. The RICO Diversion Defendants’ common purpose and fraudulent

scheme to unlawfully increase the DEA quotas violated the RICO Act in two ways.

First, the RICO Diversion Defendants violated the RICO Act because they

engaged in the felonious manufacture, buying selling, or otherwise dealing in

controlled substances that are punishable by law in the United States. Specifically,

the RICO Diversion Defendants “furnish[ed] false or fraudulent material

information in, or omit[ted] material information from, applications, reports,

records, and other documents required to be made, kept, and filed under 21 U.S.C.


441
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi
before the Caucus on International Narcotics Control, United States Senate, May 5,
2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.
pdf.
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§§ 801, et seq.”, in violation of 21 U.S.C. § 843(b), which is a felony. Second, the

RICO Diversion Defendants violated the RICO Act by engaging in mail and wire

fraud. The RICO Diversion Defendants common purpose and fraudulent scheme

was intended to, and did, utilize interstate mail and wire facilities for the

commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343

(wire fraud).

      614. The RICO Diversion Defendants’ fraudulent scheme arises at the

intersection between the quotas governing the RICO Diversion Defendants’

prescription opioids and the RICO Diversion Defendants’ duty to identify, report,

and halt suspicious orders of controlled substances.        The RICO Diversion

Defendants’ formed an enterprise with the intent to fraudulently increase the

quotas for prescription opioids by refusing to identify, report and halt suspicious

orders, thereby omitting both the fact and the RICO Diversion Defendants’

knowledge of widespread diversion of prescription opioids into illegitimate

channels.

      615. The RICO Diversion Defendants engaged in systematic and fraudulent

acts as part of the Opioid Diversion Enterprise, that furnished false or fraudulent

material information in, and omitted material information from their applications,

reports, records and other documents that the RICO Diversion Defendants were

required to make, keep and/or file. Furthermore, the RICO Diversion Defendants


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engaged in systematic and fraudulent acts as part of the Opioid Diversion

Enterprise that were intended to and actually did utilize the mail and wire facilities

of the United States and Pennsylvania, including refusing to maintain effective

controls against diversion of their drugs, to design and operate a system to identify

suspicious orders of their drugs, to halt unlawful sales of suspicious orders, and to

notify the DEA of suspicious orders. 442

         616. Through the RICO Diversion Defendants’ scheme, members of the

Opioid Diversion Enterprise repeatedly requested increases of the quotas

governing the manufacture, sale and distribution of prescription opioids,

misrepresented that they were complying with their duties under the CSA,

furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged

in unlawful sales of painkillers that resulted in diversion of controlled substances

through suspicious orders, and refused to identify or report suspicious orders of

controlled substances sales to the DEA. 443 Defendants’ refusal to report suspicious

orders resulted in artificial and illegal increases in the annual production quotas for

opioids allowed by the DEA. The end result of the RICO Diversion Defendants’

fraudulent scheme and common purpose was continually increasing quotas that

generated obscene profits and, in turn, fueled an opioid epidemic.
442
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
443
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.
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      617. The RICO Diversion Defendants’ illegal scheme was hatched by an

enterprise between the Manufacturer Defendants and the Distributor Defendants,

and executed in perfect harmony by each of them. In particular, each of the RICO

Diversion Defendants were associated with, and conducted or participated in, the

affairs of the Opioid Diversion Enterprise, whose common purpose was

fraudulently increasing the quotas governing the manufacture and sale of

prescription opioids.

      618. The success of the RICO Diversion Defendants’ scheme allowed them

to unlawfully increase and/or maintain high production quotas and, as a direct

result, allowed them to make billions from the unlawful sale and diversion of

opioids.

      619. Simultaneously, the opioid epidemic created by the RICO Diversion

Defendants’ actions caused Plaintiff’s multi-million dollar injuries.    Plaintiff’s

injuries were and are a reasonably foreseeable consequence of the prescription

opioid addiction epidemic that the RICO Diversion Defendants created by

fraudulently increasing quotas, misrepresenting their compliance with their duties

under the CSA, and allowing the widespread diversion of legally produced

prescription opioids into the illicit market. As explained in detail below, the RICO

Diversion Defendants’ misconduct violated Section 1962(c) and Plaintiff is entitled

to treble damages for their injuries under 18 U.S.C. § 1964(c).


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         A.   THE OPIOID DIVERSION ENTERPRISE.
         620. Recognizing that there is a need for greater scrutiny over controlled

substances due to their potential for abuse and danger to public health and safety,

the United States Congress enacted the Controlled Substances Act in 1970.444 The

CSA and its implementing regulations created a closed-system of distribution for

all controlled substances and listed chemicals.445 Congress specifically designed

the closed chain of distribution to prevent the diversion of legally produced

controlled substances into the illicit market. 446 Congress was concerned with the

diversion of drugs out of legitimate channels of distribution and acted to halt the

“widespread diversion of [controlled substances] out of legitimate channels into

the illegal market.” 447 Moreover, the closed-system was specifically designed to

ensure that there are multiple ways of identifying and preventing diversion through




444
    Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr.,
Attorney General, D.D.C. Case No. 12-cv-185 (Document 14-2 February 10,
2012).
445
    See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
446
    Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§
821-824, 827, 880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept.
10, 1970).
447
    See Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.
pdf.
                                         310
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active participation by registrants within the drug delivery chain. 448 All registrants

-- manufacturers and distributors alike -- must adhere to the specific security,

recordkeeping, monitoring and reporting requirements that are designed to identify

or prevent diversion. 449     When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. 450        The result is the

scourge of addiction that has occurred.

         621. Central to the closed-system created by the CSA was the directive that

the DEA determine quotas of each basic class of Schedule I and II controlled

substances each year. The quota system was intended to reduce or eliminate

diversion from “legitimate channels of trade” by controlling the “quantities of the

basic ingredients needed for the manufacture of [controlled substances], and the




448
    See Statement of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control United States Senate, July 18, 2012,
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18
/12/07-18-12-dea-rannazzisi.pdf.
449
    Id.
450
    Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr.,
Attorney General, D.D.C. Case No. 12-cv-185 (Document 14-2 February 10,
2012).
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requirement of order forms for all transfers of these drugs.” 451 When evaluating

production quotas, the DEA was instructed to consider the following information:

               a.    Information provided by the Department of Health and Human
                     Services;
               b.    Total net disposal of the basic class by all manufacturers;

               c.    Trends in the national rate of disposal of the basic class;

               d.    An applicant’s production cycle and current inventory position;
               e.    Total actual or estimated inventories of the class and of all
                     substances manufactured from the class and trends in inventory
                     accumulation; and

               f.    Other factors such as: changes in the currently accepted medical
                     use of substances manufactured for a basic class; the economic
                     and physical availability of raw materials; yield and
                     sustainability issues; potential disruptions to production; and
                     unforeseen emergencies.452

         622. It is unlawful for a registrant to manufacture a controlled substance in

Schedule II, like prescription opioids, that is (1) not expressly authorized by its




451
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi
before the Caucus on International Narcotics Control, United States Senate, May 5,
2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.
pdf.
452
    See Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United State Senate, May 5, 2015,
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.
pdf.
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registration and by a quota assigned to it by DEA, or (2) in excess of a quota

assigned to it by the DEA. 453

         623. At all relevant times, the RICO Diversion Defendants operated as an

association-in-fact enterprise formed for the purpose of unlawfully increasing

sales, revenues and profits by fraudulently increasing the quotas set by the DEA

that would allow them to collectively benefit from a greater pool of prescription

opioids to manufacture and distribute. In support of this common purpose and

fraudulent scheme, the RICO Diversion Defendants jointly agreed to disregard

their statutory duties to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market so that those orders

would not result in a decrease, or prevent an increase in, the necessary quotas. The

RICO Diversion Defendants conducted their pattern of racketeering activity in this

jurisdiction and throughout the United States through this enterprise.

         624. The opioid epidemic has its origins in the mid-1990s when, between

1997 and 2007, per capita purchase of methadone, hydrocodone, and oxycodone

increased 13-fold, 4-fold, and 9-fold, respectively. By 2010, enough prescription

opioids were sold in the United States to medicate every adult in the country with a




453
      Id. (citing 21 U.S.C. 842(b)).
                                         313
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dose of 5 milligrams of hydrocodone every 4 hours for 1 month. 454 On information

and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

decade.455

         625. The Opioid Diversion Enterprise was and is a shockingly successful

endeavor. The Opioid Diversion Enterprise has been conducting business

uninterrupted since its genesis. However, it was not until recently that federal and

state regulators finally began to unravel the extent of the enterprise and the toll that

it exacted on the American public.

         626. At all relevant times, the Opioid Diversion Enterprise: (a) had an

existence separate and distinct from each RICO Diversion Defendant; (b) was

separate and distinct from the pattern of racketeering in which the RICO Diversion

Defendants engaged; (c) was an ongoing and continuing organization consisting of

legal entities, including each of the RICO Diversion Defendants; (d) was

characterized by interpersonal relationships among the RICO Diversion

Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose;

and (f) functioned as a continuing unit. Each member of the Opioid Diversion
454
    Katherine Keyes et al., Understanding the Rural-urban Differences in
Nonmedical Prescription Opioid Use an Abuse in the United States, Am. J. of Pub.
Health: Promoting Public Health Research, Policy, Practice and Education, v.
104(2), Feb. 2014, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3935688/.
455
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug
epidemic, The Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic.
                                          314
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Enterprise participated in the conduct of the enterprise, including patterns of

racketeering activity, and shared in the astounding growth of profits supplied by

fraudulently inflating opioid quotas and resulting sales.

         627. The Opioid Diversion Enterprise also engaged in efforts to constrain

the DEA’s authority to hold the RICO Diversion Defendants liable for disregarding

their duty to prevent diversion. Members of the Pain Care Forum (described in

greater detail below) and the Healthcare Distribution Alliance lobbied for the

passage of legislation to weaken the DEA’s enforcement authority. To this end, the

Ensuring Patient Access and Effective Drug Enforcement Act significantly reduced

the DEA’s ability to issue orders to show cause and to suspend and/or revoke

registrations.456 The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state
456
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical
Commerce, (June 13, 2016, updated July 6, 2016),
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-
distribution-alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA
Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post,
Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-
7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham,
Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV
Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-
in-wv-amid-flood-of-pain-pills-.
                                         315
   Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 322 of 384. PageID #: 322




candidates, political action committees and political parties. Upon information and

belief, the Pain Care Forum and its members and HDA, poured millions into such

efforts.

       628. The RICO Diversion Defendants, through their illegal enterprise,

engaged in a pattern of racketeering activity that involves a fraudulent scheme to

profit from the unlawful sale of prescription opioids by increasing the quotas

governing the manufacture and sale of these controlled substances. In order to

achieve that goal, the RICO Diversion Defendants knowingly allowed suspicious

orders of controlled substances to occur unhindered while millions of opioid doses

were diverted into illegal markets. The end result of this strategy was exactly as

the RICO Diversion Defendants intended – artificially increased quotas for the

manufacture and distribution of opioids, all of which resulted in a National opioid

epidemic.

       629. The Opioid Diversion Enterprise engaged in, and its activities affected,

interstate and foreign commerce because the enterprise involved commercial

activities across states lines, such as manufacture, sale, distribution, and shipment

of prescription opioids throughout the United States, and the corresponding

payment and/or receipt of money from such interstate sales.

       630. Within the Opioid Diversion Enterprise, there were interpersonal

relationships and common communication by which the RICO Diversion


                                        316
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Defendants shared information on a regular basis.                   These interpersonal

relationships also formed the organization of the Opioid Diversion Enterprise. The

Opioid    Diversion    Enterprise   used    their   interpersonal    relationships   and

communication network for the purpose of conducting the enterprise through a

pattern of racketeering activity.

      631. Each of the RICO Diversion Defendants had systematic links to each

other through joint participation in trade industry organizations, contractual

relationships and continuing coordination of activities. The RICO Diversion

Defendants participated in the operation and management of the Opioid Diversion

Enterprise by directing its affairs, as described herein. While the RICO Diversion

Defendants participated in, and are members of, the enterprise, they each have a

separate existence from the enterprise, including distinct legal statuses, different

offices and roles, bank accounts, officers, directors, employees, individual

personhood, reporting requirements, and financial statements.

      632. The RICO Diversion Defendants exerted substantial control over the

Opioid Diversion Enterprise through their membership in the Pain Care Forum, the

HDA, and through their contractual relationships.

      633. The Pain Care Forum (“PCF”) has been described as a coalition of drug

makers, trade groups and dozens of non-profit organizations supported by industry

funding. The PCF recently became a national news story when it was discovered


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that lobbyists for members of the PCF quietly shaped federal and state policies

regarding the use of prescription opioids for more than a decade.

         634. The Center for Public Integrity and The Associated Press obtained

“internal documents shed[ding] new light on how drug makers and their allies

shaped the national response to the ongoing wave of prescription opioid abuse.”457

Specifically, PCF members spent over $740 million lobbying in the nation’s

capital and in all 50 statehouses on an array of issues, including opioid-related

measures. 458

         635. Not surprisingly, each of the RICO Diversion Defendants who stood to

profit from expanded prescription opioid use is a member of and/or participant in

the PCF.459 In 2012, membership and participating organizations included the

HDA (of which all RICO Defendants are members), Endo, Purdue, Actavis (i.e.,

Allergan), and Teva (the parent company of Cephalon).460             Each of the

Manufacturer Defendants worked together through the PCF to advance the


457
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug
epidemic, The Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic (emphasis added).
458
    Id.
459
    PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-
Meetings-Schedule-amp.pdf
460
    Id. Upon information and belief, Mallinckrodt became an active member of the
PCF sometime after 2012.
                                         318
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interests of the enterprise. But, the Manufacturer Defendants were not alone. The

Distributor Defendants actively participated, and continue to participate in the

PCF, at a minimum, through their trade organization, the HDA. 461             Upon

information and belief, the Distributor Defendants participated directly in the PCF

as well.

         636. Additionally, the HDA -- or Healthcare Distribution Alliance -- led to

the formation of interpersonal relationships and an organization between the RICO

Diversion Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the

Manufacturer Defendants named in the Complaint, including Actavis (i.e.,

Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the

HDA. 462 Additionally, the HDA and each of the Distributor Defendants, eagerly

sought the active membership and participation of the Manufacturer Defendants by




461
    Id. The Executive Committee of the HDA (formerly the HDMA) currently
includes the Chief Executive Officer, Pharmaceutical Segment for Cardinal Health,
Inc., the Group President, Pharmaceutical Distribution and Strategic Global Source
for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for
McKesson Corporation. Executive Committee, Healthcare Distribution Alliance
(last accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.
462
    Manufacturer Membership, Healthcare Distribution Alliance, (last accessed on
September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
                                         319
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advocating for the many benefits of members, including “strengthening . . .

alliances.”463

         637. Beyond strengthening alliances, the benefits of HDA membership

included the ability to, among other things, “network one on one with

manufacturer executives at HDA’s members-only Business and Leadership

Conference,”      “networking   with   HDA     wholesale   distributor   members,”

“opportunities to host and sponsor HDA Board of Directors events,” “participate

on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.” 464     Clearly, the HDA and the Distributor

Defendants believed that membership in the HDA was an opportunity to create

interpersonal and ongoing organizational relationships and “alliances” between the

Manufacturer Defendants and the Distributors Defendants.

         638. The application for manufacturer membership in the HDA further

indicates the level of connection between the RICO Diversion Defendants and the

level of insight that they had into each other’s businesses.465   For example, the

463
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (last
accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-
membership-benefits.ashx?la=en.
464
    Id.
465
    Manufacturer Membership Application, Healthcare Distribution Alliance, (last
accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-
membership-application.ashx?la=en.
                                         320
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manufacturer membership application must be signed by a “senior company

executive,” and it requests that the manufacturer applicant identify a key contact

and any additional contacts from within its company.

      639. The HDA application also requests that the manufacturer identify its

current distribution information, including the facility name and contact

information.

      640. And, manufacturer members were asked to identify their “most recent

year end net sales” through wholesale distributors, including the Distributor

Defendants AmerisourceBergen, Cardinal Health, and McKesson and their

subsidiaries.

      641. The closed meetings of the HDA’s councils, committees, task forces

and working groups provided the Manufacturer and Distributor Defendants with

the opportunity to work closely together, confidentially, to develop and further the

common purpose and interests of the enterprise.

      642. The HDA also offers a multitude of conferences, including annual

business and leadership conferences. The HDA and the Distributor Defendants

advertise these conferences to the Manufacturer Defendants as an opportunity to

“bring together high-level executives, thought leaders and influential managers . . .




                                        321
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to hold strategic business discussions on the most pressing industry issues.” 466 The

conferences also gave the Manufacturer and Distributor Defendants “unmatched

opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.” 467 The HDA and its conferences were significant

opportunities for the Manufacturer and Distributor Defendants to interact at a high-

level of leadership. It is clear that the Manufacturer Defendants embraced this

opportunity by attending and sponsoring these events. 468

         643. Third, the RICO Diversion Defendants maintained their interpersonal

relationships by working together, through contractual chargeback arrangements,

to exchange sales information and drive the unlawful sales of their opioids. To this

end, the Manufacturer Defendants engaged in an industry-wide practice of paying

rebates to the Distributor Defendants for sales of prescription opioids. 469


466
    Business and Leadership Conference – Information for Manufacturers,
Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-
leadership-conference/blc-for-manufacturers (last accessed on September 14,
2017).
467
    Id.
468
    2015 Distribution Management Conference and Expo, Healthcare Distribution
Alliance, https://www.healthcaredistribution.org/events/2015-distribution-
management-conference (last accessed on September 14, 2017).
469
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid
manufacturers accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire
McCaskill, (July 27, 2017),
                                         322
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             644. For example, the Washington Post reported that “[o]n Aug. 23, 2011,

DEA supervisors met with Mallinckrodt executives at the agency’s headquarters in

Arlington, Va., the day a rare 5.8-magnitude earthquake hit the Washington region.

People involved in the case still call the gathering ‘the earthquake meeting.’ DEA

officials showed the company the remarkable amounts of its oxycodone going to

distributors and the number of arrests being made for oxycodone possession and

distribution on the street, according to one participant in the meeting who also

spoke on the condition of anonymity because the case is pending.” 470

             645. “Three weeks after the Aug. 23 meeting, Mallinckrodt notified 43 of its

distributors that they would no longer receive rebates from the company if they

continued to supply certain pharmacies whose orders appeared to be suspicious.” 471

             646. “On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt,

demanding documents related to its suspicious-order-monitoring program,

according to the company’s filings with the Securities and Exchange Commission.

The subpoena brought a windfall of information. The DEA gained access to data


https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-
letter-manufacturers.png; Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-
letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets,
Purdue Pharma, (last accessed on September 14, 2017),
http://www.purduepharma.com/payers/managed-markets/.
470
      Id.
471
       Id.
                                             323
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from Mallinckrodt’s rebate or ‘chargeback’ program, an industry-wide practice

that provides reimbursements to wholesale distributors. That information and other

records showed where Mallinckrodt’s oxycodone was going — from the company

to its network of distributors to retailers down the chain.” 472

         647. In addition, the Distributor Defendants and Manufacturer Defendants

participated, through the HDA, in webinars and other meetings designed to

exchange detailed information regarding their prescription opioid sales, including

purchase orders, acknowledgements, ship notices, and invoices. 473 For example,

on April 27, 2011, the HDA offered a Webinar to “accurately and effectively

exchange business transactions between distributors and manufacturers…”:




472
  Id.
473
  Webinars, Healthcare Distribution Alliance, (last accessed on September 14,
2017), https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.
                                          324
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      648. On information and belief, the Manufacturer Defendants used this

information to gather high-level data regarding overall distribution and direct the

Distributor Defendants on how to most effectively sell the prescription opioids.

      649. And, through the HDA, Manufacturer Members were asked to identify

their “most recent year end net sales” through wholesale distributors, including the

Distributor Defendants as follows:




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      650. The contractual relationships among the RICO Diversion Defendants

also include vault security programs.    The RICO Diversion Defendants are

required to maintain certain security protocols and storage facilities for the

manufacture and distribution of their opiates. Upon information and belief, the

manufacturers negotiated agreements whereby the manufacturers installed security

vaults for distributors in exchange for agreements to maintain minimum sales

performance thresholds. Upon information and belief, these agreements were used



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by the RICO Diversion Defendants as a tool to violate their reporting and diversion

duties in order to reach the required sales requirements.

         651. Taken together, the interaction and length of the relationships between

and among the Manufacturer and Distributor Defendants reflects a deep level of

interaction and cooperation between two groups in a tightly knit industry. The

Manufacturer and Distributor Defendants were not two separate groups operating

in isolation or two groups forced to work together in a closed system. The RICO

Diversion Defendants operated together as a united entity, working together on

multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA

and the Pain Care Forum are but two examples of the overlapping relationships,

and concerted joint efforts to accomplish common goals and demonstrates that the

leaders of each of the RICO Diversion Defendants were in communication and

cooperation.

         652. Alternatively, the RICO Diversion Defendants were members of a legal

entity enterprise within the meaning of 18 U.S.C. § 1961(4), through which the

RICO Diversion Defendants conducted their pattern of racketeering activity in this

jurisdiction and throughout the United States. As alleged, the Healthcare

Distribution Alliance (the “HDA”) 474 is a distinct legal entity that satisfies the

474
   Health Distribution Alliance, History, Health Distribution Alliance, (last
accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

                                         327
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definition of a RICO enterprise because it is a corporation formed under the laws

of the District of Columbia, doing business in Virginia. As such, the HDA qualifies

as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4).

      653. On information and belief, each of the RICO Diversion Defendants is a

member, participant, and/or sponsor of the HDA, and has been since at least 2006,

and utilized the HDA to conduct the Opioid Diversion Enterprise and to engage in

the pattern of racketeering activity that gives rise to the Count.

      654. Each of the RICO Diversion Defendants is a legal entity separate and

distinct from the HDA. Additionally, the HDA serves the interests of distributors

and manufacturers beyond the RICO Diversion Defendants. Therefore, the HDA

exists separately from the Opioid Diversion Enterprise, and each of the RICO

Diversion Defendants exists separately from the HDA. Therefore, the HDA may

serve as a RICO enterprise.

      B.      CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.
      655. During the time period alleged in this Complaint, the RICO Diversion

Defendants exerted control over, conducted and/or participated in the Opioid

Diversion Enterprise by fraudulently claiming that they were complying with their

duties under the CSA to identify, investigate and report suspicious orders of

opioids in order to prevent diversion of those highly addictive substances into the




                                          328
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illicit market, and to halt such unlawful sales, so as to increase production quotas

and generate unlawful profits, as follows:

      656. The RICO Diversion Defendants disseminated false and misleading

statements to state and federal regulators claiming that (1) the quotas for

prescription opioids should be increased, (2) they were complying with their

obligations to maintain effective controls against diversion of their prescription

opioids, (3) they were complying with their obligations to design and operate a

system to disclose to the registrant suspicious orders of their prescription opioids,

(4) they were complying with their obligation to notify the DEA of any suspicious

orders or diversion of their prescription opioids and (5) they did not have the

capability to identify suspicious orders of controlled substances despite their

possession of national, regional, state, and local prescriber- and patient-level data

that allowed them to track prescribing patterns over time, which the RICO

Diversion Defendants obtained from data companies, including but not limited to:

IMS Health, QuintilesIMS, Iqvia, Pharmaceutical Data Services, Source

Healthcare Analytics, NDS Health Information Services, Verispan, Quintiles, SDI

Health, ArcLight, Scriptline, Wolters Kluwer, and/or PRA Health Science, and all

of their predecessors or successors in interest (the “Data Vendors”).

      657. The RICO Diversion Defendants applied political and other pressure on

the DOJ and DEA to halt prosecutions for failure to report suspicious orders of


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prescription opioids and lobbied Congress to strip the DEA of its ability to

immediately suspend registrations pending investigation by passing the “Ensuring

Patient Access and Effective Drug Enforcement Act.”475

         658. The Distributor Defendants developed “know your customer”

questionnaires and files. This information, compiled pursuant to comments from

the DEA in 2006 and 2007 was intended to help the RICO Diversion Defendants

identify suspicious orders or customers who were likely to divert prescription

opioids.476 On information and belief, the “know your customer” questionnaires

475
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical
Commerce, (June 13, 2016, updated July 6, 2016),
http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-
distribution-alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA
Slowed Enforcement While the Opioid Epidemic Grew Out of Control, Wash. Post,
Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-
7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham,
Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV
Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-
in-wv-amid-flood-of-pain-pills-.
476
    Suggested Questions a Distributor should ask prior to shipping controlled
substances, Drug Enforcement Administration,
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques
.pdf; Richard Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production
Diversion: Beyond the PDMA, Purdue Pharma and McGuireWoods LLC,
https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.
                                         330
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informed the RICO Diversion Defendants of the number of pills that the

pharmacies sold, how many non-controlled substances are sold compared to

controlled substances, whether the pharmacy buys from other distributors, the

types of medical providers in the area, including pain clinics, general practitioners,

hospice facilities, cancer treatment facilities, among others, and these

questionnaires put the recipients on notice of suspicious orders.

         659. The RICO Diversion Defendants purchased nationwide, regional, state,

and local prescriber- and patient-level data from the Data Vendors that allowed

them to track prescribing trends, identify suspicious orders, identify patients who

were doctor shopping, identify pill mills, etc. The Data Vendors’ information

purchased by the RICO Diversion Defendants allowed them to view, analyze,

compute, and track their competitors’ sales, and to compare and analyze market

share information. 477

         660. IMS, for example, provided the RICO Diversion Defendants with

reports detailing prescriber behavior and the number of prescriptions written

between competing products. 478



477
    A Verispan representative testified that the RICO Defendants use the
prescribing information to “drive market share.” Sorrell v. IMS Health Inc., 2011
WL 661712, *9-10 (Feb. 22, 2011).
478
    Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned
a Mountain of Data into a Few Information-rich Molehills, (last accessed on
February 15, 2018),
                                         331
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      661. Similarly, Wolters Kluwer, an entity that eventually owned data mining

companies that were created by McKesson (Source) and Cardinal Health

(ArcLight), provided the RICO Diversion Defendants with charts analyzing the

weekly prescribing patterns of multiple physicians, organized by territory,

regarding competing drugs, and analyzed the market share of those drugs.479




http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&typ
e=pdf, Figure 2 at p.3.
479
    Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).
                                       332
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         662. This information allowed the RICO Diversion Defendants to track and

identify instances of overprescribing. 480 In fact, one of the Data Venders’ experts

testified that a manufacturer of “narcotic analgesics” used the Data Venders’



480
    See Sorrell v. IMS Health Inc., 2011 WL 1449043, *37-38 (March 24, 2011)
(arguing that data had been used to “identify overuse of antibiotics in children,”
and “whether there is a wide use of anthrax prophylactic medicines after the scares
happened in 2001.”). The Data Vender Respondents also cited evidence from the
trial court proving that “because analysis of PI data makes it possible to ‘identify
overuse of a pharmaceutical in specific conditions, the government employs the
data to monitor usage of controlled substances.” Id.
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information to track, identify, report and halt suspicious orders of controlled

substances.481




         663. The RICO Diversion Defendants were, therefore, collectively aware of

the suspicious orders that flowed daily from their manufacturing and distribution

facilities.

         664. The RICO Diversion Defendants refused to identify, investigate and

report suspicious orders to the DEA when they became aware of the same despite

their actual knowledge of drug diversion rings. The RICO Diversion Defendants

refused to identify suspicious orders and diverted drugs despite the DEA issuing

481
   Id. at *38. Eugene “Mick” Kolassa testified as an expert on behalf of the Data
Vender stating that "a firm that sells narcotic analgesics was able to use prescriber-
identifiable information to identify physicians that seemed to be prescribing an
inordinately high number of prescriptions for their product.” Id.; see also Joint
Appendix in Sorrell v. IMS Health, 2011 WL 687134, at *204 (Feb. 22, 2011).
                                         335
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final decisions against the Distributor Defendants in 178 registrant actions between

2008 and 2012 482 and 117 recommended decision in registrant actions from The

Office of Administrative Law Judges. These numbers include seventy-six (76)

actions involving orders to show cause and forty-one (41) actions involving

immediate suspension orders – all for failure to report suspicious orders. 483

         665. The RICO Diversion Defendants’ scheme had a decision-making

structure driven by the Manufacturer Defendants and corroborated by the

Distributor Defendants. The Manufacturer Defendants worked together to control

the state and federal government’s response to the manufacture and distribution of

prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion, and identify suspicious orders and

report them to the DEA.

         666. The RICO Diversion Defendants worked together to control the flow of

information and influence state and federal governments and political candidates to

pass legislation that was pro-opioid. The Manufacturer and Distributor Defendants

did this through their participation in the PCF and HDA.

         667. The RICO Diversion Defendants also worked together to ensure that

the Aggregate Production Quotas, Individual Quotas and Procurement Quotas
482
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of
Justice, The Drug Enforcement Administration’s Adjudication of Registrant
Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
483
    Id.
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allowed by the DEA remained artificially high and ensured that suspicious orders

were not reported to the DEA in order to ensure that the DEA had no basis for

refusing to increase or decrease production quotas due to diversion.

      668. The scheme devised and implemented by the RICO Diversion

Defendants amounted to a common course of conduct characterized by a refusal to

maintain effective controls against diversion, and all designed and operated to

ensure the continued unlawful sale of controlled substances.

      C.       PATTERN OF RACKETEERING ACTIVITY.
      669. The RICO Diversion Defendants conducted and participated in the

conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity as defined in 18 U.S.C. § 1961(1)(D), by the felonious manufacture,

importation, receiving, concealment buying selling, or otherwise dealing in a

controlled substance or listed chemical (as defined in section 102 of the Controlled

Substance Act), punishable under any law of the United States; and 18 U.S.C.

1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. §

1343).

           1. The RICO Defendants Manufactured, Sold and/or Dealt in
              Controlled Substances and Their Actions Constitute Crimes
              Punishable as Felonies.
      670. The RICO Diversion Defendants committed crimes that are punishable

as felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4)


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makes it unlawful for any person to knowingly or intentionally furnish false or

fraudulent information in, or omit any material information from, any application,

report, record or other document required to be made, kept or filed under this

subchapter. A violation of section 843(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 843(d)(1).

      671. Each of the RICO Diversion Defendants qualifies as a registrant under

the CSA. Their status as registrants under the CSA requires that they maintain

effective controls against diversion of controlled substances in schedule I or II,

design and operate a system to disclose to the registrant suspicious orders of

controlled substances and inform the DEA of suspicious orders when discovered

by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

      672. The CSA and the Code of Federal Regulations, require the RICO

Diversion Defendants to make reports to the DEA of any suspicious orders

identified through the design and operation of their system to disclose suspicious

orders. The failure to make reports as required by the CSA and Code of Federal

Regulations amounts to a criminal violation of the statute.

      673. The RICO Diversion Defendants knowingly and intentionally furnished

false or fraudulent information in their reports to the DEA about suspicious orders,

and/or omitted material information from reports, records and other documents

required to be filed with the DEA including the Manufacturer Defendants’


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applications for production quotas. Specifically, the RICO Diversion Defendants

were aware of suspicious orders of prescription opioids and the diversion of their

prescription opioids into the illicit market, and failed to report this information to

the DEA in their mandatory reports and their applications for production quotas.

         674. Upon information and belief, the foregoing examples reflect the RICO

Diversion Defendants’ pattern and practice of willfully and intentionally omitting

information from their mandatory reports to the DEA as required by 21 C.F.R. §

1301.74. The sheer volume of enforcement actions available in the public record

against the Distributor Defendants supports this conclusion.484 For example:

         675. On April 24, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the AmerisourceBergen Orlando, Florida

distribution center (“Orlando Facility”) alleging failure to maintain effective

controls against diversion of controlled substances. On June 22, 2007,

AmerisourceBergen entered into a settlement that resulted in the suspension of its

DEA registration.

         676. On November 28, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Auburn, Washington




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   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of
Justice, The Drug Enforcement Administration’s Adjudication of Registrant
Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
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Distribution Center (“Auburn Facility”) for failure to maintain effective controls

against diversion of hydrocodone.

      677. On December 5, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Lakeland, Florida

Distribution Center (“Lakeland Facility”) for failure to maintain effective controls

against diversion of hydrocodone.

      678. On December 7, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Swedesboro, New Jersey

Distribution Center (“Swedesboro Facility”) for failure to maintain effective

controls against diversion of hydrocodone.

      679. On January 30, 2008, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Stafford, Texas

Distribution Center (“Stafford Facility”) for failure to maintain effective controls

against diversion of hydrocodone.

      680. On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement (“McKesson 2008 MOA”) with the DEA which

provided that McKesson would “maintain a compliance program designed to

detect and prevent the diversion of controlled substances, inform DEA of

suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

established by its Controlled Substance Monitoring Program.”


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      681. On September 30, 2008, Cardinal Health entered into a Settlement and

Release Agreement and Administrative Memorandum of Agreement with the DEA

related to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford

Facility. The document also referenced allegations by the DEA that Cardinal

failed to maintain effective controls against the diversion of controlled substances

at its distribution facilities located in McDonough, Georgia (“McDonough

Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

(“Denver Facility”).

      682. On February 2, 2012, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Lakeland, Florida

Distribution Center (“Lakeland Facility”) for failure to maintain effective controls

against diversion of oxycodone.

      683. On May, 14, 2012, Cardinal Health entered into an Administrative

Memorandum of Agreement with the DEA in which, among other things, Cardinal

Health “admits that its due diligence efforts for some pharmacy customers and its

compliance with the 2008 MOA, in certain respects, were inadequate.”

      684. Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44

million fine to the DEA to resolve the civil penalty portion of the administrative

action taken against its Lakeland, Florida Distribution Center.




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      685. On January 5, 2017, McKesson Corporation entered into an

Administrative Memorandum Agreement with the DEA wherein it agreed to pay a

$150,000,000 civil penalty for violation of the 2008 McKesson MOA as well as

failure to identify and report suspicious orders at its facilities in Aurora CO,

Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and

West Sacramento CA.

      686. In the January 5, 2017 Administrative Memorandum Agreement,

McKesson acknowledged its wrongdoing and failure to comply with the

obligations imposed by the CSA:




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      687. On April 23, 2015, McKesson filed a Form-8-K announcing a

settlement with the DEA and DOJ wherein it admitted to violating the CSA and

agreed to pay $150 million and have some of its DEA registrations suspended on a

staggered basis.

      688. In 2016, the Los Angeles Times reported that Purdue was aware of a

pill mill operating out of Los Angeles yet failed to alert the DEA. The L.A. Times

uncovered that Purdue began tracking a surge in prescriptions in Los Angeles,

including one prescriber in particular.

      689. Purdue was clearly aware of diversion. As a registrant, Purdue has the

same obligation to report suspicious orders as a wholesale distributor. Although

Purdue claimed that it was considering making a report to the DEA, it shirked its

responsibility, claimed that it was the wholesaler's responsibility and then reserved

the right to make the report.

      690. Despite its knowledge of obvious diversion, "Purdue did not shut off

the supply of highly addictive OxyContin and did not tell authorities what it knew

about [a pill mill] until several years later when the clinic was out of business and

its leaders indicted. By that time, 1.1 million pills had spilled into the hands of

Armenian mobsters, the Crips gang and other criminals."

      691. Finally, Mallinckrodt was recently the subject of a DEA and Senate

investigation for its opioid practices. Specifically, in 2011, the DEA targeted


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Mallinckrodt arguing that it ignored its responsibility to report suspicious orders as

500 million of its pills ended up in Florida between 2008 and 2012.         After six

years of DEA investigation, Mallinckrodt agreed to a settlement involving a $35

million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt's response was that everyone knew what was going on in Florida but

they had no duty to report it.

      692. These actions confirm that the Distributor Defendants knew they had a

duty to maintain effective controls against diversion, design and operate a system

to disclose suspicious orders, and to report suspicious orders to the DEA. These

actions also demonstrate, on information and belief, that the Manufacturer

Defendants were aware of the enforcement against their distributors and the

diversion of the prescription opioids and a corresponding duty to report suspicious

orders.

      693. The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court.

      694. Many of the precise dates of the RICO Diversion Defendants’ criminal

actions at issue herein were hidden and cannot be alleged without access to their

books and records. Indeed, an essential part of the successful operation of the




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Opioid Diversion Enterprise depended upon the secrecy of the participants in that

enterprise.

       695. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, Plaintiff’s

Community and the Plaintiff. The RICO Diversion Defendants calculated and

intentionally crafted the diversion scheme to increase and maintain profits from

unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The RICO Diversion Defendants were

aware that Plaintiff and the citizens of this jurisdiction rely on the RICO Diversion

Defendants to maintain a closed system of manufacturing and distribution to

protect against the non-medical diversion and use of their dangerously addictive

opioid drugs.

       696. By intentionally refusing to report and halt suspicious orders of their

prescription opioids, the RICO Diversion Defendants engaged in a fraudulent

scheme and unlawful course of conduct constituting a pattern of racketeering

activity.

       697. The RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity were a substantial and foreseeable cause of Plaintiff’s injury

and the relationship between the RICO Diversion Defendants’ conduct and


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Plaintiff’s injury are logical and not speculative. It was foreseeable to the RICO

Diversion Defendants that when they refused to identify, report and halt suspicious

orders as required by the CSA and Code of Federal Regulations, it would allow the

wide-spread diversion of prescriptions opioids into the illicit market and create an

opioid-addiction epidemic that logically, substantially, and foreseeably harmed

Plaintiff.

       698. The RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity were a substantial and foreseeable cause of Plaintiff’s injury

and the relationship between the RICO Diversion Defendants’ conduct and

Plaintiff’s injury is logical and not speculative. It was foreseeable to the RICO

Diversion Defendants that when they fraudulently marketed highly-addictive and

dangerous drugs, that were approved for very limited and specific uses by the

FDA, as non-addictive and safe for off-label uses such as moderate pain, non-

cancer pain, and long-term chronic pain, that the RICO Diversion Defendants

would create an opioid-addiction epidemic that logically, substantially and

foreseeably harmed Plaintiff.

       699. The last racketeering incident occurred within five years of the

commission of a prior incident of racketeering.




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            2. The RICO Diversion Defendants Engaged in Mail and Wire
               Fraud.
      700. The RICO Diversion Defendants carried out, or attempted to carry out,

a scheme to defraud federal and state regulators, and the American public by

knowingly conducting or participating in the conduct of the Opioid Diversion

Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of

18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

      701. The RICO Diversion Defendants committed, conspired to commit,

and/or aided and abetted in the commission of at least two predicate acts of

racketeering activity (i.e. violations of 18 U.S.C. §§ 1341 and 1343) within the past

ten years. The multiple acts of racketeering activity that the RICO Diversion

Defendants committed, or aided and abetted in the commission of, were related to

each other, posed a threat of continued racketeering activity, and therefore

constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Diversion Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Diversion Enterprise. The

RICO Diversion Defendants participated in the scheme to defraud by using mail,

telephone and the Internet to transmit mailings and wires in interstate or foreign

commerce.



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       702. The RICO Diversion Defendants used, directed the use of, and/or

caused to be used, thousands of interstate mail and wire communications in service

of their scheme through virtually uniform misrepresentations, concealments and

material omissions regarding their compliance with their mandatory reporting

requirements and the actions necessary to carry out their unlawful goal of selling

prescription opioids without reporting suspicious orders or the diversion of opioids

into the illicit market.

       703. In devising and executing the illegal scheme, the RICO Diversion

Defendants devised and knowingly carried out a material scheme and/or artifice to

defraud by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts. For the purpose of executing the illegal

scheme, the RICO Diversion Defendants committed these racketeering acts, which

number in the thousands, intentionally and knowingly with the specific intent to

advance the illegal scheme.

       704. The RICO Diversion Defendants’ predicate acts of racketeering (18

U.S.C. § 1961(1)) include, but are not limited to:

              a.     Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341
                     by sending or receiving, or by causing to be sent and/or
                     received, materials via U.S. mail or commercial interstate
                     carriers for the purpose of executing the unlawful scheme to
                     design, manufacture, market, and sell the prescription opioids
                     by means of false pretenses, misrepresentations, promises, and
                     omissions.


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              b.   Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343
                   by transmitting and/or receiving, or by causing to be
                   transmitted and/or received, materials by wire for the purpose
                   of executing the unlawful scheme to design, manufacture,
                   market, and sell the prescription opioids by means of false
                   pretenses, misrepresentations, promises, and omissions.

      705. The RICO Diversion Defendants’ use of the mail and wires includes,

but is not limited to, the transmission, delivery, or shipment of the following by the

Manufacturers, Distributors, or third parties that were foreseeably caused to be sent

as a result of the RICO Diversion Defendants’ illegal scheme, including but not

limited to:

              a.   The prescription opioids themselves;

              b.   Documents and communications that supported and/or
                   facilitated the Defendants’ request for higher aggregate
                   production quotas, individual production quotas, and
                   procurement quotas;
              c.   Documents and communications that facilitated                  the
                   manufacture, purchase and sale of prescription opioids;

              d.   Defendants’ DEA registrations;

              e.   Documents and communications that              supported    and/or
                   facilitated Defendants’ DEA registrations;

              f.   Defendants’ records and reports that were required to be
                   submitted to the DEA pursuant to 21 U.S.C. § 827;
              g.   Documents and communications related to the Defendants’
                   mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21
                   C.F.R. § 1301.74;
              h.   Documents intended to facilitate the manufacture and
                   distribution of Defendants’ prescription opioids, including bills


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                   of lading, invoices,          shipping     records,   reports   and
                   correspondence;

             i.    Documents for processing and receiving payment for
                   prescription opioids;

             j.    Payments from the Distributor Defendants to the Manufacturer
                   Defendants;

             k.    Rebates and chargebacks from the Manufacturers to the
                   Distributors;

             l.    Payments to Defendants’ lobbyists through the PCF;
             m.    Payments to Defendants’ trade organizations, like the HDA, for
                   memberships and/or sponsorships;

             n.    Deposits of proceeds from Defendants’ manufacture and
                   distribution of prescription opioids; and
             o.    Other documents         and      things,     including   electronic
                   communications.
      706. On information and belief, the RICO Diversion Defendants (and/or

their agents), for the purpose of executing the illegal scheme, sent and/or received

(or caused to be sent and/or received) by mail or by private or interstate carrier,

shipments of prescription opioids and related documents by mail or by private

carrier affecting interstate commerce, including the following:




                                                              Drugs
                                           Drug
 Defendant
                  Company Names                        Chemical Name          CSA
Group Name
                                           Name                             Schedule

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                                                 Oxycodone
                                                                    Schedule
                                   OxyContin     hydrochloride
                                                                    II
                                                 extended release
                                                 Morphine sulfate   Schedule
                                   MS Contin
                                                 extended release   II
             (1) Purdue Pharma,
                                                 Hydromorphone      Schedule
             LP,                   Dilaudid
                                                 hydrochloride      II
             (2) Purdue Pharma,
Purdue                             Dilaudid-     Hydromorphone      Schedule
             Inc.,
                                   HP            hydrochloride      II
             (3) The Purdue
                                                                    Schedule
             Frederick Company     Butrans       Buprenorphine
                                                                    II
                                                 Hydrocodone        Schedule
                                   Hysinga ER
                                                 bitrate            II
                                   Targiniq      Oxycodone          Schedule
                                   ER            hydrochloride      II
             (1) Cephalon, Inc.,                                    Schedule
                                   Actiq         Fentanyl citrate
             (2) Teva                                               II
             Pharmaceutical                                         Schedule
                                   Fentora       Fentanyl citrate
Cephalon     Industries, Ltd.,                                      II
             (3) Teva
                                   Generec       Oxycodone          Schedule
             Pharmaceuticals
                                   oxycontin     hydrochloride      II
             USA, Inc.
                                                 Oxymorphone
                                                                    Schedule
                                   Opana ER      hydrochloride
                                                                    II
                                                 extended release
                                                 Oxymorphone        Schedule
                                   Opana
                                                 hydrochloride      II
             (1) Endo Health
                                                 Oxymorphone
             Solutions, Inc.,                                       Schedule
                                   Percodan      hydrochloride
             (2) Endo                                               II
                                                 and aspirin
             Pharmaceuticals Inc.,
 Endo                                            Oxymorphone
             (3) Qualitest
                                                 hydrochloride      Schedule
             Pharmaceuticals, Inc. Percocet
                                                 and                II
             (wholly-owned
                                                 acetaminophen
             subsidiary of Endo)
                                                                    Schedule
                                   Generic oxycodone
                                                                    II
                                                                    Schedule
                                   Generic oxymorphone
                                                                    II
                                   Generic hydromorphone            Schedule

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                                                                   II
                                                                   Schedule
                                       Generic hydrocodone
                                                                   II
             (1) Mallinckrodt                        Hydromorphone Schedule
                                       Exalgo
             PLC,                                    hydrochloride II
             (2) Mallinckrodt
Mallinckrodt
             LLC (wholly-owned                        Oxycodone          Schedule
                                       Roxicodone
             subsidiary of                            hydrochloride      II
             Mallinckrodt PLC)
             (1) Allergan Plc,                        Morphine           Schedule
                                       Kadian
             (2) Actavis LLC,                         Sulfate            II
             (3) Actavis Pharma,       Norco          Hydrocodone
                                                                         Schedule
             Inc.,                     (Generic of    and
                                                                         II
             (4) Actavis Plc,          Kadian)        acetaminophen
 Allergan
             (5) Actavis, Inc.,        Generic                           Schedule
                                                      Fentanyl
             (6) Watson                Duragesic                         II
             Pharmaceuticals,
                                       Generic        Oxymorphone        Schedule
             Inc.,
                                       Opana          hydrochloride      II
             Watson Pharma, Inc.


      707. Each of the RICO Diversion Defendants identified manufactured,

shipped, paid for and received payment for the drugs identified above, throughout

the United States.

      708. The RICO Diversion Defendants also used the internet and other

electronic facilities to carry out their scheme and conceal the ongoing fraudulent

activities. Specifically, the RICO Diversion Defendants made misrepresentations

about their compliance with federal and state laws requiring them to identify,

investigate and report suspicious orders of prescription opioids and/or diversion of

the same into the illicit market.


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      709. At the same time, the RICO Diversion Defendants misrepresented the

superior safety features of their order monitoring programs, ability to detect

suspicious orders, commitment to preventing diversion of prescription opioids, and

their compliance with all state and federal regulations regarding the identification

and reporting of suspicious orders of prescription opioids.

      710. Upon information and belief, the RICO Diversion Defendants utilized

the internet and other electronic resources to exchange communications, to

exchange information regarding prescription opioid sales, and to transmit

payments and rebates/chargebacks.

      711. The RICO Diversion Defendants also communicated by U.S. Mail, by

interstate facsimile, and by interstate electronic mail with each other and with

various other affiliates, regional offices, regulators, distributors, and other third-

party entities in furtherance of the scheme.

      712. The mail and wire transmissions described herein were made in

furtherance of the RICO Diversion Defendants’ scheme and common course of

conduct to deceive regulators, the public and Plaintiff that Defendants were

complying with their state and federal obligations to identify and report suspicious

orders of prescription opioids all while Defendants were knowingly allowing

millions of doses of prescription opioids to divert into the illicit drug market. The

RICO Diversion Defendants’ scheme and common course of conduct was to


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increase or maintain high production quotas for their prescription opioids from

which they could profit.

      713. Many of the precise dates of the fraudulent uses of the U.S. mail and

interstate wire facilities have been deliberately hidden by Defendants and cannot

be alleged without access to Defendants’ books and records. However, Plaintiff has

described the types of, and in some instances, occasions on which the predicate

acts of mail and/or wire fraud occurred. They include thousands of

communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

      714. The RICO Diversion Defendants did not undertake the practices

described herein in isolation, but as part of a common scheme. Various other

persons, firms, and corporations, including third-party entities and individuals not

named as defendants in this Complaint, may have contributed to and/or

participated in the scheme with the RICO Diversion Defendants in these offenses

and have performed acts in furtherance of the scheme to increase revenues,

increase market share, and /or minimize the losses for the RICO Diversion

Defendants.

      715. The RICO Diversion Defendants aided and abetted others in the

violations of the above laws, thereby rendering them indictable as principals in the

18 U.S.C. §§ 1341 and 1343 offenses.


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      716. The RICO Diversion Defendants hid from the general public and

suppressed and/or ignored warnings from third parties, whistleblowers and

governmental entities about the reality of the suspicious orders that the RICO

Diversion Defendants were filling on a daily basis – leading to the diversion of

hundreds of millions of doses of prescriptions opioids into the illicit market.

      717. The RICO Diversion Defendants, with knowledge and intent, agreed to

the overall objective of their fraudulent scheme and participated in the common

course of conduct to commit acts of fraud and indecency in manufacturing and

distributing prescription opioids.

      718. Indeed, for the RICO Diversion Defendants’ fraudulent scheme to

work, each of the Defendants had to agree to implement similar tactics regarding

manufacturing prescription opioids and refusing to report suspicious orders.

      719. As described herein, the RICO Diversion Defendants engaged in a

pattern of related and continuous predicate acts for years. The predicate acts

constituted a variety of unlawful activities, each conducted with the common

purpose of obtaining significant monies and revenues from the sale of their highly

addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.




                                         355
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      720. The predicate acts all had the purpose of creating the opioid epidemic

that substantially injured Plaintiff’s business and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Diversion Defendants.

The predicate acts were committed or caused to be committed by the RICO

Diversion Defendants through their participation in the Opioid Diversion

Enterprise and in furtherance of its fraudulent scheme.

      721. The pattern of racketeering activity alleged herein and the Opioid

Diversion Enterprise are separate and distinct from each other. Likewise, the RICO

Diversion Defendants are distinct from the enterprise.

      722. The pattern of racketeering activity alleged herein is continuing as of

the date of this Complaint and, upon information and belief, will continue into the

future unless enjoined by this Court.

      723. Many of the precise dates of the RICO Diversion Defendants’ criminal

actions at issue here have been hidden by the RICO Diversion Defendants and

cannot be alleged without access to the RICO Diversion Defendants’ books and

records.   Indeed, an essential part of the successful operation of the Opioid

Diversion Enterprise alleged herein depended upon secrecy.

      724. Each instance of racketeering activity alleged herein was related, had

similar purposes, involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, including Plaintiff’s


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Community and the Plaintiff. The RICO Diversion Defendants calculated and

intentionally crafted the Opioid Diversion Enterprise and their scheme to increase

and maintain their increased profits, without regard to the effect such behavior

would have on Plaintiff’s Community, its citizens or the Plaintiff. In designing and

implementing the scheme, at all times the RICO Diversion Defendants were

cognizant of the fact that those in the manufacturing and distribution chain rely on

the integrity of the pharmaceutical companies and ostensibly neutral third parties to

provide objective and reliable information regarding Defendants’ products and

their manufacture and distribution of those products. The RICO Diversion

Defendants were also aware that Plaintiff and the citizens of this jurisdiction rely

on the Defendants to maintain a closed system and to protect against the non-

medical diversion and use of their dangerously addictive opioid drugs.

       725. By intentionally refusing to report and halt suspicious orders of their

prescription opioids, the RICO Diversion Defendants engaged in a fraudulent

scheme and unlawful course of conduct constituting a pattern of racketeering

activity.

       726. It was foreseeable to the RICO Diversion Defendants that Plaintiff

would be harmed when they refused to report and halt suspicious orders, because

their violation of the duties imposed by the CSA and Code of Federal Regulations

allowed the widespread diversion of prescription opioids out of appropriate


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medical channels and into the illicit drug market – causing the opioid epidemic that

the CSA intended to prevent.

         727. The last racketeering incident occurred within five years of the

commission of a prior incident of racketeering.

         D.        DAMAGES.

              1.     Impact of the Opioid Diversion Enterprise.
         728. Pennsylvania has been especially ravaged by the national opioid crisis.

         729. Pennsylvania has consistently ranked as one of the top 10 states for

opioid overdose deaths, rising from ninth in 2013 to sixth in 2015, when

Pennsylvania recorded 3,264 opioid overdose deaths.485 Pennsylvania’s opioid

overdose death rate increased by 20 percent from 2014 to 2015, and another 37%

from 2015 to 2016, when Pennsylvania recorded 4,642 opioid overdose deaths. 486

         730. In 2015 more people in Pennsylvania died from drug overdoses than

from automobile accidents. 487



485
    Commonwealth of Penn., Dept. of the Auditor Gen., Performance Audit Report:
Opioid Treatment Audits (July 2017),
http://www.paauditor.gov/Media/Default/Reports/speOpioidTreatmentAudits0713
17.pdf, at 103.
486
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf, at
487
    Amy Leap, “Pennsylvania opioid addition statistics are staggering,” Pocono
Record, September 23, 2106,
                                          358
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      731. Pennsylvania leads the nation in drug overdoses among men aged 12 to

25. Meanwhile, deaths of adults aged 55-64 increased seven-fold from 1999-2013

and deaths in women increased by 400 percent since 1999. 488 A 2013 survey of

Pennsylvania youth found that 6.8% of responding children in grades 6, 8, 10 and

12 had used prescription narcotics in their lifetimes without a doctor’s order. Over

12 percent of 12th graders had used prescription narcotics without a doctor’s order

and 14.1 percent said they believed there was little to no risk in using these drugs

not prescribed to them. Over 24 percent thought it would be “sort of easy” or “very

easy” to obtain such drugs. 489

      732. Pennsylvania’s drug related overdose death rate was 36.5 per 100,000

people in 2016, an increase from 26.7 per 100,000 in 2015. This is much higher

than the national drug-overdose death rate of 16.3 per 100,000 in 2015. The




http://www.poconorecord.com/news/20160923/pennsylvania-opioid-addiction-
statistics-are-staggering.
488
    House Majority Policy Committee, Combatting Pennsylvania’s Opioid
Epidemic, October 2016,
http://www.pagoppolicy.com/Display/SiteFiles/112/OtherDocuments/Benninghoff
OpioidReport10-16.pdf.
489
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf
                                        359
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presence of an opioid was identified in 85 percent of those drug-related overdose

deaths in Pennsylvania in 2016. 490

         733. Ten people die every day in Pennsylvania from drug-related causes.

Ages of the deceased range from under 2 months to 94 years old. According to the

Pennsylvania State Coroners Association, most deaths are caused by multiple

prescriptions drugs either alone with the addition of heroin or, to a lesser degree,

cocaine. 491




490
    Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at 5.
491
    Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf at 8.
                                         360
   Case: 1:19-op-45585-DAP Doc #: 1 Filed: 06/11/19 367 of 384. PageID #: 367




      734. Data maintained by the Agency for Healthcare Research and Quality

for 2008 through 2014 document a continual increase in the annual rate of hospital

inpatient stays per 100,000 population in Pennsylvania, which translates to just

under 200,000 opioid-related inpatient stays from 2008-2014:




      735. From 2002 to 2010, admissions for treatment of non-heroin opiate

abuse more than tripled at Pennsylvania’s publicly-funded substance abuse


                                       361
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treatment centers.492 In 2011, Pennsylvania’s publicly-funded substance abuse

treatment centers documented 6,512 admissions for patients who reported non-

heroin opiates as their primary substance of abuse, more than twelve times the

number of such admissions in 1995 493—the year Purdue began marketing

OxyContin.

         736. The costs to Pennsylvania are staggering. According to the most recent

data, Pennsylvania ranked eighth in total state expenditures with $874 million

spent on health care costs for opioid abuse (while the United States average was

$490 million or 56 percent of what Pennsylvania spent). 494 In the 2016-17 state

budget, over $20 million was specifically target to combat the effects of the opioid

epidemic. 495

         737. The opioid epidemic is particularly devastating in Kingston Borough.


492
    See Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 2002-2012, State
Admissions to Substance Abuse Treatment Services 75 (2014),
https://www.samhsa.gov/data/sites/default/files/2002-2012_TEDS
_State/2002_2012_Treatment_Episode_Data_Set_State.pdf.
493
    Id.; Substance Abuse and Mental Health Servs. Admin., U.S. Dep’t of Health
and Human Servs., Treatment Episode Data Set (TEDS) 1995-2005, State
Admissions to Substance Abuse Treatment Services 75 (2007),
https://wwwdasis.samhsa.gov/dasis2/teds_pubs/2005_teds_rpt.pdf.
494
    Joint State Gov’t Comm’n, Gen’l Assy. of the Comm. of Penn., Opioid
Addiction Treatment in Pennsylvania (2017),
http://jsg.legis.state.pa.us/resources/documents/ftp/publications/2017-06-
27%20MAT%20FINAL%20DRAFT%2006.26.17.pdf at 20.
495
    https://www.pa.gov/guides/opioid-epidemic/.
                                         362
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         738. In Luzerne County, where Kingston is located, there were 283 drug

overdose deaths in 2017 - 2018. 496

         739. This is not a new problem. There were 140 overdose deaths in 2016,

the seventh highest number in the State.497 This is an 89 percent increase from

2013. 498 There were 95 overdose deaths in 2015 499 and 73 in 2014, the ninth

highest number in Pennsylvania that year. 500 In 2015, 30 percent of the overdose

deaths involved prescription opioids.501 Another 40 percent involved illegal drugs

including heroin and acetyl fentanyl. 502




496
    Open Data PA, Pennsylvania Opioid Data Dashboard
https://data.pa.gov/Opioid-Related/Estimated-PA-Drug-Overdose-Deaths-by-
County-2017-2/apm5-9wfy
497
    Joint Intelligence report by DEA Philadelphia Division and the University of
Pittsburgh, Analysis of Overdose Deaths in Pennsylvania 2016 (July 2017)
https://www.overdosefreepa.pitt.edu/wp-content/uploads/2017/07/DEA-Analysis-
of-Overdose-Deaths.pdf at p. 79, Appendix figure 45.
498
    United States Department of Agriculture, 2018 Pennsylvania Opioid Task
Force, Important Maps, Map #4: Number of Overdose Deaths by County for 2016
and Percentage Increase of Overdose Deaths 2013-2016,
https://www.rd.usda.gov/files/PA_Opioids_Maps_Database_2018_Opt.pdf.
499
    Id. at Map #2, Number of Overdose Deaths by County for 2015 and Percentage
Increase of Overdose Deaths 2014-2015.
500
    Id. at Map #1, Number of Overdose Deaths by County for 2014 and Percentage
Increase of Overdose Deaths 2013-2014.
501
    Pennsylvania State Coroners Association, Report on Overdose Statistics, 2015,
at 93,
http://www.pacoroners.org/Uploads/Pennsylvania_State_Coroners_Association_D
rug_Report_2015.pdf
502
    Id.
                                            363
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         740. The drug overdose death rate in Luzerne County was 43.6 deaths per

100,000 people in 2016.503

         741. In 2016, there were 3,084 Luzerne County residents covered by

Medicaid who had been diagnosed with Substance Abuse Disorder.504

         742. In 2016, there were 64 infants covered by Medicaid who were born

with Neonatal Abstinence Syndrome in Luzerne County. 505

         743. From November 2014 through June 2018, police in Luzerne County

reported 156 successful naloxone reversals. 506

         744. From 2013 to March 2019, the Pennsylvania State Police had 712

seizures of opioids in Luzerne County. 507 During that same time, there were 549

opioid-related arrests in Luzerne County. 508




503
    Analysis of Overdose Deaths in Pennsylvania 2016, supra, at 9.
504
    Open Data PA, Pennsylvania Opioid Data Dashboard,
https://data.pa.gov/stories/s/rhvk-9756.
505
    Open Data PA, Newborns born on Medical Assistance (MA) with Neonatal
Abstinence Syndrome (NAS), Year 2015-2016 Human Services,
https://data.pa.gov/Opioid-Related/Newborns-born-on-Medical-Assistance-MA-
with-Neonat/inm2-y7xa
506
    Id. at Successful Police Naloxone Reversals by County,
https://data.pa.gov/Opioid-Related/Successful-Naloxone-Reversals-by-Law-
Enforcement-Y/jeh5-c3pf
507
    Open Data PA, Opioids Incidents by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Incidents-by-County-PSP-/p8w5-pvje.
508
    Id. at Opioid Arrests by County (PSP), https://data.pa.gov/Opioid-
Related/Opioid-Arrests-by-County-PSP-/tpie-wrnx.
                                         364
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         745. The CDC has tracked prescription rates per county in the United States,

identifying the geographic “hotspots” for rates of opioid prescriptions. 509 The CDC

has calculated the geographic distribution at county levels of opioid prescriptions

dispensed per 100 persons, 510 revealing that Luzerne County has been a consistent

hotspot over the past few years.

         746. The CDC’s statistics prove that the opioid prescription rates in Luzerne

County have exceeded any legitimate medical, scientific, or industrial purpose.

Unfortunately, in Luzerne County, Pennsylvania, the opioid prescribing rates, as

reported by the CDC, are consistently above the national averages – which are

themselves too high. In 2017, compared to the national average of 58.7 opioid

prescriptions dispensed per 100 persons, 511 the County rate was 70.8 opioid

prescriptions per 100 persons. 512

         747. In 2016, compared to the national average of 66.5 opioid prescriptions

dispensed per 100 persons,513 the County rate was 85.7 opioid prescriptions per



509
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
510
    Id.
511
     Id.
512
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2017, (reporting for “Luzerne County, PAM” here and below) available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2017.html
513
     U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
                                          365
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100 persons. 514 Compared to the national average of 70.6 opioid prescriptions per

100 persons in 2015, 515 the County rate was even higher at 92.1. 516

         748. This is not an aberration. In 2014, compared to the national average of

75.6 prescriptions per 100 persons,517 the County rate was 98.8. 518

         749. Compared to the national average of 78.1 prescriptions per 100 persons

in 2013, 519 the Luzerne County rate was 101.5 opioid prescriptions per 100

persons. 520 In 2012, compared to the national average of 81.3 prescriptions per 100

persons, 521 the County rate was 102.6 prescriptions per 100 persons.522 Compared




514
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2016, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html
515
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
516
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2015, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html
517
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
518
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2014, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html
519
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
520
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2013, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html
521
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
522
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2012, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html
                                         366
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to the national average of 80.9 prescriptions per 100 persons in 2011,523 the

Luzerne County rate was 98.7. 524 In 2010, compared to the national average of

81.2 prescriptions per 100 persons,525 the County rate was 100.3 prescriptions per

100 persons. 526 Compared to the national average of 79.5 prescriptions per 100

persons in 2009,527 the Luzerne County rate was 98.7.528

         750. The sheer volume of these dangerously addictive drugs was destined to

create the present crisis of addiction, abuse, and overdose deaths.

              2.     The Relief Sought.
         751. The RICO Diversion Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiff injury in its business

and property. The RICO Diversion Defendants’ pattern of racketeering activity,

including their refusal to identify, report and halt suspicious orders of controlled

substances, logically, substantially and foreseeably cause an opioid epidemic.


523
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
524
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2011, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html
525
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
526
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2010, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html
527
    U.S. Prescribing Rate Maps, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
528
    Centers for Disease Control and Prevention, U.S. County Prescribing Rates
2009, available at https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html
                                          367
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Plaintiff was injured by the RICO Diversion Defendants’ pattern of racketeering

activity and the opioid epidemic that they created.

         752. As Plaintiff alleges, the RICO Diversion Defendants knew that the

opioids they manufactured and supplied were unsuited to treatment of long-term,

chronic, non-acute, and non-cancer pain, or for any other use not approved by the
                                                                                   529
FDA, and knew that opioids were highly addictive and subject to abuse.

Nevertheless, the RICO Diversion Defendants engaged in a scheme of deception,

that utilized the mail and wires as part of their fraud, in order to increase sales of

their opioid products by refusing to identify, report suspicious orders of

prescription opioids that they knew were highly addictive, subject to abuse, and

were actually being diverted into the illegal market. 530

         753. Here, as Plaintiff alleges, the link of causation generally breaks down

into three very short steps: (1) the RICO Diversion Defendants’ affirmative action

to continue supplying prescription opioids through legal channels with knowledge

that they were being diverted into the illicit market; (2) an opioid epidemic in the

form of criminal drug trafficking, misuse and abuse; and (3) injuries to the

Plaintiff. 531 Although not as direct as a car accident or a slip-and-fall case, this

529
    Traveler's Prop. Cas. Co. of Am. v. Actavis, Inc., 16 Cal. App. 5th 1026, 1042,
225 Cal. Rptr. 3d 5 (Ct. App. 2017).
530
    City of Everett v. Purdue Pharma L.P., No. C17-209RSM, 2017 WL 4236062,
at *6 (W.D. Wash. Sept. 25, 2017).
531
    Id.
                                         368
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causal chain is still a “direct sequence” and a logical, substantial and foreseeable

cause of Plaintiff’s injury. 532

            754. Specifically, the RICO Diversion Defendants’ predicate acts and

pattern of racketeering activity caused the opioid epidemic which has injured

Plaintiff in the form of substantial losses of money and property that logically,

directly and foreseeably arise from the opioid-addiction epidemic.            Plaintiff’s

injuries, as alleged throughout this complaint, and expressly incorporated herein by

reference, include:

                 a.    Losses caused by purchasing and/or paying reimbursements for
                       the RICO Defendants’ prescription opioids, that Plaintiff would
                       not have paid for or purchased but for the RICO Diversion
                       Defendants’ conduct;

                 b.    Losses caused by the decrease in funding available for
                       Plaintiff’s public services for which funding was lost because it
                       was diverted to other public services designed to address the
                       opioid epidemic;
                 c.    Costs for providing healthcare and medical care, additional
                       therapeutic, and prescription drug purchases, and other
                       treatments for patients suffering from opioid-related addiction
                       or disease, including overdoses and deaths;

                 d.    Costs of training emergency and/or first responders in the
                       proper treatment of drug overdoses;
                 e.    Costs associated with providing police officers, firefighters, and
                       emergency and/or first responders with Naloxone – an opioid
                       antagonist used to block the deadly effects of opioids in the
                       context of overdose;


532
      Id.
                                            369
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            f.    Costs associated with emergency responses by police officers,
                  firefighters, and emergency and/or first responders to opioid
                  overdoses;
            g.    Costs for providing mental-health services, treatment,
                  counseling, rehabilitation services, and social services to
                  victims of the opioid epidemic and their families;

            h.    Costs for providing services to infants born with opioid-related
                  medical conditions, or born addicted to opioids due to drug use
                  by mother during pregnancy;

            i.    Costs associated with law enforcement and public safety
                  relating to the opioid epidemic, including but not limited to
                  attempts to stop the flow of opioids into local communities, to
                  arrest and prosecute street-level dealers, to prevent the current
                  opioid epidemic from spreading and worsening, and to deal
                  with the increased levels of crimes that have directly resulted
                  from the increased homeless and drug-addicted population;
            j.    Costs associated with increased burden on Plaintiff’s judicial
                  system, including increased security, increased staff, and the
                  increased cost of adjudicating criminal matters due to the
                  increase in crime directly resulting from opioid addiction;
            k.    Costs associated with providing care for children whose parents
                  suffer from opioid-related disability or incapacitation;

            l.    Loss of tax revenue due to the decreased efficiency and size of
                  the working population in Plaintiff’s Community;

            m.    Losses caused by diminished property values in neighborhoods
                  where the opioid epidemic has taken root; and

            n.    Losses caused by diminished property values in the form of
                  decreased business investment and tax revenue.

      755. Plaintiff’s injuries were proximately caused by the RICO Diversion

Defendants’ racketeering activities because they were the logical, substantial and

foreseeable cause of Plaintiff’s injuries. But for the opioid-addiction epidemic

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created by RICO Diversion Defendants’ conduct, Plaintiff would not have lost

money or property.

      756. Plaintiff’s injuries were directly caused by the RICO Diversion

Defendants’ pattern of racketeering activities.

      757. Plaintiff is most directly harmed and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

      758. Plaintiff seeks all legal and equitable relief as allowed by law,

including, inter alia, actual damages, treble damages, equitable relief, forfeiture as

deemed proper by the Court, attorney’s fees and all costs and expenses of suit and

pre- and post-judgment interest.

                            COUNT IV
           FRAUD AND FRAUDULENT MISREPRESENTATION
                      (Against All Defendants)

      759. Plaintiff incorporates by reference all other paragraphs of this

Complaint as if fully set forth here, and further alleges as follows.

      760. Defendants violated their general duty not to actively deceive, and have

made knowingly false statements and have omitted and/or concealed information

which made statements Defendants did make knowingly false. Defendants acted

intentionally and/or unlawfully.

      761. As alleged herein, Defendants made false statements regarding their

compliance with state and federal law regarding their duties to prevent diversion,


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their duties to monitor, report and halt suspicious orders, and/or concealed their

noncompliance with these requirements.

      762. As alleged herein, the Manufacturer Defendants engaged in false

representations and concealments of material fact regarding the use of opioids to

treat chronic non-cancer pain.

      763. As alleged herein, Defendants knowingly and/or intentionally made

representations that were false. Defendants had a duty to disclose material facts

and concealed them. These false representations and concealed facts were material

to the conduct and actions at issue. Defendants made these false representations

and concealed facts with knowledge of the falsity of their representations, and did

so with the intent of misleading Plaintiff, Plaintiff’s community, the public, and

persons on whom Plaintiff relied.

      764. These false representations and concealments were reasonably

calculated to deceive Plaintiff, Plaintiff’s Community, and the physicians who

prescribed opioids for persons in Plaintiff’s Community, were made with the intent

to deceive these persons, Plaintiff and Plaintiff’s Community to rely on these false

representation and concealments and act accordingly, and did in fact deceive these

persons, Plaintiff, and Plaintiff’s Community.




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      765. Plaintiff, Plaintiff’s Community, and the physicians who prescribed

opioids reasonably relied on these false representations and concealments of

material fact.

      766. Plaintiff justifiably relied on Defendants’ representations and/or

concealments, both directly and indirectly. Plaintiff’s injuries were proximately

caused by this reliance.

      767. The injuries alleged by Plaintiff herein were sustained as a direct and

proximate cause of Defendants’ fraudulent conduct.

      768. Plaintiff seeks economic losses (direct, incidental, or consequential

pecuniary losses) resulting from Defendants’ fraudulent activity, including

fraudulent misrepresentations and fraudulent concealment.

      769. Plaintiff seeks all legal and equitable relief as allowed by law, except as

expressly disavowed herein, including inter alia injunctive relief, restitution,

disgorgement of profits, compensatory and punitive damages, and all damages

allowed by law to be paid by the Distributor Defendants, attorney fees and costs,

and pre- and post-judgment interest.

                             PUNITIVE DAMAGES

      770. Plaintiff re-alleges all paragraphs of this Complaint as if set forth fully

herein.




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      771. By engaging in the above-described intentional and/or unlawful acts or

practices, Defendants acted with actual malice, wantonly, and oppressively.

Defendants acted with conscious disregard to the rights of others and/or in a

reckless, wanton, willful, or grossly negligent manner. Defendants acted with a

prolonged indifference to the adverse consequences of their actions and/or

omissions. Defendants acted with a conscious disregard for the rights and safety of

others in a manner that had a great probability of causing substantial harm.

Defendants acted toward the Plaintiff with fraud, oppression, and/or malice, and/or

were grossly negligent in failing to perform the duties and obligations imposed

upon them under applicable federal and state statutes, and common law.

      772. Defendants were selling and/or manufacturing dangerous drugs

statutorily categorized as posing a high potential for abuse and severe dependence.

Thus, Defendants knowingly traded in drugs that presented a high degree of danger

if prescribed incorrectly or diverted to other than legitimate medical, scientific, or

industrial channels. Because of the severe level of danger posed by, and indeed

visited upon the State and Plaintiff’s Community by, these dangerous drugs,

Defendants owed a high duty of care to ensure that these drugs were only used for

proper medical purposes. Defendants chose profit over prudence, and the safety of

the community, and an award of punitive damages is appropriate, as punishment

and a deterrence.


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      773. By engaging in the above-described wrongful conduct, Defendants also

engaged in willful misconduct and gross negligence, and exhibited an entire want

of care that would raise the presumption of a conscious reckless indifference to

consequences.

                                     RELIEF
      WHEREFORE, the Plaintiff respectfully prays that this Court grant the

following relief:

      774. Entering Judgment in favor of the Plaintiff in a final order against each

of the Defendants;

      775. Enjoining the Defendants and their employees, officers, directors,

agents, successors, assignees, merged or acquired predecessors, parent or

controlling entities, subsidiaries, and all other persons acting in concert or

participation with it, from engaging in unlawful sales of prescription opioid pills

and ordering temporary, preliminary or permanent injunction;

      776. Order that Defendants compensate the Plaintiff for past and future costs

to abate the ongoing public nuisance caused by the opioid epidemic;

      777. Order Defendants to fund an “abatement fund” for the purposes of

abating the opioid nuisance;




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      778. Awarding actual damages, treble damages, injunctive and equitable

relief, forfeiture as deemed proper by the Court, and attorney fees and all costs and

expenses of suit pursuant to Plaintiff’s racketeering claims;

      779. Awarding the Plaintiff the damages caused by the opioid epidemic,

including (A) costs for providing medical care, additional therapeutic and

prescription drug purchases, and other treatments for patients suffering from

opioid-related addiction or disease, including overdoses and deaths; (B) costs for

providing treatment, counseling, and rehabilitation services; (C) costs for providing

treatment of infants born with opioid-related medical conditions; (D) costs for

providing care for children whose parents suffer from opioid-related disability or

incapacitation; and (E) costs associated with law enforcement and public safety

relating to the opioid epidemic.

      780. Awarding judgment against the Defendants requiring Defendants to

pay punitive damages;

      781. Granting the Plaintiff

         1. The cost of investigation, reasonable attorneys’ fees, and all costs and
            expenses;

         2. Pre-judgment and post-judgment interest; and,

         3. All other relief as provided by law and/or as the Court deems
            appropriate and just.


Dated: June 11, 2019                   RESPECTFULLY SUBMITTED:

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